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                   EXHIBIT A—AGREED-UPON CONSTRUCTIONS

                                                                       Agreed-Upon
      Claim Term                Corresponding Claims
                                                                       Construction
  “about”              ’868 patent, claims 1, 8-14, 21-26, 28;     “approximately”
                       ’482 patent, claims 1, 7-14, 20-28;
                       ’621 patent, claims 1, 5-8, 13-19, 21-24,
                       27-30;
                       and incorporated in all dependent claims
                       thereto




                                          A-1
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                   EXHIBIT B
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                EXHIBIT B—DISPUTED CONSTRUCTIONS BETWEEN SILVERGATE AND DEFENDANTS

                Corresponding          Silvergate’s Proposed Construction and                Defendant’s Proposed Construction and
Claim Term
                   Claims                             Evidence                                             Evidence
“consisting    ’868 patent,        PROPOSED CONSTRUCTION:                                 PROPOSED CONSTRUCTION:
essentially    claims 1, 13, 14,
of”            26, and             Plain and ordinary meaning (not indefinite)            This term is indefinite
               incorporated in
               all dependent       EXEMPLARY INTRINSIC EVIDENCE:                          INTRINSIC EVIDENCE:
               claims thereto;
                                   Silvergate reserves the right to rely on the claims,   ’868 patent
               ’621 patent         specifications, and entire prosecution histories of    Claim 1–30;
               claims 1-301        the ’868, ’482, and ’621 patents, as well as those     2:21–3:49;
                                   of U.S. Patent No. 9,669,008 (“’008 patent”),          4:64–5:9;
                                   9,808,442 (“’442 patent”), 10,039,745 (“’745           5:54–6:55;
                                   patent”), and 10,154,987 (“’987 patent”), and all      8:35–19:54;
                                   related patent applications, including but not         20:43–22:44;
                                   limited to:                                            23:19–67;
                                                                                          31:19–41:27 (Examples A–H).
                                   ’868 Patent
                                   - Claims 1-30                                          Prosecution history of U.S. Patent No. 9,669,008
                                                                                          Original Claims (SLVGT-EPA_0000365–366);
                                   ’868 Patent                                            Office Action dated January 17, 2017 (SLVGT-
                                                                                          EPA_0000835–841);
                                   - Abstract
                                                                                          February 3, 2017 Amendment and Response
                                   - col. 1:49-52                                         (SLVGT-EPA_0000857-879);
                                   - col. 2:21-28                                         Mosher Declaration dated
                                   - col. 4:64-5:8                                        February 2, 2017 at 1-8 (SLVGT-EPA_0000880-
                                   - col. 5:13-23                                         87);

     1
     Bionpharma did not identify this term with respect to the ’621 patent in its disclosure of claim terms and proposed constructions
 on March 17, 2021.


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             Corresponding       Silvergate’s Proposed Construction and         Defendant’s Proposed Construction and
Claim Term
                Claims                          Evidence                                      Evidence
                             -   col. 5:45-50                                Supplemental Amendment dated March 22, 2017
                             -   col. 5:58-6:15                              (SLVGT-EPA_0000940–945);
                             -   col. 6:22-55                                Notice of Allowance dated April 19, 2017
                             -   col. 10:23-60                               (SLVGT-EPA_0001145–151).
                             -   col. 13:22-14:25
                             -   col. 14:47-48                               ’868 Patent Prosecution history
                             -   col. 18:36-19:35                            Original claims at 48-51;
                                                                             Preliminary amendment dated January 18, 2019;
                             -   col. 25:27-61
                                                                             Office Action dated May 2, 2019;
                             -   col. 29:16-18                               August 1, 2019 Office Action Response;
                             -   Examples A-H and all associated tables      Declarations of Mosher dated February 2, 2017
                             -   Figs. 1 & 2                                 and May 14, 2020;
                                                                             Office Action dated Nov 19, 2019;
                             File History of ’008 Patent                     May 14, 2020 Office Action Response;
                             - Jan. 17, 2017 – First Action Interview        Notice of Allowance dated August 8, 2020.
                                 (SLVGT-EPA_0000835-837)
                             - Feb. 3, 2017 – Response to Non-Final Office   ’482 Patent Prosecution history
                                 Action (SLVGT-EPA_0000857-879)              Original claims at 48-51;
                             - Feb. 3, 2017 – Declaration of Dr. Mosher      Office Action dated January 25, 2019;
                                 dated Feb. 2, 2017 (SLVGT-EPA_0000880-      March 1, 2019 Office Action Response;
                                 893)                                        Declarations of Mosher dated February 2, 2017
                             - Mar. 22, 2017 – Supplemental Amendment in     and May 14, 2020;
                                 Response to Non-Final Office Action         Office Action dated June 24, 2019;
                                 (SLVGT-EPA_0000940-945)                     August 1, 2019 Office Action Response;
                             - Apr. 19, 2017 – Notice of Allowance           Advisory Opinion dated September 16, 2019;
                                 (SLVGT-EPA_0001145-149)                     October 24, 2019 Office Action Response;
                                                                             Office Action dated January 7, 2020;
                             File History of ’868 Patent                     May 15, 2020 Office Action Response;
                                                                             Notice of allowance dated July 16, 2020.
                             - Jan. 8, 2019 – Preliminary Amendment
                                 (SLVGT-EPA_0104422-428)



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             Corresponding       Silvergate’s Proposed Construction and        Defendant’s Proposed Construction and
Claim Term
                Claims                          Evidence                                     Evidence
                             -   Aug. 1, 2019 – Response to Non-Final Office
                                 Action (SLVGT-EPA_0105316-330)
                             -   Aug. 1, 2020 – Declaration of Dr. Mosher
                                 dated Feb. 2, 2017 (SLVGT-EPA_0105341-
                                 354)
                             -   May 14, 2017 – Declaration of Dr. Mosher
                                 dated May 14, 2020 (SLVGT-EPA_0105503-
                                 513)
                             -   May 14, 2020 – Response of Final Office
                                 Action (SLVGT-EPA_0105519-532)
                             -   Aug. 3, 2020 – Notice of Allowance
                                 (SLVGT-EPA_0105656-663)

                             File History of ’482 Patent
                             - Mar. 1, 2019 – Response to Non-Final Office
                                 Action (SLVGT-EPA_0105790-803)
                             - Mar. 1, 2019 – Declaration of Dr. Mosher
                                 dated Feb. 2, 2017 (SLVGT-EPA_0105804-
                                 817)
                             - Aug. 1, 2019 – Response to Final Office
                                 Action (SLVGT-EPA_0106721-728)
                             - Oct. 24, 2019 – Response to Advisory Action
                                 and Final Office Action (SLVGT-
                                 EPA_0106753-760)
                             - May 15, 2020 – Response to Non-Final
                                 Office Action (SLVGT-EPA_0106791-801)
                             - May 15, 2020 – Declaration of Dr. Mosher
                                 dated May 15, 2020 (SLVGT-EPA_0106802-
                                 808)




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                  Corresponding           Silvergate’s Proposed Construction and                Defendant’s Proposed Construction and
Claim Term
                     Claims                              Evidence                                             Evidence
                                      -   July 16, 2020 – Notice of Allowance
                                          (SLVGT-EPA_0106991-6999)
“wherein the      ’868 patent,        PROPOSED CONSTRUCTION:                                 PROPOSED CONSTRUCTION:
formulation is    claims 1, 13, 14,
stable at         26, and             Plain and ordinary meaning (not indefinite)            This term is indefinite (to the extent it is not
about 5±3ºC       incorporated in                                                            unbounded and thus invalid for lack of written
for at least 12   all dependent       EXEMPLARY INTRINSIC EVIDENCE:                          description and/or enablement)2
months”           claims thereto
                                      Silvergate reserves the right to rely on the claims,   INTRINSIC EVIDENCE:
                                      specifications, and entire prosecution histories of
                                      the ’868, ’482, and ’621 patents, as well as           ’868 patent
                                      the ’008, ’442, ’745, and ’987 patents, and all        Claim 1–30;
                                      related patent applications, including but not         2:21–3:49;
                                      limited to:                                            4:64–5:9;
                                                                                             5:54–6:55;
                                      ’868 Patent                                            8:35–19:54;
                                      - Claims 1-30                                          20:43–22:44;
                                                                                             23:19–67;
                                      ’868 Patent                                            31:19–41:27 (Examples A–H).
                                      - Abstract
                                                                                             ’482 patent
                                      - col. 1:49-52
                                                                                             Claim 1-28;
                                      - col. 2:21-28                                         2:21–3:49;
                                      - col. 4:64-5:8                                        4:64–5:9;
                                      - col. 5:13-23                                         5:54–6:55;
                                      - col. 5:45-50                                         8:35–19:54;
                                      - col. 5:58-6:15                                       20:43–22:44;

     2
      This position is made without prejudice to Amneal’s arguments in C.A. No. 19-678 that the same or similar claim limitations in
 the patents asserted in that case are invalid for lack of written description and/or enablement.


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             Corresponding       Silvergate’s Proposed Construction and         Defendant’s Proposed Construction and
Claim Term
                Claims                          Evidence                                      Evidence
                             -   col. 13:22-14:25                            23:19–67;
                             -   col. 14:47-48                               31:14–41:10 (Examples A–H).
                             -   col. 18:36-19:35
                             -   col. 25:27-61
                             -   col. 29:16-18                               Prosecution history of U.S. Patent No. 9,669,008
                             -   Examples A-H and all associated tables      Original Claims (SLVGT-EPA_0000365–366);
                             -   Figs. 1 & 2                                 Office Action dated January 17, 2017 (SLVGT-
                                                                             EPA_0000835–841);
                                                                             February 3, 2017 Amendment and Response
                             File History of ’008 Patent                     (SLVGT-EPA_0000857-879);
                             - Jan. 17, 2017 – First Action Interview        Mosher Declaration dated
                                 (SLVGT-EPA_0000835-837)                     February 2, 2017 at 1-8 (SLVGT-EPA_0000880-
                             - Feb. 3, 2017 – Response to Non-Final Office   87);
                                 Action (SLVGT-EPA_0000857-879)              Supplemental Amendment dated March 22, 2017
                             - Feb. 3, 2017 – Declaration of Dr. Mosher      (SLVGT-EPA_0000940–945);
                                 dated Feb. 2, 2017 (SLVGT-EPA_0000880-      Notice of Allowance dated April 19, 2017
                                 893)                                        (SLVGT-EPA_0001145–151).
                             - Mar. 22, 2017 – Supplemental Amendment in
                                 Response to Non-Final Office Action         ’868 Patent Prosecution history
                                 (SLVGT-EPA_0000940-945)                     Original claims at 48-51;
                             - Apr. 19, 2017 – Notice of Allowance           Preliminary amendment dated January 18, 2019;
                                 (SLVGT-EPA_0001145-149)                     Office Action dated May 2, 2019;
                                                                             August 1, 2019 Office Action Response;
                             File History of ’868 Patent                     Declarations of Mosher dated February 2, 2017
                             - Jan. 8, 2019 – Preliminary Amendment          and May 14, 2020;
                                 (SLVGT-EPA_0104422-428)                     Office Action dated Nov 19, 2019;
                             - Aug. 1, 2019 – Response to Non-Final Office   May 14, 2020 Office Action Response;
                                 Action (SLVGT-EPA_0105316-330)              Notice of Allowance dated August 8, 2020.
                             - Aug. 1, 2020 – Declaration of Dr. Mosher
                                 dated Feb. 2, 2017 (SLVGT-EPA_0105341-
                                 354)May 14, 2017 – Declaration of Dr.


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             Corresponding       Silvergate’s Proposed Construction and         Defendant’s Proposed Construction and
Claim Term
                Claims                          Evidence                                      Evidence
                                 Mosher dated May 14, 2020 (SLVGT-           ’482 Patent Prosecution history
                                 EPA_0105503-513)                            Original claims at 48-51;
                             -   May 14, 2020 – Response of Final Office     Office Action dated January 25, 2019;
                                 Action (SLVGT-EPA_0105519-532)              March 1, 2019 Office Action Response;
                             -   Aug. 3, 2020 – Notice of Allowance          Declarations of Mosher dated February 2, 2017
                                 (SLVGT-EPA_0105656-663)                     and May 14, 2020;
                                                                             Office Action dated June 24, 2019;
                             File History of ’482 Patent                     August 1, 2019 Office Action Response;
                             - Mar. 1, 2019 – Response to Non-Final Office   Advisory Opinion dated September 16, 2019;
                                 Action (SLVGT-EPA_0105790-803)              October 24, 2019 Office Action Response;
                             - Mar. 1, 2019 – Declaration of Dr. Mosher      Office Action dated January 7, 2020;
                                                                             May 15, 2020 Office Action Response;
                                 dated Feb. 2, 2017 (SLVGT-EPA_0105804-
                                                                             Notice of allowance dated July 16, 2020.
                                 817)
                             - Aug. 1, 2019 – Response to Final Office
                                 Action (SLVGT-EPA_0106721-728)
                             - Oct. 24, 2019 – Response to Advisory Action
                                 and Final Office Action (SLVGT-
                                 EPA_0106753-760)
                             - May 15, 2020 – Response to Non-Final
                                 Office Action (SLVGT-EPA_0106791-801)
                             - May 15, 2020 – Declaration of Dr. Mosher
                                 dated May 15, 2020 (SLVGT-EPA_0106802-
                                 808)
                             - July 16, 2020 – Notice of Allowance
                                 (SLVGT-EPA_0106991-6999)




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                 Corresponding           Silvergate’s Proposed Construction and                Defendant’s Proposed Construction and
Claim Term
                    Claims                              Evidence                                             Evidence
“wherein the     ’482 patent         PROPOSED CONSTRUCTION:                                 PROPOSED CONSTRUCTION:
formulation      claims 1, 13, 14,
maintains        and incorporated    Plain and ordinary meaning (not indefinite)            This term is indefinite (to the extent it is not
about 95%        in all dependent                                                           unbounded and thus invalid for lack of written
w/w or           claims thereto      EXEMPLARY INTRINSIC EVIDENCE:                          description and/or enablement)4
greater of the
initial                              Silvergate reserves the right to rely on the claims,   INTRINSIC EVIDENCE:
enalapril                            specifications, and entire prosecution histories of
amount at the                        the ’868, ’482, and ’621 patents, as well as           ’868 patent
end of a                             the ’008, ’442, ’745, and ’987 patents, and all        Claim 1–30;
storage                              related patent applications, including but not         2:21–3:49;
period of at                         limited to:                                            4:64–5:9;
least 12                                                                                    5:54–6:55;
months at
                                     ’482 Patent                                            8:35–19:54;
about 5±3ºC”                                                                                20:43–22:44;
                                     - Claims 1-28
                                                                                            23:19–67;
                                     ’868 Patent3                                           31:19–41:27 (Examples A–H).
                                     - Abstract
                                                                                            ’482 patent
                                     - col. 1:49-52
                                                                                            Claim 1-28;
                                     - col. 2:21-28                                         2:21–3:49;
                                     - col. 4:64-5:8                                        4:64–5:9;
                                     - col. 5:13-23                                         5:54–6:55;
                                     - col. 5:45-50                                         8:35–19:54;
                                     - col. 5:58-6:15                                       20:43–22:44;

     3
      The 868, ’482, and ’621 patents and the ’008, ’442, ’745, and ’987 patents all share the same specification. References to any of
 the patents in this group includes all citations to equivalent portions of other patents in the group.
     4
      This position is made without prejudice to Amneal’s arguments in C.A. No. 19-678 that the same or similar claim limitations in
 the patents asserted in that case are invalid for lack of written description and/or enablement.


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             Corresponding       Silvergate’s Proposed Construction and         Defendant’s Proposed Construction and
Claim Term
                Claims                          Evidence                                      Evidence
                             -   col. 13:22-14:25                            23:19–67;
                             -   col. 14:47-48                               31:14–41:10 (Examples A–H).
                             -   col. 18:36-19:35
                             -   col. 25:27-61
                             -   col. 29:16-18                               Prosecution history of U.S. Patent No. 9,669,008
                             -   Examples A-H and all associated tables      Original Claims (SLVGT-EPA_0000365–366);
                             -   Figs. 1 & 2                                 Office Action dated January 17, 2017 (SLVGT-
                                                                             EPA_0000835–841);
                                                                             February 3, 2017 Amendment and Response
                             File History of ’008 Patent                     (SLVGT-EPA_0000857-879);
                             - Jan. 17, 2017 – First Action Interview        Mosher Declaration dated
                                 (SLVGT-EPA_0000835-837)                     February 2, 2017 at 1-8 (SLVGT-EPA_0000880-
                             - Feb. 3, 2017 – Response to Non-Final Office   87);
                                 Action (SLVGT-EPA_0000857-879)              Supplemental Amendment dated March 22, 2017
                             - Feb. 3, 2017 – Declaration of Dr. Mosher      (SLVGT-EPA_0000940–945);
                                 dated Feb. 2, 2017 (SLVGT-EPA_0000880-      Notice of Allowance dated April 19, 2017
                                 893)                                        (SLVGT-EPA_0001145–151).
                             - Mar. 22, 2017 – Supplemental Amendment in
                                 Response to Non-Final Office Action         ’868 Patent Prosecution history
                                 (SLVGT-EPA_0000940-945)                     Original claims at 48-51;
                             - Apr. 19, 2017 – Notice of Allowance           Preliminary amendment dated January 18, 2019;
                                 (SLVGT-EPA_0001145-149)                     Office Action dated May 2, 2019;
                                                                             August 1, 2019 Office Action Response;
                             File History of ’868 Patent                     Declarations of Mosher dated February 2, 2017
                             - Jan. 8, 2019 – Preliminary Amendment          and May 14, 2020;
                                 (SLVGT-EPA_0104422-428)                     Office Action dated Nov 19, 2019;
                             - Aug. 1, 2019 – Response to Non-Final Office   May 14, 2020 Office Action Response;
                                 Action (SLVGT-EPA_0105316-330)              Notice of Allowance dated August 8, 2020.




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             Corresponding       Silvergate’s Proposed Construction and         Defendant’s Proposed Construction and
Claim Term
                Claims                          Evidence                                      Evidence
                             -   Aug. 1, 2020 – Declaration of Dr. Mosher    ’482 Patent Prosecution history
                                 dated Feb. 2, 2017 (SLVGT-EPA_0105341-      Original claims at 48-51;
                                 354)                                        Office Action dated January 25, 2019;
                             -   May 14, 2017 – Declaration of Dr. Mosher    March 1, 2019 Office Action Response;
                                 dated May 14, 2020 (SLVGT-EPA_0105503-      Declarations of Mosher dated February 2, 2017
                                 513)                                        and May 14, 2020;
                             -   May 14, 2020 – Response of Final Office     Office Action dated June 24, 2019;
                                 Action (SLVGT-EPA_0105519-532)              August 1, 2019 Office Action Response;
                             -   Aug. 3, 2020 – Notice of Allowance          Advisory Opinion dated September 16, 2019;
                                 (SLVGT-EPA_0105656-663)                     October 24, 2019 Office Action Response;
                                                                             Office Action dated January 7, 2020;
                             File History of ’482 Patent                     May 15, 2020 Office Action Response;
                             - Mar. 1, 2019 – Response to Non-Final Office   Notice of allowance dated July 16, 2020.
                                 Action (SLVGT-EPA_0105790-803)
                             - Mar. 1, 2019 – Declaration of Dr. Mosher
                                 dated Feb. 2, 2017 (SLVGT-EPA_0105804-
                                 817)
                             - Aug. 1, 2019 – Response to Final Office
                                 Action (SLVGT-EPA_0106721-728)
                             - Oct. 24, 2019 – Response to Advisory Action
                                 and Final Office Action (SLVGT-
                                 EPA_0106753-760)
                             - May 15, 2020 – Response to Non-Final
                                 Office Action (SLVGT-EPA_0106791-801)
                             - May 15, 2020 – Declaration of Dr. Mosher
                                 dated May 15, 2020 (SLVGT-EPA_0106802-
                                 808)
                             - July 16, 2020 – Notice of Allowance
                                 (SLVGT-EPA_0106991-6999)




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            EXHIBIT B—DISPUTED CONSTRUCTIONS SPECIFIC BETWEEN SILVERGATE AND BIONPHARMA

                  Corresponding            Silvergate’s Proposed Construction and               Bionpharma’s Proposed Construction and
Claim Term
                     Claims                               Evidence                                            Evidence
“buffer”5         ’868 patent          PROPOSED CONSTRUCTION:                                 PROPOSED CONSTRUCTIONS:
                  claims 1, 5, 6, 8-
                  10, 13, 14, 18,      “agent(s) that adjust and/or maintain pH”              (i) “a buffering agent or mixture of agents that
                  19, 21-23, 26,                                                              maintain(s) the pH of the liquid enalapril
                  30, and              EXEMPLARY INTRINSIC EVIDENCE:                          formulation beyond any pH maintenance
                  incorporated in                                                             provided by enalapril, an enalapril salt, or any
                  all dependent        Silvergate reserves the right to rely on the claims,   compound disassociated from an enalapril salt”
                  claims thereto;      specifications, and entire prosecution histories of
                                       the ’868, ’482, and ’621 patents, as well as           or, alternatively
                  ’482 patent          the ’008, ’442, ’745, and ’987 patents, and all
                  claims 1, 7, 8,      related patent applications, including but not         (ii) “a buffering agent or mixture of agents that
                  13, 14, 25, 26,      limited to:                                            that includes a weak acid that has an acidic
                  28, and                                                                     hydrogen with a pKa within ± 1 of the
                  incorporated in                                                             formulation pH”
                                       -   Claims of the ’868, ’482, and ’621 patents
                  all dependent
                  claims thereto;
                                       ’868 Patent                                            INTRINSIC EVIDENCE:
                                       - Abstract
                  ’621 patent                                                                 ‘482 Patent 1:1-42:63
                  claims 1, 4-7,       - col. 1:49-52
                  19, 20-23, 30,       - col. 2:21-28
                                       - col. 4:64-5:8                                        ’868 Patent 1:1-42:67
                  and incorporated
                  in all dependent     - col. 5:13-23
                  claims thereto       - col. 5:45-50                                         ‘621 Patent 1:1-42:67
                                       - col. 5:58-6:15
                                       - col. 6:29-31                                         ’482 Patent File History:
                                       - col. 6:35-40

     5
         Amneal reserves the right to join Bionpharma’s proposed construction of the term “buffer.”


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             Corresponding       Silvergate’s Proposed Construction and        Bionpharma’s Proposed Construction and
Claim Term
                Claims                          Evidence                                     Evidence
                             -   col. 13:22-14:48                            2018-10-31 Claims - SLVGT-EPA_0105692-695
                             -   col. 18:36-19:35
                             -   col. 21:9-33                                2018-10-31 Specification - SLVGT-
                             -   col. 25:27-61                               EPA_0105715-762
                             -   col. 29:16-18
                             -   col. 29:23-28                               2019-01-25 Non-Final Rejection - SLVGT-
                             -   Examples A-H and all associated tables      EPA_0105771-784
                             -   Figs. 1 & 2
                                                                             2019-03-01 Response to Office Action - SLVGT-
                             File History of ’008 Patent                     EPA_0105790-803
                             - Jan. 17, 2017 – First Action Interview
                                 (SLVGT-EPA_0000835-837)                     2019-03-01 Mosher Declaration dated Feb 2,
                             - Feb. 3, 2017 – Response to Non-Final Office   2017 - SLVGT-EPA_0105804-811
                                 Action (SLVGT-EPA_0000857-879)
                             - Feb. 3, 2017 – Declaration of Dr. Mosher      2019-06-24 Final Rejection - SLVGT-
                                 dated Feb. 2, 2017 (SLVGT-EPA_0000880-      EPA_0106673-692
                                 893)
                             - Mar. 22, 2017 – Supplemental Amendment in     2019-08-01 Response After Final - SLVGT-
                                 Response to Non-Final Office Action         EPA_0106721-728
                                 (SLVGT-EPA_0000940-945)
                             - Apr. 19, 2017 – Notice of Allowance           2019-09-16 Advisory Opinion - SLVGT-
                                 (SLVGT-EPA_0001145-149)                     EPA_0106743-745

                             File History of ’868 Patent                     2019-08-22 Examiner Interview - SLVGT-
                             - Jan. 8, 2019 – Preliminary Amendment          EPA_0106746
                                 (SLVGT-EPA_0104422-428)
                             - Aug. 1, 2019 – Response to Non-Final Office   2019-10-24 Response to Office Action - SLVGT-
                                 Action (SLVGT-EPA_0105316-330)              EPA_0106753-760




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             Corresponding       Silvergate’s Proposed Construction and        Bionpharma’s Proposed Construction and
Claim Term
                Claims                          Evidence                                     Evidence
                             -   Aug. 1, 2020 – Declaration of Dr. Mosher    2020-01-07 Non-Final Rejection - SLVGT-
                                 dated Feb. 2, 2017 (SLVGT-EPA_0105341-      EPA_0106767-777
                                 354)
                             -   May 14, 2017 – Declaration of Dr. Mosher    2020-03-06 Examiner Interview - SLVGT-
                                 dated May 14, 2020 (SLVGT-EPA_0105503-      EPA_0106788-790
                                 513)                                        2020-05-15 Response to Office Action - SLVGT-
                             -   May 14, 2020 – Response of Final Office     EPA_0106791-801
                                 Action (SLVGT-EPA_0105519-532)
                             -   Aug. 3, 2020 – Notice of Allowance          2020-05-15 Mosher Declaration dated May 15,
                                 (SLVGT-EPA_0105656-663)                     2020 - SLVGT-EPA_0106802-808

                             File History of ’482 Patent                     2020-07-16 Notice of Allowance - SLVGT-
                             - Mar. 1, 2019 – Response to Non-Final Office   EPA_0106991-999
                                 Action (SLVGT-EPA_0105790-803)
                             - Mar. 1, 2019 – Declaration of Dr. Mosher      2020-07-01 Examiner Interview - SLVGT-
                                 dated Feb. 2, 2017 (SLVGT-EPA_0105804-      EPA_0107000-001
                                 817)
                             - Aug. 1, 2019 – Response to Final Office       2020-07-22 Amendment after Notice of
                                 Action (SLVGT-EPA_0106721-728)              Allowance - SLVGT-EPA_0107030-036
                             - Oct. 24, 2019 – Response to Advisory Action
                                 and Final Office Action (SLVGT-             2020-07-31 Response to Amendment - SLVGT-
                                 EPA_0106753-760)                            EPA_0107044-045
                             - May 15, 2020 – Response to Non-Final
                                 Office Action (SLVGT-EPA_0106791-801)       2020-08-22 Notice of Allowance - SLVGT-
                             - May 15, 2020 – Declaration of Dr. Mosher      EPA_0107047-050
                                 dated May 15, 2020 (SLVGT-EPA_0106802-
                                 808)                                        2020-29-09 Issue Notification - SLVGT-
                             - July 16, 2020 – Notice of Allowance           EPA_0107056
                                 (SLVGT-EPA_0106991-6999)




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             Corresponding      Silvergate’s Proposed Construction and        Bionpharma’s Proposed Construction and
Claim Term
                Claims                         Evidence                                     Evidence
                             File History of ’621 Patent                    ’868 Patent File History:
                             - Jan. 1, 2021 – Notice of Allowance (SLVGT-
                                 EPA_0107216-220)                           2019-01-08 Claims - SLVGT-EPA_0104348-351

                                                                            2019-01-08 Specification - SLVGT-
                                                                            EPA_0104374-421

                                                                            2019-01-18 Preliminary Amendment - SLVGT-
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                                                                            2019-05-02 Non-Final Rejection - SLVGT-
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                                                                            2019-08-01 Mosher Declaration dated Feb 2,
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                                                                            2019-11-19 Final Rejection - SLVGT-
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                                                                            2020-05-14 Mosher Declaration dated May 14,
                                                                            2020 - SLVGT-EPA_0105503-513

                                                                            2020-05-14 Response to Office Action - SLVGT-
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             Corresponding    Silvergate’s Proposed Construction and     Bionpharma’s Proposed Construction and
Claim Term
                Claims                       Evidence                                  Evidence
                                                                       2020-07-22 Examiner Interview - SLVGT-
                                                                       EPA_0105664-665

                                                                       2020-08-03 Notice of Allowance - SLVGT-
                                                                       EPA_0105656-663

                                                                       2020-08-03 Examiner Interview - SLVGT-
                                                                       EPA_0105676

                                                                       2020-09-15 Issue Notification - SLVGT-
                                                                       EPA_0105686

                                                                       ’621 Patent File History:

                                                                       2020-08-12 Specification – SLVGT-
                                                                       EPA_0107082-129

                                                                       2020-08-12 Claims – SLVGT-EPA_0107130-132

                                                                       2020-12-28 Mosher Declaration dated May 15,
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                                                                       2020-12-28 Mosher Declaration dated May 14,
                                                                       2020 – SLVGT-EPA_0107188-198

                                                                       2020-12-28 Mosher Declaration dated Feb 2,
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                  Corresponding           Silvergate’s Proposed Construction and               Bionpharma’s Proposed Construction and
Claim Term
                     Claims                              Evidence                                            Evidence
                                                                                             2020-12-28 Supplemental Response or
                                                                                             Supplemental Amendment – SLVGT-
                                                                                             EPA_0107209-211

                                                                                             2021-01-01 Notice of Allowance – SLVGT-
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                                                                                             2020-12-17 Examiner Interview – SLVGT-
                                                                                             EPA_0107221-222

                                                                                             2021-02-16 Issue Notification – SLVGT-
                                                                                             EPA_0107260
“wherein the      ’621 patent         PROPOSED CONSTRUCTION:                                 PROPOSED CONSTRUCTION:
formulation is    claims 1, 19, 30,
stable at         and incorporated    Plain and ordinary meaning (not indefinite)            Indefinite (to the extent it is not unbounded and
about 5±3ºC       in all dependent                                                           thus invalid for lack of written description and/or
for at least 12   claims thereto      EXEMPLARY INTRINSIC EVIDENCE:                          enablement)
months; and
wherein the                                                                                  INTRINSIC EVIDENCE:
                                      Silvergate reserves the right to rely on the claims,
stable oral                           specifications, and entire prosecution histories of
liquid
                                      the ’868, ’482, and ’621 patents, as well as           This term is indefinite (to the extent it is not
formulation                           the ’008, ’442, ’745, and ’987 patents, and all        unbounded and thus invalid for lack of written
has about                             related patent applications, including but not         description and/or enablement)
95% w/w or
                                      limited to:
greater of the                                                                               ’621 Patent
initial
                                      ’621 Patent                                            Claim 1-30
enalapril
amount and                            - Claims 1-30
                                                                                             ’868 patent
about 5%
                                      ’868 Patent                                            Claim 1–30;
w/w or less
                                      - Abstract                                             2:21–3:49;
total impurity                                                                               4:64–5:9;


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                Corresponding       Silvergate’s Proposed Construction and        Bionpharma’s Proposed Construction and
Claim Term
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or related                      -   col. 1:49-52                                5:54–6:55;
substances at                   -   col. 2:21-28                                8:35–19:54;
the end of a                    -   col. 4:64-5:8                               20:43–22:44;
given storage                   -   col. 5:13-23                                23:19–67;
period”                         -   col. 5:45-50                                31:19–41:27 (Examples A–H).
                                -   col. 5:58-6:15
                                                                                ’482 patent
                                -   col. 13:22-14:25
                                                                                Claim 1-28;
                                -   col. 14:47-48
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                                -   col. 18:36-19:35                            4:64–5:9;
                                -   col. 25:27-61                               5:54–6:55;
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                                -   Examples A-H and all associated tables      20:43–22:44;
                                -   Figs. 1 & 2                                 23:19–67;
                                                                                31:14–41:10 (Examples A–H).
                                File History of ’008 Patent
                                - Jan. 17, 2017 – First Action Interview        Prosecution history of U.S. Patent No. 9,669,008
                                    (SLVGT-EPA_0000835-837)                     Original Claims (SLVGT-EPA_0000365–366);
                                - Feb. 3, 2017 – Response to Non-Final Office   Office Action dated January 17, 2017 (SLVGT-
                                    Action (SLVGT-EPA_0000857-879)              EPA_0000835–841);
                                - Feb. 3, 2017 – Declaration of Dr. Mosher      February 3, 2017 Amendment and Response
                                    dated Feb. 2, 2017 (SLVGT-EPA_0000880-      (SLVGT-EPA_0000857-879);
                                    893)                                        Mosher Declaration dated
                                - Mar. 22, 2017 – Supplemental Amendment in     February 2, 2017 at 1-8 (SLVGT-EPA_0000880-
                                    Response to Non-Final Office Action         87);
                                    (SLVGT-EPA_0000940-945)                     Supplemental Amendment dated March 22, 2017
                                - Apr. 19, 2017 – Notice of Allowance           (SLVGT-EPA_0000940–945);
                                    (SLVGT-EPA_0001145-149)                     Notice of Allowance dated April 19, 2017
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             Corresponding       Silvergate’s Proposed Construction and        Bionpharma’s Proposed Construction and
Claim Term
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                             File History of ’868 Patent                     ’868 Patent Prosecution history
                             - Jan. 8, 2019 – Preliminary Amendment          Original claims at 48-51;
                                 (SLVGT-EPA_0104422-428)                     Preliminary amendment dated January 18, 2019;
                             - Aug. 1, 2019 – Response to Non-Final Office   Office Action dated May 2, 2019;
                                 Action (SLVGT-EPA_0105316-330)              August 1, 2019 Office Action Response;
                             - Aug. 1, 2020 – Declaration of Dr. Mosher      Declarations of Mosher dated February 2, 2017
                                 dated Feb. 2, 2017 (SLVGT-EPA_0105341-      and May 14, 2020;
                                 354)                                        Office Action dated Nov 19, 2019;
                             - May 14, 2017 – Declaration of Dr. Mosher      May 14, 2020 Office Action Response;
                                 dated May 14, 2020 (SLVGT-EPA_0105503-      Notice of Allowance dated August 8, 2020.
                                 513)
                             - May 14, 2020 – Response of Final Office       ’482 Patent Prosecution history
                                 Action (SLVGT-EPA_0105519-532)              Original claims at 48-51;
                                                                             Office Action dated January 25, 2019;
                             - Aug. 3, 2020 – Notice of Allowance
                                                                             March 1, 2019 Office Action Response;
                                 (SLVGT-EPA_0105656-663)
                                                                             Declarations of Mosher dated February 2, 2017
                                                                             and May 14, 2020;
                             File History of ’482 Patent                     Office Action dated June 24, 2019;
                             - Mar. 1, 2019 – Response to Non-Final Office   August 1, 2019 Office Action Response;
                                 Action (SLVGT-EPA_0105790-803)              Advisory Opinion dated September 16, 2019;
                             - Mar. 1, 2019 – Declaration of Dr. Mosher      October 24, 2019 Office Action Response;
                                 dated Feb. 2, 2017 (SLVGT-EPA_0105804-      Office Action dated January 7, 2020;
                                 817)                                        May 15, 2020 Office Action Response;
                             - Aug. 1, 2019 – Response to Final Office       Notice of allowance dated July 16, 2020.
                                 Action (SLVGT-EPA_0106721-728)
                             - Oct. 24, 2019 – Response to Advisory Action
                                 and Final Office Action (SLVGT-
                                 EPA_0106753-760)
                             - May 15, 2020 – Response to Non-Final
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             Corresponding       Silvergate’s Proposed Construction and     Bionpharma’s Proposed Construction and
Claim Term
                Claims                           Evidence                                 Evidence
                             -   May 15, 2020 – Declaration of Dr. Mosher
                                 dated May 15, 2020 (SLVGT-EPA_0106802-
                                 808)
                             -   July 16, 2020 – Notice of Allowance
                                 (SLVGT-EPA_0106991-6999)

                             File History of ’621 Patent
                             - Jan. 1, 2021 – Notice of Allowance (SLVGT-
                                 EPA_0107216-220)




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                                     Appx47                       SLVGT-EPA_0107307
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                                     Appx48                       SLVGT-EPA_0107308
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                                     Appx49                       SLVGT-EPA_0107309
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                                     Appx50                       SLVGT-EPA_0107310
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                                     Appx51                       SLVGT-EPA_0107311
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                                     Appx52                       SLVGT-EPA_0107312
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                                     Appx53                       SLVGT-EPA_0107313
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                                     Appx54                       SLVGT-EPA_0107314
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                                     Appx55                       SLVGT-EPA_0107315
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                                     Appx56                       SLVGT-EPA_0107316
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                                     Appx57                       SLVGT-EPA_0107317
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                                     Appx58                       SLVGT-EPA_0107318
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                                     Appx59                       SLVGT-EPA_0107319
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                                     Appx60                       SLVGT-EPA_0107320
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                                     Appx61                       SLVGT-EPA_0107321
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                                     Appx62                       SLVGT-EPA_0107322
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                                     Appx63                       SLVGT-EPA_0107323
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                                     Appx64                       SLVGT-EPA_0107324
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                                     Appx65                       SLVGT-EPA_0107325
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                                     Appx66                       SLVGT-EPA_0107326
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                                     Appx67                       SLVGT-EPA_0107327
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                                     Appx68                       SLVGT-EPA_0107328
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                                     Appx69                       SLVGT-EPA_0107329
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                                     Appx70                       SLVGT-EPA_0107330
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                                     Appx71                       SLVGT-EPA_0107331
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                                     Appx72                       SLVGT-EPA_0107332
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                                     Appx73                       SLVGT-EPA_0107333
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                                     Appx74                       SLVGT-EPA_0107334
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                                     Appx75                       SLVGT-EPA_0107335
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                                     Appx76                       SLVGT-EPA_0107336
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                                     Appx78                       SLVGT-EPA_0107338
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                                     Appx79                       SLVGT-EPA_0107339
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                                     Appx80                       SLVGT-EPA_0107340
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                                     Appx81                       SLVGT-EPA_0107341
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                                     Appx82                       SLVGT-EPA_0107342
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                                     Appx83                       SLVGT-EPA_0107343
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                             UTILITY                                                        Attorney DocAet               43060-707.201
                       PATENT APPLICATION                                                   First lyained Inventor        Gerold L. MOSHER
                          TRANSMITTAL                                                        Title                        Enalapril Formulations
               (Onlyfor nee: nenprovisioncti applications under 37 CFR 1.53(b))             Express Mail Lobe! No.        Electronically filed on March 25,2019


                          APPLICATION ELEMENTS                                                                                       Commissioner for Patents
           See MPEP dcapter 600 concerning utility parent application contents„               ADDRESS TO:                                 P.O.Box 1450
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    2.          Applicant asserts small entity status.                                      10.        Assignment Papers
                See 37 CER 111                                                                        (cover sheet & document(s))
                                                                                                                   Name of Assignee
    3.          Applicanteertifies micro entitystatus-See r? CFR 1.2S..
                 Applicant must attach form PT0/38/154 cri B or equivalent,
    4. ✓        SpecificatiOn                         "Total POgfes 50                j     11.       37 CFR 3.73(c) Statement                           Power of Attorney
                Both the claims and abstract must start on a new page,                                (when there is cm assignee)
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                                                                                                          ❑ Copies of citations attached
                                                                                            14.       Preliminary Amendment
          b.          A copy from a prior.application (37' CFR 1.63(d))
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    7..         Application Data Sheet         'See note below:                                       (MPEP 3 5031(91001d be speciffeollyltordted)
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          c.          Statements verifying identity of above copies

      Vote: (1) Benefit claims.under 37 CFR 1 78 and foreign priority claims under 1.55 must he included in an Application Data Sheet(ADS).
            (24 For applications filed under 35 1.1..S.C. 111,the application must contain an ADS specifying the applicant if the applicant is an
               assignee, person to whom the inventor is under an obligation to assign, or person who otherwise shows sufficient proprietary
               interest in the matter_ See 37 CFR 1.46(b).
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                                                                 WSGR Docket No.43060-707.201

                                  PATENT APPLICATION

                              ENALAPRIL FORMULATIONS



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           Assignees:   Silvergate Pharmaceuticals.Inc.
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                        Greenwood Village,CO 80111

                        a Delaware Corporation



           Entity:      Large business concern




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                                  (650) 493-6811 (Facsimile)

                           Filed Electronically on: March 25,2016




                                           Appx85                                 SLVGT-EPA_0000317
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 111 of 748 PageID #: 2302



                                                  CLAIMS
  WHAT IS CLAIMED IS:

         An oral liquid formulation.comprising:
                 about 1 nag/nil enalapril malcate;
                 about 0.70 nag/m1 of a sweetener that is sucralose:
                 a buffer comprising about 1.82 mg/ml citric acid:
                 about 1 mg/m1 of a preservative that is sodium benzoate; and
                 water:
         wherein the pH ofthe formulation is less than about 3,5; and
         wherein the formulation is stable at about 5±3 °
                                                        C for at least 12 months.
     7. The formulation of claim 1,further comprising a flavoring agent
     3   The formulation of claim 1, wherein the buffer further comprises about 0.15 trig/trit sodium
         citrate dihydrate.
     4   'The formulation of claim 1,wherein the pH is between about 3 and about 3,5_
     5. The formulation of claim 4.wherein the pH is about 3.3.
     6. The formulation of claim I,wherein the citrate concentration in the buffer is about 5 mIVI to about
         20 mM.
     7. The formulation of claim 6,wherein the citrate concentration in the buffer is about 10 mM.
     8. The formulation of claim 1. wherein the formulation is stable at about 5+3 "C for at least 18
         months.
     9. The formulation eel'claim I. wherein the formulation is stable at about 5+3 °C for at least 24
         months.
     10. The formulation of claim 1, wherein the formulation does not contain mannitol
     11, The formulation of claim I,wherein the formulation does not contain silicon dioxide.
     12, An oral liquid formulation,comprising:
                 about 19 3    (w/w of solids) enalapril maleate:
                 about 13.5 % (w/w of solids) of a sweetener that is su.cralose;
                 a buffer comprising about 35.2 % (i,v/w of solids) citric acidL
                 about 19.3 % (w/w of solids) of a preservative that is sodium benzoate; and
                 water:
         w herein the pH of the formulation is less than about 3.5; and
         wherein the formulation is stable at about 5±3 "C for at least 12 months.
     13. The formulation of claim 12.further comprising a flavoring agent.


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                                                  Appx86                                       SLVGT-EPA_0000365
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     14. The formulation of claim 12, wherein the buffer .fitrther comprises about .2.9 % (w/w of solids)
         sodium citrate dthydrate.
     15 The formulation of claim 12,wherein the pH is between about 3 and about 3,5.
     16 The formulation of claim 15, wherein the pH is about 3.3.
     17 The formulation of claim 12,'Wherein the citrate concentration in the buffer is about 5 mM to
         about 20 inlq_
     18. The formulation of claim 17,wherein the citrate concentration 111 the buffer is about 10 mM.
     19. The formulation of claim 12,wherein the formulation is stable at about 53 'T for at least 24
         months.
     20. An oral liquid formulation.consisting essentially of:
        (i)        about 1 mg/m1 enalapril maleate;
        (ii)       about 0.70 mg/nil of a sweetener that is sucralose;
        (iii)    a buffer comprising about 1.82 mg/nil citric acid and about 0A5 mg/ml sodium citrate
                   dihydrate;
        (iv)       about 1 muhrd of a preservative that is sodium benzoate;
        (v)      a flavoring agent; and
        (vi)       water:
         Wherein   the pH of-the formulation is less than about 3.5 adjusted by sodium hydroxide or
         hydrochloric acid if needed; and
         wherein the formulation is stable at about 5±3        for at least 12 months.




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                                                   Appx87                                        SLVGT-EPA_0000366
 Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 113 of 748 PageID #: 2304
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Document Description: Request First Action Interview                                                                                        PTO/SB/413C (05-11)
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            REQUEST FOR FIRST ACTION INTERVIEW (FULL PILOT PROGRAM)


Attorney Docket                                      Application Number
Number:            43060-707.201                     (if known):        F !led       Herewith         Filing date:
                                                                                                                     March 25,2016
First Name
Inventor       Gerold       L. MOSHER                Trti-ENALAPRIL FORMULATIONS
APPLICANT HEREBY REQUESTS A FIRST ACTION INTERVIEW IN THE ABOVE-IDENTIFIED
APPLICATION. See Instruction Sheet on page 2.

       The application must contain three (3) or fewer independent claims and twenty (20) or fewer total claims.


2.     The application must not contain any multiple dependent claims.
3.     By filing this request:

       Applicant is agreeing to make an election without traverse if the Office determines that the claims are not
       obviously directed to a single invention; and

       Applicant is agreeing not to request for a refund of the search fee and any excess claims fee paid in the
       application after the mailing or notification of the pre-interview communication prepared by the examiner.

4,     Other attachments:




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Name
(Print/Typed)   Clark Y.Lin                                                                                   Registration Nu   rnber67024
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                                                                      Attorney Docket Number                 43060-707.201
 Application Data Sheet 37 CFR 1.76
                                                                      Application Number

 Title of Invention           Enalapril Formulations

 The application data sheet is part of the proVisional or nonprovisional application for which it is being submitted The following form contains the
 bibliographic data arranged in a format specified by the United States Patent and Trademarti Office as outlined in 37 CFR 1.76
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     Portions or all of the application associated with this Application Data Sheet may fall under a Secrecy Order pursuant to
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 City        ansas City                                   State/Province                0        Country of Residenc                     S


Mailing Address of Inventor:
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 Postal Code                             64145                                       Country i              US
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 Legal Name

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Mailing Address of Inventor:
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 Address 2
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 Application Data Sheet 37 CFR 1.76                               - -
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 Title of Invention        Enalapril Formulations


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Application Information:
 Title of the Invention                 Enalapril Formulations
 Attorney Docket Number 43060-707.201                                                     Small Entity Status Claimed
 Application Type                       Nonprovisional
 Subject Matter                         Utility
 Total Number of Drawing Sheets (if any)                         2                         Suggested Figure for Publication (if any)                       1

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                                                                                                                                                                   i
 Application number of the previously                 Filing date(YM-MM-DD)                                        Intellectual Property Authority or Country
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       Request Not to Publish. I hereby request that the attached application not be published under
 ❑     35 U.S.C.122(b) and certify that the invention disclosed in the attached application has not and will not be the
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 Application Data Sheet 37 CFR 1.76                                -    -
                                                                   Application Number

 Title of Invention        Enalapril Formulations



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Foreign Priority Information:
This section allows for the applicant to claim pnority to a foreign application Providing this information in the application data sheet
constitutes the claim for priority as required by 35 U.S.C.119(b) and 37 CFR 1.55. When priority is claimed to a foreign application
that is eligible for retrieval under the priority document exchange program (PDX)I the information will be used by the Office to
automatically attempt retrieval pursuant to 37 CFR 1.55(i)(1) and (2). Under the PDX program,applicant bears the ultimate
responsibility for ensuring that a copy of the foreign application is received by the Office from the participating foreign intellectual
property office, or a certified copy of the foreign priority application is filed, within the time period specified in 37 CFR 1.55(g)(1).

                                                                                                                                      Remove •

      Application Number                            Country'                  Filing Date(YYYY-MM-DD)                          Access Codei(if applicable)


 Additional Foreign Priority Data may be generated within this form by selecting the
                                                                                                                                          Add
 Add button.




Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition
Applications
      This application (1) claims priority to or the benefit of an application filed before March 16,2013 and (2) also
      contains,or contained at any time,a claim to a claimed invention that has an effective filing date on or after March
 ❑    16,2013.
      NOTE: By providing this statement under 37 CFR 1.55 or 1.78,this application, with a filing date on or after March
      16,2013,will be examined under the first inventor to file provisions of the AIA.




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                                                                           Appx91                                                       SLVGT-EPA_0000379
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     Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 PageApproved
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             Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection or information unless R contains a valid OMB control number.

                                                                  Attorney Docket Number                  43060-707.201
 Application Data Sheet 37 CFR 1.76
                                                                  Application Number

 Title of Invention       Enalapril Formulations




Authorization or Opt-Out of Authorization to Permit Access:

When this Application Data Sheet is properly signed and filed with the application, applicant has provided written
authority to permit a participating foreign intellectual property (IP) office access to the instant application-as-filed (see
paragraph A in subsection 1 below) and the European Patent Office (EPO) access to any search results from the instant
application (see paragraph B in subsection 1 below).

Should applicant choose not to provide an authorization identified in subsection 1 below, applicant must opt-out of the
authorization by checking the corresponding box A or B or both in subsection 2 below.

NOTE: This section of the Application Data Sheet is ONLY reviewed and processed with the INITIAL filing of an
application. After the initial filing of an application, an Application Data Sheet cannot be used to provide or rescind
authorization for access by a foreign IP office(s). Instead, Form PTO/SB/39 or PTO/SB/69 must be used as appropriate.


1. Authorization to Permit Access by a Foreign Intellectual Property Office(s)

A. Priority Document Exchange(PDX) - Unless box A in subsection 2 (opt-out of authorization) is checked,the
undersigned hereby grants the USPTO authority to provide the European Patent Office (EPO),the Japan Patent Office
(JPO),the Korean Intellectual Property Office (KIPO), the State Intellectual Property Office of the People's Republic of
China (SIP0), the World Intellectual Property Organization (WIPO),and any other foreign intellectual property office
participating with the USPTO in a bilateral or multilateral priority document exchange agreement in which a foreign
application claiming priority to the instant patent application is filed, access to:(1) the instant patent application-as-filed
and its related bibliographic data,(2) any foreign or domestic application to which priority or benefit is claimed by the
instant application and its related bibliographic data, and (3)the date of filing of this Authorization. See 37 CFR 1.14(h)


B. Search Results from U.S.Application to EPO - Unless box B in subsection 2 (opt-out of authonzation) is checked,
the undersigned hereby grants the USPTO authority to provide the EPO access to the bibliographic data and search
results from the instant patent application when a European patent application claiming priority to the instant patent
application is filed. See 37 CFR 1.14(h)(2).

The applicant is reminded that the EPO's Rule 141(1) EPC (European Patent Convention) requires applicants to submit a
copy of search results from the instant application without delay in a European patent application that claims priority to
the instant application.

2. Opt-Out of Authorizations to Permit Access by a Foreign Intellectual Property Office(s)

       A. Applicant DOES NOT authorize the USPTO to permit a participating foreign IP office access to the instant
     application-as-filed. If this box is checked,the USPTO will not be providing a participating foreign IP office with
     any documents and information identified in subsection 1A above.

      B. Applicant DOES NOT authorize the USPTO to transmit to the EPO any search results from the instant patent
❑    application. If this box is checked,the USPTO will not be providing the EPO with search results from the instant
     application.
NOTE: Once the application has published or is otherwise publicly available,the USPTO may provide access to the
application in accordance with 37 CFR 1.14,




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                                                                          Appx92                                                       SLVGT-EPA_0000380
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                Under the Paperwork Reduction Act of 1395.no persons are required to respond to a collection of information unless ft contains a valid OMB control number.

                                                                     Attorney Docket Number                 43060-707.201
  Application Data Sheet 37 CFR 1.76                                 -    -
                                                                     Application Number

  Title of Invention         Enalapril Formulations




Applicant Information:

  Providing assignment information in this section does not substitute for compliance with .any requirement of part 3 of Title 37 of CFR
  to have an assignment recorded by the Office_

  Applicant 11                                                                                                                           Remove

 lithe applicant -s the inventor (or the remaining joint inventor or inventors under 37 CFR 1.45), this section should not be completed.
 The information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR
 143; or the name and address of the assignee, person to whom the inventor is under an obligation to assign the invention, or person
 who otherwise shows sufficient proprietary interest in the matter who is the applicant under 37 CFR 146_ If the applicant is an
 applicant under 37 CFR 1.46 (assignee, person to whom the inventor is obligated to assign,or person who otherwise shows sufficient
 proprietary interest) together with one or more joint inventors, then the joint inventor or inventors who are also the applicant should be
!identified in this section_
                                                                                                                                            Clear


 •   Assignee                                           Legal Representative under 35 U.S.C.117                                   Joint Inventor

     Person to whom the inventor is obligated to assign.                                         Person who shows sufficient proprietary interest
If applicant is the legal representative,indicate the authority to fle the patent application, the inventor is:



 Name of the Deceased or Legally Incapacitated Inventor:

  If the Applicant is an Organization check here.
  Organization Name                 ilvergate Pharmaceuticals,Inc.

  Mailing Address Information For Applicant:
  Address 1                               251 Greenwood Plaza Blvd.
  Address 2                             Bldg_ 6,Suite 101
  City                                    reenwood Village                               State/Province                 CO
  Country/        PS                                                                     Postal Code                    80111
  Phone Number                                                                           Fax Number

  Email Address

Additional Applicant Data may be generated within this form by selecting the Add button.                                                    Add




Assignee Information including Non-Applicant Assignee Information:

Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title
37 of CFR to have an assignment recorded by the Office.




 EFS Web 2 2 12

                                                                             Appx93                                                       SLVGT-EPA_00003131
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     Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 PageApproved
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                                                                  Attorney Docket Number                 43060-707.201
 Application Data Sheet 37 CFR 1.76                                    -
                                                                  Application Number

 Title of Invention       Enalapril Formulations



  Assignee        1
Complete this section if assignee information,including non-applicant assignee information,is desired to be included on the patent
application publication. An assignee-applicant identified in the "Applicant Information" section will appear on the patent application
publication as an applicant. For an assignee-applicant,complete this section only if identification as an assignee is also desired on the
patent application publication.
                                                                                                                                     Remove

 If the Assignee or Non-Applicant Assignee is an Organization check here.                                                              ❑

 Prefix                          Given Name                         Middle Name                       Family Name                       Suffix

                           i                                                                                                                                       111
Mailing Address Information For Assignee including Non-Applicant Assignee:

 Address 1
 Address 2
 City                                                                                 State/Province
 Country i                                                                            Postal Code
 Phone Number                                                                         Fax Number
 Email Address
Additional Assignee or Non-Applicant Assignee Data may be generated within this form by
                                                                                                                                           Add
selecting the Add button.




Signature:                                                                                                                              Remove

NOTE: This Application Data Sheet must be signed in accordance with 37 CFR 1.33(b) However,if this Application
Data Sheet is submitted with the INITIAL filing of the application and either box A or B is not checked in
subsection 2 of the "Authorization or Opt-Out of Authorization to Permit Access" section,then this form must
also be signed in accordance with 37 CFR 1.14(c).
      This Application Data Sheet must be signed by a patent practitioner if one or more of the applicants is a juristic
entity (e.g., corporation or association). If the applicant is two or more joint inventors, this form must be signed by a
patent practitioner, all joint inventors who are the applicant, or one or more joint inventor-applicants who have been given
power of attorney (e.g., see USPTO Form PTO/AIA/81)on behalf of all joint inventor-applicants.
     See 37 CFR 1.4(d) for the manner of making signatures and certifications



 Signature       /Clark Lin/                                                                              Date (YYYY-MM-DD) 2016-03-25

 First Name , Clark                            Last Name           Lin                                    Registration Number               67024

 Additional Signature may be generated within this form by selecting the Add button.                                                    Add




EFS Web 2 2 12

                                                                          Appx94                                                       SLVGT-EPA_000031:12
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             Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.

                                                                  Attorney Docket Number                  43060-707.201
Application Data Sheet 37 CFR 1.76
                                                                  Application Number

Title of Invention        Enalapril Formulations




This collection of information is required by 37 CFR 1_76_ The information is required to obtain or retain a benefit by the public which
is to file (and by the USPTO to process) art application_ Confidentiality is governed by 35 U.S.C.122 and 37 CFR1 14. This
collection is estimated to take 23 minutes to complete,including gathering, preparing, and submitting the completed application data
sheet form to the USPTO Time will vary depending upon the individual case. Any comments on the amount of time you require to
complete this form and/or suggestions for reducing this burden,should be sent to the Chief Information Officer, U.S. Patent and
Trademark Office, U S. Department of Commerce, P.O Box 1450,Alexandria, VA 22313-1450 ❑O NOT SEND FEES OR
COMPLETED FORMS TO THIS ADDRESS SEND TO: Commissioner tor Patents, P.O.Box 1450, Alexandria,VA 22313-1450.




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                                                                           Appx95                                                       SLVGT-EPA_0000383
 Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 121 of 748 PageID #: 2312

Doc Code: TRAM .REQ
Document Description: TrackOne Request
                                                                                                                  TO/AIA1424 (04.14)




                  CERTIFICATION AND REQUEST FOR PRIORITIZED EXAMINATION
                               UNDER 37 CFR 1.102(e)(Page 1 of 1)

First Named                                                 Nonprovisional Application Number (if
Inventor:           Gerold L. MOSHER                        known):
Title of
InVention:          ENALAPRIL FORMULATIONS
APPLICANT HEREBY CERTIFIES THE FOLLOWING AND REQUESTS PRIORITIZED EXAMINATION FOR
THE ABOVE-IDENTIFIED APPLICATION.

     1. The processing fee set forth in 37 CFR 1 17(i)(1) and the prioritized examination fee set forth in
        37 CFR 1.17(c) have been filed with the request. The publication fee requirement is met
        because that fee, set forth in 37 CFR 1.18(d), is currently $0 The basic filing fee,search fee,
        and examination fee are filed with the request or have been already been paid. I understand
        that any required excess claims fees or application size fee must be paid for the application.

     2. I understand that the application may not contain, or he amended to contain, more than four
        independent claims, more than thirty total claims, or any multiple dependent claims, and that
        any request for an extension of time will cause an outstanding Track I request to be dismissed.
     3. The applicable box is checked below:

        I.      i7I Original Application (Track One) - Prioritized Examination under§1.102(e)(1)
     i. (a) The application is an original nonprovisional utility application filed under 35 U.S.C. 111(a)
            This certification and request is being filed with the utility application via EFS-Web.
                                            ---OR--
        (b) The application is an original nonprovisional plant application filed under 35 U.S.C. 111(a).
            This certification and request is being filed with the plant application in paper.
     ii. An executed inventor's oath or declaration under 37 CFR 1.63 or 37 CFR 1.64 for each
         inventor, or the application data sheet meeting the conditions specified in 37 CFR 1.53(f)(3)(i) is
         filed with the application
       II. 7       Request for Continued Examination - Prioritized Examination under 4 1.102(e)(2)

     i. A request for continued examination has been filed with, or prior to, this form.
     ii. If the application is a utility application, this certification and request is being filed via EFS-Web.
     iii. The application is an original nonprovisional utility application filed under 35 U.S.C. 111(a), or is
          a national stage entry under 35 U.S.C. 371.
     iv. This certification and request is being filed prior to the mailing of a first Office action responsive
          to the request for continued examination.
     v. No prior request for continued examination has been granted prioritized examination status
          under 37 CFR 1.102(e)(2).



Signature    /Clark Lin/                                                                 D,t,March 25,2016
Name
(Print/Typed)   Clark Y. Lin                                                             Practitioner
                                                                                         Registration Number   67- 7 024
Note: This form must be signed in accordance With 37 CFR 1.33. See 37 CFR 1.4(d) for signature requirements and certifications.
Submit multiple forms if more titan one signature is required.'

L
ij    'Total of        forms are submitted.




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Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 122 of 748 PageID #: 2313


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             DECLARATION (37 CFR1.63) FOR UTILITY OR DESIGN APPLICATION USING AN
                             APPLICATION DATA SHEET (37 CFR 176)

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         t.E-GAt NAME Or INVENTOR


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Receipt is acknowledged of this non-provisional patent application.The application will be taken up for examination
in due course. Applicant will be notified as to the results of the examination. Any correspondence concerning the
application must include the following identification information: the U.S. APPLICATION NUMBER,FILING DATE,
NAME OF APPLICANT,and TITLE OF INVENTION. Fees transmitted by check or draft are subject to collection.
Please verify the accuracy of the data presented on this receipt. If an error is noted on this Filing Receipt,please
submit a written request for a Filing Receipt Correction.Please provide a copy of this Filing Receipt with the
changes noted thereon.If you received a "Notice to File Missing Parts" for this application, please submit
any corrections to this Filing Receipt with your reply to the Notice. When the USPTO processes the reply
to the Notice,the USPTO will generate another Filing Receipt incorporating the requested corrections
Inventor(s)
                     Gerold L. MOSHER,Kansas City, MO;
                     David W.MILES,Kansas City. MO;
Applicant(s)
                     Silvergate Pharmaceuticals, Inc., Greenwood Village, CO;
Power of Attorney: None
Domestic Priority data as claimed by applicant
                  This appin claims benefit of 62/310,198 03/18/2016
Foreign Applications for which priority is claimed (You may be eligible to benefit from the Patent Prosecution
Highway program at the USPTO.Please see http://www.uspto.gov for more information.) - None.
Foreign application information must be provided in an Application Data Sheet in order to constitute a claim to
foreign priority. See 37 CFR 1.55 and 1.76.


Permission to Access Application via Priority Document Exchange: Yes

Permission to Access Search Results: Yes

Applicant may provide or rescind an authorization for access using Form PTO/SB/39 or Form PTO/SB/69 as
appropriate.

If Required,Foreign Filing License Granted: 04/08/2016
The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 15/081,603
                                                      page 1 of 3




                                                      Appx99                                       SLVGT-EPA_0000803
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 125 of 748 PageID #: 2316




Projected Publication Date: 09/21/2017

Non-Publication Request: No

Early Publication Request: No
Title
             Enalapril Formulations
Preliminary Class

Statement under 37 CFR 1.55 or 1.78 for MA (First Inventor to File) Transition Applications: No
                PROTECTING YOUR INVENTION OUTSIDE THE UNITED STATES

Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
effect in a foreign country, an inventor who wishes patent protection in another country must apply for a patent
in a specific country or in regional patent offices. Applicants may wish to consider the filing of an international
application under the Patent Cooperation Treaty (PCT). An international (PCT) application generally has the same
effect as a regular national patent application in each PCT-member country.The PCT process simplifies the filing
of patent applications on the same invention in member countries, but does not result in a grant of "an international
patent" and does not eliminate the need of applicants to file additional documents and fees in countries where patent
protection is desired.

Almost every country has its own patent law, and a person desiring a patent in a particular country must make an
application for patent in that country in accordance with its particular laws. Since the laws of many countries differ
in various respects from the patent law of the United States, applicants are advised to seek guidance from specific
foreign countries to ensure that patent rights are not lost prematurely.

Applicants also are advised that in the case of inventions made in the United States,the Director of the USPTO must
Issue a license before applicants can apply for a patent in a foreign country. The filing of a U.S. patent application
serves as a request for a foreign filing license. The application's filing receipt contains further information and
guidance as to the status of applicant's license for foreign filing.

Applicants may wish to consult the USPTO booklet,"General Information Concerning Patents" (specifically, the
section entitled "Treaties and Foreign Patents") for more information on timeframes and deadlines for filing foreign
patent applications. The guide is available either by contacting the USPTO Contact Center at 800-786-9199,or it
can be viewed on the USPTO website at http://www.uspto.gov/web/offices/pac/doc/general/index.html.

For information on preventing theft of your intellectual property (patents, trademarks and copyrights), you may wish
to consult the U.S. Government website, http://www.stopfakes.gov. Part of a Department of Commerce initiative,
this website includes self-help "toolkits" giving innovators guidance on how to protect Intellectual property in specific
countries such as China, Korea and Mexico. For questions regarding patent enforcement issues, applicants may
call the U.S. Government hotline at 1-866-999-HALT (1-866-999-4258).




                                                       page 2 of 3




                                                      Appx100                                        SLVGT-EPA_0000804
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 126 of 748 PageID #: 2317




                                 LICENSE FOR FOREIGN FILING UNDER
                                Title 35, United States Code,Section 184
                           Title 37,Code of Federal Regulations, 5.11 & 5.15
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respect to certain countries, of other agencies, particularly the Office of Defense Trade Controls, Department of
State (with respect to Arms, Munitions and Implements of War (22 CFR 121-128)); the Bureau of Industry and
Security, Department of Commerce (15 CFR parts 730-774); the Office of Foreign AssetsControl, Department of
Treasury (31 CFR Parts 500+) and the Department of Energy.

NOT GRANTED

No license under 35 U.S.C. 184 has been granted at this time, if the phrase "IF REQUIRED, FOREIGN FILING
LICENSE GRANTED" DOES NOT appear on this form.Applicant may still petition for a license under 37 CFR 5.12.
if a license is desired before the expiration of 6 months from the filing date of the application If 6 months has lapsed
from the filing date of this application and the licensee has not received any indication of a secrecy order under 35
U.S.C. 181,the licensee may foreign file the application pursuant to 37 CFR 5.15(b).


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                                                       page 3 of 3




                                                      Appx101                                         SLVGT-EPA_0000805
    Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 127 of 748 PageID #: 2318
      ♦b




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                                                                                       www.itapto,gov




              •   NO.          FILING DATE            FIRST NAMED INVENTOR     •       DOCKET NO.         CONFIRMATION NO.

      15/081,603                03/25/2016              Gerold L.MOSHER         43060-707.201                     3892

      21971             7590             09/02/2016
                                                                                                EXAMINER
      WILSON,SONSINI.GOODRICH & ROSATI
      650 PAGE MILL ROAD                                                                 SPRINGER,STEPHANIE K

      PALO ALTO,CA 94304-1050
                                                                                   ART UNIT                 PAPER NUMBER

                                                                                      1629


                                                                             NOTIFICATION DATE             DELIVERY MODE

                                                                                   09/02/2016                ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding..

The time period for reply,&any,is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address(es):
patentdoCkettl wtTr.com




PTOL-90A MO.0.1/07)


                                                          Appx102                                   SLVGT-EPA_0000816
         Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 128 of 748 PageID #: 2319
                                                                Application No.                        Applicant(s)
 First Action Interview Pilot Program                           15/081,603                             MOSHER ET AL.
    Pre-Interview Communication                                 Examiner                               Art Unit   AIA (First Inventor to File)
                                                                                                                  Status
                                                                STEPHANIE SPRINGER                     1629       Yes
  -The MAILING OR NOTIFICATION DATE of this communication appears on the cover sheet with the correspondence address -
THE SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ONE MONTH OR THIRTY (30) DAYS,
WHICHEVER IS LONGER,FROM THE MAILING OR NOTIFICATION DATE OF THIS COMMUNICATION.
This time period for reply is extendable under 37 CFR 1136(a) for only ONE additional MONTH.
This communication constitutes notice under 37 CFR 1.136(a)(1)(1).
Applicant must, within the time period for reply, file: (1) A letter requesting not to have a first action Interview: (2) A reply under 37 CFR
1.111 waiving the first action interview and First Action Interview Office Action; or (3) An Applicant Initiated Interview Request Form (PTOL-
413A) electronically via EFS-Web,accompanied by a proposed amendment or arguments, and schedule the interview within 2 months from
the filing of the request. A failure to respond to this communication will be treated as a request not to have an interview. If applicant waives
the First Action Interview Office Action, the instant Pre-Interview Communication is deemed the first Office Action on the Merits. The next
subsequent Office action may be made final if appropriate. See MPEP 706.07(a).
Status
   1)Z Responsive to communication(s) filed on 25 March 2016.
       ❑ A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on
Disposition of Claims
     2)Z Claim(s) 1-20 is/are pending in the application.
         2a) Of the above claim(s)         is/are withdrawn from consideration.
     3)0 Claim(s)        is/are allowed.
     4)0 Claim(s) 1-20 is/are rejected.
     5)0 Clalm(s)        is/are objected to.
     6)0 Claim(s)        are subject to restriction and/or election requirement.

Application Papers
     7)0 The specification is objected to by the Examiner.
     8)Z The drawing(s) filed on 25 March 20161slare: a)IZ accepted or b)0 objected to by the Examiner.
              Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
              Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1 121(d).

Priority under 35 U.S.C.§119
   9)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C.§119(a)-(d) or (f).
      a)0 All b)0 Some c)0 None of:
        1.0 Certified copies of the priority documents have been received.
        2.0 Certified copies of the priority documents have been received in Application No.        .
        3.0 Copies of the certified copies of the priority documents have been received in this National Stage
              application from the International Bureau (PCT Rule 17.2(a)).
     'See the attached detailed Office action for a list of the certified copies not received.




Contact Information
  Examiner's Telephone Number:(571)270-7380
  Examiner's Typical Work Schedule. Monday through Friday, 9 am to 5 pm

   Supervisor's Name: Jeffrey Lundgren                                                      Supervisor's Telephone Number.(571)272-5541
Attachment(s)
1) ❑Notice of References Cited (PTO-892)                           3) ❑Interview Summary (PTO-413)
                                                                         Paper No(s)/Mail Date.
2) ®Information Disclosure Statement(s)(PTO/SB/08)
      Paper No(s)/Mail Date 13 pqs.                                4) ❑ Other
U S.Patent and Trademark Office
PTOL-413FP(Rev 03-13)             First Action Interview Pilot Program - Pre-Interview Communication      Part of Paper No./Mall Date 20160805


                                                                       Page 1 of 2

                                                                       Appx103                                          SLVGT-EPA_0000817
         Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 129 of 748 PageID #: 2320
                                                                      Application No.                          Applicant(s)

                                                                      15/081,603                               MOSHER ET AL.
      First Action Interview Pilot Program
                                                                      Examiner                                 Art Unit         AIA (First Inventor to File)
         Pre-Interview Communication                                                                                            Status
                                                                      STEPHANIE SPRINGER                       1629
                                                                                                                                 No


                                                        Notification of Rejection(s) and/or Objection(s)
                             Reference(s)        Rejection
 tt     Claim(s)                                                                                 Brief Explanation of Rejection
                            (if applicable)   Statutory Basis
                                                                  Applicants claim an oral liquid formulation comprising enalapril maleate; sucralose: citric
                          013, 043,028,
        1-20                                  103                 acid;sodium benzoate: and water, wherein the pH is less than about 3.5 and the
                          036,037
                                                                  formualtion is stable for at least 12 months.




                                                              Expanded Discussion/Commentary
               '747 teaches oral liquid compositions comprising enalapril, mannitol,and a sweetener, wherein the oral liquid is formed using a powder
               formulation, wherein the liquid is stable for at least 36 weeks at ambient or refrigerated conditions.See,e.g., col 3,lines 12-17,col 13,lines
               29-33. The composition may comprise additional exciplents,including buffering agents such as sodium citrate; preservatives,.such as citric
               acid and benzoic acid;and sweeteners,such as sucralase or branded products such as Ora-Sweet.

               '747 discloses that Ora-Sweet sugar-free flavored syrup is used to solvate or dissolve enalapril . See column 8,lines 34-37. '747 teaches that
               the enalapril oral liquid compositions encompass both solutions arid suspensions,.and certain components may be in suspension while others
               are in solution_ See column 11.lines 40-60. Rippley discloses oral liquid formulations comprising 1 mg/mL enalapril. Rippley teaches the
               preparation of said solution using 10 mL BICITRA,2 x 20 mg enalapril tablets, and 30 mL Ora-Sweet SF.See p 340,col 2, pars 3.

               Rippley teaches that the liquid formulations are referred to as a suspension because the tablet excipients do not fully dissolve. but the active
               ingredient, enalapril maleate,is in solution.See p 343-344, bridging paragraph.Nahata discloses a composition comprising 1 mg/mL enalapril,
               citrate buffer, sweetened suspending agent. The composition was prepared from enalapril maleate tablets, citric acid buffer and a mixture of
               Ora-Sweet and Ora-Plus, See p 1156.col 1, pare 2.The sOlutiOns were stable for 91 days at 4 and 25 C

                Bicitra Sodium Citrate and Citric Acid Oral -Solution package Insert disClOses that Elioitra camprIset sodium citrate, citric acid,sodium
                benzoate,and sorbitol solution. Ora-Sweet package insert discloses that Ora-Sweet comprises sucrose. sorbitol, citric acid, preservatives.
                Thus, oral liquid compositions comprising 1 mg/mL enalapril maleate, sweeteners such as sucralose, buffers such as citric acid, preservatives
                such as sodium benzoate,and water were well known at the time of the invention.

               It appears that the instantly claimed invention Is reverse engineering the composition which is formed by the dissolution of enalapril maleate
               tablets in Bicitra and Ora-Sweet. While the prior art does not explicitly teach the recited amounts of each component.it would be within the
               purview of the ordinarily skilled artisan to optimize the resulting composition, essentially removing the tablet excipients and including the
               ingredients of Nolte and Ora-Sweet While the prior art teaches that the oral liquid composition may be stable for at least 36

               weeks,the prior art is silent with regards to the stability of said solution over a longer period of time. Thus the instantly claimed composition
               would have been obvious to the skilled artisan. The Examiner suggests presenting evidence demonstrating criticality of the selection of the
               amounts and specific ingredients,such as evidence demonstrating that the prior art composition does not have thesame long term stability as
               the instantly claimed composition.

                                              Stephanie Springer
 DATE:                                        Examiner
                                                                                                /Jeffrey S Lundgren/
                                                                                                SPE of AU 1629
                                              Art Unit: 1629
US Patent-and Tialemat ic Oltce
PTOL-413FP (Rev_ 08-13)              First Action Interview Pilot Program - Pre-Interview Communication             Part of Paper No /Mail Date 20160805




                                                                          Page 2 of 2

                                                                           Appx104                                                  SLVGT-EPA_0000818
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 130 of 748 PageID  #: 2321
                                                                         PTOL-413A (07-16)
   Doe Code: M865 or FALREQ.INTV                                                                              Approved for use through 08/31/2016.OMB 0651-0031
                                                                                             U.S,Patent and Trademark Office: U.S.DEPARTMENT OF COMMERCE

                                         Applicant I itiated Interview Request Form

  Application No.: 15i°81,6°:1                                  First Named Applicant: Gerold L. Mosher
  Examiner: Stephanie it, Springer                              Art Unit. 102$          Status of Application: Plwntellikawcummlir"c4"onmolla4

  Tentative Participants:
  (1)Clark sfl Lin                                             (21,          bonnefous


  (3)Gerold L.Mosher

  Proposed Date of Interview: To be Determined                                                        Proposed Time:TBD                            (OAM0PM)


  Type of Interview Requested:
  ( I) El Telephonic    (2) 0 Personal                                      (3) 0 Video Conference

  Exhibit To Be Shown or Demonstrated: Q V ES                                                        0     NO
  If yes,provide brief description:Comparative data will be shown                          Will be submitted prior to the interview



                                                                  issues To Be Discussed

  Issues                               Claims(                  Prior                                Discussed                Agreed                   Not •kgreed
  iRej.,Obj,,etc)                      Fig.4s                   Art

  ( 1) 103(0                            1-20                    11S6568747 Nehata,
                                                                                                     D                        0                        0
  , -)) 103(a) coned                                             Bicitra, Ora-Sweet,and
                                                                                                     El                       0                        i 1
  ( S) 103 (a) corittd                                           Rippley et al.
                                                                                                     LI                       0                        0
  ( 4)                                                     0             0                                                                             0
  LI Confirmation Sheet Attached        0 Proposed Amendment or Arguments Attached
  Brief Description of Arguments to be Presented:

  An interview was conducted on the above-identified application on

  NOTE: This form should be completed and filed by applicant in adi ance of the ;uteriiev (see MIPEP§713.01).
  this form is signed b,a registered practitioner not of record,the Office w ill accept this as an indication that he or
  she is authorized to conduct an interview on behalf of the principal(37 CFR 1.32(03)) pursuant to 37 CFR 1.34.
  This is not a pow er of attorney to any above named practitioner.See the Instruction Sheet for this form,which is
  incorporated by reference. By signing this form,applicant or practitioner is certifying that he or she has read the
  Instruction Sheet, After the interview is conducted,applicant is ad% iced to flk a statement of the substance of this
  eaten iro (37 CFR 1.133(b)) as soon as possible. This application will not be delayed from issue because of
  applicant's failure to submit a Si Hitter' record of this interview.


    /Clark Lin/
      Applicant/Applicant's Representative Signature                                                             Exarniner/SPE Signature
    Clark Y.Lin
                                                                                              858-350-2318
   Typed/Printed Name of Applicant or Representative
                                                                                               Applicant's/Applicatit's Representrilive's Telephone Nil:1 0-ILI
     6 , .024
                Registration Number,if applicable
  'Phis coilecthin i4 inforin4(11111 is required by 37 CFR 1.133.The information is required to obtain .w retain a benefit by the public which isto file (and by the USFTO
  to peoe.essturt application.Confidentiality is governed 435 U.S.C.122 and 37 CFR 1.11 and 1.14.          collection is estimated to take 24 minutes to complete,including
  gathcring,               and submitting the compleled application form to the USFTO,Time will vat,dime nding upon I!wind ivithial case, Any o- intments on the amount
  of time you require to complete this form and/or suggestions for reducing this burden.should be sent to the Chief haformatinn Officer,U.S.Patent and Trademark
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                                                                           Appx105                                                             SLVGT-EPA_0000832
   Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 131 of 748 PageID #: 2322
     ♦b




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              •   NO.          FILING DATE            FIRST NAMED INVENTOR     •       DOCKET NO.         CONFIRMATION NO.

      15/081,603                03/25/2016              Gerold L.MOSHER         43060-707.201                     3892

      21971             7590             01/17/3017
                                                                                                EXAMINER
      WILSON,SONSINI,GOODRICH & ROSATI
      650 PAGE MILL ROAD                                                                 SPRINGER,STEPILeME K

      PALO ALTO,CA 94304-1050
                                                                                   ART UNIT                 PAPER NUMBER

                                                                                     1629


                                                                             NOTIFICATION DATE             DELIVERY MODE

                                                                                   01/17/2017                ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding..

The time period for reply,if any,is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
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PW1L-90A MO.04/07)


                                                          Appx106                                   SLVGT-EPA_0000835
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 132 of 748 PageID #: 2323
                                                             Application No.                     Applicant(s)
                First Action Interview                       15/081,603                          MOSHER ET AL.
               Office Action Summary                         Examiner                            Art Unit   AIA (First Inventor to File)
                                                                                                           Status
                                                             STEPHANIE SPRINGER                  1629
                                                                                                           Yes
  The MAILING OR NOTIFICATION DATE of this communication appears on the cover sheet with the correspondence address.
 THE SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE TWO MONTHS FROM THE MAILING OR
 NOTIFICATION DATE OF THIS COMMUNICATION.
 This time period for reply is extendable under 37 CFR 1.136(a) for only TWO additional MONTHS.
 ❑Applicant's request to not have a first-action interview is acknowledged (or the time period for reply set forth in the Pre-
    Interview Communication has expired and the Office did not receive any reply).
 Status
       1)IEI Responsive to communication(s) filed on 25 March 2016 and interview conducted on 14 October 2016.
             ❑ A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on          .
       2)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
             closed in accordance with the practice under Ex parte Quayle, 1935 C.D.11,453 O.G.213.
  Disposition of Claims
       3)0 Claim(s) 1-20 is/are pending in the application.
             3a) Of the above claim(s)         is/are withdrawn from consideration.
       4)0 Claim(s)          is/are allowed
       5)1:0 Claim(s) 1-20 Is/are rejected.
       6)0 Claim(s)          is/are objected to.
       7)0 Claim(s)          are subject to restriction and/or election requirement.

  Application Papers
        8)0 The specification is objected to by the Examiner.
        9)EI The drawing(s) filed on 25 March 2016 is/are: a)[E] accepted or b)0 objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).
  Priority under 35 U.S.C.§119
   10)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C.§119(a)-(d) or (f)
       a)0 All b)0 Some* c)0 None of:
          1.0 Certified copies of the priority documents have been received.
          2,0 Certified copies of the priority documents have been received in Application No
          3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                application from the International Bureau (POT Rule 17.2(a)).
    *See the attached detailed Office action for a list of the certified copies not received.
 Contact Information
        Examiner's Telephone Number:(571)270-7380
        Examiner's Typical Work Schedule: Monday through Friday. 9 am to 5 pm

       Supervisor's Name: Jeffrey Lundgren                                             Supervisor's Telephone Number:(571)272-5541


  Attachment(s)
 1) ❑Notice of References Cited (PTO-892)                                      3) ❑Interview Summary (PTO-413)
                                                                                     Paper No(s)/Mail Date
 2) ®Information Disclosure Statement(s)(PTO/SB/08a and/or PTO/SB/08b)         4) ►1 Other: AF.D.19 pqs.
       Paper No(s)/Mail Date 13 pqs.
U S Patent and Tiademat k Office
PTOL-413FA (Rev.11-13)                            First Action Interview Office Action Summary           Part of Paper No /Mail Date 20161024

                                                                   Page 1 of 2


                                                                    Appx107                                            SINGT-EPA_0000836
         Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 133 of 748 PageID #: 2324



                                                                     Application No.                            Applicant(s)

                                                                     15/081,603                                 MOSHER ET AL.
                 First Action Interview
                Office Action Summary                                Examiner                                   Art Unit         AlA (First Inventor to File)
                                                                                                                                 Status
                                                                     STEPHANIE SPRINGER                         1629
                                                                                                                                  No
                                                         Notification of Rejection(s) and/or Objection(s)
                             Reterence(s)         Rejection
 ft     Claim(s)                                                                                    Brief Explanation of Rejection
                            (if applicable)    Statutory Basis
                                                                    The term "stable" is a reative term,and renders the claims indefinite. It is unclear if stability
 1      1-70              013,043,028.        112.2nd               refers to,e.g., homogeneity,amount of enalapril,amount of precipitation, amount of
                          036,037
                                                                    impurities.Claims do not disclose a standard or threshold of measurement.
                                                                    Applicants claim an oral liquid formulation comprising (i) enalapril maleate; (ii)sucralose;
                          013, 043i, 028
 2      1.-20                           '     103                   (iii) citric acid;(iv) sodium benzoate;(v) water, wherein the pH is less than about 3.5 and
                          036,037'
                                                                    the formulation is stable for at least 12 months.




                                                               Expanded Discussion/Commentary.
                747 teaches oral liquid compositions comprising enalapril, mannitol, and sweetener,formed using a powder formulation, wherein the liquid is
                stable for at least 36 wits at ambient or refrigerated conditions. The oral liquid is prepared by adding art amount of sweetner In liquid form to a
 2
                powder composition, wherein the powder composition comprises enalapril, mannitol,and colloidal silicon dioxide.The composition may
                comprise additional exclpients,including buffering agents such as sodium citrate: preservatives,such as.citric acid and benzoic acid;

                and sWeetners.such as sucrose,mannitol.sucralose or branded products such as Ora-SWeet. 747 diScloses studies comparing lactose.
                mannitol, and sucrose as stabilizing agents Ex1 is directed towards a powder formulation; mannitol Is most stable, but the sucrose
 2
                formulation was also stable. Ex2 is directed towards a solution; 1 mg/mL enalapril w/ mannitol is compared to 2 mg/mL enalapril w/ sucrose.
                747 teaches that colloidal silicon dioxide is a glidant, which improve flowability of a powder When the powder is reconstituted in liquid,the

                enalapril and mannitol are in solution while colloidal silicon dioxide forms a suspension. 747 discloses reconstitution of powder composition
                using Ora-Sweet.The composition wi colloidal silicon dioxide did not have "clouding": colloidal silicon dioxide Improved flowability of the
 2
                powder composition. However,additional mixing steps are still required. Rippley and Nahata also disclose compositions reconstituted from
                enalapril tablets, using Bicitra, Ora-Sweet,and Ora-Plus. Thus,oral liquid compositions comprising 1 mg/mL enalapril maleate,sweeteners

                such as mannitol,sucrose,sorbitol,and sucralose; buffers such as citric acid and sodium citrate; preservatives such as sodium benzoate; and
                water were well known at the time of the invention. The instantly claimed Invention differs in that it recites precise amounts of each
 2
                component.It would be within the purview of the ordinarily skilled artisan to reconstitute enalapril tablets afi Bicitra,Ora-Sweet,and Ora-Plus
                and remove components needed for powders or tablets,such as insoluble ingredients, Applicant presents Nahata as the sole comparative

                formulation,does not address 747,Rippley, Ora-Sweet,.Ora-Plus, Bicitra taken together Applicant compares Formula E5.i.e. the composition
                of claim 5,to Nahata, EnalaprIl tablets are crushed to powder and mixed WI water,citric acid,sodium citrate, sodium chloride,or mixed w/ 1:1
                Ora-SWeetOra-Plus, However,the solutions are not filtered. As Examiner stated,a skilled artisan Would reverse engineer the tablets
                dissolved in Ora-Sweet,Ora-Plus,and/or Biota and remove unnecessary excipients, i.e., excipients needed for powders or tablets. Proper

                comparative example would represent the teachings of the closest prior art as a whole,not just.Nahata. Further,the inventive example
                requires sodium citrate dihydrate,and is not representative of the broadest claimed composition. Applicant is invited to present evidence
 2
                demonstrating that the amounts of the components taught by Rippley and Nahata,particularly Ora-Sweet,Ora-Plus, and Bicitra, are different
                from the amounts recited in the instant claims

 DATE:
                                              /STEPHANIE SPRINGER/                              /JEFFREY S LUNDGREN/
                                              Examiner, Art Unit 1629                           Supervisory Patent Examiner, AU 1629

U S Palen!and Tiademai k Office
PTOL-413FA (Rev 11-13)                                     First Action Interview Office Action Summary                Part of Paper No./Mail Date 20161024




                                                                            Page 2 of 2


                                                                            Appx108                                                     SLVGT-EPA_0000837
To      Page 1 of 19                                                                  2016-10-14 09.27:10 PDT                                         Wilson Sonsini Goodr From: Hicks, Keiko
              Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 134 of 748 PageID #: 2325

                  R Wilson Sonsini Goodrich & Rosati
                           PROFESSIONAL COI1,PORATOCIN




                                                                                                                                               Date: 20115.10 14 09:26:19 Pal



                                                                                                       Fax: 15712708380


              From:Hicks,Keiko


             Subject: Deliver to. Examiner S.Springer



             Dear Examiner Springer,

             Please see the attached

             Best Regards,
             Keiko Hicks
             Patent Group Assistant.
             Wilson Sonsini Goodrich & Rosati
             12235 El Camino Real.Suite 200
             San Diego,California 92130-3002
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  Austin,TX78746 5540                   Ps .t.2 (0)2 274 57 00           5 Queen's Road Central             Ph 650 493 9300                 San Franois:o,GA 94105 1126         08 Century Baulovaio
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           Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 135 of 748  PageID
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        Please find below and/or attached an Office communication concerning this application or proceeding.

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        PTOL-90A (Rev.04/07i



PAGE 2/10* RCVD AT 10/14/2016 12:27:11 PM [Eastern Daylight Time[*SVR:W-PTOFAX-002120 ' DNIS:2708380 4 CSID:IMIson Sonsini Goodr             DURATION   4rn-ss):16-30
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             Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 136 of 748 PageID #: 2327
                                                                     Application No.                          Applicant(s)
      First Action Interview Pilot Program                           15/081,603                               MOSHER ET A._.
         Pre-Interview Communication                                 Examiner                                 Art Unit   AM (First Inventor to File)
                                                                                                                              Status
                                                                     STEPHANIE SPRINGER                       1629            Yes
       -The MAILING OR NOTIFICATION DATE of this communication appears on the cover sheet with the correspondence address -
     THE SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ONE MONTH OR THIRTY (30) DAYS,
     WHICHEVER IS LONGER,FROM THE MAILING OR NOTIFICATION DATE OF THIS COMMUNICATION,
     This time period for reply is extendable under 37 CFR 1.136(a) for only ONE additional MONTH.
     This Communication constitutes notice under 37 CFR 1.136(a)(1)(I).
     Applicant must,within the time period for reply,file: (1) A letter requesting not to have a first action interview;(2) A reply under 37 CFR
     1.111 waiving the first action interview and First Action Interview Office Action; or (3) An Applicant initiated Interview Request Form (PT01,-
     413A)electronically via EFS-Web,accompanied by a proposed amendment or arguments, and schedule the interview within 2 months from
     the filing of the request. A failure to respond to this communication Will be treated as a request not to have an interview if applicant waives
     the First Action Interview Office Action,the Instant Pre-Interview Communication Is deemed the first Office Action on the Merits. The next
     subsequent Office action may be made final if appropriate. See MPEP 706.07(a).
     Status
        1)0 Responsive to comrnunication(s) filed on 25 March 2016.
            0 A declamtion(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on
     Disposition of Claims
           2)12 Claim(s) 1-20 is/are pending in the application.
                2a) Of the above claim(s)         is/are withdrawn from consideration.
           3)0 Claim(s)         is/are allowed.
           4)N Claim(s) 1-20 is/are rejected.
           5)0 Claimfs)         is/are objected to.
           6)0 Claim(s)         are subject to restriction and/or election requirement.

     Application Papers
           7)171 The specification is objected to by the Examiner.
           8) The drawing(s) filed on 25 March 2016 isiare. a)rgl accepted or b)I=1 objected to by the Examiner.
                       Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                       Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).

     Priority under 35 U.S.C.§119
         9)0 Acknowledgment is made of a clam far foreign priority under 35 U.S.C,§119(a)-(d) or (O.
             a)0 Ail b)0 Some vc)0 None of:
                1.0 Certified copies of the priority documents have been received.
                2.0 Certified copies of the priority documents have been received in Application No.
                3_0 Copies of the certified copies of the priority documents have been received in this National Stage
                       application from the International Bureau (POT Rule 17.2(a)).
          "See the attached detailed Office action for a list of the certified copies no1 received.




     Contact Information
       Examiner's Telephone Number:(571)270-7380
       Examiners Typical Work Schedule: Monday through Friday: 9 am to 5 pm

        Supervisor's Name: Jeffrey Lundgren                                                      Supervisor's Telephone Number (571)272-5541
     Atiachment(s)
     1) ONotice of References Cited (PTO-892)                           3) 0 Interview Summary (P-I 0-413)
                                                                              Paper No(s);Mail Date.
     2) ElIntermation Disclosure Statement(s)(PTO/S-8/08)
           Paper No(s)!Mail Dale .13 as.                                4) 0 Other.
      I S Palat,1 and Tr.3dPrrtArlk
     PTOL-413FP (Rev 08-13)            First Action Interview Pilot Program - Pre-Interulaw Communication        Part of Paper No.'Mall Dale 20160805


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           Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 137 of 748 PageID #: 2328
                                                                                Application No.                          Applicant(s)
                                                                                15/081,603                              MOSHER ET AL.
          First Action Interview Pilot Program
                                                                                Examiner                                Art Unit          AlA (First Inventor to File)
             Pre-interview Communication                                                                                                  Status
                                                                                STEPHANIE SC RINGER                      1629              NO
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                                                                   Notification o1 Rejection(s) and/or Oblection(s)
                                   Reterence(s)              Rejection
      4    Claims)                                                                                        Brief Explanation of Rejection
                                  (if applicable)         Statutory Basis
                                                                            Applicants claim an oral liquid formulation comprising enalapril maleate:sucralose: citric
      I     1.20             013.043. 028'                t03               acid, sodium benzoate,and water, wherein the pH is less than about 3.5 and the
                             036 , 037
                                                                            formualtion is stable for at least 12 nienths_




                                                                        Expanded Diseusslon/Co mmeniary
                   '747 teaches oral liquid compositions comprising enalapril, mannitol,and a sweetener.wherein the oral liquid is formed using a powder
                   formulation wherein the liquid is stable for et lest 36 weeks et ambient or refrigerated conditions See,e.g , col 3_ lines 12-17:col 13 lines
                   29-33. The composition may comprise additional excipients,including buffering agents such as sodium citrate preservatives.such as citric
                   acid and benzoic acid; and eweeieners,such as sucralose or branded products such as Ora--Sweet.

                   '747 discloeeethat Ora Sweet sugar free flavored syrup is used to solvate or dissolve enalaprit. See column 8,lines 34 37 '747 -teaches that
                   the enalapril oral liquid compositions encompass both solutions and suspensions,and certain components may be in zuspeneion while others
                   are in solution_ See toiumn 11,lines 40-60.Rippley disclosesoral liquid formulations comprising 1 mgime enalapril Rippley teaches the
                   preparation of said solution using 10 mL BICITRA,2 x 20 mg enalapril 'tablets,.and 30 mL Ora-Sweet SF.See p 340.cot 2.pare 3.

                   Rippley teaches that the liquid formulations are referred io.as a suspension because the tablet excipients do not fully dissolVe, but the active
                   ingredient, enalapril maleate is in scilulion. See p 343-344. bridging paragraph. Nahata discloses a composition comprising 1 mgenL enalapril.
                   citrate buffer sweetened suspending agent, The composition was prepared from enalapril maleate tablets citric acid buffer and a mixture of
                   Ora-Sweet and Ora-Plus See p 1150,col 1 , pana 2.The solutions were stable for 91 days at 4 and 25 C.

                   &cilia Sodium Citrate and Citric Acid Oral Solution package insert discloses that Bicitra comprises sodium citrate, citric acid,sodium
                   benzoate.and sorbilol solution. Ore-Sweet package insert discloses that Ora-Sweet comprises sucrose. sorbitol. citric acid, preservatives.
                   Thin,oral liquid compositions comprising 1 mg/mL.enabprii maleate,sweeteners such as sUcralose,butlers such aS civic acid, preservatives
                   such as sodium benzoate, and water were well known at the lime of the invention:

                   It appears that the instantly claimed invention is reverse engineering the composition which is formed by the dissolution of enalapril maleate
                   tablets in Bicitra and Om -Sweet. While the prior art does not explicitly teach the recited amounts of each component, it wouto be within the
                   purview of the ordinarily skilled artisan to optimize the resulting composition,essentially removing the tablet excipients and including the
                   ingredients of Bicitra and Ora-Sweet White the prior art teaches that the oral liquid composition may be stable for at least 36

                   weeks,the prior art is silent with regards to the stability of said solution over a longer period of lime,Thus the instantly claimed composition
                   would have been obvious to the skilled artisan.The Examiner suggests presenting evidence demonstrating criticality of the selection of *he
                   amounts arid specific ingredients,such as evidence demonstrating that the prior art composition does not have the same long term stability as
                   the instantly claimed composition_


      DATE:                                               Stephanie Springer
                                                          Examine'                                       /Jeffrey S LUndgren/
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     PTOL-413FP(Rev.08-13)                   First Action Interview Pilot Program - Pre-Interview Communication              Part of Paper No./Mail Date 20160805




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             Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 138 of 748 PageID #: 2329


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                                                                                                Application Number              15081603
                     INFORMATION DISCLOSURE                                                     Filing Date                     03-25-2016
                                                                                                First Named inventor            MOSHER,Gerold
                     STATEMENT BY APPLICANT                                                     Art Unit
                           (Lisa as many sheets as necessary)                                                                   Not assigned
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         Sheet                                  1 of                    13                  t   Attorney Docket Number          43060-707.201



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      ism:,./           002         US-4472360                      09-18-1984                  HARRIS; Elbert E,et al
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     ____Lqx,3 /        018         US-20070265344                  11-15-2007                  STROBEL; Michael et al.



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           Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 139 of 748 PageID #: 2330


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                                                                                              Filing Date                        03-25-2016
                       INFORMATION DISCLOSURE                                                 First Named Inventor               MOSHER: Gerold
                       STATEMENT BY APPLICANT                                                 Art Unit
                           (List as many sheets as necessary)                                                                    Not assi wiled
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        Sheet                      2                                      13                  Attorney Docket Number             43060-707201


                                                                        U.S.PATENT DOCUMENTS
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      /SKS/                                                                                   FRANCOIS; Marc Karel
                        020        US-20080234291                    09-25-2008
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        /SKS/            021       US-20090269287                    10-29-2009               BERTA;James Albert
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          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 140 of 748 PageID #: 2331


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         Sheet                                                          13                     Attorney Docket Number         43060-707,201
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       isKsi            037            Product Information of Ora-Sweet (1 page) retrieved from,
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      ISKS /            038            PROESMANS et al,, "Enalapril in children with Alport syndrome," Pediatric nephrology (Berlin,                                        0
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           Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 146 of 748 PageID #: 2337


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                     INFORMATION DISCLOSURE
                                                                                                  First Named Inventof           MOSHER;Gerold L.
                     STATEMENT BY APPLICANT                                                       Art Unit
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       Initials*         No 1        the item (book, magazine,journal, serial, symposium,catalog,etc.), date, page(s), volume-issue                                              T2
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           Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 147 of 748 PageID #: 2338


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            Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 148 of 748 PageID #: 2339


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                      STATEMENT BY APPLICANT                                                        Art Unit
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                     INFORMATION DISCLOSURE                                                      First Named Inventor           MOSHER,Gerold L.
                     STATEMENT BY APPLICANT
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           Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 150 of 748 PageID #: 2341

                 U.S.Patent Application No.I5/081.603                                                 Attorney Docket No.43060-707.201

                                                                           LNTERVIEW EXHIBIT


                         The Office contends that Nahata et al.("Stability of enalapril maleate in three
                 extemporaneously prepared oral liquids" Am.Jr- health-Syst Pharm Vol 55,pp 1155-1157)
                 teaches an oral liquid enalapril formulation (prepared from crushed enalapril maleate tablets)
                 stable for about 90 days.
                         The stability data at.5 °C and 25 "C published by Nahata et al. are plotted graphically
                 below with linear regression of the data for extrapolation. Also included are the enalapril
                 concentrations from Formula ES of the instant application which comprises citric acid., sodium
                 citrate, sodium benzoate,and sucralose.



                                                             Enalapril Maleate Content after Storage at 5°C
                                                    102 -



                                                    101
                                                             •
                                                                 sr_                                                      deg Nahata water
                                                                            ♦
                    Percentage of Initial content




                                                    100
                                                                                                                  ad    5 deg Nahata Citrate Buffer pH
                                                                                                                        5.0
                                                     99
                                                                                                                  .4    5 deg Nahata 1:1 Mixture Ora-
                                                                                                                        Pius and Ora-Sweet

                                                     98                                                           ♦     5 deg Formula ES


                                                                                                                        Linear (5 deg Nahata water)
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          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 151 of 748 PageID #: 2342

                U.S.Patent Application No.15/081.603                                                Attorney Docket No.43060-707.201



                                                             Enalapril Maleate Content after Storage at 25°C
                                                   102


                                                   100


                                                    98                                                                25 deg Nahata water


                                                    96                                                                25 deg Nahata Citrate Buffer pH
                   Percentage of Initial content




                                                                                                                      5,0

                                                    94                                                                25 deg Nahata 1:1 Mixture Ora-
                                                                                                                      Plus and Dra-Sweet

                                                    92                                                          •     25 deg Formula E5


                                                    90                                                                Linear (25 deg Nahata water)


                                                                                                                    - Linear(25 deg Nahata Citrate
                                                    88
                                                                                                                      Buffer pH 5.0)

                                                                                                                — -Linear (25 deg Nahata 1:1
                                                    86
                                                                                                                   Mixture Ora-Plus and Ora-Sweet)
                                                                                                              ---- Linear(25 deg Formula ES)
                                                    84


                                                    82
                                                         0       100        200          300            400
                                                                       Days of Storage




                       At 5 "V and 25 °C the Nahata formulations are only stable for about 100 days (stability is
                defined as no more than 5% formation of degradants or 5% loss of enalapril), In contrast,
                formulation E5 of the instant application is stable for about one year at 5 °C and at 25 'C.




PAGE 19!19'RCVD AT 10114/201612:27:11 PM [Eastern Daylight Time]* SVR:VV•PTOFAX-002120 DNIS:2708380 a CSID:VVilson Sonsini Gawk'
                                                                                                                               ,DURATION (mmss):16-30
                                                                                     Appx126                                      SLVGT-EPA_0000856
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                                                              Attorney Docket No.: 43060-707.201



                    IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re the Application of:,                           Group Art Unit: 1629

Inventors:          Gerold L.Mosher,of at            Confirmation No.: 3892

Serial No.:         15/081,603                       Examiner: Stephanie K.Springer
Filed:              March 03,2016                    Customer No.: 21971
Title:              ENALAPRIL FORMULATIONS
                                                               Certificate of Electronic Filing
                                                     I hereby certify that the attached response and all
                                                     marked attachments are being deposited by
                                                     Electronic Filing on February 3,2017, by using
                                                     the EFS — Web patent filing system and
                                                     addressed to: Commissioner for Patents, P.O.
                                                     Box 1450, Alexandria, VA 22313-1450.

                                                     By:            /Rose Andico /
                                                                     Rose Andico


   Mail Stop Amendment
   Commissioner for Patents
   P.O.Box 1450
   Alexandria, VA 22313-1450

                    AMENDMENT IN RESPONSE TO NON-FINAL OFFICE ACTION
                                 DATED JANUARY 17,2017

   Commissioner:
            Applicant hereby submits a response to the Office Action dated January 17,2017 (the
   "Office Action"),in the above-identified application. Applicant respectfully requests
   amendment of the patent application, and reconsideration and allowance of the pending claims.
            Amendments to the Claims begins on page 2.
            Remarks begin on page 5.
            The Conclusion is on page 23.




   R933179 1 Ancx




                                               Appx127                                  SLVGT-EPA_0000857
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  U.S.Patent Application No.15/081,603                          Attorney Docket No.: 43060-707.201


                                      Amendments to the Claims
         This listing of claims will replace all prior versions, and listings, of claims in this
  application. The following amendments do not constitute an admission regarding the
  patentability of the amended subject matter and should not be so construed.


  Listing of the Claims:

         (Currently Amended) An A stable oral liquid formulation,comprising:
         (i)     about 1 mg/ml enalapril maleate;
         (ii)    about 0.70 mg/m1 of a sweetener that is sucralose;
         (iii)   a buffer comprising about 1.82 mg/ml citric acid and about 0..15 ing/ml,sodium
                 citrate dehydrate;
         (iv)    about 1 nag./ml of a preservative that is sodium benzoate;and
        (v)      water,
         wherein the pH of the formulation is less than about 15; and
         wherein the formulation is stable at about 513 °C for at least 12 months;
         wherein the stable oral liquid formulation has about 95% or greater ofthe initial enalapril
         amount and about 5% w/w or less total impurities or related substances at the end of the
         gNen storaaelaeriod.
         (Original) The formulation of claim 1,further comprising a flavoring agent_
     3 (Cancelled).
     4. (Original) The formulation of claim 1, wherein the pH is between about 3 and about 3.5.
     5 (Original) The fbrmulation of claim 4,wherein the pH is about 3.3.
     6. (Original)The formulation of claim 1, wherein the citrate concentration in the buffer is
         about 5 rnM to about 20 mM.
     7 (Original) The formulation of claim 6, wherein the citrate concentration in the buffer is
         about 10 mM.
     8. (Original) The formulation of claim 1, wherein the formulation is stable at about 5±3 °C
         for at least 18 months.
     9 (Original) The formulation of claim 1, wherein the formulation is stable at about 5-±3 bC
         for at least 24 months.



                                                    2



                                                Appx128                                     SLVGT-EPA_0000858
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     10 (Original) The formulation of claim 1, wherein the formulation does not contain
        mannitol.
     1 1 .(Original) The formulation of claim 1, wherein the formulation does not contain silicon
        dioxide.
     12 (Currently Amended) An A stable_oral liquid formulation,comprising:
        (i)     about 19.3 % (w/w of solids) enalaprit maleate;
        (ii)    about 13.5 % (w/w of solids) of a sweetener that is sucralose4
        (iii)   a buffer comprising about 35:2 % (w/w of solids) citric acid and about 2.9 %
                (w/w of solids) sodium citrate dihydrate
        (iv)    about 19.3 % (w/w of solids) of a preservative that is sodium benzoate.: and
        (v)     water;
         wherein the pH of the formulation is less than about.3.5; and
        wherein the formulation is stable at about 5±3 °C for at least 12 months;
         wherein the stable oral liquid formulation has about 95% or greater of the initial enalapril
        amount and about 5% w/w or less total impurities or related substances at the end of the
        given storage period.
     13.(Original) The formulation of claim 12,further comprising a flavoring agent.
     14.(Cancelled).
     15 (Original) The formulation of claim 12, wherein the pH is between about.3 and about 3 5,
     16.(Original) The formulation of claim 15,Wherein the pH is about 3.3.
     17,(Original) The formulation of claim 12, wherein the citrate concentration in the buffer is
        about 5 mM to about 20 mM,
     18 (Original) The formulation of claim 17,wherein the citrate concentration in the buffer is
        about 10 mM.
     19.(Original) The formulation of claim 12,wherein the formulation is stable at about 513 -c.C_
        for at least 24 months.
     20 (Currently Amended) An-A stable oral liquid formulation, consisting essentially of:
        (i)     about 1 nig/trd enalapril maleate;
        (ii)    about 0.70 mg/ml of a sweetener that is sucralose,
        (iii)   a buffer comprising about 1..82 mg/m1 citric acid and about 0.15 mg/ml sodium
                citrate dihydrate;


                                                  3



                                              Appx129                                   SLVGT-EPA_0000859
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        (iv)   about I mgiml of a preservative that is sodium benzoate;
        (v)    a flavoring agent: and
        (vi)   water;
        wherein the pH of the formulation is less than about 3.5 adjusted by sodium hydroxide or
        hydrochloric acid if needed; and
        wherein the formulation is stable at about 5±3 T for at least 1.2 months
        wherein the stable oral liquid formulation has about 95% or greater of the initial enalapril
        amount and about 5% wiw or less total impurities or related substances at the end of the
        given storage period.




                                                 4



                                             Appx130                                   SLVGT-EPA_0000860
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                                              REMARKS

  Status of the Claims
         Claims 1, 12 and 20 have been amended and claims 3 and 14 have been cancelled. Upon
  entry of the proposed amendment,claims 1-2, 4-13 and 15-20 will be under examination.
  Support for the amendments to the claims is found in the original claims and throughout the
  specification,including for example, para.[0080]. No new matter is presented by way of the
  amendments.


  First Action Interview
          Applicant would like to extend thanks to Examiners Springer and Lundgren for the
  telephonic interview on October 14,2016 with Applicant's representative, Clark Lin and
  inventor, Gerold Mosher. The pending claims were discussed along with potential rejections.
  Applicant and the Examiners further discussed potential prior art references and the differences
  from the claimed subject matter. Although no agreement was reached at that time and Examiner
  Springer indicated that she would issue a formal Office Action, Applicant feels that the
  discussion was helping in the preparation ofthis response and claim amendments.


  Claim Rejection - 35 U.S.C.§112(b)
         Claims 1-20 are rejected under 35 U.S.C. 112(b) as allegedly being indefinite. More
  specifically,the Office alleges that it is unclear if stability refers to e.g., homogeneity, amount of
  enalapril, amount of precipitation, amount of impurities, Applicant respectfully disagrees but in
  order to solely advance prosecution, Applicant has amended claims 1, 12,and 20 to add:
  "wherein the stable oral liquid formulation has about 95% or greater of the initial enalapril
  amount and about 5% w/w or less total impurities or related substances at the end of the given
  storage period". This amendment is supported, for example,in para.[0080] of the instant
  application Applicant respectfully requests the withdrawal of this rejection.


  Claim Rejection - 351U.S.C.§103
         Claims 1-20 are rejected under 35 U.S.C. 103 as allegedly being unpatentable over US
  Pat. No.8,568,747 ("the '747 patent"), Nahata et al (Stability of Enalapril Maleate in three
  Extemporaneously Prepared Oral Liquids)("Nahata"'), Product Information of Bicitra (Sodium




                                                Appx131                                    SLVGT-EPA_0000861
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  U.S.Patent Application No.15/081,603                           Attorney Docket No.: 43060-707.201


  Citrate and Citric Acid Oral Solution)("Bicitra"), Product Information of Ora-Sweet("Ora-
  sweet"), and Ripple),at al.(Pharmacokinetics Assessment of an Oral Enalapril Suspension for
  Use in Children)("Rippley").

         Obviousness is a question of law based on underlying factual inquiries. The factual
  inquiries,enunciated by the Court are as follows::
                        (A) Ascertaining the scope and content of the prior art; and
                        (B)Ascertaining the differences between the claimed invention and the
                 prior art; and
                        (C)Resolving the level of ordinary skill in the pertinent art.

         See Graham v. John Deere Co.,383 U.S. 1,(1966); see also M.P.E.P.§2141(11).

         Once these factual inquiries have been completed,the Office must explain why the
  difference(s) between the prior art and the claimed invention would have been obvious to one of
  ordinary skill in the art. According to the M.P.E.P„ "The key to supporting any rejection under
  35 U.S.C. 103 is the clear articulation ofthe rea.son(s) why the claimed invention would have
  been obvious." M.P.E.P..§2141(111). Moreover,the result of any obviousness inquiry must,
  generally, provide a predictable result or have an expectation of success. See id.


         The Office asserts that:

                 747 teaches oral liquid compositions comprising enalapril, mannitol,and
                 sweetener,formed using a powder formulation, wherein the liquid is stable for at
                 least 36 wks [sic] at ambient or refrigerated conditions.

                 Rippley and Nahata also disclose compositions reconstituted from enalapril
                 tablets, using Bicitra, Ora-Sweet, and Ora-Plus.

                 Office Action, page 2.


         The Office concludes that:'

                 Thus,oral liquid compositions comprising 1 mg/ml enalapril maleate,sweeteners
                 such as mannitol,sucrose,sorbitol, and sucralose; buffers such as citric acid and
                 sodium citrate; preservatives such as sodium benzoate; and water were well
                 known at the time of the invention.

                 Id_, page 2.




                                                    6



                                                Appx132                                       SLVGT-EPA_0000862
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         The current standard of obviousness takes into account(1) whether there would have
  been a "reason that would have prompted a person of ordinary skill in the relevant field to
  combine the elements in the way the claimed invention does;" and (2) whether the combination
  of elements would have yielded "predictable results" i.e., whether there would have been a
  reasonable expectation of success. (See e.g., KSR International C'o.     Telefler Inc., 127 S.Ct.
  1727, 1731 (2007),see also PharmaStem Therapeutics, Inc. v. ViaCell. Inc., 491 F.3d at 1342,
  1360 (Fed. Cir. 2007)("The burden falls on the patent challenger to show by clear and
  convincing evidence that a person of ordinary skill in the art would have had reason to attempt to
  make the composition or device, or carry out the claimed process, and would have had a
  reasonable expectation of success in doing so.")(emphasis added, internal quotations omitted)).


         With regard to the instant claims, Applicant respectfully submits that the Office has not
  established a primafacie case of obviousness. Specifically, Applicant respectfully submits that
  US 8,568,747,Nahata, Bicitra, Ora-sweet, and Rippley do not provide or suggest all the elements
  of the claims. Moreover,the cited references have not provided any reason to single out the
  specific components at the requisite concentrations for a pharmaceutical liquid recited in the
  instant claims; and further that US 8,568,747, Nahata, Bicitra, Ora-sweet, and Rippley do not
  provide the legally required reasonable expectation of success. Applicant further submits an
  Inventor Declaration by Dr. Gerold Mosher ("Mosher Declaration"), with evidence to overcome
  the obviousness rejection asserted in the Office Action,as discussed in greater detail below.

         A.       The Cited References None or in Combination Do Not Teach All the
                  Elements of the Claimed Stable Enalapril Oral Liquid Formulations

         None ophe Cited liejerences Teach Enalapril Formulations that are Stable at about 5±3
    for at Least 12 Months'

         Applicant respectfully points out that the instant application is directed to novel stable
  enalapril oral liquid fOrmulations with excellent stability and uniformity properties where the
  formulation is stable at about 5±3 °C for at least 12 months. Specifically, claim 1 is directed to a
  stable oral liquid formulation comprising (i) about 1 mg/ml enalapril maleate;(ii) about 0.70



                                                   7



                                               Appx133                                   SLVGT-EPA_0000863
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  mg/ml of a sweetener that is sucralose;(iii) a buffer comprising about 1.82 ing/m1 citric acid and
  about 0.15 mg/mL sodium citrate dihydrate;(iv) about 1 mg/mi of a preservative that is sodium
  benzoate and water at a pH of less than about 3.5. Claim 12 recites a formulation similarly in a
   o w/w format, and claim 20 recites a formulation similarly in a 'consisting essentially of
  format. Further,the stable enalapril oral liquid formulations of these claims represent an elegant
  solution over the previous methods (extemporaneous and powder for reconstitution) of obtaining
  liquid enalapril formulations, namely grinding or crushing commercially available enalapril
  tablets and then suspending the ground tablets in a liquid vehicle or mixing and dissolving a
  powder for reconstitution with a diluent.

         As pointed from above,the claims require that the formulations are stable at about 5±3 °C
  for at least 12 months. Applicant respectfully points out that,according to the present
  specification,

                   Stable as used herein refer to enalapril oral liquid formulations having about 95
                   % or greater of the Initial enalapril amount and about 5 % w/w or less total
                   impurities or related substances at the end of a given storage period.
                   Specification, ¶ [0080].

         This stability is required by the claims for at least a duration of 12 months at about 5±3
  °C. The.Specification and Drawings of the instant application provide support and evidence of
  this stability in,for example, Table E-2 depicting very little amounts of diketopiperazine or
  enalaprilat degradants formed in the E3,E5 and E6 formulations when stored at 5 °C. Table E-1
  depicts that E3,ES and E6 formulations contain enalapril, citric acid, sodium citrate, sodium
  benzoate, sucralose and water, which Applicant notes are the claimed components of the instant
  claims, albeit at different concentrations.

         Moreover,the Mosher Declaration provides additional data supporting the claimed
  stability by comparing the dramatic differences in stability between the enalapril oral liquid
  formulations of the present claims with the stability of the enalapril liquid preparations in Nahata
  and the '747 patent.In the Mosher Declaration, Mosher plotted graphically with linear regression
  of the data for extrapolation of the available refrigerated(4 or 5 'V) and room temperature(25
  °C) stability data published by Nahata and the '747 patent as well as E7 and ES enalapril
  formulations, which is or very similar to the formulation of the instant claims:


                                                       8



                                                   Appx134                                      SLVGT-EPA_0000864
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                              Fig 1.Enalapril Maleate Content after Storage at 5°C
                110
                                                                                                 5°C Nahata water

                108
                                                                                                 5°C Nahata Citrate Buffer
          . 106                                                                                  pH 5.0

          4-0
                               *                                                                 5°C Nahata 1:1 Mixture
          0104                                                                                   Ora-Plus and Ora-Sweet
         .71 1'
         1= 102           _                                                                  ♦   Formula E7
                                                            + 101.91
          cu 100 )11I                                        4, ^• -•

                                                      ♦                                      X   Formula E8
          4-0
                                                                        ♦

          CL,    98
                                   y = -0.0424x + 99.696                                         Linear (5°C Nahata
          a.
                 96                                                                              water)
                                   y = -0.0462x + 99.666
                                      -0.0524x + 99.254                                  -       Linear (5°C Nahata
                 94                                                                              Citrate Buffer pH 5.0)

                 92                                                                              Linear (5°C Nahata 1:1
                                                                                                 Mixture Ora-Plus and
                                                                                                 Ora-Sweet)
                 90                       .   •   .
                      0             200               400               600          800
                                                      Days




                                                          Appx135                                       SLVGT-EPA_0000865
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                      Fig 2.Enalapril Maleate Content after Storage at 25°C
           105

                                                                                    25°C Nahata water
           103 •
                                          •

           101                                                                 ,‘   25°C Nahata Citrate
                                                                                    Buffer pH 5.0
                                   *--__y = -0.0219x + 101.21
          4-.99
           a)                                                                       25°C Nahata 1:1 Mixture
          4-,
                                                                                    Ora-Plus and Ora-Sweet
          097
                                                                               •    Formula E7
                                                     .0446x + 100.23 •
          —95
          46
           a)                                  •0682x + 99.388
           an                                                                  0    US 8,568,747 Example 6
          2,93
                                       y\19.0699x + 98.666
           4./
          a.91                                                                      Linear (25°C Nahata
                                                                                    water)

                89
                                                                            —       Linear (25°C Nahata
                                                                                    Citrate Buffer pH 5.0)
                87

                                       y‘-
                                         t -0.1684x + 99.36                         Linear (25°C Nahata 1:1
                85                                   •           •
                                                                                    Mixture Ora-Plus and
                                                                                    Ora-Sweet)
                              50              100          150           200
                                              Days


         The Mosher Declaration also compares the percentage of enalapril between the above
  formulations in the following tables:




                                                     10



                                                Appx136                                    SLVGT-EPA_0000866
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    S Patent Application No.15/081,603                                        Attorney Docket No.: 43060-707.201


                  Table A: Enalapril content in formulations after storage at 4 or 5 °CI

                                                          ata

                       Days       water          Citrate              1: 1 Ora-      E7            [8
                                               Buffer pH             Plus/Ora-
                                                   5.0                 Sweet
                         0         100             100                   100        100            100
                         7         98.6           98.7                  99.4
                        14         98.1           99.1                  98.6
                        28         97.6           98.7                  98.4
                        40                                                         100.9
                        42         97.1           98.5                 97.9                     100.3
                        56         96.5           97.3                 96.9
                        70         95.2           96..3                96.1
                        91         94.8           95.9                 95.8
                        99                                                         104.7
                       205                                                         101.1
                       290                                                         101.0
                       383                                                         99.7
                       581                                                         99,1

                      Table B: Enalapril content in formulations after storage at 25 °C

                                                   Nahata                                      S

               Days           water          Citrate Buffer             1:1 Ora-        Example 6          E7
                                                 pH 5.0              Plus/Ora-Sweet
                 0             100                100                     100               100           100
                 7            98.3                98.2                    99.7
                14            96.4                 97                     98.1              99.4
                28            94.1                95.8                    96.2              99.5
                30                                                                                       100.1
                42:           92.4                95.3                     96.2
                56            90.1                94.9                     95.7             97.9
                61                                                                                        99.8

             At refrigerated and room temperature conditions, the enalapril liquid formulations of
  Nahata is not stable as there is a loss of nearly 5% after only 91 days refrigerated and 28 days'at


          Mosher notes that the '747 patent does not provide stability data of the reconstituted liquid formulation at 4 or
  5 "C.


                                                                11



                                                          Appx137                                          SLVGT-EPA_0000867
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  25°C. The enalapril concentration in these Nahata preparations decrease rapidly as evidenced by
  the linear regression in Figs. 1 and 2. Similarly, the reconstituted enalapril liquid formulation of
  the '747 patent shows that there is a loss of about 5% around 100 days at 25 °C.

          Thus,the data presented in the Mosher Declaration clearly demonstrates that the
  extemporaneous preparations of Nahata and the reconstituted preparations of '747 patent do not
  meet the stability requirements of the present claims. In contrast,the E7 formulation
  demonstrates no loss of enalapril for at least 12 months at 5 °C and about 100 days at 25 °C.
  Further, while the ES formulation has only one data point,it is expected to track similarly to E7
  in terms of stability.

          As such, Nahata and the'747 patent do not disclose or suggest any liquid formulations of
  enalapril having this stability at about 513 "C,fir at least 12 months nor any methods,of
  achieving this stability, None of the other cited references, Bicitra, Ora-sweet. and Rippley,
  reveal any enalapril or other pharmaceutical liquid formulations having this stability or methods
  thereof Because this stability element is not present in any of the cited references,the Office
  has not set forth a primafacie case of obviousness.

           The Cited Reftrences Also Do Not Teach the Claimed Combination of Components in
  the Present Enalapril Formulations

          As above,the claimed stable enalapril oral liquid formulation of claim 20 'consists.
  essentially of enalapril, citric acid, sodium citrate, sodium benzoate, sucralose and water at the
  recited concentrations and at a pH of less than about 3.5. As noted in the MPEP,"[t]he
  transitional phrase 'consisting essentially of limits the scope of a claim to the specified materials
  or steps 'and those that do not materially affect the basic and novel characteristic(s)' of the
  claimed invention. MPEP§2111.03 (citing In r•e Herz, 537 F,2d 549,551-52(CCPA 1976)
  (emphasis in original). While these claimed ingredients and excipients may individually be
  disclosed in the '747 patent, Nahata, Bicitra, Ora-sweet, and Rippley,none of these references
  teach or suggest the claimed combination of only enalapril, citric acid, sodium citrate, sodium
  benzoate,sucralose and water at the recited concentrations and pH as stated in claim 20.
  Because these cited references alone or together do not teach or suggest this claimed



                                                   12



                                               Appx138                                    SLVGT-EPA_0000868
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  formulation, the Office has not set forth a primcifacie case of obviousness for this additional
  reason.




         B.       The Office Fails to Provide a Reason to Arrive at the Enalapril Oral Liquid
                  Formulation of the Instant Claims from the Cited References

          The '747 Patent solely teaches enalaprilpowders with certain excipients and their
  reconstitution into liquids with stability at 12 weeks only

          As the Office has pointed out,the '747 patent teaches enalapril powders with enalapril,
  mannitol and colloidal silicon dioxide that are for reconstitution by a syrup (e.g., Ora-Sweet).
  However,in contrast to the Office's assertion that the liquid preparations in the '747 patent are
  "stable for at least 36 wks at ambient or refrigerated conditions", Applicant respectfully points
  out the '747 patent does not teach that the reconstituted enalapril liquid is stable for at least 36
  weeks,but rather stability of the reconstituted liquid at ambient temperatures was assessed only
  up to 12 weeks. See '747 patent, Example 6,col. 29,also reproduced below:


                                                         lie...tmoli trui Liwu d =Ambieid

                                     Tin4: tlk*.e:v1•   EttttAptil (''Ti   tir lsrt lat ("i.,)   DX? t%)

                                            SJ              97.4                 6.43             0 ti4
                                                            90.k                 i),7`>.          ring
                                                            V 6.9                +0.J.;7'         1108
                                            x.              954                  ' 3'5            412
                                           12               93.7                 .2:22            0.17




            As the '747 patent clearly shows,the reconstituted enalapril liquid formulation is
  stable for only 8 weeks and has unacceptable stability (less than 95% enalapril) at week 12.
  The '747 patent does not provide for, nor teach stability of enalapril liquid formulations for
  longer periods of time, much less stability for at least 12 months about 5±3 °C. Further,the '747
  patent requires mannitol and colloidal silicon dioxide for stability and use of the disclosed
  enalapril powders, both of which are not required whatsoever in the present claims,

         The '747 patent therefore fails to provide one of ordinary skill in the art any reason to
  attempt to make the claimed enalapril oral liquid formulations as this reference only describes



                                                             13



                                                        Appx139                                            SLVGT-EPA_0000869
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  the preparation and use of enalapril powders for reconstitution. The '747 patent does not teach
  or suggest modifying or improving these enalapril powders into a ready-to-use enalapril liquid
  formulation that is stable for 12 months. Furthermore,one of ordinary skill in the art would he
  led by the '747 patent to include mannitol and colloidal silicon dioxide due to their important
  functions for powder formulations, which is not needed nor contemplated in the enalapril liquid
  formulations of the present claims.

         Nahata only teaches the extemporaneous preparation of oral enalapril suspensionsfrom
  grinding commercially mailable tablets andfails to provide a reasonfar modification ofthese
  preparations

         As mentioned previously, Nahata describes in detail the process of grinding the enalapril
  tablets, mixing with certain suspending and syrup liquid vehicles to form a resultant oral
  suspension. While Nahata teaches enalapril oral suspensions from ground enalapril tablets,
  nothing in Nahata provides any reason or rationale of how one of ordinary skill in the art would
  use these teachings to arrive at the claimed stable enalapril oral liquid formulations, let alone
  pharmaceutical enalapril oral liquid formulations with enalapril, citric acid, sodium citrate,
  sodium benzoate,sucralose and water at the recited concentrations and at a pH of less than about
  3,5. In fact, Nahata does not even teach,disclose or suggest the preparation of any enalapril oral
  liquid formulations whatsoever as an alternative to the extemporaneous preparation method.

         Further, Applicant respectfully points out that one skilled in the art would not use Nahata
  to arrive at the claimed enalapril oral liquid formulations. As the Office is no doubt aware,the
  crushing or grinding of tablets to form oral suspensions has many issues including stability,
  solubility, uniformity,etc. Indeed,the Mosher Declaration states that when compounding
  extemporaneous preparations,"[t]here is no guarantee that the drug dissolves in, or is dispersed
  evenly in the liquid thus leading to potential dosing errors" and that "there is always the chance
  of contamination of the resulting liquid by residual drugs or substances in the mortar." See
  Mosher Declaration,If 12,

         Nahata therefore fails to provide one of ordinary skill in the art any reason to attempt to
  make the claimed enalapril oral liquid formulations as this reference only describes
  extemporaneously making oral liquid suspensions from enalapril tablets. Nahata does not teach


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                                               Appx140                                    SINGT-EPA_0000870
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  or suggest modifying or improving these oral liquid suspensions by adding or changing
  excipients. In forming new enalapril oral liquid formulations that exhibit the stability and
  homogeneity properties recited in the instant claims, one of ordinary skill in the art would not
  select Nahata by virtue of its teaching in the use of enalapril tablets as a starting material,

         Bicitra, Ora-sweet, and Ripple)) also_Mil to provide a reason to arrive at the claimed
  enalapril liquidibrmulation alone or in combination with the '747 Patent and or Nahata

          The Bicitra and Ora-sweet references describe commonly used excipients: a citric acid
  buffering solution and syrup for extemporaneous or reconstituted preparations respectively.
  Applicant does not disagree nor dispute their various teachings. However, Applicant respectfully
  points out that neither Bictra nor Ora-sweet provide any reason to make a stable enalapril liquid
  formulation alone or in combination with the '747 Patent and/or Nahata.
         Further,Rippley is cited for its teaching of using a Bicitra solution in its extemporaneous
  preparations from enalapril tablets, however the reference itself provides no stability data
  whatsoever.
          Accordingly, the Office has not demonstrated a reason or rationale for arriving at the
  claimed enalapril liquid compositions of the present application based on the disclosures in
  the '747 patent, Nahata, Bicitra, Ora-sweet,and Rippley.

         C,       The Combination of the '747 patent, Nahata,Bicitra,Ora-sweet,and
                  Rippley Provide No Reasonable Expectation of Success of the Claimed
                  Subject Matter

          The second measure of obviousness requires that the combination of elements would
  have yielded "predictable results" i.e., whether there would have been a reasonable expectation
  of success. To have a reasonable expectation of success,"one must be motivated to do more
  than merely "vary all parameters or try each of numerous possible choices until one possibly
  arrived at a successful result, where the prior art gave no indication of which parameters were
  critical or no direction as to which of many possible choices is likely to be successful."
  Medichem,LA.r. Robaldo, 327 F.3d 1157,1165 (Fed.Cir. 2006).

          At the outset, Applicant respectfully points out that the Office is combining five disparate
  references to arrive at the claimed enalapril formulations of the present application. The '747



                                                    15



                                                Appx141                                     SLVGT-EPA_0000871
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  patnet is directed to enalapril powders for reconstitution, Nahata.and Rippley are directed to
  extemporaneous oral suspensions based on grinding enalapril tablets, and Ora-Sweet and Bicitra
  are descriptions of commonly used pharmaceutical excipients. While elements of the instant
  claims can be found scattered throughout these different references, there is.no context or
  disclosure which brings forth these elements to the forefront and allows one to combine them
  successfully. Instead each reference discloses many other excipients that could potentially be
  used in equal measure.

            The enalapril tablets used in the extemporaneous preparations ofNahata contain, in
  addition to enalapril, lactose, magnesium stearate,sodium bicarbonate, starch, and iron oxide
  Ora-Plus is an oral suspending vehicle that has a pH of approximately 4.2 and that contains
  purified water, microcrystalline cellulose, sodium carboxymethylcellulose, xanthan gum,
  can-ageenan,buffering agents (trisodium phosphate and citric acid), an antifoaming agent
  (simethicone), and preservatives(potassium sorbate and methylparaben). Ora-Sweet syrup
  vehicle is a flavoring vehicle that is buffered to a pH of approximately 4.2 and that contains
  purified water, sucrose, glycerin, sorbitol(5%),flavoring, buffering agents (sodium phosphate
  and citric acid), and preservatives (potassium sorbate and methylpara.ben). Nahata therefore
  teaches that these extemporaneously prepared suspensions from enalapril tablets contain a
  myriad of components,the majority of which are not present in the claimed formulations of
  the '603 application.

            Similarly, the reconstituted enalapril formulations of the '747 patent contain,in
  additional to enalapril, mannitol,colloidal silicon dioxide and the Ora-Sweet syrup which also
  contains water,sucrose, glycerin, sorbitol(5%),flavoring, buffering agents(sodium phosphate
  and citric acid), and preservatives(potassium sorbate and methylparaben) as discussed above.

            The following table lists the components that are present in the Nahata and the '747
  patent formulations in comparison with the stable enalapril liquid formulation of the present
  claims:


    enalapril Extemporaneous           Enalapril Powder for            Formulation of Present
    Formulation (Ora-                  Reconstitution                  Claims
    Sweet/Orkflus)                     Formulation




                                                 Appx142                                   SLVGT-EPA_0000872
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    Enalapril Extemporaneous         Enalapril Powder for             Formulation of Present
    Fornitilation (Ora-              Reconstitution                   Claims
    Sweet/Ora-Plus)                  Formulation
    Enalapril                        enalapril                        enalapril
    lactose                          mannitol                         sucralose
    magnesium stearate               colloidal silicon dioxide        citric acid
    sodium bicarbonate               sucrose                          sodium citrate dihydrate
    starch                           glycerin                         sodium benzoate
    iron oxide                       sorbitol                         water
    microcrystalline cellulose       flavoring
    carboxymethylcellulose           citric acid
    sodium
    xanthan gum                      sodium phosphate
    carrageenan                      methylparaben
    calcium sulphate                 potassium sorbate
    trisodium phosphate              water
    citric acid
    dimethicone
    potassium sorbate
    methylparaben
    flavoring
    sorbitol
    glycerin
    sucrose
    water

         As apparent,the extemporaneously prepared formulation from Nahata contains 19
  components in addition to enalapril and water and the reconstituted formulation from the '747
  patent contains 10 components in addition to enalapril and water. In contrast, the formulation of
  the present claims has only four ingredients along with enalapril and water. Moreover,these
  additional excipients in the other formulations are not needed or contemplated in the claimed
  enalapril liquid formulations as none of them are needed or necessary to produce an oral
  enalapril liquid formulation of the present claims that is stable and homogeneous for at least 12
  months:at 5±3 °C.

         In addition, there is no guidance whatsoever to keep or eliminate the components if one
  were to use Nahata or the '747 patent as a starting point to arrive at the claimed enalapril liquid
  formulations. When the '747 patent, Nahata, Bicitra, Ora-sweet, and Rippley are combined,one
  ordinarily skilled in the art is merely taught that any one of the many of excipients disclosed in



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                                               Appx143                                    SLVGT-EPA_0000873
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  these references may potentially be combined with the extemporaneous ena.lapril formulations of
  Nahata and/or the reconstituted enalapril formulations of the '747 patent. As such,the prior art
  does not provide any expectation that any particular combination would be successful for stable
  enalapril oral liquid formulations, much less any expectation that the combination of with
  enalapril, citric acid, sodium citrate, sodium benzoate,sucralose and water at the recited
  concentrations and at a pH of less than about 3.5 would be successful in forming a stable
  enalapril liquid formulation. One would need to consider all of these excipients and,through
  trial-and-error, determine whether each and every one of these components was necessary for
  stability or if they could be varied or eliminated. Simply put,to arrive at the combination of these
  specific components using the '747 patent, Nahata, Bicitra. Ora-sweet, and Rippley, one skilled
  in the art must "vary all parameters or try each of the numerous possible choices" of the
  references without "direction as to which of the many choices is likely to be successful,"
  Alediehem, 437 F.3d at 1 165. This is precisely what courts have held not to be a reasonable
  expectation of success.      see also, In r•e O'Farrell, 853 F.3d 894,903-4.

          Since a reasonable expectation of success cannot be derived from the '747 patent,
  Nahata,Bicitra, Ora-sweet, and Rippley, Applicant respectively submits that the Office is
  improperly relying on the prior art disclosures as a basis for finding reasonable expectation of
  success and is using a hindsight reconstruction analysis to arrive at the present claims,

          Accordingly, because the Office has not demonstrated a rationale for arriving at the
  claimed composition nor a reasonable expectation of success based on the '747 patent, Nahata,
  Bicitra, Ora-sweet,and Rippley,the Office has failed to establish a primafacie case of
  obviousness. Applicant,therefore, respectfully requests that this rejection be withdrawn.

          D,      The Office must consider the secondary considerations of the claimed
                  invention

          Finally, as well settled, presuming a prima.facie case of obviousness were properly
  established, the Office is still required to consider all rebuttal evidence submitted by an
  Applicant. See,e.g, MPEP§2145, This requirement remains unchanged following K,S'R, as the
  Federal Circuit has made clear. (See In re Sullivan, 498 F.3d 1345 (Fed. Cir.2007); MPEP
  §2145). In In re Sullivan,the Federal Circuit vacated and remanded a Board rejection of



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                                               Appx144                                    SLVGT-EPA_0000874
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  antivenom-composition claims because the Board failed to give any weight to the applicant's
  rebuttal evidence demonstrating that, inter (Oct,the combination of prior art elements exhibited
  unexpected efficacy while reducing the occurrence of adverse immune reactions in humans.
  at 1353). As the Court explained,"[w]hen a patent applicant puts forth rebuttal evidence,the
  Board must consider that evidence." (Id. at 1351).

         Applicant submits that the present claims are not primafacie obvious over the '747
  patent, Nahata,Bicitra, Ora-sweet,and Rippley,as discussed above,and further submits that the
  subject matter in the claims have unexpected results with respect to stability of present enalapril
  liquid formulations.

          Unexpected Results

          As explained in the Mosher Declaration, the claimed stable enalapril liquid formulations
  are dramatically much more stable than the extemporaneous enalapril preparations of Nahata and
  the reconstituted enalapril formulations of the '747 patent. In the Mosher Declaration, Mosher
  plotted graphically, with linear regression ofthe data for extrapolation of the stability data
  published by Nahata et al. and the '747 patent, as well as corresponding E7 and E8 enalapril
  formulations, which are similar to or within the instant claims:




                                               Appx145                                    SLVGT-EPA_0000875
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                              Fig 1.Enalapril Maleate Content after Storage at 5°C
                110
                                                                                                    5°C Nahata water

                108
                                                                                                    5°C Nahata Citrate Buffer
          . 106                                                                                     pH 5.0

          4-0
                                  *                                                                 5°C Nahata 1:1 Mixture
          0104                                                                                      Ora-Plus and Ora-Sweet
         .71 1'
         1= 102           _   _                                                                 ♦   Formula E7
                                                              + 101.91
          cu 100 )11I                                           4, ^• -•

                                                         ♦                                      X   Formula E8
          4-0
                                                                           ♦

          CL,    98
                                      y = -0.0424x + 99.696                                         Linear (5°C Nahata
          a.
                 96                                                                                 water)
                                      y = -0.0462x + 99.666
                                         -0.0524x + 99.254                                  -       Linear (5°C Nahata
                 94                                                                                 Citrate Buffer pH 5.0)

                 92                                                                                 Linear (5°C Nahata 1:1
                                                                                                    Mixture Ora-Plus and
                                                                                                    Ora-Sweet)
                 90                          .   •   .
                      0                200                400              600          800
                                                         Days




                                                                 20



                                                             Appx146                                       SLVGT-EPA_0000876
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                         Fig 2.Enalapril Maleate Content after Storage at 25°C
            105

                                                                                        25°C Nahata water
            103 •
                                            •

            101                                                                    ,‘   25°C Nahata Citrate
                                                                                        Buffer pH 5.0
                                                = -0.0219x + 101.21
           4,99
           a)                                                                           25°C Nahata 1:1 Mixture
           4-,
                                                                                        Ora-Plus and Ora-Sweet
           0
           097
           To                                                                      •    Formula E7
                                                       .0446x + 100.23   •
           —95                   A-- •,
           46
           an                        • \-41
                                       y N -,0682x + 99.388                        0    US 8,568,747 Example 6
           293
           a)                                   1.0699x + 98.666
           4.)
           a.91                                                                         Linear (25°C Nahata
                                                                                        water)

                89
                                                                                        Linear (25°C Nahata
                                                                                        Citrate Buffer pH 5.0)
                87

                                          ys7 -0.1684x + 99.36                          Linear (25°C Nahata 1:1
                85                                                                      Mixture Ora-Plus and
                                                                                        Ora-Sweet)
                     0         50               100          150             200
                                                Days


         As evidenced by the above graphs, the E7 formulation demonstrates no loss of enalapril
  for at least 12 months at 5 °C and about 100 days at 25 °C. The E8 formulation, which has only
  one data point,is expected to trend similarly. These results drastically contrast with the stability
  or lack thereof in the extemporaneous and reconstituted enalapril preparations where these cases,
  the enalapril degrades substantially after initial preparation. At about 90-100 days,the
  extemporaneous preparations are at about 95% of the starting enalapril concentration when



                                                       21



                                                   Appx147                                     SINGT-EPA_0000877
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  stored at either 4 °C or 25 °C and the reconstituted formulation degrades after 8 weeks at 25 °C.
  The unexpected stability results of the E7 and E8 formulations are not taught by Nahata or
  the '747 patent, and could not have been predicted or contemplated by the cited prior art.
  Nowhere does the prior art teach or suggest that a combination of enalapril, citric acid, sodium
  citrate, sodium benzoate,sucralose and water at the recited concentrations and at a pH of less
  than about 3.5 at the claimed concentrations would have resulted in such a dramatic stabilization
  of enalapril. Accordingly, Applicant has submitted evidence supporting the unexpected
  technical results achieved by the claimed stable enalapril liquid formulations which rebut any
  presumption ofprimafacie obviousness.




                                                  "21




                                              Appx148                                   SLVGT-EPA_0000878
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                                          CONCLUSION
         Applicant submits that this response fully addresses the Office Action mailed
  January 17, 2017. Applicant believes that for the reasons set forth herein, the pending claims are
  in condition for allowance and early and favorable consideration is respectfully requested.
         In the event that any fees are required in connection with this submission,the
  Commissioner is hereby authorized to charge any fees that may be required, or credit any
  overpayment to Deposit Account No.23-2415 (Attorney Docket No.43060-707.201).
         Should the Examiner have any questions,the Examiner is encouraged to telephone the
  undersigned at (858) 350-2318.
                                               Respectfully submitted.

                                               WILSON SONSINI GOODRICH & ROSATI
                                               Professional Corporation


  Date: February 3,2017                        By: /Clark Lin /
                                                  Clark Y.Lin,Ph.D.,Esq.
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                                              Appx149                                     SLVGT-EPA_0000879
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                                                             Attorney Docket No.: 43060-707.201


               IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re the Application of:                             Art Unit: 1629

Inventors:      Gerold L. Mosher,el al.               Examiner: Stephanie K.Springer

 Serial No.:    15/081,603                            Confirmation No,: 3892

 Filed:         March 25,2016                         Customer No.: 021971

Title:          EN ALAPRIL.FORMULATIONS




  Mail Stop Amendment
  Commissioner of Patents
  P.O.Box 1450
  Alexandria, VA 22313-1450

               DECLARATION OF GEROLD MOSHER UNDER 37 C.F.R.§1.132


  I, Gerold Mosher,do hereby declare as follows:

                 I am currently employed at Silvergate Pharmaceuticals,Inc.

          2.     I received my Bachelor's degree in Pharmacy from the University of Kansas in
  1979, 1 also received a Master and a Doctor of Philosophy in Pharmaceutical Chemistry in 1984
  and 1986,respectively, from the University of Kansas.

          3.     I have been employed at Silvergate Pharmaceuticals since 2013,as Vice President
  of Drug Development. As part of my job duties,I develop oral solutions for pediatric use. I
  have a small laboratory where I develop,characterize and move formulations through the steps
  required for FDA approval and eventual sale..

          4.     Early in my career,I practiced pharmacy for two years from 1979 to 1981.
  Subsequently, I worked in large pharmaceutical companies (Eli Lilly and Merck) for about ten
  years where I focused primarily on pie-formulation and early phase formulations of new drug
  products. After leaving these companies and prior to Silvergate Pharmaceuticals, I have also

                                                  1




                                             Appx150                                  SLVGT-EPA_0000880
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  been employed by small startup companies to develop new solubilizing technology for oral,
  injectable and inhalation formulations.

         5.      In total, I have been in the field of pharmaceutical chemistry for almost 38 years,
  and have extensive experience in developing pharmaceutical formulations. My Curriculum Vitae
  is attached as Exhibit A.

         6.      I am familiar with the subject matter claimed in patent application 15/081,603,
  and am a named inventor on this application. Silvergate Pharmaceuticals is also the Assignee of
  the '603 application.

         7.      I am aware of the Non-Final Office Action mailed in this matter on January 17.
  2017.I am also aware that the oral enalapril liquid formulation claims stand rejected under 35
  U.S.C.§103 as allegedly being unpatentable over US 8,568,747,Nahata et al.(Stability of
  Enalapril Maleate in three Extemporaneously Prepared Oral Liquids)("Nahata"), Product
  Information of Bicitra (Sodium Citrate and Citric Acid Oral Solution)("Bicitra"), Product
  Information of Ora-Sweet("Ora-sweet"), and Rippley at al.(Pharmacokinetics Assessment of an
  Oral Enalapril Suspension for Use in Children)("Rippley''). I have reviewed these cited
  references in the Non-Final Office Action.

         8.      I am submitting this declaration to address the comments made in the Office
  Action.

         9.      The '603 application relates to enalapril oral liquid formulations that are stable for
  least 12 months at 513 °C. The present oral liquid formulations contain enalapril, sucralose, a
  citric acid buffer, sodium benzoate and water at a pH of less than 3.5. Development of this
  described enalapril formulation was oriented on preparing a safe, stable, soluble oral liquid with
  minimal degradation and having acceptable taste for pediatric patients.

         10.     The currently approved methods of delivering enalapril to pediatric patients
  requires (1) administering a solid enalapril tablet or portion thereofto the patient,(2)
  extemporaneously preparing an oral liquid suspension from enalapril tablets and a diluent, such
  as the method described in "Nahata" and subsequently administering the suspension to the


                                                   2




                                               Appx151                                    SLVGT-EPA_0000881
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  patient, or(3) reconstituting a powder in a liquid carrier,such as the described enalapril powder
  in US 8,568,747.

         11.     All of these methods are undesirable and have limitations. For tablets, it is well
  known that children have difficulty in swallowing oral dosage forms. For the second method,
  extemporaneously prepared oral liquids present additional challenges and issues with respect to
  dosing accuracy and stability, as well as can introduce compounding errors and cross-
  contamination. Similarly, reconstituting powders into a liquid carrier also requires an extra step
  and could introduce variability, solubility and contamination issues during the reconstitution.

         12.     As compared to these currently available methods,the enalapril oral liquid
  formulations claimed in the '603 application provides several advantages:
             •   Improved ease of administration. It is easier for many patients to swallow a liquid
                 than to swallow a tablet,
             •   Patient Compliance. Patients are more likely to take a dose that is not difficult to
                 swallow., or difficult to prepare,
             •   Accuracy of dosing. The prescribing information for enalapril tablets provides
                 dosing guidelines based on the weight of the child. When one only has fixed 2.5,
                 5 or 10 mg tablets available, it is difficult if not impossible to break the tablets in
                 such a way to get an exact dose if the dose is something other than the tablet
                 strength. In addition, if tablets are compounded into a suspension, the tablets are
                 crushed in a mortar and then mixed with a liquid. There is no guarantee that the
                 drug dissolves in, or is dispersed evenly in the liquid (thus leading to potential
                 dosing errors. Moreover,there is always the chance of contamination of the
                 resulting liquid by residual drugs or substances in the mortar. Similarly,in
                 reconstitutable powders,there is also no guarantee that the powder dissolves or
                 disperses evenly in the diluent.

         13.     It should be appreciated that the oral enalapril liquid formulations of the present
  claims are stable at 5±3 °C for 12 months or longer with minimal degradation. The stability is an
  important aspect of the present formulations. It contributes to the consistency and uniformity of
  the formulations as well as allows for accuracy of dosing to patients.


                                                      3




                                                Appx152                                     SLVGT-EPA_0000882
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          14.    Evidence of this stability is found in exemplary formulations E7 and E8 which
  show minimal degradation as compared to current formulations. In this study,exemplary
  formulations E7 and E8 were stored at either refrigerated condition (5 °C) or at ambient.
  condition (25 °C). Formulations details for E7 and E8 are as follows:
                                   Composition of Enalapril Maleate
                                              Formulations
                            Component                          E7    E8
                            Enalapril maleate                 1.00  1.00
                            Citric acid anhydrous             1.80  I.82
                            Sodium citrate anhydrous          0.16  0.15
                            Sodium benzoate                   1.00  1.00
                            Sucralose                         0.70  0.70
                            Mixed berry flavor                0.50  0.50
                            Water                              qs    qs
                                          pH (measured)        3.3   3.3
                                         qs = sufficient quantity

          15.    In my review of the references cited in the Office Action, none of the references
  describe this stability of at least 12 months at 5±3 °C or any means of achieving this stability for
  enalapril formulations.

         16.     I have reviewed Nahata which describes the extemporaneous preparation of oral
  liquid enalapril formulations by crushing enalapril tablets with a mortar and pestle and
  suspending the resulting ground tablets in water,citrate buffer, or Ora-Plus/Ora-Sweet. On
  stability, Nahata states that the "compounded oral liquids [were] stable for 91 days at 4 and 25 °C"
  defining stable as "concentration after storage was >90% of the initial concentration. Table I of
  Nahata shows that the enalapril extemporaneous formulations exhibited about 5% loss of
  enalapril after about 56 days at 4 'C and about 5% loss of enalapril after about 91 days at 25 'C.

          17.    I have also reviewed US 8.568.747 which describes an oral liquid enalapril
  formulation obtained by reconstituting an enalapril powder in a liquid. The table in example 6 of
  US 8,568,747 shows that the resulting oral liquid formulation exhibited about 5% loss of
  enalapril after about S weeks at 25 C.

          18.    I additionally reviewed Bicitra, Ora-sweet, and Rippley and they do not provide
  any stability of enalapril formulations whatsoever.



                                                   4




                                               Appx153                                    SLVGT-EPA_0000883
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                                                                         Attorney Docket No.: 43060-707.201


          19.      To compare the stability of the enalapril extemporaneous preparations as
  described in Nahata and the reconstituted liquid formulation of US 8,568,747, I submit the
  following data which depicts the enalapril content of formulations E7 at 5°C and 25 'C and E8 at
  5 °C in Table A arid Table B:
                   Table A: Enalapril content in formulations after storage at 5 °C1




                    Days       water         Citrate            1:1 Ora-         E7           E8
                                           Buffer pH           Plus/Ora-
                                               5.0               Sweet
                       0        100            100                100           100         100
                      7         98.6          98.7                99.4
                      14        98.1          99.1                98.6
                      28        97.6          98.7                98.4
                      40                                                       100.9
                     42         97.1           98.5              97.9                      100.3
                      56        96.5           97.3              96.9
                      70        95.2           96.3              96.1
                      91        94.8           95.9              95,8
                      99                                                       104.7
                     205                                                       101.1
                     290                                                       101.0
                     383                                                       99.7
                     581                                                       99.1

                   Table B: Enalapril content in formulations after storage at 25 °C

                                               Nahata                                  US
                                                                                    8,568,747
            Days           water          Citrate Buffer          1:1 Ora-          Example 6         E7
                                              pH 5.0           Plus/Ora-Sweet
               0           100                 100                  100                 100           100
              7            98.3                98.2                 99.7
              14           96.4                 97                  98.1               99.4
              28           94.1                95.8                 96.2               99.5
              30                                                                                    100.1
              42           92.4                95.3                  96.2
              56           90.1                94.9                  95.7              97.9
              61                                                                                     99.8


   I note that US 8368,747 does not provide stability data of the reconstituted liquid formulation at 5 T.

                                                           5




                                                      Appx154                                          SLVGT-EPA_0000884
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               70              87.6             93.9               94.4
               84                                                                    96.2
               89                                                                                102.4
               91              84.1             92,7               93.8
              183                                                                                 95.8



          20.           To flirther describe the contrast in stability, the enalapril concentrations published
  by Nahata,the US 8,568,747 enalapril concentrations, and the concentrations from E7 and E8 are
  plotted graphically (Fig. I : 5 °C and Fig. 2: 25 °C) with linear regression of the data for
  extrapolation.


                    Fig 1.Enalapril Maleate Content after Storage at 5°C
        110
                                                                              •    5°C Nahata water

        108
                                                                              1    5°C Nahata Citrate Buffer
   4,106                                                                           pH 5.0
   C

   C                    •                                                     •    5°C Nahata 1:1 Mixture
   10 104
                                                                                   Ora-Plus and Ora-Sweet
   To
        102       ___                                                         •    Formula E7

   O
   cy 100
   oA                                                                         X    Formula E8
   4.                                                    •
   a) 98
   a)
   a.                       y = -0.0424x + 99.696                                  Linear (5°C Nahata
         96                                                                        water)
                            y = -0.0462x + 99.666
                            v = -0.0524x + 99.254                          --Linear (5°C Nahata
         94                                                                    Citrate Buffer pH 5.0)

         92                                                                  --------- Linear (5°C Nahata 1:1
                                                                                       Mixture Ora-Plus and
                                                                                       Ora -Sweet)
         90
              0               200           400           600          800
                                           Days



                                                          6




                                                       Appx155                                     SLVGT-EPA 0000885
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                                                                    Attorney Docket No: 43060-707.201



                   Fig 2.Enalapril Maleate Content after Storage at 25°C
    105

                                                                          •    25°C Nahata water
    103
                                    •

    101                                                                   ,'   25°C Nahata Citrate
                                                                               Buffer pH 5.0
                                    y = -0.0219x + 101.21
   4-'99
   a)                                                                          25°C Nahata 1:1 Mixture
   C                                                                           Ora-Plus and Ora-Sweet
   U 97
                                                                          •    Formula E7
                                              -0.0446x + 100.23 •
        95
    0
   an                                k1.0682x + 99.388                    O    US 8,568,747 Example 6
   2 93
    C                             y\t.0699x
                                    --      + 98.666

    4r)91
   fa.                                                                         Linear (25°C Nahata
                                                                               water)

        89
                                                                       --      Linear (25°C Nahata
                                                                               Citrate Buffer pH 5.0)
        87
                                                                               Linear (25°C Nahata 1:1
                                 ‘,/' -0.1684x + 99.36
                                                                               Mixture Ora-Plus and
        85
                                                                               Ora-Sweet)
             0           50             100           150           200
                                        Days

             21.    Table A and Fig. 1 show that E7 exhibits excellent stability for at least 18 months
  (581 days) at 5 °C with essentially no loss of enalapril content in contrast to the extemporaneous
  preparations of Nahata (stability is defined as no more than 5% formation of degradants and 5%
  loss of enalapril). While Nahata does not disclose stability at 5 °C for more than 90 days,the
  extrapolated lines show that at about 100 days, the extemporaneous preparations are unstable
  with respect to the enalapril content in the preparation.



                                                       7




                                                   Appx156                                   SLVGT-EPA_0000886
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         22.     Table B and Fig.2 show that E7 also exhibits better stability for at least 6 months
 (183 days) at 25 °C in contrast to the Nahata preparations and the reconstituted formulation of
  US 8,568,747.

         23.      The additional enalapril content data submitted for E7 and E8 shows that the
  formulations of the present application are significantly more stable,which in my opinion
  reflects the superior results and advantages,obtained with the oral liquid enalapril formulation of
  the present claims.

         24.I hereby declare that all statements made herein of my own knowledge are true and
  that all statements made on information and belief are believed to be true; and further that these
  statements were made with the knowledge that willful false statements and the like so made are
  punishable by fine or imprisonment or both,under 18 U.S.C.1001.



                                   .4
  Respectfully submitted on this 2— day of February,2017


  A4.,6V/74,Z
  Gerold L.Mosher,Ph.D.




                                                   8



                                              Appx157                                   SLVGT-EPA_0000887
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  Curriculum Vitae                                                   GEROLD L.MOSHER,Ph.D.

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    MS,Pharmaceutical Chemistry            (1984) University of Kansas,Lawrence.KS
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  PROFESSIONAL EXPERIENCE
    SIL'VERGATE PHARMACEUTICALS,INC (2013-Present)
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    Sigma XI
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                                                                                                  Page 6 of 6




                                                  Appx163                                      SLVGT-EPA_0000893
  Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 189 of 748 PageID #: 2380
                               UNITED STATES PATENT AND TRADEMARK   OFFICE


                  USPTO Automated Interview Request(AIR)

   Feb 22 2C117



This paper requesting to schedule andfor conduct an interview is appropriate because:

   This submission is requested to be accepted as an authorization for this
   interview to communicate via the. Internet. Recognizing that Internet
   communications are not secure, I hereby authorize the USPTO to communicate with
   the underoigned concerning scheduling of the interview via video conference,
   instant messaging, or electronic mail, and to conduct the interview in accordance
   with office practice including video conferencing.

      Name(s):
      Clark Lin

      S-signature:
      /Clark Lin/

      Registration Number:
      6-7024

      U.S. Application Number:
      15081603

      Confirmation Number:
      3892

      E-mail Address:
      Clin@wsgr.com

      Phone Number:
      8583502318

      Proposed Time of Interview:
      3-20-2017 11:00 AM ET

      Prcfered Interview Type:
      In-person

      I am the applicant or applicant's representative for this application.




 US • 0           UNITED STATES
                  PATENT AND TRADEMARK OFFICE

 PALM-SILVER




                                          Appx164                            SLVGT-EPA_0000939
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 190 of 748 PageID #: 2381

                                                              Attorney Docket No.: 43060-707.201



                    IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re the Application of:                            Group Art Unit; 1629

Inventors:          Gerold L,Mosher,et al.           Confirmation No.; 3892

Serial No.:         15/081,603                       Examiner: Stephanie K.Springer
Filed:              March 03,2016                    Customer No.: 21971
Title:              ENALAPRIL FORMULATIONS
                                                               Certificate of Electronic Filing
                                                     I hereby certify that the attached response and all
                                                     marked attachments are being deposited by
                                                     Electronic Filing on March 22,2017,by using
                                                     the EFS — Web patent filing system and
                                                     addressed to: Commissioner for Patents, P.O.
                                                     Box 1450.Alexandria,VA 22313-1450.

                                                     By:            /Keiko A.Masuvama }licks/
                                                                     Keiko A.Masuyama Hicks


  Mail Stop Amendment
  Commissioner for Patents
  P.O.Box 1450
  Alexandria. VA 22313-1450

    SUPPLEMENTAL AMENDMENT IN RESPONSE TO NON-FINAL OFFICE ACTION
                       DATED JANUARY 17,2017

   Commissioner:

            This is a supplemental amendment provided pursuant to an interview with the Office on
   March 20.2017. This amendment supplements and incorporates the February 3rd response- and
  amendments to the Office's January 17,2017 Office Action. Applicant respectfully requests
   amendment of the patent application. and reconsideration and allowance of the pending claims.

            Amendments to the Claims begins on page 2.
            Remarks begin on page 5.




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                                               Appx165                                  SLVGT-EPA_0000940
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 191 of 748 PageID #: 2382

  U.S.Patent Application No.15/081,603                          Attorney Docket No.: 43060-707.201


                                      Amendments to the Claims
         This listing of claims will replace all prior versions, and listings. of claims in this
  application. The following amendments do not constitute an admission regarding the
  patentability of the amended subject matter and should not be so construed.


  Listing of the Claims:

     1.. (Currently Amended) A stable oral liquid formulation,comprising:
         (i) about 1 rrigkril enalapril maleate;
         (ii) about 0.70 mg/mi. of a sweeten r that is sacra ky',e;
         (ii)       a buffer comprising about 1.82 mg/ml citric acid and about 0.15 mg/mL sodium
                citrate dihydrate;
         (iii)(4,4 about 1 mg/1W of a preservative that is sodium benzoate; and
         tin 044 water,
         wherein the pH of the formulation is less than about 3.5; and
         wherein the forumlation is stable at about 5±3 °C for at least 12 monthsi
         wherein the stable oral liquid formulation has about 950) or greater of the initial enalapril
         amount and about 5r:o w/w or less total impurities or related substances at the end of the
         given storage period.
     2. (Original) The formulation of claim 1.further comprising a flavoring agent.
     3, (Cancelled).
     4, (Original) The formulation of claim 1.wherein the pH is between about 3 and about 3.5.
     5. (Original) The formulation of claim 4,wherein the pH is about 3.3,
     6. (Original) The formulation of claim 1,wherein the citrate concentration in the buffer is
         about 5 mM to about 20 mM,
     7_ (Original) The formulation of claim 6.wherein the citrate concentration in the buffer is
         about 10 inAl.
     8. (Original) The formulation of claim 1,wherein the formulation is stable at about 5±3 "C
         for at least 18 months.
     9. (Original) The Thrmulation of claim 1,wherein the formulation is stable at about 5±3
         for at least 24 months.



                                                     2



                                                   Appx166                                  SLVGT-EPA_0000941
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 192 of 748 PageID #: 2383

  U.S.Patent Application No.15/081,603                        Attorney Docket No.: 43060-707.201


     10.(Original) The formulation Of claim I,wherein the formulation does not contain
     11.(Ooripital,) The formulation of claim 1, wherein the formulation does not contain silicon
        dioxide.
     12.(Currently Amended) A stable oral liquid formulation,comprising:
        ti) about 19.3 % (w/w of solids) enalapril maleate;
        (ii) about 13.5%(w/w of solids) of a sw - terser that is sucralose;
            kiii) a buffer comprising about 35.2 % (w/w of solids) citric acid and about 2.9 %
               (w/w of solids) sodium citrate dihydrate;
        tiii)(iv)about 19.3 % (w/w of solids) of a preservative that is sodium benzoate; and
        (iv)(v) water;
        wherein the pH of the formulation is less than about 15;and
        wherein the formulation is stable at about 5±3 °C for at least 12 months;
        wherein the stable oral liquid formulation has about 95% or greater of the initial enalapril
        amount .and about 5% w/w or less total impurities or related substances at the end of the
        given storage period.
     13.(Original) The formulation of claim 12, further comprishw,a flavoring agent,
     14.(Cancelled).
     15.(Original) The formulation of claim 12,wherein the pH is between about 3 and about 3.5.
     16.(Original) The formulation of claim 15, wherein the pH is about 3.3.
     17.(Original) The formulation of claim 12,wherein the citrate concentration in the buffer is
        about 5 nift,4 to about 20
     18.(Original) The formulation of claim 17, wherein the citrate- concentration in the buffer is
        about 10 roil.
     19.(Original) The formulation of claim 12, wherein the formulation is stable at about 5±3
        for at least 24 months.
     20.(Previously Presented) A stable oral liquid formulation,consisting essentially of:
        (1) about 1 mg/mlenalapril maleate;
        (ii) about 0.70 mg/m1 of a .sweetener that is sueralose;
        (iii) a buffer comprising,about 1.82 mg/nil citric acid and about 0.15 mg/ml sodium
            citrate dihydrate;
        (iv) about 1 mg/m1 of a preservative that is sodium benzoate:


                                                 3



                                              Appx167                                  SLVGT-EPA_0000942
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 193 of 748 PageID #: 2384

  U.S.Patent Application No.15/081,603                        Attorney Docket No.: 43060-707.201


        (v) a flavoring agent: and
        (vi) water;
         wherein the pH of the formulation is less than about 3.5 adjusted by sodium hydroxide or
        hydrochloric acid if needed; and
         wherein the formulation is stable at about 5±3 "C for at least 1 months.
                                                                                ;
         wherein the stable oral liquid formulation has about 95% Or greater of the initial enalapril
        amount and about 5% w/w or less total impurities or related substances at the end of the
        given storage period.
     21, (New)The stable oral liquid formulation of claim 1,further comprising about 0,70
        mg/mi of a sweetener that is sucralose.
     22.(New)The stable oral liquid formulation of claim 12,further comprising,about 13.5 %
        (w/w of solids) of a sweetener that is sucralose:.




                                                  4



                                              Appx168                                   SLVGT-EPA_0000943
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 194 of 748 PageID #: 2385

                                                                Attorney Docket No.: 43060-707.201


                                              REMARKS

  Status of the Claims
         Claims 1 and 12 have been amended.Claims 21-22 have been added.Support for the new
  claims and the amendments is found at least in the original claims and throughout the
  specification. No new matter is presented by way of the: amendments.Upon entry of the
  proposed amendment.claims 1-2,4-13 and 15-22 will be under examination


  March 20 Applicant-Initiated Interview Summary
         Applicant would like to extend thanks to Examiners Springer and Lundgren for a
  productive in-person interview on March 20,2017 with Applicant's representative, Clark Lin
  and inventor, Gerold Mosher. Applicant and the Examiners discussed the enalapril formulation
  of the instant claims and its stability properties in comparison to those described in prior art
  references, Nahata,Rippley and the 8,568,747 patent. It is the Applicant's understanding that
  the Examiners appreciated the superior.stability provided by the components and pH as recited in
  the claims, it is further Applicant's understanding that Examiner Lundgren suggested moving
  the sweetener,sucralose,from the independent claims to dependent claims. This reply and
  supplemental amendment submitted herewith adopts the Examiner's suggestion for the claim
  amendments.




                                                Appx169                                    SLVGT-EPA_0000944
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 195 of 748 PageID #: 2386

  U.S.Patent Application No.15/081,603                       Attorney Docket No.: 43060-707.201




                                          CONCLUSION
         Applicant submits that this supplemental amendment pursuant to the interview dated
  March 20,2017. Applicant believes that for the reasons set forth herein, the pending claims are
  in condition for allowance and early and favorable consideration is respectfully requested.
         In the event that any fees are required in connection with this submission,the
  Commissioner is hereby authorized to charge any fees that may he required,or credit any
  overpayment to Deposit Account No.23-2415 (Attorney Docket No.43060-707.201).
         Should the Examiner have any questions, the Examiner is encouraged to telephone the
  undersigned at (858) 350.-2318.
                                               Respectfully submitted,

                                               WILSON SONSINI GOODRICH & ROSATI
                                               Professional Corporation


  Date: March 22.2017                          By: /Clark Lin/
                                                  Clark Y.Lin, Ph.D.,Esq.
                                                  Reg.No.67.024

  650 Page Mill Road
  Palo Alto,CA 94304
  Direct Dial:(858) 350-2306
  Customer No.021971




                                              Appx170                                     SLVGT-EPA_0000945
             Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 196 of 748 PageID #: 2387
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                                       NOTICE OF ALLOWANCE AND FEE(S) DUE

                                                                                                                                EXAMINER
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      WILSON,SONSINI,GOODRICH R.ROSATI                                                                               SPRINGER,SIEPILANM K
      650 PAGE MILL ROAD
      PALO ALTO.CA 94304-1050                                                                                   ART TINTI              PAPER NUMBER

                                                                                                                  1129

                                                                                                      DATE MAILED: 04/19/2017




      APPLICATION NO.            FILING DATE                    FIRST NANIED INVENTOR                  ATTORNEY DOCKET NO_            CONFIRMATION NO.

         15/081.603               03/25/2016                      Gerold L.MOSHER                             43060-707.201                 3592

TITLE OF INVENTION: Enalapril Formulations




      APPLN.TYPE           ENTITY STATUS        ISSUE FEE DUE   PUBLICATION FEE DUE     PREY PAID ISSUE FEE     TOTAL WETS)DUE             DATE DUE

      nonprovisional      INDISCOLIN 1EL)           S960                 -$0                    SO                       $960              07/19/2017


THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PATENT.
PROSECUTION ON THE MERITS IS CLOSED. THIS NOTICE OF ALLOWANCE IS NOT A GRANT OF PATENT RIGHTS.
THIS APPLICATION IS SUBJECT TO WITHDRAWAL FROM ISSUE AT THE INITIATIVE OF THE OFFICE OR UPON
PETITION BY THE APPLICANT. SEE 37 CFR 1.313 AND MPEP 1308.
rEHE ISSUE FEE AND PUBLICATION FEE (IF REQUIRED) MUST BE PAID WITHIN THREE MONTHS FROM THE
MAILING DATE OF THIS NOTICE OR THIS APPLICATION SHALL BE REGARDED AS ABANDONED. THIS
STATUTORY PERIOD CANNOT BE EXTENDED. SEE 35 U.S.C.151. THE ISSUE FEE DUE INDICATED ABOVE DOES
NOT REFLECT A CREDIT FOR ANY PREVIOUSLY PAID ISSUE FEE IN THIS APPLICATION. IF AN ISSUE FEE HAS
PREVIOUSLY BEEN PAID IN THIS APPLICATION (AS SHOWN ABOVE), THE RETURN OF PART B OF THIS FORM
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                                                                    Page. I    of 3
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                                                                     Appx171                                                    SLVGT-EPA_0001145
           Case 1:20-cv-01256-LPS Document
                                      PART B74-1   Filed
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    APPLICATION NO,         I       FILING DATE                              FIRST NAMED INVENTOR.                             ATTORNEY DOCKET NO.            CONFIRMATION NO,

        115/081,603                  03/15/2016                                 Gerold E.MOSHER                                     43060-707.201                       3892
ITTLE OF INVENTION,: Enalapril Formulations


     ,APPLN.TN L             ENTITY STATUS        I      ISSUE FEE DUE        PUBLICATION FEE DUE          MEV, PAID ISSUE FEE         TOTAL FEEtS i DUE     I       DATE DUE

    nonproyisional         TINDISC'OIINTED                     5960                                                   $0                         $960                07/10/2017



                   EXAMINER                                  ART UNE"            CLASS-SUBCLASS

          SPRENGER,STEPHANIE K                                 1629                 514-013000
E.Change of clwrespondence.address.or indication of "Fee Address" (37           2.Fur printing on the patent front page. list
CFR 1.36.1).
                                                                                Hi The names of up to 3 registered patent attorneys
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   Number is required.                                                          listed, no name will be printed.
3 ASSIGNEE NAME ANT) RESIDENCE DATA TO HE PRINTED ON THE PATENT (print or type)
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   Authorized Signature                                                                                        Date

   Taped or printed name                                                                                       Registration No


                                                                                  Page 2 of 3
PTOL-85 Part B (10-13) Approved fol.use through 10/31/2013.                     OMB 0651-0033            t :S. Patent and Trademark Office: U.S.DEPARTMENT OF COMMERCE

                                                                                    Appx172                                                             SLVGT-EPA_0001146
            Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 198 of 748 PageID #: 2389
       --,TANA)




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    APPLICATION NO.      I      FILING DATE           FIRST NAMED INVENTOR      _ATTORNEY DOCKET NO.           CONFIRMATION NO.

        15/081,603               03/25/2016             Gerold L.MOSIWR              43003-707.201                      _3892

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        21971           75911          04/10/2017
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   PALO ALTO.CA 94304-1050                                                              ART -UNIT                PAPER NUMBER

                                                                                           I fi29

                                                                                DATE MAILED: 04/10/2017




                                Determination of Patent Term Adjustment under 35 U.S.C.154(b)
                                          (Applications filed on or after May 29,2000)

The Office has discontinued providing a Patent Term Adjustment(PTA) calculation with the Notice of Allowance.

Section 1(h)(2) of the AlA Technical Corrections Act amended 35 U.S.C. 154(b)(3)(B)(i) to eliminate the
requirement that the Office provide a patent term adjustment determination with the notice of allowance. See
Revisions to Patent Term Adjustment,78 Fed, Reg. 19416, 19417 (Apr. 1,2013), Therefore, the Office is no longer
providing an initial patent term adjustment determination with the notice of allowance. The Office will continue to
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                                                          Page 3 of 3
PTOL- 5 (Rev.02/1 I )



                                                           Appx173                                    SINGT-EPA_0001147
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 199 of 748 PageID #: 2390

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   4. A record in this system of records may he disclosed, as a routine use, to a contractor of tine Agency having
       need for the information in order to perform a contract. Recipients of information shall he required to
       comply with the requirements of the Privacy Act of 1974,as amended,pursuant to 5 U.S.C.552a(m).
   5_ A record related to an International Application filed under the Patent Cooperation Treaty in this system of
       records may he disclosed, as a routine use, to the International Bureau of the World Intellectual Property
       Organization, pursuant to the Patent Cooperation Treaty.
   6. A record in this system of records may be disclosed.as a routine use, to another federal agency for purposes
       of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C.
       218(c)).
    7. A record from this system of records may be. disclosed, as a routine use, to the Administrator, General
       Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
       responsibility to recommend improvements in records management practices and programs.under authority
       of 44 U.S.C. 2904 and 2906. Such disclosure shall he made in accordance with the GSA regulations
       governing inspection of records for this purpose, and any other relevant (i.e„ GSA or Commerce) directive.
       Such disclosure shall not be used to make determinations about individuals.
    8. A record from this system of records may be disclosed,as a routine use,to the public after either publication
       of the application pursuant to 35 U.S.C. 122(h) or issuance of a patent pursuant to 35 U.S.C.151.Further, a
       record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the
       record was filed in an application which became abandoned or in which the proceedings were terminated
       and which application is referenced by either a published application, an application open to public
       inspection or an issued patent..
    9_ A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
       enforcement agency,if the USPTO becomes aware of a violation or potential violation of law or regulation.



                                                      Appx174                                          SINGT-EPA_0001148
         Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 200 of 748 PageID #: 2391

                                                                         Application No.                      Applicant(s)
                                                                         15/081.603                           MOSHER ET AL
                         Notice of Allowability                          Examiner                             Art Unit     AIA (First Inventor to File)
                                                                                                                           Status
                                                                         STEPHANIE SPRINGER                   1629
                                                                                                                           Yes

             -- The MAILING DATE of this communication appears on the cover sheet with the correspondence address--
All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course, THIS
NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.
1.El This communication is responsive to Supplemental amendment filed 22 March 2017.
        0     A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on
2. 0 An election was made by the applicant in response to a restriction requirement set forth during the interview on               ; the restriction
     requirement and election have been incorporated into this action.

3   El The allowed claim(s) is/are 1,2.4-13 and 15-22. As a result of the allowed claim(s), you may be eligible to benefit from the Patent
       Prosecution Highway program at a participating intellectual property office for the corresponding application. For more information,
       please see http://www.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PPHfeedbackguspto.gov.
4.0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C.§119(a)-(d) or (f).
       Certified copies::
            a) 0   All     b) 0 Some     *c) 0 None of the:
                   1. 0 Certified copies of the priority documents have been received.
                   2. 0 Certified copies of the priority documents have been received in Application No.
                   3. 0 Copies of the certified copies of the priority documents have been received in this national stage application from the
                          International Bureau (PCT Rule 17.2(a)).
        • Certified copies not received:


    Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
    noted below. Failure to timely comply will result in ABANDONMENT of this application.
    THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.
5.El CORRECTED DRAWINGS ( as "replacement sheets") must be submitted.
        0    including changes required by the attached Examiner's Amendment / Comment or in the Office action of
             Paper No./Mail Date           .
     Identifying indicia such as the application number(see 37 CFR 1.84(c)) should be written on the drawings in the front(not the back) of
     each sheet. Replacement sheet(s)should be labeled as such in the header according to 37 CFR 1.121(d).
6.0 DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
   attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.


Attachment(s)
1.0 Notice of References Cited (PTO-892)                                          5.0    Examiner's Amendment/Comment
2. El Information Disclosure Statements (PTO/SB/08),                              6.0    Examiner's Statement of Reasons for Allowance
       Paper No./Mail Date 2 pis; 3 pis
3.0 Examiner's Comment Regarding Requirement for Deposit                          7.0 Other
       of Biological Material
4. El Interview Summary (PTO-413),
       Paper No./Mail Date 20 March 2017
/STEPHANIE SPRINGER/                                                               /JEFFREY S.LUNDGREN/
Examiner, Art Unit 1629                                                            Supervisory Patent Examiner, Art Unit 1629




U S.Patent and Tmdemails OVide
PTOL-37 (Rev.08-13)                                                    Notice of Allowability                        Part of Paper No./Matt Date
20170323




                                                                      Appx175                                            SLVGT-EPA_0001149
   Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 201 of 748 PageID #: 2392


                                                                            Application No.                 Applicant(s)

                                                                            15/081.603                      MOSHER ET AL.
      Applicant-Initiated Interview Summary                                 Examiner                        Art Unit       AIA (First Inventor     Page
                                                                                                                           to File) Status
                                                                            STEPHANIE                       1629           Yes                     1 of 2
                                                                            SPRINGER

   All participants (applicant, applicant's representative, PTO personnel):


   1.          STEPHANIE SPRINGER (Examiner); Telephonic                     2.       Jeff Lundgren (SPE); In-Person

   3.          Clark Lin (Attorney); In -Person                              4.       Gerold Mosher (Inventor); In-Person



   Date of Interview: 20 March 2017



    Claim(s) discussed: 1,12,20

    Identification of prior art discussed: '747. Rippley, Nahata

    Amendment Proposed: Examiners suggested removing limitations directed towards the use of sucralose as the sweetener

    Brief Description of main topic of discussion: Discussed claim amendments and declaration filed 3 February 2017.

                                                                  Issues Discussed:

    Item(s) under 35 U.S.C.112:
    Examiners agreed the claim amendments overcome the 112,2nd rejection of record.

    Item(s) under 35 U.S.C.103:
    It was mutually agreed that '747 is the closest prior art. The teachings of the prior art as a whole would not reasonably suggest that the instantly
    claimed composition would provide a stable solution al the recited pH over the recited timeframe.




                                                                             /JEFFREY S.LUNDGREN/
                                                                            Supervisory Patent Examiner, Art Unit 1629

 Applicant recordation instructions: The formal written reply to the last Office action must include the substance of the interview.(See MPEP
 section 713.04). It a reply to the last Office action has already been filed, applicant is given a non -extendable time limit of the longer of one month or
 thirty days from this interview date, or the mailing date of this interview summary form, whichever is later.to file a statement of the substance of the
 interview.

  Examiner recordation instructions: Examiners must summarize the substance of any interview of record A complete and proper recordation of the
  substance of an interview should include the items listed in MPEP 713 04 for complete and proper recordation including the Identification of the
  general thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the
  general results or outcome of the interview, to include an Indication as to whether or not agreement was reached on the issues raised.

  Applicant is reminded that a complete written statement as to the substance of the interview must be made of record in the
  application file. It is the applicant's responsibility to provide the written statement, unless the interview was initiated by the
  Examiner and the Examiner has indicated that a written summary will be provided. See MPEP 713.04

  Please further see.

 MPEP 713.04
 Title 37 Code of Federal Regulations(CFR)§1.133 Interviews,paragraph (b)
 37 CFR§1.2 Business to be transacted in writing

U.S Palent and Trademark Office




                                                                     Appx176                                                   SLVGT-EPA_0001150
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 PTOL-413/413b (Rev.01/01/2015)       Interview Summary                   Paper No.20170323




                                        Appx177                         SLVGT-EPA_0001151
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 203 of 748 PageID #: 2394
                                                                  PART B FEE(S)TRANSMITTAL
  Complete and send this form,together with applicable fee(s),to: Mail Mail Stop ISSUE FEE
                                                                       Commissioner for Patents
                                                                       P.O.Box 1450
                                                                       Alexandria, Virginia 22313-1450
                                                               or Fax (571)-273-2885
INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should                      be completed where
appropriate, All further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current    correspondence address as
indicated unless corrected below or directed otherwise in Block 1, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for
maintenance fee notifications.
                                                                                              Note: A certificate of mailing can only be used For domestic mailings of the
                                                                                              Fee(s) Tnuismittat This certificate cannot be used for any other accompanying
   CURRENT CORRESPONDENCE.ADDRESS(Nola Use Block I far any change ofaddress)                  papers. Each additional paper,such as an assignment or formal drawing, must
                                                                                              have its own certificate of mailing or transmission.
                                                                                                                        Certificate of Mailing or Transmission
         7.1971           7590              Nil 9/2017                                              I hereby certify that this Fee(s) Transmittal is being deposited with the United
    WILSON,SONSINI,GOODRICH & ROSATI                                                                States Postal Service with sufficient postage for first class mail in an envelope
                                                                                                    addressed to the Mail Stop ISSUE 1-El. address above, or being facsimile
    650 PAGE MILL ROAD                                                                              transmitted to the USPTO (571)273-2885,on the date indicated below.
    PALO ALTO,CA 94304-1050                                                                                                                                          (Depositer's name)
                                                                                                                                                                           (Signature)
                                                                                                                                                                                (Dam)




                                   FILING DATE                             FIRST NAMED INVENTOR                             ATTORNEY DOCKET NO.            CONFIRMATION NO.
    APPLICATION NO
                                    03/25/2016                                   Gerold L.MOSHER                                  43060-707201                      3892
         15/081,603
TITLE OF INVENTION: Enalaprit Formulations

                            ENTITY STATUS             ISSUE FEE DUE         PUBLICATION FEE DUE          PREY.PAID ISSUE 1-tt.       TOTAL FEE(S) DUE             DATE DUE
       APPLN.TYPE
                           UNDISCOUNTED                     S960                       SO                            SO                     $960                  07/19/2017
    nonprovisional



                   EXAMINER                              ART IJNtT               CLASS-SUBCLASS

          SPRINGER,STEPHANIE K                              1629                    514-183000

I.Change of correspondence address or indication of "Fee Address" (37      2.For printing on the patent front page,list           1 Wilson Sonsini Goodrich & Rosati
CFR 1.363).                                                                (1) The names of up to 3 registered patent attorneys
   0 Change of correspondence address(or Change of Correspondence          or agents OR,   alternatively,
                                                                                                                                  2
   Address form PTO/SB/122)attached.                                       (2) The name of a single firm (having as a member a
                                         Address" Indication form          registered  attorney  or agent) and the names of up to
   CI "Fee Address" indication (or"Fee                                     2 registered patent attorneys or agents.If no name is
   PTO/SA/47; Rev 03-02 or more recent) attached. Use of a Customer                                                               3
   Number is required,                                                     listed, no name will be printed.

3.ASSIGNEE NAME AND RESIDENCE DMA 10 BE PRINTED ON THE PATENT (print or type)
                                                                                                                                   below, the document has been filed for
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent, if an assignee is identified
   recordation as set forth in 37 CFR 3.11 Completion of this form is NOT a substitute for filing an assignment.
  (A)NAME OF ASSIGNEE                                                   (B)RESIDENCE:(CITY and STATE OR COUNTRY)

        Silvergate Pharmaceuticals,Inc.                                                Greenwood Village, CO 80111

Please check the appropriate assignee category or categories (will not be printed on the patent):     ❑ Individual    I   Corporation or other private group entity U Government

4a.The following fee(s) are submitted:                                   4b.Payment of Fee(s):(Please first reapply any previously paid issue fee shown above)
   a Issue Fee                                                                A check is enclosed.
                                                                            El
     Publication Fee(No small entity discount permitted)                    D Payment by credit card.Form PTO-2038 is attached.
   ❑ Advance Order - # of Copies                                            f     director is hereby authorized to charge thespeged fee(s), any deficiency, or credits any
                                                                              overpayment,to Deposit Account Number zZL                (enclose an extra copy of this form).


5.Change in Entity Status (from status indicated above)
  0 Applicant certifying micro entity status.See 37 CFR.1.29                NOTE: Absent a valid certification of Micro Entity Status (see forms.PTO/SBIISA and 15B),issue
                                                                            fee payment in the micro entity amount will not be accepted at the risk of application abandonment.
   0    Applicant asserting small entity status.See 37 CFR 1.27             NOTE: If the application was previously under micro entity status, checking this box wilt be taken
                                                                            to be a notification of loss of entitlement to micro entity status,
   ❑ Applicant changing to regular undlscourned fee status.                 NOTE: Checking this box tvill be taken to be a notification of loss of entitlement to small or micro
                                                                            entity status,as applicable.
NOTE: This form must be signed in accordance with 37 CFR 1.31 and 1.33.See 37 CFR 1.4 for signature requirements and certifications.


   Authorized Signature                                                                                      Date           Ltii0/ 1767024
   Typed or printed name
                             Clark LIN                                                                       Registration No.


                                                                                  Page 2 of 3
PTOL-85 Part 13 (10-13) Approved for use through 10/31/2013.                     OMB 0651.0033         U.S.Patent and Trademark Office; U.S.DEPARTMENT OF COMMERCE



                                                                                   Appx178
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       APPLICATION NO.                  ISSUE DATE             PATENT NO.   ATTORNEY DOCKET NO.             CONFIR1VIATION NO

           15/051,603                   06/06/2017              0669005         43060-707.201                       3592


             21471           75911         05/17/20I 7

          WILSON,SONSINI,GOODRICH & ROSATI
          650 PAGE MILL ROAD
          PALO ALTO,CA 94304-1050




                                                         ISSUE NOTIFICATION

The projected patent number and issue date are specified above.

                             Determination of Patent Term Adjustment under 35 U.S.C.154(b)
                                        (application filed on or after May 29,2000)

The Patent Term Adjustment is 0 day(s).Any patent to issue front the above-identified application will include
an indication of the adjustment on the front page.

If a Continued Prosecution Application (CPA) was filed in the above-identified application, the filing date that
determines Patent Term Adjustment is the filing date of the most recent CPA.

Applicant will be able to obtain more detailed information by accessing the Patent Application Information
Retrieval (PAIR) WEB site (http://pair.uspto.gov).

Any questions regarding the Patent Tenn Extension or Adjustment determination should be directed to the
Office of Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee
payments should be. directed to the Application Assistance Unit (AAU) of the Office of Data Management
(ODM)at (571)-272-4200.

APPLICANT(s)(Please see PAIR WEB site lutp://paitaispto.gov for additional applicants):
Gerold L.MOSHER.Kansas City. MO;
.Silvergate Pharmaceuticals,Inc., Greenwood Village,CO;.
David W.MILES.Kansas City,MO;




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IR103 ( Rev . 10/09)



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                          UTILITY                                                         Attorney Docket No.           43060-707.304

                     PATENT APPLICATION                                                   First Named Inventor          Gerold L. MOSHER

                        TRANSMITTAL                                                       Title                         ENALAPRIL FORMULATIONS
                                                                                        Priority Mail Express®
               (Only for new nonprovisional applications under 37 CFR 1.53(b))                                          Filed Electronic.aily via IIES-Web on October 31, 20Vry
                                                                                        Label No.

                         APPLICATION ELEMENTS                                                                                     Commissioner for Patents
           See MPEP chapter 600 concerning utility patent application contents.            ADDRESS TO:                                   P.O. Box 1450
                                                                                                                                Alexandria, VA 22               450
   1.  ri       Fee Transmittal Form
                                                                                                  ACCOMPANYING APPLICATION PAPERS
                (PTO/SR/17 or equivalent)
    2.ri        A• pplicant asserts small entity status.                                 1.0.   0     Assignment Papers
                See 37 CFR 1.27                                                                      (cover sheet & document(s))

    3. ri
                                                                                                               Name of Assignee
                A• pplicant certifies micro entity status. See 37 CFR 1.29.
                Applicant must attach form PTO/SB/15A or B or equivalent.
    4.ri        S• pecification                     [Total Pages 52                                  37 CFR 3.73(c) Statement                   ri    Power of Attorney
                Both the claims and abstract must start on a new page.                               (when there is on assignee)
                (See MPEP § 608.01(a) for information on the preferred arrangement)
                                                                                                     English Translation Document
    5, ❑        Drawing(s) (35 U.S.C. 113)          [Total Sheets 2                                  (if applicable)
    6. Inventor's Oath or Declaration            [Total Pages 2                                      Information Disclosure Statement
       (including substitute statements under 37 CFR 1.64 and assignments                            (PTO/SB/OcSoopr PTO-1449)
       serving as an oath or declaration under 37 CFR 1.63(e))
                                                                                                                   ies0fcitations
                                                                                                                             tions attached
         a.ri Newly executed (original or copy)                                          14.    0    Preliminary Amendment
         b.E A copy from a prior application (37 CFR 1.63(d))
    7.n         Application Data Sheet `See note below.
                See 37 CFR 1.76 (PTO/AIA/14 or equivalent)
                                                                                                     Return Receipt Postcard
                                                                                                     (MPEP § 503) (Should he specifically itemized)
                                                                                                     Certified Copy of Priority Document(s)
    8.          CD-ROM or CD-R                                                                        'foreign priority is claimed)
                in duplicate, large table, or Computer Program (Appendix)
                                                                                         17.    ri   Nonpublication Request
              n     Landscape Table on CD                                                            Under 35 U.S.C. 122(b)(2)(B)(i). Applicant must attach form PTO/SB/35
                                                                                                     or equivalent.
   9. Nucleotide and/or Amino Acid Sequence Submission
      (if applicable, items a, •-- c. ore required)                                      18.    E    Ot her. Certification and Request for Prioritized

         a.0        Computer Readable Form (CRF)
                                                                                                             Examination Under 37 CFR 1.102(e) - 1 pp.

         b.ri       Specification Sequence Listing on:
               n       CD-ROM or CD-R (2 copies); or


              nn
                       Paper
         c.        Statements verifying identity of above copies

    *Note: (1) Benefit claims under 37 CFR 1,78 and foreign priority claims under 1.55 must he included in an Application Data Sheet (ADS).
           (2) For applications filed under 35 U.S.C. 111, the application must contain an ADS specifying the applicant if the applicant is an
               assignee, person to whom the inventor is under an obligation to assign, or person who otherwise shows sufficient proprietary
               interest in the matter. See 37 CFR 1.46(h).
                                                                   9. CORRESPONDENCE ADDRESS

    n         The address associated ith Customer Num             r: 21971                                                 OR n        Correspondence address below

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    Address
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    Country                                                     Telephone                                                    Email

  [Signature            /Celine Bonnefous/                                                                     Date                   October 31, 2018
   Name                                                                                                        Registration No.
   (Print/Type)         Celine M. Bonnefous                                                                    (Attorney/Agent)       72875
  This collection of 'nformation is required by 37 CFR 1.53(b). The information is required to obtain or retain a benefit by the public which is to file (and by the USPTO
  to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11and 1.14. This collection is estimated to take 12 minutes to complete,
  including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on
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                                                                                 Appx372
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Doc Code: TRACK1.REQ
Document Description: TrackOne Request


                    CERTIFICATION AND REQUEST FOR PRIORITIZED EXAMINATION
                                 UNDER 37 CFR 1.102(e) (Page 1 of 1)

First Named                                                 Nonprovisional Application Number (if
Inventor:              Gerold L. MOSHER                     known):
Title of
Invention:             ENALAPRIL FORMULATIONS
APPLICANT HEREBY CERTIFIES THE FOLLOWING AND REQUESTS PRIORITIZED EXAMINATION FOR
THE ABOVE-IDENTIFIED APPLICATION.

     1. The processing fee set forth in 37 CFR 1.17(i)(1) and the prioritized examination fee set forth in
        37 CFR 1.17(c) have been filed with the request. The publication fee requirement is met
        because that fee, set forth in 37 CFR 1.18(d), is currently $0. The basic filing fee, search fee,
        and examination fee are filed with the request or have been already been paid. I understand
        that any required excess claims fees or application size fee must be paid for the application.

     2. I understand that the application may not contain, or be amended to contain, more than four
        independent claims, more than thirty total claims, or any multiple dependent claims, and that
        any request for an extension of time will cause an outstanding Track I request to be dismissed.

     3. The applicable box is checked below:

          I.         I Original Application (Track One) - Prioritized Examination under § 1.102(e)(1)

     i.        (a) The application is an original nonprovisional utility application filed under 35 U.S.C. 111(a).
                   This certification and request is being filed with the utility application via EFS-Web.
                                                    ---OR---
               (b) The application is an original nonprovisional plant application filed under 35 U.S.C. 111(a).
                   This certification and request is being filed with the plant application in paper.

     ii. An executed inventor's oath or declaration under 37 CFR 1.63 or 37 CFR 1.64 for each
         inventor, or the application data sheet meeting the conditions specified in 37 CFR 1.53(f)(3)(i) is
         filed with the application.

          II.     P1 Request for Continued Examination - Prioritized Examination under §1.102(e)(21

     i. A request for continued examination has been filed with, or prior to, this form.
     ii. If the application is a utility application, this certification and request is being filed via EFS-Web.
     iii. The application is an original nonprovisional utility application filed under 35 U.S.C. 111(a), or is
          a national stage entry under 35 U.S.C. 371.
     iv. This certification and request is being filed prior to the mailing of a first Office action responsive
          to the request for continued examination.
     v. No prior request for continued examination has been granted prioritized examination status
          under 37 CFR 1.102(e)(2).



Signature       /Celine Bonnefous/                                                       Date October 31, 2018
Name
(Print/Typed)
                 Celine M. Bonnefous                                                     Practitioner
                                                                                         Registration Number
                                                                                                               72875
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Submit multiple forms if more than one signature is required. *

      "Total of 1          forms are submitted.

                                                                                                        SLVGT-EPA_0105688
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                                                                   WSGR Docket No. 43060-707.304




                                                  1/2


                                                 FIG. 1
  • Enalapril diketopiperazine; 0 Enalaprilat

           0.6
                                                             0
      Ct
     4,.., 0.5
       ct
       5
     7.1 0.4                                 o
      =ct                                 o o
           0.3
      :c14                                o
     t 0.2               GD
                            0
                          atr o
           0.1           4V1              •
     c:                    8 •            • ••               •
                 3                3.5                    4       4.5                      5
                                                        pH




                                                                           SLVGT-EPA_0105689
                                                Appx374
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                                                                                                          WSGR Docket No. 43060-707.304




                                                                             2/2


                                                                            FIG. 2


  • Enalapril diketopiperazine; 0 Enalaprilat

                                4.0
   % w/w of enalapril maleate




                                3.5
                                                                                                0
                                3.0

                                2.5

                                2.0                                   00
                                1.5
                                                                  8
                                                  CO8
                                                        0
                                1.0

                                0.5
                                                        •
                                                                                                •
                                                                  •
                                0.0       1   T                              1     „_____--'Y                    •      1   7


                                      3                     3.5                   4                 4.5                         5
                                                                                 pH




                                                                                                                     SLVGT-EPA_0105690
                                                                           Appx375
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                                      ENALAPRIL FORMULATIONS

                                    ABSTRACT OF THE DISCLOSURE
  Provided herein are stable enalapril oral liquid formulations. Also provided herein are methods of using
  enalapril oral liquid formulations for the treatment of certain diseases including hypertension, heart failure
  and asymptomatic left ventricular dysfunction.




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                                               CLAIMS
  WHAT IS CLAIMED IS:
  1. A stable oral liquid formulation, comprising:
     (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or solvate
     thereof;

     (ii) a buffer comprising citric acid and sodium citrate;

     (iii) a preservative; and

     (iv) water;
             wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
             wherein the stable oral liquid formulation has about 95% w/w or greater of the initial
     enalapril amount and about 5% w/w or less total impurity or related substances at the end of
     the given storage period.
  2. The stable oral liquid formulation of claim 1 further comprising a sweetener.

  3. The stable oral liquid formulation of claim 2, wherein the sweetener is sucralose.

  4. The stable oral liquid formulation of claim 1 further comprising a flavoring agent.

  5. The stable oral liquid formulation of claim 1, wherein the formulation does not contain
     mannitol.

  6. The stable oral liquid formulation of claim 1, wherein the formulation does not contain
     silicon dioxide.

  7. The stable oral liquid formulation of claim 1, wherein the buffer comprises about 0.8 to about
     3.5 mg/ml citric acid.

  8. The stable oral liquid formulation of claim 1, wherein the buffer comprises about 0.1 to about
     0.8 mg/ml sodium citrate.

  9. The stable oral liquid formulation of claim 1, wherein the pH of the stable oral liquid
     formulation is less than about 3.5.

  10. The stable oral liquid formulation of claim 1, wherein the pH of the stable oral liquid
     formulation is between about 3 and about 3.5.




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  11. The stable oral liquid formulation of claim 1, wherein the pH of the stable oral liquid
     formulation is about 3.3.

  12. The stable oral liquid formulation of claim 1, wherein the preservative is selected from
     ascorbic acid, ascorbyl palmitate, BHA, BHT, citric acid, EDTA and its salts, erythorbic
     acid, fumaric acid, malic acid, propyl gallate, sodium ascorbate, sodium bisulfate, sodium
     metabisulfite, sodium sulfite, methylparaben, ethylparaben, propylparaben, butylparaben,
     benzoic acid, sodium benzoate, potassium sorbate, and vanillin.

  13. The stable oral liquid formulation of claim 1, wherein the preservative is sodium benzoate.

  14. The stable oral liquid formulation of claim 12, wherein the sodium benzoate is about 0.2 to
     about 1.2 mg/ml.

  15. The stable oral liquid formulation of claim 1, wherein the formulation is stable at about 5 ±
     3° C for at least 18 months.

  16. The stable oral liquid formulation of claim 1, wherein the formulation is stable at about 5 ±
     3° C for at least 24 months.

  17. A stable oral liquid formulation, consisting essentially of:
     (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or solvate
     thereof;

     (ii) a buffer comprising citric acid and sodium citrate;

     (iii) a preservative; and

     (iv) water;
             wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
             wherein the stable oral liquid formulation has about 95% w/w or greater of the initial
     enalapril amount and about 5% w/w or less total impurity or related substances at the end of
     the given storage period.
  18. A stable oral liquid formulation, comprising:
     (i) about 10% to about 25% (w/w of solids) enalapril or a pharmaceutically acceptable salt or
     solvate thereof;




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     (ii) a buffer comprising about 17% to about 47% (w/w of solids) citric acid and about 1% to
     about 11% (w/w of solids) sodium citrate;

     (iii) about 1% to about 30% (w/w of solids) of a preservative; and

     (iv) water;
             wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
             wherein the stable oral liquid formulation has about 95% w/w or greater of the initial
     enalapril amount and about 5% w/w or less total impurity or related substances at the end of
     the given storage period.
  19. The stable oral liquid formulation of claim 18 further comprising a sweetener.

  20. The stable oral liquid formulation of claim 19, wherein the sweetener is sucralose.

  21. The stable oral liquid formulation of claim 18 further comprising a flavoring agent.

  22. The stable oral liquid formulation of claim 18, wherein the formulation does not contain
     mannitol.

  23. The stable oral liquid formulation of claim 18, wherein the formulation does not contain
     silicon dioxide.

  24. The stable oral liquid formulation of claim 18, wherein the pH of the stable oral liquid
     formulation is less than about 3.5.

  25. The stable oral liquid formulation of claim 18, wherein the pH of the stable oral liquid
     formulation is between about 3 and about 3.5.

  26. The stable oral liquid formulation of claim 18, wherein the pH of the stable oral liquid
     formulation is about 3.3.

  27. The stable oral liquid formulation of claim 18, wherein the preservative is selected from
     ascorbic acid, ascorbyl palmitate, BHA, BHT, citric acid, EDTA and its salts, erythorbic
     acid, fumaric acid, malic acid, propyl gallate, sodium ascorbate, sodium bisulfate, sodium
     metabisulfite, sodium sulfite, methylparaben, ethylparaben, propylparaben, butylparaben,
     benzoic acid, sodium benzoate, potassium sorbate, and vanillin.

  28. The stable oral liquid formulation of claim 18, wherein the preservative is sodium benzoate.




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  29. The stable oral liquid formulation of claim 18, wherein the formulation is stable at about 5 ±
     3° C for at least 18 months.

  30. The stable oral liquid formulation of claim 18, wherein the formulation is stable at about 5 ±
     3° C for at least 24 months.




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 Application Data Sheet 37 CFR 1.76
                                                                       Application Number

 Title of Invention           ENALAPRIL FORMULATIONS

 The application data sheet is part of the provisional or nonprovisional application for which it is being submitted. The following form contains the
 bibliographic data arranged in a format specified by the United States Patent and Trademark Office as outlined in 37 CFR 1.76.
 This document may be completed electronically and submitted to the Office in electronic format using the Electronic Filing System (EFS) or the
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 Application Data Sheet 37 CFR 1.76
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 Title of Invention        ENALAPRIL FORMULATIONS


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Application Information:
 Title of the Invention                  NALAPRIL FORMULATIONS
 Attorney Docket Number                  3060-707.304                                      Small Entity Status Claimed                   ❑
 Application Type                        onprovisional
 Subject Matter                          tility

 Total Number of Drawing Sheets (if any)                          2                         Suggested Figure for Publication (if any)                         1

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    Application Data Sheet 37 CFR 1.76
                                                                      Application Number

    Title of Invention        ENALAPRIL FORMULATIONS



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This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e), 120, 121, 365(c), or 386(c) or indicate
National Stage entry from a PCT application. Providing benefit claim information in the Application Data Sheet constitutes
the specific reference required by 35 U.S.C. 119(e) or 120, and 37 CFR 1.78.
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Foreign Priority Information:
This section allows for the applicant to claim priority to a foreign application. Providing this information in the application data sheet
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that is eligible for retrieval under the priority document exchange program (PDX)I the information will be used by the Office to
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Application Data Sheet 37 CFR 1.76
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Title of Invention        ENALAPRIL FORMULATIONS


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Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition
Applications
     This application (1) claims priority to or the benefit of an application filed before March 16, 2013 and (2) also
     contains, or contained at any time, a claim to a claimed invention that has an effective filing date on or after March
❑    16, 2013.
     NOTE: By providing this statement under 37 CFR 1.55 or 1.78, this application, with a filing date on or after March
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                                                                  Attorney Docket Number                   43060-707.304
 Application Data Sheet 37 CFR 1.76
                                                                  Application Number

 Title of Invention       ENALAPRIL FORMULATIONS




Authorization or Opt-Out of Authorization to Permit Access:

When this Application Data Sheet is properly signed and filed with the application, applicant has provided written
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Should applicant choose not to provide an authorization identified in subsection 1 below, applicant must opt-out of the
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 Title of Invention         ENALAPRIL FORMULATIONS




Applicant Information:

 Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title 37 of CFR
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 Applicant       k                                                                                                                       Remove
If the applicants the inventor (or the remaining joint inventor or inventors under 37 CFR 1.45), this section should not be completed.
The information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR
1.43; or the name and address of the assignee, person to whom the inventor is under an obligation to assign the invention, or person
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•   Assignee                                            Legal Representative under 35 U.S.C. 117                                  Joint Inventor

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Name of the Deceased or Legally Incapacitated Inventor:

 If the Applicant is an Organization check here.                         1
 Organization Name               l ilvergate Pharmaceuticals, Inc.

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 City                                   Greenwood Village                               State/Province                  CO
 Country'        ILlS                                                                   Postal Code                     80111
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 Title of Invention        ENALAPRIL FORMULATIONS



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patent practitioner, all joint inventors who are the applicant, or one or more joint inventor-applicants who have been given
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     See 37 CFR 1.4(d) for the manner of making signatures and certifications.



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 First Name       Celine                       Last Name            Bonnefous                              Registration Number               72875

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Title of Invention        ENALAPRIL FORMULATIONS




This collection of information is required by 37 CFR 1.76. The information is required to obtain or retain a benefit by the public which
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          a contract. Recipients of information shall be required to comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C.
          552a(m).

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          to the International Bureau of the World Intellectual Property Organization, pursuant to the Patent CooperationTreaty.

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           and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

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           inspection of records conducted by GSA as part of that agency's responsibility to recommend improvements in records management practices and
           programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of
           records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make determinations about
           individuals.

     8.    A record from this system of records may be disclosed, as a routine use, to the public after either publication of the application pursuant to 35 U.S.C.
           122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use,
           to the public if the record was filed in an application which became abandoned or in which the proceedings were terminated and which application is
           referenced by either a published application, an application open to public inspections or an issued patent.

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                                                                  WSGR Docket No. 43060-707.304

                                   PATENT APPLICATION

                              ENALAPRIL FORMULATIONS



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                          Filed Electronically on: October 31, 2018




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                                      ENALAPRIL FORMULATIONS

                         CROSS-REFERENCE OF RELATED APPLICATIONS
  [0001] This application is a continuation of U.S. Patent Application No. 16/003,994, filed June 8, 2018,
  which is a continuation of U.S. Patent Application No. 15/802,341, filed November 2, 2017 (now U.S.
  Patent No. 10,039,745, issued August 7, 2018), which is a continuation of U.S. Patent Application No.
  15/613,622, filed June 5, 2017 (now U.S. Patent No. 9,808,442, issued November 7, 2017), which is a
  continuation of U.S. Patent Application No. 15/081,603, filed March 25, 2016 (now U.S. Patent No.
  9,669,008, issued June 06, 2017), which claims the benefit of U.S. Provisional Patent Application No.
  62/310,198, filed March 18, 2016, all of which are incorporated herein by reference in their entirety.

                                  BACKGROUND OF THE INVENTION
  [0002] Hypertension, or high blood pressure, is a serious health issue in many countries. According to
  the National Heart Blood and Lung Institute, it is thought that about 1 in 3 adults in the United States
  alone have hypertension. Left unchecked, hypertension is considered a substantial risk factor for
  cardiovascular and other diseases including coronary heart disease, myocardial infarction, congestive
  heart failure, stroke and kidney failure. Hypertension is classified as primary (essential) hypertension or
  secondary hypertension. Primary hypertension has no known cause and may be related to a number of
  environmental, lifestyle and genetic factors such as stress, obesity, smoking, inactivity and sodium intake.
  Secondary hypertension can be caused by drug or surgical interventions, or by abnormalities in the renal,
  cardiovascular or endocrine system.
  [0003] A number of antihypertensive drugs are available for treating hypertension. Various therapeutic
  classes of antihypertensive drugs include alpha-adrenergic blockers, beta-adrenergic blockers, calcium-
  channel blockers, hypotensives, mineralcorticoid antagonists, central alpha-agonists, diuretics and rennin-
  angiotensin-aldosterone inhibitors which include angiotensin II receptor antagonists (ARB) and
  angiotensin-converting enzyme (ACE) inhibitors. Angiotensin-converting enzyme (ACE) inhibitors
  inhibit angiotensin-converting enzyme (ACE), a peptydyl dipeptidase that catalyzes angiotension Ito
  angiotension II, a potent vasoconstrictor involved in regulating blood pressure.
  [0004] Enalapril is a prodrug belonging to the angiotensin-converting enzyme (ACE) inhibitor of
  medications. It is rapidly hydrolyzed in the liver to enalaprilat following oral administration. Enalaprilat
  acts as a potent inhibitor of ACE. The structural formulae of enalapril and enalaprilat are as follows:




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                                                                          HO

                              N                                                   N
                                               0                                        0 0       OH
                                      OHO
                          Enalapril                                          Enalaprilat
  [0005] Enalapril is currently administered in the form of oral tablets, (e.g., Vasotec®) or in the form of
  liquid formulations obtained by reconstitution of enalapril powder formulations. In addition to the
  treatment of hypertension, enalapril tablets have been used for symptomatic congestive heart failure, and
  asymptomatic left ventricular dysfunction.

                                      SUMMARY OF THE INVENTION
  [0006] Provided herein are enalapril oral liquid formulations. In one aspect, the enalapril oral liquid
  formulation, comprises (i) enalapril or a pharmaceutically acceptable salt or solvate thereof; (ii) a.
  sweetener that is sucralose (iii) a buffer comprising citric acid; (iv) a preservative that is sodium benzoate;
  and (v) water; wherein the pH of the formulation is less than about 3.5; and wherein the formulation is
  stable at about 5±3 °C for at least 12 months.
  [0007] In some embodiments, the enalapril is enalapril maleate. In some embodiments, the formulation
  further comprises a flavoring agent. In some embodiments, the buffer in the formulation further comprises
  sodium citrate &hydrate, In some embodiments, the amount of enalapril or a pharmaceutically acceptable
  salt or solvate thereof is about 0.6 to about 1.2 mg/ml. In some embodiments, the amount of sucralose is
  about 0.5 to about 0.9 inglinl. In some embodiments, the amount of citric acid in the buffer is about 0.8 to
  about 3.5 mglinl. In some embodiments, the amount of sodium citrate dihydrate in the buffer is about 0.1
  to about 0,80 mg/ml. In some embodiments, the amount of the sodium benzoate is about 0.2 to about 1.2
  mg/ml. In some embodiments, the amount of enalapril or a pharmaceutically acceptable salt or solvate
  thereof is about 10 to about 25 % (w/w of solids). In some embodiments, the amount of sucralose is about
  8 to about 18 % (w/w of solids). In some embodiments, the amount of citric acid in the buffer is about 17
  to about 47 'A (w/w of solids). In some embodiments, the amount of sodium citrate dihydrate in the buffer
  is about I to about II % (w/w of solids). In some embodiments, the amount of sodium benzoate is about
  12 to about 25 % (w/w of solids). In some embodiments, the pH of the formulation is between about 3
  and about 3.5. In some embodiments, the pH of the formulation is about 3.3. In some embodiments, the
  citrate concentration in the buffer is about 5 mil to about 20 mM. In some embodiments, the citrate
  concentration in the buffer is about l 0 mM. In some embodiments, the formulation is stable at about 5±3
  °C for at least 18 months. In some embodiments, the thrmulation is stable at about 5±3 °C for at least 24



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  months. In sonic embodiments, the formulation does not contain mannitol. In some embodiments, the
  formulation does not contain silicon dioxide.
  100081 In one aspect, the enalapril oral liquid formulation, comprises (i) about 1 3mgl.ml enalapril
  maleate; (ii) about 0.70 mg/m1 of a sweetener that is sucralose; (iii) a buffer comprising about 1.82 mg/ml
  citric acid; (iv) about 1 inglini of a preservative that is sodium benzoate; and (v) water; wherein the pH of
  the formulation is less than about 3.5; and wherein the formulation is stable at about 5±3 °C for at least 12
  months.
  [0009] In some embodiments, the formulation further comprises a flavoring agent. In some
  embodiments, the buffer further comprises about 0.15 ing/m1_, sodium citrate dihydrate. In some
  embodiments, the pH of the formulation is between about 3 and about 3.5. In some embodiments, the pH
  of the formulation is about 3.3. In some embodiments, the citrate concentration in the buffer is about 5
  ml\I to about 20 mM. In some embodiments, the citrate concentration in the buffer is about 10 mM. In
  some embodiments, the formulation is stable at about 5±3 °C for at least 18 months. In some
  embodiments, the formulation is stable at about 5±3 °C for at least 24 months. In some embodiments, the
  formulation does not contain mannitol. In some embodiments, the formulation does not contain silicon
  dioxide.
  [0010] In one aspect, the enalapril oral liquid formulation comprises (i) about 19.3 % (w/w of solids)
  enalapril maleate; (ii) about 13.5 % (vidw of solids) of a sweetener that is sucralose; (iii) a buffer
  comprising about 35.2 % (w/w of solids) citric acid; (iv) about 19.3 % (w/w of solids) of a preservative
  that is sodium benzoate; and. (v) water; wherein the pH of the formulation is less than about 3.5; and
  wherein the formulation is stable at about 5±3 °C for at least 12 months.
  [0011] In some embodiments, the formulation further comprises a flavoring agent. In some
  embodiments, the buffer further comprises about 2.9 % (w/w of solids) sodium citrate dihydrate. In some
  embodiments, the pH of the formulation is between about 3 and about 3.5. In some embodiments, the pH
  of the formulation is about 3.3. In some embodiments, the citrate concentration in the buffer is about 5
  rtiNI to about 20 mM. In some embodiments, the citrate concentration in the buffer is about 1() mi\I. In
  some embodiments, the formulation is stable at about 5±3 "C for at least 18 months. In some
  embodiments, the formulation is stable at about 5±3 °C for at least 24 months. In some embodiments, the
  formulation does not contain mannitol. In some embodiments, the formulation does not contain silicon
  dioxide.
  [0012] In one aspect, the enalapril oral liquid formulation consists essentially of (i) about 1 trig/m1
  enalapril maleate; (ii) about 0.70 mg/ml of a sweetener that is sucralose; (iii) a buffer comprising about
  1.82 mg/ml citric acid and about 0.15 mg/ml sodium citrate dihydrate; (iv) about I mg/mi of a
  preservative that is sodium benzoate; (v) a flavoring agent; and (vi) water; wherein the pII of the


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  formulation is less than about 3.5 adjusted by sodium hydroxide or hydrochloric acid; and wherein the
  formulation is stable at about 5±3 °C for at least 12 months.
  [0013] Also provided herein are methods of treating hypertension in a subject comprising administering
  to that subject a therapeutically effective amount of enalapril oral liquid formulation comprising (i) about
  I mg/nil enalapril maleate; (ii) about 0.7 mg/nd sucralose; (iii) a buffer comprising about 1.82 mg/ml
  citric acid and about 0.15 mg/ml sodium citrate dihydrate; (iv) about 1 mg/m1 of a preservative that is
  sodium benzoate; and (v) water; wherein the pH of the formulation is less than about 3.5; and wherein the
  formulation is stable at about 5+3 °C for at least 12 months. In sonic embodiments, the formulation does
  not contain mannitol. In some embodiments, the formulation does not contain silicon dioxide.
  [0014] In some embodiments, the hypertension is primary (essential) hypertension. In some
  embodiments, the hypertension is secondary hypertension. In some embodiments, the subject has blood
  pressure values greater than or equal to 140/90 mm.m Hg, In some embodiments, the subject is an adult,
  In some embodiments, the subject is elderly. In some embodiments, the subject is a child. In some
  embodiments, the formulation is administered to the subject in a fasted state. In some embodiments, the
  formulation is administered to the subject in a f€d state. In some embodiments, the formulation is further
  administered in combination with an agent selected from the group consisting of diuretics, beta blockers,
  alpha blockers, mixed alpha and beta blockers, calcium channel blockers, angiotensin II receptor
  antagonists, ACE inhibitors, aldosterone antagonists, and alpha-2 agonists.
  [0015] Also provided herein are methods of treating prehypertension in a subject comprising
  administering to that subject a therapeutically effective amount of enalapril oral liquid formulation
  comprising (i) about I mg/mlenalapril maleate; (ii) about 0.7 mg/m1 of a sweetener that is sucralose;
  a buffer comprising about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium citrate dihydrate; (iv)
  about I mg/m1 of a preservative that is sodium benzoate; and (v) water; wherein the pH of the formulation
  is less than about 3.5; and wherein the formulation is stable at about 5±3 °C for at least 12 months. In
  some embodiments, the formulation does not contain mannitol. In some embodiments, the formulation
  does not contain silicon dioxide.
  [0016] in some embodiments, the subject has blood pressure values of about 120-139/80-89 mm
  [0017] Also provided herein are methods of treating heart failure in a subject comprising administering
  to that subject a therapeutically effective amount of enalapril oral liquid formulation comprising (i) about
  1 mg/ml enalapril maleate; (ii) about 0.70 mg/ m1 of a sweetener that is sucralose; (iii) a buffer comprising
  about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium citrate dihydrate; (iv) about I mg/m1 of a
  preservative that is sodium benzoate; and (v) water; wherein the pH of the formulation is less than about
  3.5; and wherein the formulation is stable at about 513 °C for at least 12 months. In some embodiments,




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  the formulation does not contain mannitol. In some embodiments, the formulation does not contain
  silicon dioxide.
  100181 Also provided herein are methods of treating left ventricular dysfunction in a subject comprising
  administering to that subject a therapeutically effective amount of enalapril oral liquid formulation
  comprising (i) about I mg/nil enalapril maleate; (ii) about 0.7 rtighni of a sweetener that is sucralose; (iii)
  a buffer comprising about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium citrate dihydrate; (iv)
  about 1 mg/rill of a preservative that is sodium benzoate; and (v) water; wherein the pH of the formulation
  is less than about 3.5; and wherein the formulation is stable at about 5±3 °C for at least 12 months. In
  some embodiments, the formulation does not contain mannitol. In some embodiments, the formulation
  does not contain silicon dioxide.

                                   INCORPORATION BY REFERENCE
  [0019] All publications, patents, and patent applications mentioned in this specification are herein
  incorporated by reference to the same extent as if each individual publication, patent, or patent application
  was specifically and individually indicated to be incorporated by reference.

                               BRIEF DESCRIPTION OF THE DRAWINGS
  [0020] The novel features of the invention are set forth with particularity in the appended claims. A
  better understanding of the features and advantages of the present invention will be obtained by reference
  to the following detailed description that sets forth illustrative embodiments, in which the principles of
  the invention are utilized, and the accompanying drawings of which:
  [0021] FIG. 1: Effect of pH on degradant formation after 8 weeks of storage of various enalapril solution
  formulations at 5°C.
  [0022] FIG. 2: Effect of pH on degradant formation after 8 weeks of storage of various enalapril solution
  formulations at room temperature (19-22°C).

                            DETAILED DESCRIPTION OF THE INVENTION
  [0023] Provided herein are stable enalapril oral liquid formulations. Also provided herein are stable
  enalapril powder formulations for reconstitution for oral liquid administration. These enalapril
  formulations described herein are useful for the treatment of hypertension, prehypertension, heart failure
  as well as ventricular dysfunction. The formulations are advantageous over conventional solid dosage
  administration of enalapril ranging from ease of administration, accuracy of dosing, accessibility to
  additional patient populations such as to children and the elderly, and an increased patient compliance to
  medication.




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  [0024] It is generally known that certain segments of the population have difficulty ingesting and
  swallowing solid oral dosage forms such as tablets and capsules. As many as a quarter of the total
  population has this difficulty. Often, this leads to non-compliance with the recommended medical therapy
  with the solid dosage forms, thereby resulting in rending the therapy ineffective. Further, solid dosage
  forms are not recommended for children or elderly due to increased risk in choking.
  [0025] Furthermore, the dose of enalapril to be given to children is calculated according to the child's
  weight. When the calculated dose is something other than the amount present in one or more intact solid
  dosage forms, the solid dosage form must be divided to provide the correct dose. This leads to inaccurate
  dosing when solid dosages forms, such as tablets, are compounded to prepare other formulations for
  children.
  [0026] For enalapril, one solution to overcoming the use of the tablet form is for a compounding
  pharmacist to pulverize and crush the enalapril tablet(s) into a powder via mortar and pestle and
  reconstitute the powder in some liquid form. However forming a enalapril oral liquid in this fashion has
  significant drawbacks including large variability in the actual dosage, incomplete solubilizing of the
  enalapril tablet in the liquid, rapid instability, inconsistent formulation methods per compounding
  pharmacy, and a number of other potential issues. The crushed tablet liquid formulation may also be
  potentially unsafe due to contamination with residual drugs and other substances from the mortar and
  pestle or other crushing agent.
  [0027] Alternatively, enalapril is formulated as enalapril powder compositions for reconstitution as oral
  liquids as described in U.S. Pat. No. 8,568,747. The powder compositions as described in this patent
  require mannitol and colloidal silicon dioxide for stability and dissolution. While these powder
  compositions are an improvement over crushing tablets, they still require a step of mixing with a diluent.
  The stable enalapril oral liquid formulations described herein require no extra steps or manipulation prior
  to administration to a subject. Further, the stable enalapril oral liquid formulations described herein do
  not require or need mannitol or colloidal silicon dioxide for stability and dissolution.
  [0028] The present embodiments described herein provide a safe and effective oral administration of
  enalapril for the treatment of hypertension and other disorders. In particular, the embodiments provide
  stable enalapril oral liquid formulations as well as alternatively enalapril powder formulations for oral
  liquid administration.
  [0029] As used herein, "enalapril" refers to enalapril base, its salt, or solvate or derivative or isomer or
  polymorph thereof. Suitable compounds include the free base, the organic and inorganic salts, isomers,
  isomer salts, solvates, polymorphs, complexes etc. U.S. Pat. Nos. 4,374,829; 4,472,380 and 4,510,083
  disclose exemplary methods in the preparation of enalapril. In some embodiments, the enalapril used in




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  the formulations described herein is an enalapril salt. In some instances, the enalapril salt is enalapril
  maleate. In other instances, the enalapril salt is in the form of enalapril sodium.
  [0030] Other ACE inhibitors are contemplated in the formulations within and include but are not limited
  to quinapril, indolapril, ramipril, perindopril, lisinopril, benazepril, imidapril, zofenopril, trandolapril,
  fosinopril, captopril, and their salts, solvates, derivatives, polymorphs, or complexes, thereof.


  Enalapril Oral Liquid Formulations
  [0031] Oral liquids include, but are not limited to, solutions (both aqueous and nonaqueous),
  suspensions, emulsions, syrups, slurries, juices, elixirs, dispersions, and the like. It is envisioned that
  solution/suspensions are also included where certain components described herein are in a solution while
  other components are in a suspension.
  [0032] In one aspect, the enalapril liquid formulations described herein comprise enalapril, a
  preservative, a sweetening agent, a buffer, and water. In one embodiment, the sweetening agent is
  sucralose. In one embodiment, the sweetening agent is xylitol. In one embodiment, the sweetening agent
  is not mannitol. In another embodiment, the preservative is sodium benzoate. In some embodiments, the
  preservative is a paraben. In some embodiments, the preservative is a mixture of parabens. In yet another
  embodiment, the buffer comprises citric acid. In some embodiments, the buffer further comprises sodium
  citrate. In one aspect, the enalapril liquid formulation described herein comprises enalapril, sucralose,
  sodium benzoate, citric acid, sodium citrate, and water. In some embodiments, the enalapril liquid
  formulation herein further comprises a flavoring agent. In some embodiments, the enalapril liquid
  formulation is not obtained from crushing enalapril tablet and dissolving the powder in a suitable vehicle
  for oral administration. In some embodiments, the enalapril liquid formulation does not contain silicon
  dioxide. In some embodiments, the enalapril liquid formulation does not contain mannitol. In some
  embodiments, the enalapril liquid formulation does not contain lactose. In some embodiments, the
  enalapril liquid formulation does not contain magnesium stearate. In some embodiments, the enalapril
  liquid formulation does not contain sodium bicarbonate. In some embodiments, the enalapril liquid
  formulation does not contain iron oxides.
  [0033] In some embodiments, enalapril or a pharmaceutically acceptable salt thereof, is present in about
  0.6 to about 1.2 mg/ml in the oral liquid formulation. In other embodiments, enalapril or a
  pharmaceutically acceptable salt thereof, is present in about 0.6 mg/ml, about 0.61 mg/ml, about 0.62
  mg/ml, about 0.63 mg/ml, about 0.64 mg/ml, about 0.65 mg/ml, about 0.66 mg/ml, about 0.67 mg/ml,
  about 0.68 mg/ml, about 0.69 mg/ml, about 0.7 mg/ml, about 0.71 mg/ml, about 0.72 mg/ml, about 0.73
  mg/ml, about 0.74 mg/ml, about 0.75 mg/ml, about 0.76 mg/ml, about 0.77 mg/ml, about 0.78 mg/ml,
  about 0.79 mg/ml, about 0.8 mg/ml, about 0.81 mg/ml, about 0.82 mg/ml, about 0.83 mg/ml, about 0.84


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  mg/ml, about 0.85 mg/ml, about 0.86 mg/ml, about 0.87 mg/ml, about 0.88 mg/ml, about 0.89 mg/ml,
  about 0.9 mg/ml, about 0.91 mg/ml, about 0.92 mg/ml, about 0.93 mg/ml, about 0.94 mg/ml, about 0.95
  mg/ml, about 0.96 mg/ml, about 0.97 mg/ml, about 0.98 mg/ml, about 0.99 mg/ml, about 1 mg/ml, about
  1.01 mg/ml, about 1.02, mg/ml, about 1.03 mg/ml, about 1.04 mg/ml, about 1.05 mg/ml, about 1.06
  mg/ml, about 1.07 mg/ml, about 1.08 mg/ml, about 1.09 mg/ml, about 1.1 mg/ml, about 1.11 mg/ml,
  about 1.12, mg/ml, about 1.13 mg/ml, about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg/ml, about 1.17
  mg/ml, about 1.18 mg/ml, about 1.19 mg/ml, or about 1.2 mg/ml in the liquid oral formulation. In some
  embodiments, enalapril is present in about 0.76 mg/ml in the oral liquid formulation. In some
  embodiments, enalapril maleate is present in about 1 mg/ml in the oral liquid formulation. hi some
  embodiments, the formulation contains enalapril or another pharmaceutically acceptable salt of enalapril
  in a molar concentration equivalent to I mg/m1_, enalapril maleate. In some embodiments, the formulation
  contains enalapril or another pharmaceutically acceptable salt of enalapril in a molar concentration
  equivalent to 0,76 mg/rrill, enalapril.
  [0034] In some embodiments, enalapril or a pharmaceutically acceptable salt thereof, is present in about
  0.5    w/w to about 30 % w/w of the solids in the oral liquid formulation. In other embodiments, enalapril
  or a pharmaceutically acceptable salt thereof, is present in about 0.5      w/w, about 1     w/w, about 1.5 %
  w/w, about 2 % w/w, about 2.5        w/w, about 3 % w/w, about 3.5       w/w, about 4 % w/w, about 4.5 %
  w/w, about 5     w/w, about 5.5      w/w, about 6 % w/w, about 6.5       w/w, about 7 % w/w, about 7.5 %
  w/w, about 8 % w/w, about 8.5        w/w, about 9 % w/w, about 9.5       w/w, about 10 % w/w, about 10.5 %
  w/w, about 11      w/w, about 11.5        w/w, about 12 % w/w, about 12.5     w/w, about 13 % w/w, about
  13.5    w/w, about 14 % w/w, about 14.5          w/w, about 15    w/w, about 15.1 % w/w, about 15.2 % w/w,
  about 15.3 % w/w, about 15.4 % w/w, about 15.5          w/w, about 15.6 % w/w, about 15.7 % w/w, about
  15.8 % w/w, about 15.9 % w/w, about 16 % w/w, about 16.1 % w/w, about 16.2 % w/w, about 16.3 %
  w/w, about 16.4 % w/w, about 16.5          w/w, about 16.6 % w/w, about 16.7 % w/w, about 16.8 % w/w,
  about 16.9 % w/w, about 17 % w/w, about 17.1 % w/w, about 17.2 % w/w, about 17.3 % w/w, about 17.4
    w/w, about 17.5       w/w, about 17.6 % w/w, about 17.7 % w/w, about 17.8 % w/w, about 17.9 % w/w,
  about 18 % w/w, about 18.1 % w/w, about 18.2 % w/w, about 18.3 % w/w, about 18.4 % w/w, about 18.5
    w/w, about 18.6 % w/w, about 18.7 % w/w, about 18.8 % w/w, about 18.9 % w/w, about 19 % w/w,
  about 19.1 % w/w, about 19.2 % w/w, about 19.3 % w/w, about 19.4 % w/w, about 19.5                w/w, about
  19.6 % w/w, about 19.7 % w/w, about 19.8 % w/w, about 19.9 % w/w, about 20 % w/w, about 20.1 %
  w/w, about 20.2 % w/w, about 20.3 % w/w, about 20.4 % w/w, about 20.5             w/w, about 20.6 % w/w,
  about 20.7 % w/w, about 20.8 % w/w, about 20.9 % w/w, about 21 % w/w, about 21.1 % w/w, about 21.2
    w/w, about 21.3 % w/w, about 21.4 % w/w, about 21.5            w/w, about 21.6 % w/w, about 21.7 % w/w,
  about 21.8 % w/w, about 21.9 % w/w, about 22 % w/w, about 22.5            w/w, about 23 % w/w, about 23.5


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  % w/w, about 24 % w/w, about 24.5         w/w, about 25        w/w, about 25.5    w/w, about 26 % w/w, about
  26.5    w/w, about 27 % w/w, about 27.5         w/w, about 28 % w/w, about 28.5        w/w, about 29 % w/w,
  about 29.5    w/w, or about 30 % w/w of the solids in the oral liquid formulation. In some embodiments,
  enalapril or a pharmaceutically acceptable salt thereof, is present in about 10 % w/w to about 25         w/w
  of the solids in the oral liquid formulation. In some embodiments, enalapril is present in about 10.5 %
  w/w of the solids in the oral liquid formulation. In some embodiments, enalapril is present in about 15 %
  w/w of the solids in the oral liquid formulation. In some embodiments, enalapril is present in about 18.2
  % w/w of the solids in the oral liquid formulation. In some embodiments, enalapril maleate is present in
  about 13.5    w/w of the solids in the oral liquid formulation. In some embodiments, enalapril maleate is
  present in about 19.3 % w/w of the solids in the oral liquid formulation. In some embodiments, enalapril
  maleate is present in about 24.5      w/w of the solids in the oral liquid formulation.
  [0035] In some embodiments, enalapril or a pharmaceutically acceptable salt thereof, is present in about
  0.1% w/w to about 1        w/w of the solids in the oral liquid formulation. In other embodiments, enalapril
  or a pharmaceutically acceptable salt thereof, is present in about 0.1 % w/w, about 0.15        w/w, about 0.2
  % w/w, about 0.25      w/w, about 0.3 % w/w, about 0.35          w/w, about 0.4 % w/w, about 0.45       w/w,
  about 0.5    w/w, about 0.55       w/w, about 0.6 % w/w, about 0.65        w/w, about 0.7 % w/w, about 0.75
  % w/w, about 0.8 % w/w, about 0.85         w/w, about 0.9 % w/w, about 0.95        w/w, or about 1     w/w of
  the solids in the oral liquid formulation. In some embodiments, enalapril or a pharmaceutically acceptable
  salt thereof, is present in about 0.4 % w/w to about 0.7 % w/w of the solids in the oral liquid formulation.
  In some embodiments, enalapril is present in about 0.4 % w/w of the solids in the oral liquid formulation.
  In some embodiments, enalapril is present in about 0.5         w/w of the solids in the oral liquid formulation.
  In some embodiments, enalapril maleate is present in about 0.5         w/w of the solids in the oral liquid
  formulation. In some embodiments, enalapril maleate is present in about 0.6 % w/w of the solids in the
  oral liquid formulation.
  Sweetener in the Enalapril Oral Liquid Formulations
  [0036] Sweeteners or sweetening agents include any compounds that provide a sweet taste. This includes
  natural and synthetic sugars, natural and artificial sweeteners, natural extracts and any material that
  initiates a sweet sensation in a subject. In some embodiments, a solid/powder sweetener is used in the oral
  liquid formulation described herein. In other embodiments, a liquid sweetener is used in the oral liquid
  formulation described herein.
  [0037] Sugars illustratively include glucose, fructose, sucrose, xylitol, tagatose, sucralose, maltitol,
  isomaltulose, IsomaltTM (hydrogenated isomaltulose), lactitol, sorbitol, erythritol, trehalose, maltodextrin,
  polydextrose, and the like. Other sweeteners illustratively include glycerin, inulin, erythritol, maltol,
  acesulfame and salts thereof, e.g., acesulfame potassium, alitame, aspartame, neotame, sodium cyclamate,


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  saccharin and salts thereof, e.g., saccharin sodium or saccharin calcium, neohesperidin dihydrochalcone,
  stevioside, thaumatin, and the like. Sweeteners can be used in the form of crude or refined products such
  as hydrogenated starch hydrolysates, maltitol syrup, high fructose corn syrup, etc., and as branded
  products, e.g., Sweet AmTM liquid (Product Code 918.003-propylene glycol, ethyl alcohol, and
  proprietary artificial flavor combination, Flavors of North America) and Sweet AmTM powder (Product
  Code 918.005--maltodextrin, sorbitol, and fructose combination and Product Code 918.010--water,
  propylene glycol, sorbitol, fructose, and proprietary natural and artificial flavor combination, Flavors of
  North America), ProSweetTM (1-10% proprietary plant/vegetable extract and 90-99% dextrose
  combination, Viriginia Dare), MaltisweetTM (maltitol solution, Ingredion), SorboTM (sorbitol and
  sorbitol/xylitol solution, SPI Polyols), InvertoseTM (high fructose corn syrup, Ingredion), Rebalance M60
  and X60 (sucralose and maltodextrin, Tate and Lyle), and Ora-Sweet® sugar-free flavored syrup
  (Paddock Laboratories, Inc.). Sweeteners can be used singly or in combinations of two or more. Suitable
  concentrations of different sweeteners can be selected based on published information, manufacturers'
  data sheets and by routine testing.
  [0038] In some embodiments, the enalapril oral liquid formulation described herein comprises a
  sweetening agent. In some embodiments, the sweetening agent is sucralose. In some embodiments, the
  sweetening agent is xylitol. In some embodiments, the sweetener is not mannitol.
  [0039] In some embodiments, the enalapril oral liquid formulation described herein comprises sucralose.
  In some embodiments, sucralose is present in about 0.5 to about 0.9 mg/ml in the oral liquid formulation.
  In other embodiments, sucralose is present in about 0.51 mg/ml, about 0.52 mg/ml, about 0.53 mg/ml,
  about 0.54 mg/ml, about 0.55 mg/ml, about 0.56 mg/ml, about 0.57 mg/ml, about 0.58 mg/ml, about 0.59
  mg/ml, about 0.60 mg/ml, about 0.61 mg/ml, about 0.62 mg/ml, about 0.63 mg/ml, about 0.64 mg/ml,
  about 0.65 mg/ml, about 0.66 mg/ml, about 0.67 mg/ml, about 0.68 mg/ml, about 0.69 mg/ml, about 0.70
  mg/ml, about 0.71 mg/ml, about 0.72 mg/ml, about 0.73 mg/ml, about 0.74 mg/ml, about 0.75 mg/ml,
  about 0.76 mg/ml, about 0.77 mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, about 0.80 mg/ml, about 0.81
  mg/ml, about 0.82 mg/ml, about 0.83 mg/ml, about 0.84 mg/ml, about 0.85 mg/ml, about 0.86 mg/ml,
  about 0.87 mg/ml, about 0.88 mg/ml, about 0.89 mg/ml, or about 0.90 mg/ml in the oral liquid
  formulation. In some embodiments, sucralose is present in about 0.7 mg/ml in the oral liquid formulation.
  [0040] In some embodiments, sucralose is present in about 1 % w/w to about 30 % w/w of the solids in
  the oral liquid formulation. In some embodiments, sucralose is present in about 1 % w/w, about 1.5 %
  w/w, about 2 % w/w, about 2.5 % w/w, about 3 % w/w, about 3.5 % w/w, about 4 % w/w, about 4.5 %
  w/w, about 5 % w/w, about 5.5 % w/w, about 6 % w/w, about 6.5 % w/w, about 7 % w/w, about 7.5 %
  w/w, about 8 % w/w, about 8.5 % w/w, about 9 % w/w, about 9.5 % w/w, about 10 % w/w, about 10.5 %
  w/w, about 11 % w/w, about 11.5 % w/w, about 12 % w/w, about 12.5 % w/w, about 13 % w/w, about


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                                                   Appx400
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  13.5   w/w, about 14% w/w, about 14.5         w/w, about 15     w/w, about 15.5    w/w, about 16 % w/w,
  about 16.5      w/w, about 17 % w/w, about 17.5      w/w, about 18 % w/w, about 18.5      w/w, about 19 0/0
  w/w, about 19.5      w/w, about 20 % w/w, about 20.5       w/w, about 21 % w/w, about 21.5      w/w, about
  22 % w/w, about 22.5       w/w, about 23 % w/w, about 23.5      w/w, about 24 % w/w, about 24.5        w/w,
  about 25     w/w, about 25.5     w/w, about 26 % w/w, about 26.5       w/w, about 27 % w/w, about 27.5 0/0
  w/w, about 28 % w/w, about 28.5        w/w, about 29 % w/w, about 29.5      w/w, or about 30 % w/w of the
  solids in the oral liquid formulation. In some embodiments, sucralose is present in about 8 % w/w to
  about 18 % w/w of the solids in the oral liquid formulation. In some embodiments, sucralose is present in
  about 9.5      w/w of the solids in the oral liquid formulation. In some embodiments, sucralose is present in
  about 13.5      w/w of the solids in the oral liquid formulation. In some embodiments, sucralose is present
  in about 16.5 % w/w of the solids in the oral liquid formulation.
  [0041] In some embodiments, the enalapril oral liquid formulation described herein comprises xylitol. In
  some embodiments, xylitol is present in about 140 mg/ml to about 210 mg/ml in the oral liquid
  formulation.
  [0042] In some embodiments, xylitol is present in about 140 mg/ml, about 145 mg/ml, about 150 mg/ml,
  about 155 mg/ml, about 160 mg/ml, about 165 mg/ml, about 170 mg/ml, about 175 mg/ml, about 180
  mg/ml, about 185 mg/ml, about 190 mg/ml, about 195 mg/ml, about 200 mg/ml, about 205 mg/ml, or
  about 210 mg/ml of the oral liquid formulation. In some embodiments, xylitol is present in about 150
  mg/ml in the oral liquid formulation. In some embodiments, xylitol is present in about 200 mg/ml in the
  oral liquid formulation.
  [0043] In some embodiments, xylitol is present in about 80 % w/w to about 99 % w/w of the solids in the
  oral liquid formulation. In other embodiments, xylitol is present in about 80 % w/w, about 81 % w/w,
  about 82 % w/w, about 83 % w/w, about 84 % w/w, about 85            w/w, about 86 % w/w, about 87 % w/w,
  about 88 % w/w, about 89 % w/w, about 90 % w/w, about 91 % w/w, about 92 % w/w, about 93 % w/w,
  about 94 % w/w, about 95        w/w, about 96 % w/w, about 97 % w/w, about 98 % w/w, or about 99 %
  w/w of the solids in the oral liquid formulation. In some embodiments, xylitol is present in about 96 0/0
  w/w to about 98 % w/w of the solids in the oral liquid formulation. In some embodiments, xylitol is
  present in about 96 % w/w of the solids in the oral liquid formulation.
  Preservative in the Enalapril Oral Liquid Formulations
  [0044] Preservatives include anti-microbials, anti-oxidants, and agents that enhance sterility. Exemplary
  preservatives include ascorbic acid, ascorbyl palmitate, BHA, BHT, citric acid, EDTA and its salts,
  erythorbic acid, fumaric acid, malic acid, propyl gallate, sodium ascorbate, sodium bisulfate, sodium
  metabisulfite, sodium sulfite, parabens (such as methylparaben, ethylparaben, propylparaben,
  butylparaben and their salts), benzoic acid, sodium benzoate, potassium sorbate, vanillin, and the like.


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                                                    Appx401
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  [0045] In some embodiments, the enalapril oral liquid formulation described herein comprises a
  preservative.
  [0046] In some embodiments, the preservative is a paraben and the sweetener is not a sugar (such as, but
  not limited to glucose, fructose, sucrose, lactose, maltose) or a sugar alcohol (such as, but not limited to
  xylitol, mannitol, lactitol, maltitol, sorbitol).
  [0047] In some embodiments, the preservative is sodium benzoate.
  [0048] In some embodiments, modulation of the pH is desired to provide the best antimicrobial activity
  of the preservative, sodium benzoate. In some embodiments, the antimicrobial activity of sodium
  benzoate drops when the pH is increased above 5.
  [0049] In some embodiments, the pH of the enalapril oral liquid formulation described herein is less than
  about 4. In some embodiments, the pH of the enalapril oral liquid formulation described herein is less
  than about 3.5. In some embodiments, the pH of the enalapril oral liquid formulation described herein is
  between about 3 and about 4. In some embodiments, the pH of the enalapril oral liquid formulation
  described herein is between about 3 and about 3.5. In some embodiments, the pH of the enalapril oral
  liquid formulation described herein is about 3, about 3.1, about 3.2, about 3.3, about 3.4, about 3.5, about
  3.6, about 3.7, about 3.8, about 3.9, or about 4. In some embodiments, the pH of the enalapril oral liquid
  formulation described herein is about 3.3.
  [0050] In some embodiments, sodium benzoate is present in about 0.2 to about 1.2 mg/ml in the oral
  liquid formulation. In other embodiments, sodium benzoate is present in about 0.2 mg/ml, about 0.21
  mg/ml, about 0.22 mg/ml, about 0.23 mg/ml, about 0.24 mg/ml, about 0.25 mg/ml, about 0.26 mg/ml,
  about 0.27 mg/ml, about 0.28 mg/ml, about 0.29 mg/ml, about 0.3 mg/ml, about 0.31 mg/ml, about 0.32
  mg/ml, about 0.33 mg/ml, about 0.34 mg/ml, about 0.35 mg/ml, about 0.36 mg/ml, about 0.37 mg/ml,
  about 0.38 mg/ml, about 0.39 mg/ml, about 0.4 mg/ml, about 0.41 mg/ml, about 0.42 mg/ml, about 0.43
  mg/ml, about 0.44 mg/ml, about 0.45 mg/ml, about 0.46 mg/ml, about 0.47 mg/ml, about 0.48 mg/ml,
  about 0.49 mg/ml, about 0.5 mg/ml, about 0.51 mg/ml, about 0.52 mg/ml, about 0.53 mg/ml, about 0.54
  mg/ml, about 0.55 mg/ml, about 0.56 mg/ml, about 0.57 mg/ml, about 0.58 mg/ml, about 0.59 mg/ml,
  about 0.6 mg/ml, about 0.61 mg/ml, about 0.62 mg/ml, about 0.63 mg/ml, about 0.64 mg/ml, about 0.65
  mg/ml, about 0.66 mg/ml, about 0.67 mg/ml, about 0.68 mg/ml, about 0.69 mg/ml, about 0.7 mg/ml,
  about 0.71 mg/ml, about 0.72 mg/ml, about 0.73 mg/ml, about 0.74 mg/ml, about 0.75 mg/ml, about 0.76
  mg/ml, about 0.77 mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, about 0.8 mg/ml, about 0.81 mg/ml,
  about 0.82 mg/ml, about 0.83 mg/ml, about 0.84 mg/ml, about 0.85 mg/ml, about 0.86 mg/ml, about 0.87
  mg/ml, about 0.88 mg/ml, about 0.89 mg/ml, about 0.9 mg/ml, about 0.91 mg/ml, about 0.92 mg/ml,
  about 0.93 mg/ml, about 0.94 mg/ml, about 0.95 mg/ml, about 0.96 mg/ml, about 0.97 mg/ml, about 0.98
  mg/ml, about 0.99 mg/ml, about 1 mg/ml, about 1.01 mg/ml, about 1.02, mg/ml, about 1.03 mg/ml, about


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                                                      Appx402
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  1.04 mg/ml, about 1.05 mg/ml, about 1.06 mg/ml, about 1.07 mg/ml, about 1.08 mg/ml, about 1.09
  mg/ml, about 1.1 mg/ml, about 1.11 mg/ml, about 1.12, mg/ml, about 1.13 mg/ml, about 1.14 mg/ml,
  about 1.15 mg/ml, about 1.16 mg/ml, about 1.17 mg/ml, about 1.18 mg/ml, about 1.19 mg/ml, or about
  1.2 mg/ml in the liquid oral formulation. In some embodiments, sodium benzoate is present in about 1
  mg/ml in the oral liquid formulation.
  [0051] In some embodiments, sodium benzoate is present in about 1% w/w to about 30 % w/w of the
  solids in the oral liquid formulation. In other embodiments, sodium benzoate is present in about 1 % w/w,
  about 1.5    w/w, about 2 % w/w, about 2.5        w/w, about 3 % w/w, about 3.5      w/w, about 4 % w/w,
  about 4.5    w/w, about 5     w/w, about 5.5      w/w, about 6 % w/w, about 6.5      w/w, about 7 % w/w,
  about 7.5    w/w, about 8 % w/w, about 8.5        w/w, about 9 % w/w, about 9.5      w/w, about 10 % w/w,
  about 10.5    w/w, about 11     w/w, about 11.5      w/w, about 12 % w/w, about 12.5       w/w, about 13 %
  w/w, about 13.5     w/w, about 14 % w/w, about 14.5        w/w, about 15       w/w, about 15.1 % w/w, about
  15.2 % w/w, about 15.3 % w/w, about 15.4 % w/w, about 15.5           w/w, about 15.6 % w/w, about 15.7 %
  w/w, about 15.8 % w/w, about 15.9 % w/w, about 16 % w/w, about 16.1 % w/w, about 16.2 % w/w,
  about 16.3 % w/w, about 16.4 % w/w, about 16.5         w/w, about 16.6 % w/w, about 16.7 % w/w, about
  16.8 % w/w, about 16.9 % w/w, about 17 % w/w, about 17.1 % w/w, about 17.2 % w/w, about 17.3 %
  w/w, about 17.4 % w/w, about 17.5        w/w, about 17.6 % w/w, about 17.7 % w/w, about 17.8 % w/w,
  about 17.9 % w/w, about 18 % w/w, about 18.1 % w/w, about 18.2 % w/w, about 18.3 % w/w, about 18.4
    w/w, about 18.5     w/w, about 18.6 % w/w, about 18.7 % w/w, about 18.8 % w/w, about 18.9 % w/w,
  about 19 % w/w, about 19.1 % w/w, about 19.2 % w/w, about 19.3 % w/w, about 19.4 % w/w, about 19.5
  % w/w, about 19.6 % w/w, about 19.7 % w/w, about 19.8 % w/w, about 19.9 % w/w, about 20 % w/w,
  about 20.1 % w/w, about 20.2 % w/w, about 20.3 % w/w, about 20.4 % w/w, about 20.5             w/w, about
  20.6 % w/w, about 20.7 % w/w, about 20.8 % w/w, about 20.9 % w/w, about 21 % w/w, about 21.1 %
  w/w, about 21.2 % w/w, about 21.3 % w/w, about 21.4 % w/w, about 21.5             w/w, about 21.6 % w/w,
  about 21.7 % w/w, about 21.8 % w/w, about 21.9 % w/w, about 22 % w/w, about 22.5             w/w, about 23
  % w/w, about 23.5     w/w, about 24 % w/w, about 24.5          w/w, about 25     w/w, about 25.5    w/w,
  about 26 % w/w, about 26.5      w/w, about 27 % w/w, about 27.5        w/w, about 28 % w/w, about 28.5 %
  w/w, about 29 % w/w, about 29.5         w/w, or about 30 % w/w of the solids in the oral liquid formulation.
  In some embodiments, sodium benzoate is present in about 10% w/w to about 25            w/w of the solids in
  the oral liquid formulation. In some embodiments, sodium benzoate is present in about 13.5% w/w of the
  solids in the oral liquid formulation. In some embodiments, sodium benzoate is present in about 19.3%
  w/w of the solids in the oral liquid formulation. In some embodiments, sodium benzoate is present in
  about 23.5 % w/w of the solids in the oral liquid formulation.




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                                                     Appx403
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  [0052] In some embodiments, sodium benzoate is present in about 0.1% w/w to about 1 % w/w of the
  solids in the oral liquid formulation. In other embodiments, sodium benzoate is present in about 0.1 %
  w/w, about 0.15 % w/w, about 0.2 % w/w, about 0.25 % w/w, about 0.3 % w/w, about 0.35 % w/w, about
  0.4 % w/w, about 0.45 % w/w, about 0.5 % w/w, about 0.55 % w/w, about 0.6 % w/w, about 0.65 % w/w,
  about 0.7 % w/w, about 0.75 % w/w, about 0.8 % w/w, about 0.85 % w/w, about 0.9 % w/w, about 0.95
  % w/w, or about 1 % w/w of the solids in the oral liquid formulation. In some embodiments, sodium
  benzoate is present in about 0.4 % w/w to about 0.7 % w/w of the solids in the oral liquid formulation. In
  some embodiments, sodium benzoate is present in about 0.45 % w/w of the solids in the oral liquid
  formulation. In some embodiments, sodium benzoate is present in about 0.6 % w/w of the solids in the
  oral liquid formulation.
  [0053] In some embodiments, sodium benzoate is present in an amount sufficient to provide
  antimicrobial effectiveness to the enalapril oral liquid formulation described herein. (See Table G-1).
  [0054] In some embodiments, the preservative is a paraben. In some embodiments, the preservative is a
  mixture of parabens. In some embodiments, the paraben or mixture of parabens is present in about 0.1
  mg/ml to about 2 mg/ml in the oral liquid formulation. In other embodiments, the paraben or mixture of
  parabens is present in about 0.1 mg/ml, about 0.2 mg/ml, about 0.3 mg/ml, about 0.4 mg/ml, about 0.5
  mg/ml, about 0.6 mg/ml, about 0.7 mg/ml, about 0.8 mg/ml, about 0.9 mg/ml, about 1 mg/ml, about 1.1
  mg/ml, about 1.2 mg/ml, about 1.3 mg/ml, about 1.4 mg/ml, or about 1.5 mg/ml, about 1.6 mg/ml, about
  1.7 mg/ml, about 1.8 mg/ml, about 1.9 mg/ml, or about 2 mg/ml in the liquid oral formulation. In some
  embodiments, the paraben or mixture of parabens is present in about 1.6 mg/ml to about 2 mg/ml in the
  oral liquid formulation. In some embodiments, the paraben or mixture of parabens is present in about 1.6
  mg/ml to about 1.8 mg/ml in the oral liquid formulation. In some embodiments, the paraben or mixture of
  parabens is present in about 0.1 mg/ml to about 0.5 mg/ml in the oral liquid formulation.
  [0055] In some embodiments, the paraben or mixture of parabens is present in about 2 % w/w to about
  30 % w/w of the solids in the oral liquid formulation. In other embodiments, the paraben or mixture of
  parabens is present in about 2 % w/w, about 3 % w/w, about 4 % w/w, about 5 % w/w, about 6 % w/w,
  about 7 % w/w, about 8 % w/w, about 9 % w/w, about 10 % w/w, about 11 % w/w, about 12 % w/w,
  about 13 % w/w, about 14 % w/w, about 15 % w/w, about 16 % w/w, about 17 % w/w, about 18 % w/w,
  about 19 % w/w, about 20 % w/w, about 21 % w/w, about 22 % w/w, about 23 % w/w, about 24 % w/w,
  about 25 % w/w, about 26 % w/w, about 27 % w/w, about 28 % w/w, about 29 % w/w, or about 30 %
  w/w of the solids in the oral liquid formulation. In some embodiments, the paraben or mixture of parabens
  is present in about 2 % w/w to about 3 % w/w of the solids in the oral liquid formulation. In some
  embodiments, the paraben or mixture of parabens is present in about 23 % w/w to about 26 % w/w of the




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  solids in the oral liquid formulation. In some embodiments, the paraben or mixture of parabens is present
  in about 26 % w/w to about 30 % w/w of the solids in the oral liquid formulation.
  Sweetener and preservative incompatibility
  [0056] Paraben preservatives (especially methylparaben) can react with selected sugars (glucose,
  fructose, sucrose, lactose, maltose) and sugar alcohols (xylitol, mannitol, lactitol, maltitol, sorbitol) to
  form transesterification reaction products. This can be undesirable from a formulation and stability
  standpoint as the transesterification creates additional degradants.
  [0057] In some embodiments, the enalapril oral liquid formulation described herein does not comprise a
  paraben preservative. In further embodiments, the enalapril oral liquid formulation described herein does
  not comprise a paraben preservative when the formulation also comprises a sugar or sugar alcohol.
  pH of Enalapril Oral Liquid Formulations
  [0058] Buffering agents maintain the pH of the liquid enalapril formulation. Non-limiting examples of
  buffering agents include, but are not limited to sodium bicarbonate, potassium bicarbonate, magnesium
  hydroxide, magnesium lactate, magnesium glucomate, aluminum hydroxide, aluminum hydroxide/sodium
  bicarbonate co-precipitate, mixture of an amino acid and a buffer, a mixture of aluminum glycinate and a
  buffer, a mixture of an acid salt of an amino acid and a buffer, and a mixture of an alkali salt of an amino
  acid and a buffer. Additional buffering agents include citric acid, sodium citrate, sodium tartarate, sodium
  acetate, sodium carbonate, sodium polyphosphate, potassium polyphosphate, sodium pyrophosphate,
  potassium pyrophosphate, disodium hydrogenphosphate, dipotassium hydrogenphosphate, trisodium
  phosphate, tripotassium phosphate, sodium acetate, potassium metaphosphate, magnesium oxide,
  magnesium hydroxide, magnesium carbonate, magnesium silicate, calcium acetate, calcium
  glycerophosphate, calcium chloride, calcium hydroxide, calcium lactate, calcium carbonate, calcium
  bicarbonate, and other calcium salts. Some buffering agents also impart effervescent qualities when a
  powder is reconstituted in a solution. In some embodiments, the buffering agent is not sodium
  bicarbonate.
  [0059] In some embodiments, the oral liquid formulation comprises a buffer.
  [0060] In some embodiments, the buffer in the enalapril oral liquid formulation described herein
  comprises citric acid. In some embodiments, the buffer in the enalapril oral liquid formulation described
  herein comprises citric acid and sodium citrate. In some embodiments, the buffer in the enalapril oral
  liquid formulation described herein comprises citric acid and sodium citrate dihydrate or an equivalent
  molar amount of sodium citrate anhydrous. In some embodiments, the sodium citrate is monosodium
  citrate. In some embodiments_ the sodium citrate is disodium citrate. In sonic embociiments_ the sodium
  citrate is trisodium citrate.




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  [0061] In some embodiments, the buffer in the enalapril oral liquid formulation described herein
  comprises phosphoric acid. In some embodiments, the buffer in the enalapril oral liquid formulation
  described herein comprises sodium phosphate.
  [0062] In some embodiments, modulation of the pH is desired to provide a lowered impurity profile. In
  the exemplary stability studies, the main enalapril degradants are enalapril diketopiperazine and
  enalaprilat:




                                                           Nj        r °
                                                                     N


                                          enalapril diketopiperazine;




                                          HO

                                                          0      ,
                                                               HO
                                                   enalaprilat
  [0063] In some embodiments, the percentage of enalaprilat formation is increased when the pH is above
  3.5. (See table C-2 and FIG. 1 and FIG. 2). In some embodiments, the percentage of enalapril
  diketopiperazine formation is slightly increased as the pH is below 4.
  [0064] In some embodiments, the pH of the enalapril oral liquid formulation described herein is less than
  about 4. In some embodiments, the pH of the enalapril oral liquid formulation described herein is less
  than about 3.5. In some embodiments, the pH of the enalapril oral liquid formulation described herein is
  between about 3 and about 4. In some embodiments, the pH of the enalapril oral liquid formulation
  described herein is between about 3 and about 3.5. In some embodiments, the pH of the enalapril oral
  liquid formulation described herein is about 3, about 3.1, about 3.2, about 3.3, about 3.4, about 3.5, about
  3.6, about 3.7, about 3.8, about 3.9, or about 4. In some embodiments, the pH of the enalapril oral liquid
  formulation described herein is about 3.3.
  [0065] In some embodiments, the formation of degradants is dependent on the buffer concentration. In
  some embodiments, the buffer concentration impacts the taste of the enalapril oral liquid formulation.
  [0066] In some embodiments, the buffer concentration is between about 5 mM and about 20 mM. In
  some embodiments, the buffer concentration is about 5 mM, about 6 mM, about 7 mM, about 8 mM,


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                                                   Appx406
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  about 9 mM, about 10 mM, about 11 mM, about 12 mM, about 13 mM, about 14 mM, about 15 mM,
  about 16 mM, about 17 mM, about 18 mM, about 19 mM, or about 20 mM. In some embodiments, the
  buffer concentration is about 5 mM. In some embodiments, the buffer concentration is about 10 mM. In
  some embodiments, the buffer concentration is about 20 mM.
  [0067] In some embodiments, citric acid is present in about 0.7 to about 2 mg/ml in the oral liquid
  formulation. In other embodiments, citric acid is present in about 0.7 mg/ml, about 0.71 mg/ml, about
  0.72 mg/ml, about 0.73 mg/ml, about 0.74 mg/ml, about 0.75 mg/ml, about 0.76 mg/ml, about 0.77
  mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, about 0.8 mg/ml, about 0.81 mg/ml, about 0.82 mg/ml,
  about 0.83 mg/ml, about 0.84 mg/ml, about 0.85 mg/ml, about 0.86 mg/ml, about 0.87 mg/ml, about 0.88
  mg/ml, about 0.89 mg/ml, about 0.9 mg/mL, about 0.91 mg/mL, about 0.92 mg/mL, about 0.93 mg/mL,
  about 0.94 mg/mL, about 0.95 mg/mL, about 0.96 mg/mL, about 0.97 mg/mL, about 0.98 mg/mL, about
  0.99 mg/mL, about 1 mg/mL, about 1.11 mg/ml, about 1.12 mg/ml, about 1.13 mg/ml, about 1.14 mg/ml,
  about 1.15 mg/ml, about 1.16 mg/ml, about 1.17 mg/ml, about 1.18 mg/ml, about 1.19 mg/ml, about 1.2
  mg/ml, about 1.21 mg/ml, about 1.22 mg/ml, about 1.23 mg/ml, about 1.24 mg/ml, about 1.25 mg/ml,
  about 1.26 mg/ml, about 1.27 mg/ml, about 1.28 mg/ml, about 1.29 mg/ml, about 1.3 mg/mL, about 1.31
  mg/mL, about 1.32 mg/mL, about 1.33 mg/mL, about 1.34 mg/mL, about 1.35 mg/mL, about 1.36
  mg/mL, about 1.37 mg/mL, about 1.38 mg/mL, about 1.39 mg/mL, about 1.4 mg/ml, about 1.41 mg/ml,
  about 1.42 mg/ml, about 1.43 mg/ml, about 1.44 mg/ml, about 1.45 mg/ml, about 1.46 mg/ml, about 1.47
  mg/ml, about 1.48 mg/ml, about 1.49 mg/ml, about 1.5 mg/ml, about 1.51 mg/ml, about 1.52 mg/ml,
  about 1.53 mg/ml, about 1.54 mg/ml, about 1.55 mg/ml, about 1.56 mg/ml, about 1.57 mg/ml, about 1.58
  mg/ml, about 1.59 mg/ml, about 1.6 mg/mL, about 1.61 mg/mL, about 1.62 mg/mL, about 1.63 mg/mL,
  about 1.64 mg/mL, about 1.65 mg/mL, about 1.66 mg/mL, about 1.67 mg/mL, about 1.68 mg/mL, about
  1.69 mg/mL, about 1.7 mg/ml, about 1.71 mg/ml, about 1.72 mg/ml, about 1.73 mg/ml, about 1.74
  mg/ml, about 1.75 mg/ml, about 1.76 mg/ml, about 1.77 mg/ml, about 1.78 mg/ml, about 1.79 mg/ml,
  about 1.8 mg/ml, about 1.81 mg/ml, about 1.82 mg/ml, about 1.83 mg/ml, about 1.84 mg/ml, about 1.85
  mg/ml, about 1.86 mg/ml, about 1.87 mg/ml, about 1.88 mg/ml, about 1.89 mg/ml, about 1.9 mg/mL,
  about 1.91 mg/mL, about 1.92 mg/mL, about 1.93 mg/mL, about 1.94 mg/mL, about 1.95 mg/mL, about
  1.96 mg/mL, about 1.97 mg/mL, about 1.98 mg/mL, about 1.99 mg/mL, or about 2 mg/mL in the oral
  liquid formulation. In some embodiments, citric acid is present in about 1.65 mg/ml in the oral liquid
  formulation. In some embodiments, citric acid is present in about 1.82 mg/ml in the oral liquid
  formulation. In some embodiments, citric acid is present in about 0.82 mg/ml in the oral liquid
  formulation.
  [0068] In some embodiments, citric acid is present in about 2 to about 3.5 mg/ml in the oral liquid
  formulation. In other embodiments, citric acid is present in about 2 mg/mL, about 2.05 mg/mL, about 2.1


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                                                  Appx407
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  mg/mL, about 2.15 mg/mL, about 2.2 mg/mL, about 2.25 mg/mL, about 2.3 mg/mL, about 2.35 mg/mL,
  about 2.4 mg/mL, about 2.45 mg/mL, about 2.5 mg/mL, about 2.55 mg/mL, about 2.6 mg/mL, about 2.65
  mg/mL, about 2.7 mg/mL, about 2.75 mg/mL, about 2.8 mg/mL, about 2.85 mg/mL, about 2.9 mg/mL,
  about 2.95 mg/mL, about 3 mg/mL, about 3.05 mg/ml, about 3.1 mg/mL, about 3.15 mg/mL, about 3.2
  mg/mL, about 3.25 mg/mL, about 3.3 mg/mL, about 3.35 mg/mL, about 3.4 mg/mL, about 3.45 mg/mL,
  or about 3.5 mg/mL in the oral liquid formulation. In some embodiments, citric acid is present in about
  3.3 mg/ml in the oral liquid formulation.
  [0069] In some embodiments, citric acid is present in about 10 % w/w to about 50        w/w of the solids in
  the oral liquid formulation. In other embodiments, citric acid is present in about 10 % w/w, about 11 %
  w/w, about 12 % w/w, about 13 % w/w, about 14 % w/w, about 15          w/w, about 16 % w/w, about 17 %
  w/w, about 18 % w/w, about 19 % w/w, about 20 % w/w, about 21 % w/w, about 22 % w/w, about 23 %
  w/w, about 24 % w/w, about 25      w/w, about 26 % w/w, about 27 % w/w, about 28 % w/w, about 29 %
  w/w, about 30 % w/w, about 31 % w/w, about 32 % w/w, about 33 % w/w, about 34 % w/w, about 35 %
  w/w, about 36 % w/w, about 37 % w/w, about 38 % w/w, about 39 % w/w, about 40 % w/w, about 41 %
  w/w, about 42 % w/w, about 43 % w/w, about 44 % w/w, about 45          w/w, about 46 % w/w, about 47 %
  w/w about 48 % w/w about 49 % w/w about 50 % w/w of the solids in the oral liquid formulation. In
  some embodiments, citric acid is present in about 45     w/w of the solids in the oral liquid formulation. In
  some embodiments, citric acid is present in about 31 % w/w of the solids in the oral liquid formulation. In
  some embodiments, citric acid is present in about 35     w/w of the solids in the oral liquid formulation. In
  some embodiments, citric acid is present in about 19 % w/w of the solids in the oral liquid formulation.
  [0070] In some embodiments, citric acid is present in about 1      w/w to about 5    w/w of the solids in
  the oral liquid formulation. In other embodiments, citric acid is present in about 1 % w/w, about 1.1 %
  w/w, about 1.2 % w/w, about 1.3 % w/w, about 1.4 % w/w, about 1.5         w/w, about 1.6 % w/w, about 1.7
  % w/w, about 1.8 % w/w, about 1.9 % w/w, about 2 % w/w, about 2.1 % w/w, about 2.2 % w/w, about
  2.3 % w/w, about 2.4 % w/w, about 2.5       w/w, about 2.6 % w/w, about 2.7 % w/w, about 2.8 % w/w,
  about 2.9 % w/w, about 3 % w/w, about 3.1 % w/w, about 3.2 % w/w, about 3.3 % w/w, about 3.4 %
  w/w, about 3.5     w/w, about 3.6 % w/w, about 3.7 % w/w, about 3.8 % w/w, about 3.9 % w/w, about 4
  % w/w, about 4.1 % w/w, about 4.2 % w/w, about 4.3 % w/w, about 4.4 % w/w, about 4.5            w/w, about
  4.6 % w/w, about 4.7 % w/w, about 4.8 % w/w, about 4.9 % w/w, or about 5          w/w of the solids in the
  oral liquid formulation. In some embodiments, citric acid is present in about 2.1 % w/w of the solids in
  the oral liquid formulation. In some embodiments, citric acid is present in about 1.6 % w/w of the solids
  in the oral liquid formulation.
  [0071] In some embodiments, sodium citrate dihydrate is present in about 0.1 to about 0.8 mg/ml in the
  oral liquid formulation. In other embodiments, sodium citrate dihydrate is present in the oral liquid


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                                                                                            SLVGT-EPA_0105733
                                                   Appx408
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  formulation is about 0.1 mg/mL, about 0.11 mg/mL, about 0.12 mg/mL, about 0.13 mg/mL, about 0.14
  mg/mL, about 0.15 mg/ml, about 0.16 mg/mL, about 0.17 mg/mL, about 0.18 mg/mL, about 0.19 mg/mL,
  about 0.2 mg/ml, about 0.21 mg/ml, about 0.22 mg/ml, about 0.23 mg/ml, about 0.24 mg/ml, about 0.25
  mg/ml, about 0.26 mg/ml, about 0.27 mg/ml, about 0.28 mg/ml, about 0.29 mg/ml, about 0.3 mg/ml,
  about 0.31 mg/ml, about 0.32 mg/ml, about 0.33 mg/ml, about 0.34 mg/ml, about 0.35 mg/ml, about 0.36
  mg/ml, about 0.37 mg/ml, about 0.38 mg/ml, about 0.39 mg/ml, about 0.4 mg/ml, about 0.41 mg/ml,
  about 0.42 mg/ml, about 0.43 mg/ml, about 0.44 mg/ml, about 0.45 mg/ml, about 0.46 mg/ml, about 0.47
  mg/ml, about 0.48 mg/ml, about 0.49 mg/ml, about 0.5 mg/ml, about 0.51 mg/ml, about 0.52 mg/ml,
  about 0.53 mg/ml, about 0.54 mg/ml, about 0.55 mg/ml, about 0.56 mg/ml, about 0.57 mg/ml, about 0.58
  mg/ml, about 0.59 mg/ml, about 0.6 mg/ml, about 0.61 mg/ml, about 0.62 mg/ml, about 0.63 mg/ml,
  about 0.64 mg/ml, about 0.65 mg/ml, about 0.66 mg/ml, about 0.67 mg/ml, about 0.68 mg/ml, about 0.69
  mg/ml, about 0.7 mg/ml, about 0.71 mg/ml, about 0.72 mg/ml, about 0.73 mg/ml, about 0.74 mg/ml,
  about 0.75 mg/ml, about 0.76 mg/ml, about 0.77 mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, or about
  0.8 mg/ml in the oral liquid formulation. In some embodiments, sodium citrate dihydrate is present in
  about 0.75 mg/ml in the oral liquid formulation. In some embodiments, sodium citrate dihydrate is
  present in about 0.35 mg/ml in the oral liquid formulation. In some embodiments, sodium citrate
  dihydrate is present in about 0.2 mg/ml in the oral liquid formulation. In some embodiments, sodium
  citrate dihydrate is present in about 0.15 mg/ml in the oral liquid formulation.
  [0072] In some embodiments, sodium citrate dihydrate is present in about 1         w/w to about 15 % w/w
  of the solids in the oral liquid formulation. In other embodiments, sodium citrate dihydrate is present in
  about 1    w/w, about 1.1 % w/w, about 1.2 % w/w, about 1.3 % w/w, about 1.4 % w/w, about 1.5 %
  w/w, about 1.6 % w/w, about 1.7 % w/w, about 1.8 % w/w, about 1.9 % w/w, about 2 % w/w, about 2.1
  % w/w, about 2.2 % w/w, about 2.3 % w/w, about 2.4 % w/w, about 2.5          w/w, about 2.6 % w/w, about
  2.7 % w/w, about 2.8 % w/w, about 2.9 % w/w, about 3 % w/w, about 3.1 % w/w, about 3.2 % w/w,
  about 3.3 % w/w, about 3.4 % w/w, about 3.5       w/w, about 3.6 % w/w, about 3.7 % w/w, about 3.8 %
  w/w, about 3.9 % w/w, about 4 % w/w, about 4.5        w/w, about 5     w/w, about 5.5     w/w, about 6 %
  w/w, about 6.5    w/w, about 7 % w/w, about 7.5       w/w, about 8 % w/w, about 8.5       w/w, about 9 %
  w/w, about 9.5    w/w, about 10 % w/w, about 10.5       w/w, about 11      w/w, about 11.5      w/w, about
  12 % w/w, about 12.5      w/w, about 13 % w/w, about 13.5       w/w, about 14 % w/w, about 14.5         w/w,
  about 15    w/w of the solids in the oral liquid formulation. In some embodiments, sodium citrate
  dihydrate is present in about 10.5   w/w of the solids in the oral liquid formulation. In some
  embodiments, sodium citrate dihydrate is present in about 7.5      w/w of the solids in the oral liquid
  formulation. In some embodiments, sodium citrate dihydrate is present in about 4.5        w/w of the solids




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  in the oral liquid formulation. In some embodiments, sodium citrate dihydrate is present in about 2.9 %
  w/w of the solids in the oral liquid formulation.
  [0073] In other embodiments, sodium citrate dihydrate is not added to the formulation.
  Additional excipients
  [0074] In further embodiments, the enalapril liquid formulation described herein comprises additional
  excipients including, but not limited to, glidants, flavoring agents, coloring agents and thickeners.
  Additional excipients such as bulking agents, tonicity agents and chelating agents are within the scope of
  the embodiments.
  [0075] Glidants are substances that improve flowability of a powder. Suitable glidants include, but are
  not limited to, calcium phosphate tribasic, calcium silicate, cellulose (powdered), colloidal silicon
  dioxide, magnesium silicate, magnesium trisilicate, silicon dioxide, starch, talc and the like. In some
  embodiments, the enalapril powder formulations described herein comprise a glidant. In some
  embodiments the glidant is not colloidal silicon dioxide.
  [0076] In another embodiment, the enalapril liquid formulation comprises a flavoring agent or flavorant
  to enhance the taste or aroma of the formulation in liquid form. Suitable natural or synthetic flavoring
  agents can be selected from standard reference books, for example Fenaroli's Handbook of Flavor
  Ingredients, 3rd edition (1995). Non-limiting examples of suitable natural flavors, some of which can
  readily be simulated with synthetic agents or combinations thereof, include almond, anise, apple, apricot,
  bergamot, blackberry, blackcurrant, blueberry, cacao, caramel, cherry, cinnamon, clove, coffee, coriander,
  cranberry, cumin, dill, eucalyptus, fennel, fig, ginger, grape, grapefruit, guava, hop, lemon, licorice, lime,
  malt, mandarin, molasses, nutmeg, mixed berry, orange, peach, pear, peppermint, pineapple, raspberry,
  rose, spearmint, strawberry, tangerine, tea, vanilla, wintergreen, etc. Also useful, particularly where the
  formulation is intended primarily for pediatric use, is tutti-frutti or bubblegum flavor, a compounded
  flavoring agent based on fruit flavors. Presently preferred flavoring agents include anise, cinnamon,
  cacao, orange, peppermint, cherry (in particular wild cherry), grape, bubblegum, vanilla, and mixed berry.
  In some embodiments, the enalapril liquid formulation described herein comprises a mixed berry
  flavoring agent. Flavoring agents can be used singly or in combinations of two or more.
  [0077] In further embodiments, the enalapril liquid formulation comprises a coloring agent for identity
  and/or aesthetic purposes. Suitable coloring agents illustratively include FD&C Red No. 3, FD&C Red
  No. 20, FD&C Red No. 40, FD&C Yellow No. 6, FD&C Blue No. 2, FD&C Green No. 5, FD&C Orange
  No. 5, caramel, ferric oxide and mixtures thereof
  [0078] Thickeners impart viscosity or weight to the resultant liquid forms from the enalapril formulation
  described herein. Exemplary thickeners include dextrin, cellulose derivatives (carboxymethylcellulose
  and its salts, ethylcellulose, hydroxyethyl cellulose, methylcellulose, hypromellose, and the like) starches,


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  pectin, polyethylene glycol, polyethylene oxide, trehalose and certain gums (xanthan gum, locust bean
  gum, etc.). In certain embodiments, the enalapril liquid formulation comprises a thickener.
  [0079] Additional excipients are contemplated in the enalapril liquid formulation embodiments. These
  additional excipients are selected based on function and compatibility with the enalapril liquid
  formulations described herein and may be found, for example in Remington: The Science and Practice of
  Pharmacy, Nineteenth Ed (Easton, PA: Mack Publishing Company, 1995); Hoover, John E., Remington's
  Pharmaceutical Sciences, (Easton, PA: Mack Publishing Co 1975); Liberman, H.A. and Lachman, L.,
  Eds., Pharmaceutical Dosage Forms (New York, NY: Marcel Decker 1980); and Pharmaceutical Dosage
  Forms and Drug Delivery Systems, Seventh Ed (Lippincott Williams & Wilkins 1999), herein
  incorporated by reference in their entirety.
  Stability
  [0080] The main enalapril degradants are enalapril diketopiperazine and enalaprilat.
  [0081] The enalapril oral liquid formulations described herein are stable in various storage conditions
  including refrigerated, ambient and accelerated conditions. Stable as used herein refers to enalapril oral
  liquid formulations having about 95 % or greater of the initial enalapril amount and about 5 % w/w or less
  total impurities or related substances at the end of a given storage period. The percentage of impurities is
  calculated from the amount of impurities relative to the amount of enalapril. Stability is assessed by
  HPLC or any other known testing method. In some embodiments, the stable enalapril oral liquid
  formulations have about 5 % w/w, about 4 % w/w, about 3 % w/w, about 2.5 % w/w, about 2 % w/w,
  about 1.5 % w/w, about 1 % w/w, or about 0.5 % w/w total impurities or related substances. In other
  embodiments, the stable enalapril oral liquid formulations have about 5 % w/w total impurities or related
  substances. In yet other embodiments, the stable enalapril oral liquid formulations have about 4 % w/w
  total impurities or related substances. In yet other embodiments, the stable enalapril oral liquid
  formulations have about 3 % w/w total impurities or related substances. In yet other embodiments, the
  stable enalapril oral liquid formulations have about 2 % w/w total impurities or related substances. In yet
  other embodiments, the stable enalapril oral liquid formulations have about 1 % w/w total impurities or
  related substances.
  [0082] At refrigerated condition,the enalapril oral liquid formulations described herein are stable for at
  least 1 month, at least 2 months, at least 3 months, at least 6 months, at least 9 months, at least 12 months,
  at least 15 months, at least 18 months, at least 24 months, at least 30 months and at least 36 months. In
  some embodiments, refrigerated condition is 5+3 °C. In some embodiments, refrigerated condition is
  about 2 °C, about 2.1 °C, about 2.2 °C, about 2.3 °C, about 2.4 °C, about 2.5 °C, about 2.6 °C, about 2.7
  °C, about 2.8 °C, about 2.9 °C, about 3 °C, about 3.1 °C, about 3.2 °C, about 3.3 °C, about 3.4 °C, about
  3.5 °C, about 3.6 °C, about 3.7 °C, about 3.8 °C, about 3.9 °C, about 4 °C, about 4.1 °C, about 4.2 °C,


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  about 4.3 °C, about 4.4 °C, about 4.5 °C, about 4.6 °C, about 4.7 °C, about 4.8 °C, about 4.9 °C, about 5
  °C, about 5.1 °C, about 5.2 °C, about 5.3 °C, about 5.4 °C, about 5.5 °C, about 5.6 °C, about 5.7 °C, about
  5.8 °C, about 5.9 °C, about 6 °C, about 6.1 °C, about 6.2 °C, about 6.3 °C, about 6.4 °C, about 6.5 °C,
  about 6.6 °C, about 6.7 °C, about 6.8 °C, about 6.9 °C, about 7 °C, about 7.1 °C, about 7.2 °C, about 7.3
  °C, about 7.4 °C, about 7.5 °C, about 7.6 °C, about 7.7 °C, about 7.8 °C, about 7.9 °C, or about 8 °C. At
  accelerated conditions, the enalapril oral liquid formulations described herein are stable for at least 1
  month, at least 2 months, at least 3 months, at least 4 months, at least 5 months, at least 6 months, at least
  7 months, at least 8 months, at least 9 months, at least 10 months, at least 11 months or at least 12 months.
  Accelerated conditions for the enalapril oral liquid formulations described herein include temperature
  and/or relative humidity (RH) that are at or above ambient levels (e.g. 25±5 °C; 55±10% RH). In some
  instances, an accelerated condition is at about 25°C, about 30 °C, about 35 °C, about 40 °C, about 45 °C,
  about 50 °C, about 55 °C or about 60 °C. In other instances, an accelerated condition is above 55% RH,
  about 65 % RH, about 70 % RH, about 75 % RH or about 80 % RH. In further instances, an accelerated
  condition is about 40 °C or 60 °C at ambient humidity. In yet further instances, an accelerated condition is
  about 40 °C at 75±5 % RH humidity.


  Enalapril Oral Powder Formulation
  [0083] In another aspect, enalapril oral liquid formulations described herein are prepared from the
  reconstitution of an enalapril powder formulation. In some embodiments, the enalapril powder
  formulation comprising enalapril, a sweetener, a preservative, and optionally an excipient is dissolved in
  water, a buffer, other aqueous solvent, or a liquid to form an enalapril oral liquid formulation. In one
  embodiment, the sweetening agent is sucralose. In one embodiment, the sweetener is not mannitol. In one
  embodiment, the sweetening agent is xylitol. In another embodiment, the preservative is sodium benzoate.
  In one embodiment, the preservative is a paraben preservative. In one aspect, the enalapril powder
  formulation described herein comprises enalapril, sucralose, and sodium benzoate. In some embodiments,
  the enalapril powder formulation herein further comprises a flavoring agent. In some embodiments, the
  enalapril powder formulation herein further comprises one or more buffering agents.
  [0084] In some embodiments, enalapril or a pharmaceutically acceptable salt thereof, is present in about
  0.5% w/w to about 30 % w/w of the powder formulation. In other embodiments, enalapril or a
  pharmaceutically acceptable salt thereof, is present in about 0.5 % w/w, about 1 % w/w, about 1.5 % w/w,
  about 2 % w/w, about 2.5 % w/w, about 3 % w/w, about 3.5 % w/w, about 4 % w/w, about 4.5 % w/w,
  about 5 % w/w, about 5.5 % w/w, about 6 % w/w, about 6.5 % w/w, about 7 % w/w, about 7.5 % w/w,
  about 8 % w/w, about 8.5 % w/w, about 9 % w/w, about 9.5 % w/w, about 10 % w/w, about 10.5 % w/w,
  about 11 % w/w, about 11.5 % w/w, about 12 % w/w, about 12.5 % w/w, about 13 % w/w, about 13.5 %


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  w/w, about 14% w/w, about 14.5         w/w, about 15     w/w, about 15.5     w/w, about 16 % w/w, about
  16.5      w/w, about 17 % w/w, about 17.5       w/w, about 18 % w/w, about 18.5      w/w, about 19 % w/w,
  about 19.5      w/w, about 20 % w/w, about 20.5        w/w, about 21 % w/w, about 21.5      w/w, about 22 %
  w/w, about 22.5      w/w, about 23 % w/w, about 23.5        w/w, about 24 % w/w, about 24.5       w/w, about
  25     w/w, about 25.5     w/w, about 26 % w/w, about 26.5       w/w, about 27 % w/w, about 27.5         w/w,
  about 28 % w/w, about 28.5       w/w, about 29 % w/w, about 29.5        w/w, or about 30 % w/w of the
  powder formulation. In some embodiments, enalapril or a pharmaceutically acceptable salt thereof, is
  present in about 10% w/w to about 25         w/w of the powder formulation. In some embodiments, enalapril
  maleate is present in about 13.5     w/w of the powder formulation. In some embodiments, enalapril
  maleate is present in about 19.5     w/w of the powder formulation. In some embodiments, enalapril
  maleate is present in about 24.5     w/w of the powder formulation. In some embodiments, enalapril is
  present in about 10.5     w/w of the powder formulation. In some embodiments, enalapril is present in
  about 14.5      w/w of the powder formulation. In some embodiments, enalapril is present in about 18 %
  w/w of the powder formulation.
  [0085] In some embodiments, enalapril or a pharmaceutically acceptable salt thereof, is present in about
  0.1% w/w to about 1       w/w of the powder formulation. In other embodiments, enalapril or a
  pharmaceutically acceptable salt thereof, is present in about 0.1 % w/w, about 0.15        w/w, about 0.2 %
  w/w, about 0.25      w/w, about 0.3 % w/w, about 0.35       w/w, about 0.4 % w/w, about 0.45        w/w, about
  0.5    w/w, about 0.55      w/w, about 0.6 % w/w, about 0.65       w/w, about 0.7 % w/w, about 0.75        w/w,
  about 0.8 % w/w, about 0.85        w/w, about 0.9 % w/w, about 0.95      w/w, or about 1     w/w of the
  powder formulation. In some embodiments, enalapril or a pharmaceutically acceptable salt thereof, is
  present in about 0.4 % w/w to about 0.7 % w/w of the powder formulation. In some embodiments,
  enalapril maleate is present in about 0.45     w/w of the powder formulation. In some embodiments,
  enalapril maleate is present in about 0.6 % w/w of the powder formulation. In some embodiments,
  enalapril is present in about 0.4 % w/w of the powder formulation. In some embodiments, enalapril is
  present in about 0.5     w/w of the powder formulation.
  [0086] Various amounts and concentrations of other components (sweeteners, buffers, preservatives, and
  the like) in the enalapril powder formulations are found in the previous section describing the amounts
  and concentrations for the analogous enalapril oral liquid formulations. For example, in some
  embodiments where sucralose is present in about 1         w/w to about 30 % w/w of the solids in the oral
  liquid formulation; in an analogous enalapril powder formulation, sucralose would be about 1          w/w to
  about 30 % w/w in the powder formulation. In some embodiments where sodium benzoate is present in
  about 1      w/w to about 30 % w/w of the solids in the oral liquid formulation, in an analogous enalapril




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  powder formulation sodium benzoate is present in about 1        w/w to about 30 % w/w in the powder
  formulation.
  [0087] Liquid vehicles suitable for the enalapril powder formulations to be reconstituted into an oral
  solution described herein are selected for a particular oral liquid formulation (solution, suspension, etc.)
  as well as other qualities such as clarity, toxicity, viscosity, compatibility with excipients, chemical
  inertness, palatability, odor, color and economy. Exemplary liquid vehicles include water, ethyl alcohol,
  glycerin, propylene glycol, syrup (sugar or other sweetener based, e.g., Ora-Sweet® SF sugar-free
  flavored syrup), juices (apple, grape, orange, cranberry, cherry, tomato and the like), other beverages (tea,
  coffee, soft drinks, milk and the like), oils (olive, soybean, corn, mineral, castor and the like), and
  combinations or mixtures thereof. Certain liquid vehicles, e.g., oil and water, can be combined together to
  form emulsions. In some embodiments, water is used for as a vehicle for a enalapril oral liquid
  formulation. In other embodiments, a syrup is used for as a vehicle for a enalapril oral liquid formulation.
  In yet other embodiments, a juice is used for as a vehicle for a enalapril oral liquid formulation.
  [0088] Buffering agents maintain the pH of the liquid enalapril formulation. Non-limiting examples of
  buffering agents include, but are not limited to sodium bicarbonate, potassium bicarbonate, magnesium
  hydroxide, magnesium lactate, magnesium gluconate, aluminum hydroxide, aluminum hydroxide/sodium
  bicarbonate co precipitate, mixture of an amino acid and a buffer, a mixture of aluminum glycinate and a
  buffer, a mixture of an acid salt of an amino acid and a buffer, and a mixture of an alkali salt of an amino
  acid and a buffer. Additional buffering agents include citric acid, sodium citrate, sodium tartrate, sodium
  acetate, sodium carbonate, sodium polyphosphate, potassium polyphosphate, sodium pyrophosphate,
  potassium pyrophosphate, disodium hydrogenphosphate, dipotassium hydrogenphosphate, trisodium
  phosphate, tripotassium phosphate, sodium acetate, potassium metaphosphate, magnesium oxide,
  magnesium hydroxide, magnesium carbonate, magnesium silicate, calcium acetate, calcium
  glycerophosphate, calcium chloride, calcium hydroxide, calcium lactate, calcium carbonate, calcium
  bicarbonate, and other calcium salts. Some buffering agents also impart effervescent qualities when a
  powder is reconstituted in a solution.
  [0089] In some embodiments, the reconstituted oral liquid formulation comprises a buffer. In some
  embodiments, the buffer comprises citric acid and sodium citrate.
  In further embodiments, the enalapril powder formulation described herein comprises additional
  excipients including, but not limited to, glidants, flavoring agents, coloring agents and thickeners.
  Additional excipients such as bulking agents, tonicity agents and chelating agents are within the scope of
  the embodiments.
  [0090] Glidants are substances that improve flowability of a powder. Suitable glidants include, but are
  not limited to, calcium phosphate tribasic, calcium silicate, cellulose (powdered), colloidal silicon


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  dioxide, magnesium silicate, magnesium trisilicate, silicon dioxide, starch, talc and the like. In some
  embodiments, the enalapril powder formulations described herein comprise a glidant.
  [0091] In another embodiment, the enalapril powder formulation described herein comprises a flavoring
  agent or flavorant to enhance the taste or aroma of the formulation in liquid form. Suitable natural or
  synthetic flavoring agents can be selected from standard reference books, for example Fenaroli's
  Handbook of Flavor Ingredients, 3rd edition (1995). Non-limiting examples of suitable natural flavors,
  some of which can readily be simulated with synthetic agents or combinations thereof, include almond,
  anise, apple, apricot, bergamot, blackberry, blackcurrant, blueberry, cacao, caramel, cherry, cinnamon,
  clove, coffee, coriander, cranberry, cumin, dill, eucalyptus, fennel, fig, ginger, grape, grapefruit, guava,
  hop, lemon, licorice, lime, malt, mandarin, molasses, nutmeg, mixed berry, orange, peach, pear,
  peppermint, pineapple, raspberry, rose, spearmint, strawberry, tangerine, tea, vanilla, wintergreen, etc.
  Also useful, particularly where the formulation is intended primarily for pediatric use, is tutti-frutti or
  bubblegum flavor, a compounded flavoring agent based on fruit flavors. Presently preferred flavoring
  agents include anise, cinnamon, cacao, orange, peppermint, cherry (in particular wild cherry), grape,
  bubblegum, vanilla, and mixed berry. Flavoring agents can be used singly or in combinations of two or
  more.
  [0092] In further embodiments, the enalapril powder formulation described herein comprises a coloring
  agent for identity and/or aesthetic purposes. Suitable coloring agents illustratively include FD&C Red No.
  3, FD&C Red No. 20, FD&C Red No. 40, FD&C Yellow No. 6, FD&C Blue No. 2, D&C Green No. 5,
  D&C Orange No. 5, caramel, ferric oxide and mixtures thereof
  [0093] In further embodiments, the enalapril powder formulation described herein comprises a thickener.
  Thickeners impart viscosity or weight to the resultant liquid forms from the enalapril formulation
  described herein. Exemplary thickeners include dextrin, cellulose derivatives (carboxymethylcellulose
  and its salts, ethylcellulose, hydroxyethyl cellulose, methylcellulose, hypromellose, and the like) starches,
  pectin, polyethylene glycol, polyethylene oxide, trehalose and certain gums (xanthan gum, locust bean
  gum, etc.).
  [0094] Additional excipients are contemplated in the enalapril powder formulation embodiments. These
  additional excipients are selected based on function and compatibility with the the enalapril powder
  formulation described herein and may be found, for example in Remington: The Science and Practice of
  Pharmacy, Nineteeth Ed (Easton, PA: Mack Publishing Company, 1995); Hoover, John E., Remington's
  Pharmaceutical Sciences, (Easton, PA: Mack Publishing Co 1975); Liberman, H.A. and Lachman, L.,
  Eds., Pharmaceutical Dosage Forms (New York, NY: Marcel Decker 1980); and Pharmaceutical Dosage
  Forms and Drug Delivery Systems, Seventh Ed (Lippincott Williams & Wilkins 1999), herein
  incorporated by reference in their entirety.


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  [0095] In some embodiments, the enalapril oral liquid formulation prepared from the powder
  formulations described herein are homogenous. Homogenous liquids as used herein refer to those liquids
  that are uniform in appearance, identity, consistency and drug concentration per volume. Non-
  homogenous liquids include such liquids that have varied coloring, viscosity and/or aggregation of solid
  particulates, as well as non-uniform drug concentration in a given unit volume. Homogeneity in liquids
  are assessed by qualitative identification or appearance tests and/or quantitative HPLC testing or the like.
  The mixing methods and excipients described herein are selected to impart a homogenous quality to a
  resultant enalapril oral liquid formulation.
  [0096] Mixing methods encompass any type of mixing that result in a homogenous enalapril oral liquid
  formulation. In some embodiments, a quantity of an enalapril powder formulation is added to a liquid
  vehicle and then mixed by a stirring, shaking, swirling, agitation element or a combination thereof. In
  certain instances, a fraction of a enalapril powder formulation (i.e., one-half, one-third, one-fourth, etc.) is
  added to a liquid vehicle, mixed by stirring, shaking, swirling, agitation or a combination thereof, and the
  subsequent powder fraction(s) is added and mixed. In other embodiments, a liquid vehicle is added to an
  enalapril powder formulation in a container, for example, a bottle, vial, bag, beaker, syringe, or the like.
  The container is then mixed by stirring, shaking, swirling, agitation, inversion or a combination thereof.
  In certain instances, a fractional volume of the liquid vehicle (i.e., one-half, one-third, one-fourth volume,
  etc.) is added to a enalapril powder formulation in a container, mixed by stirring, shaking, swirling,
  agitation, inversion or a combination thereof; and the subsequent liquid fraction(s) is added and mixed. In
  certain instances, a one-half fractional volume of the liquid vehicle is added to an enalapril powder
  formulation in a container and mixing by shaking; the other one-half fractional volume of the liquid
  vehicle is then subsequently added and mixed. In any of the above embodiments, mixing (i.e., stirring,
  shaking, swirling, agitation, inversion or a combination thereof) occurs for a certain time intervals such as
  about 10 seconds, about 20 seconds, about 30 seconds, about 45 seconds, about 60 seconds, about 90
  seconds, about 120 seconds, about 2.5 minutes, about 3 minutes, about 3.5 minutes, about 4 minutes, or
  about 5 minutes. In embodiments, where there are two or more mixing steps, the time intervals for each
  mixing can be the same (e.g., 2x10 seconds) or different (e.g., 10 seconds for first mixing and 20 seconds
  for second mixing). In any of the above embodiments, a enalapril oral liquid formulation is allowed to
  stand for a period of time such as about 10 minutes, about 20 minutes, about 30 minutes, about 45
  minutes, about 1 hour, about 1.5 hours or about 2 hours, to allow any air bubbles resultant from any of the
  mixing methods to dissipate.
  Stability of Enalapril Powder Formulation
  [0097] The enalapril powder formulations described herein are stable in various storage conditions
  including refrigerated, ambient and accelerated conditions. Stable as used herein refer to enalapril powder


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  formulations having about 95 % or greater of the initial enalapril amount and 5 % w/w or less total
  impurities or related substances at the end of a given storage period. The percentage of impurities is
  calculated from the amount of impurities relative to the amount of enalapril. Stability is assessed by
  HPLC or any other known testing method. In some embodiments, the stable enalapril powder
  formulations have about 5 % w/w, about 4 % w/w, about 3 % w/w, about 2.5 % w/w, about 2 % w/w,
  about 1.5 % w/w, about 1 % w/w, or about 0.5 % w/w total impurities or related substances. In other
  embodiments, the stable enalapril powder formulations have about 5 % w/w total impurities or related
  substances. In yet other embodiments, the stable enalapril powder formulations have about 4 % w/w total
  impurities or related substances. In yet other embodiments, the stable enalapril powder formulations have
  about 3 % w/w total impurities or related substances. In yet other embodiments, the stable enalapril
  powder formulations have about 2 % w/w total impurities or related substances. In yet other
  embodiments, the stable enalapril powder formulations have about 1 % w/w total impurities or related
  substances.
  [0098] At refrigerated and ambient conditions, in some embodiments, the enalapril powder formulations
  described herein are stable for at least 1 week, 2 weeks, 4 weeks, 6 weeks, 8 weeks, 10 weeks, 12 weeks,
  16 weeks, 20 weeks, at least 24 weeks, at least 30 weeks, or at least 36 weeks. At accelerated conditions,
  in some embodiments, the enalapril powder formulations described herein are stable for at least 1 week, at
  least 2 weeks, at least 3 weeks, at least 4 weeks, at least 5 weeks, at least 6 weeks, at least 7 weeks, at
  least 8 weeks, at least 9 weeks, at least 10 weeks, at least 11 weeks or at least 12 weeks. Accelerated
  conditions for the enalapril powder formulations described herein include temperature and/or relative
  humidity (RH) that are above ambient levels (e.g. 25±4 °C; 55±10 % RH). In some instances, an
  accelerated condition is at about 30 °C, about 35 °C, about 40 °C, about 45 °C, about 50 °C, about 55 °C
  or about 60 °C. In other instances, an accelerated condition is above 65 % RH, about 70 % RH, about 75
  % RH or about 80 % RH. In further instances, an accelerated condition is about 40 °C or 60 °C at ambient
  humidity. In yet further instances, an accelerated condition is about 40 °C at 75±5 % RH humidity.


  Kits and Articles of Manufacture
  [0099] For the enalapril powder and liquid formulations described herein, kits and articles of
  manufacture are also described. Such kits can comprise a carrier, package, or container that is
  compartmentalized to receive one or more containers such as vials, tubes, and the like, each of the
  container(s) comprising one of the separate elements to be used in a method described herein including an
  enalapril powder or liquid formulation. Suitable containers include, for example, bottles, vials, syringes,
  and test tubes. The containers can be formed from a variety of materials such as glass or plastic.




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  [00100] A kit will typically may comprise one or more additional containers, each with one or more of
  various materials (such as reagents, optionally in concentrated form, and/or devices) desirable from a
  commercial and user standpoint for an enalapril powder or liquid formulation described herein. Non-
  limiting examples of such materials include, but not limited to, buffers, diluents, filters, needles, syringes;
  carrier, package, container, vial and/or tube labels listing contents and/or instructions for use, and package
  inserts with instructions for use associated with an enalapril powder or liquid formulation. A set of
  instructions will also typically be included.
  [00101] A label can be on or associated with the container. A label can be on a container when letters,
  numbers or other characters forming the label are attached, molded or etched into the container itself; a
  label can be associated with a container when it is present within a receptacle or carrier that also holds the
  container, e.g., as a package insert. A label can be used to indicate that the contents are to be used for a
  specific therapeutic application. The label can also indicate directions for use of the contents, such as in
  the methods described herein.

  Methods
  [00102] Provided herein, in one aspect, are methods of treatment comprising administration of the
  enalapril oral liquid formulations described herein to a subject. In some embodiments, the enalapril oral
  liquid formulations described herein treat hypertension in a subject. Hypertension as used herein includes
  both primary (essential) hypertension and secondary hypertension. In certain instances, hypertension is
  classified in cases when blood pressure values are greater than or equal to 140/90 (systolic/diastolic) mm
  Hg in a subject. In certain instances, the enalapril oral liquid formulations described herein treat a subject
  having a blood pressure values are greater than or equal to 140/90 mm Hg. In certain instances, the
  enalapril oral liquid formulations described herein treat primary (essential) hypertension in a subject. In
  other instances, the enalapril oral liquid formulations described herein treat secondary hypertension in a
  subject.
  [00103] In other embodiments, the enalapril oral liquid formulations described herein treat
  prehypertension in a subject. Prehypertension as used herein refers to cases where a subject's blood
  pressure is elevated above normal but not to the level considered to be hypertension. In some instances,
  prehypertension is classified in cases when blood pressure values are 120-139/80-89 mm Hg. In certain
  instances, the enalapril oral liquid formulations described herein treat a subject having blood pressure
  values of 120-139/80-89 mm Hg.
  [00104] In yet other embodiments, the enalapril oral liquid formulations described herein are
  prophylactically administered to subjects suspected of having, predisposed to, or at risk of developing
  hypertension. In some embodiments, the administration of enalapril oral liquid formulations described



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  herein allow for early intervention prior to onset of hypertension. In certain embodiments, upon detection
  of a biomarker, environmental, genetic factor, or other marker, the enalapril oral liquid formulations
  described herein are prophylactically administered to subjects.
  [00105] In further embodiments, the enalapril oral liquid formulations described herein treat heart failure
  (e.g., symptomatic congestive), asymptomatic left ventricular dysfunction, myocardial infarction, diabetic
  nephropathy and chronic renal failure. In certain instances, the enalapril oral liquid formulations
  described herein treat symptomatic congestive heart failure. In other instances, the enalapril oral liquid
  formulations described herein treat asymptomatic left ventricular dysfunction. In further instances, the
  enalapril oral liquid formulations described herein treat myocardial infarction. In yet further instances, the
  enalapril oral liquid formulations described herein treat diabetic nephropathy. In yet further instances, the
  enalapril oral liquid formulations described herein treat chronic renal failure.


  Dosing
  [00106] In one aspect, the enalapril oral liquid formulations are used for the treatment of diseases and
  conditions described herein. In addition, a method for treating any of the diseases or conditions described
  herein in a subject in need of such treatment, involves administration of enalapril oral liquid formulations
  in therapeutically effective amounts to said subject.
  [00107] Dosages of enalapril oral liquid formulations described can be determined by any suitable
  method. Maximum tolerated doses (MTD) and maximum response doses (MRD) for enalapril and/or
  enalaprilat can be determined via established animal and human experimental protocols as well as in the
  examples described herein. For example, toxicity and therapeutic efficacy of enalapril and/or enalaprilat
  can be determined by standard pharmaceutical procedures in cell cultures or experimental animals,
  including, but not limited to, for determining the LD50 (the dose lethal to 50% of the population) and the
  ED50 (the dose therapeutically effective in 50% of the population). The dose ratio between the toxic and
  therapeutic effects is the therapeutic index and it can be expressed as the ratio between LD50 and ED50.
  Enalapril dosages exhibiting high therapeutic indices are of interest. The data obtained from cell culture
  assays and animal studies can be used in formulating a range of dosage for use in human. The dosage of
  such compounds lies preferably within a range of circulating concentrations that include the ED50 with
  minimal toxicity. The dosage may vary within this range depending upon the dosage form employed and
  the route of administration utilized. Additional relative dosages, represented as a percent of maximal
  response or of maximum tolerated dose, are readily obtained via the protocols.
  [00108] In some embodiments, the amount of a given enalapril oral liquid formulation that corresponds to
  such an amount varies depending upon factors such as the particular enalapril salt or form, disease
  condition and its severity, the identity (e.g., weight, sex) of the subject or host in need of treatment, but


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  can nevertheless be determined according to the particular circumstances surrounding the case, including,
  e.g., the specific agent being administered, the liquid composition type, the condition being treated, and
  the subject or host being treated.
  [00109] In some embodiments, the enalapril oral liquid formulations described herein are provided in a
  dose per day from about 0.01 mg to 100 mg, from about 0.1 mg to about 80 mg, from about 1 to about 60,
  from about 2 mg to about 40 mg of enalapril. In certain embodiments, the enalapril oral liquid
  formulations described herein are provided in a daily dose of about 0.01 mg, about 0.05 mg, about 0.1
  mg, about 0.2 mg, about 0.4 mg, about 0.6 mg, about 0.8 mg, about 1 mg, about 1.5 mg, about 2 mg,
  about 2.5 mg, about 3 mg, about 4 mg, about 5 mg, about 6 mg, about 7 mg, about 8 mg, about 9 mg,
  about 10 mg, about 11 mg, about 12 mg, about 15 mg, about 20 mg, about 25 mg, about 30 mg, about 35
  mg, about 40 mg, about 45 mg, about 50 mg, about 55 mg, about 60 mg, about 65 mg, about 70 mg, about
  76, mg, about 80 mg, about 85 mg, about 90 mg or about 100 mg, or any range derivable therein. In
  certain instances, the enalapril oral liquid formulations described herein are provided in a dose per day of
  about 1 mg. In certain instances, the enalapril oral liquid formulations described herein are provided in a
  dose per day of about 2 mg. In certain instances, the enalapril oral liquid formulations described herein
  are provided in a dose per day of about 3 mg. In certain instances, the enalapril oral liquid formulations
  described herein are provided in a dose per day of about 4 mg. In certain instances, the enalapril oral
  liquid formulations described herein are provided in a dose per day of about 5 mg. In certain instances,
  the enalapril oral liquid formulations described herein are provided in a dose per day of about 6 mg. In
  certain instances, the enalapril oral liquid formulations described herein are provided in a dose per day of
  about 7 mg. In certain instances, the enalapril oral liquid formulations described herein are provided in a
  dose per day of about 8 mg. In certain instances, the enalapril oral liquid formulations described herein
  are provided in a dose per day of about 9 mg. In certain instances, the enalapril oral liquid formulations
  described herein are provided in a dose per day of about 10 mg. In certain instances, the enalapril oral
  liquid formulations described herein are provided in a dose per day of about 11 mg. In certain instances,
  the enalapril oral liquid formulations described herein are provided in a dose per day of about 12 mg. The
  dose per day described herein can be given once per day or multiple times per day in the form of sub-
  doses given b.i.d., t.i.d., q.i.d., or the like where the number of sub-doses equal the dose per day.
  [00110] In further embodiments, the daily dosages appropriate for the enalapril oral liquid formulations
  described herein are from about 0.01 to about 1.0 mg/kg per body weight. In one embodiment, the daily
  dosages appropriate for the enalapril oral liquid formulations are from about 0.02 to about 0.8 mg/kg
  enalapril per body weight. In another embodiment, the daily dosage appropriate for the enalapril oral
  liquid formulations are from about 0.05 to about 0.6 mg/kg per body weight. In another embodiment, the
  daily dosage appropriate for the enalapril oral liquid formulations is about 0.05 mg/kg, about 0.06 mg/kg,


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  about 0.07 mg/kg, about 0.08 mg/kg, about 0.10 mg/kg, about 0.15 mg/kg, about 0.20 mg/kg, about 0.25
  mg/kg, about 0.30 mg/kg, about 0.40 mg/kg, about 0.50 mg/kg, or about 0.60 mg/kg.
  [00111] In other embodiments the enalapril oral liquid formulations are provided at the maximum
  tolerated dose (MTD) for enalapril and/or enalaprilat. In other embodiments, the amount of the enalapril
  oral liquid formulations administered is from about 10% to about 90% of the maximum tolerated dose
  (MTD), from about 25% to about 75% of the MTD, or about 50% of the MTD. In particular
  embodiments, the amount of the enalapril oral liquid formulations administered is from about 5%, 10%,
  15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 95%, 99%,
  or higher, or any range derivable therein, of the MTD for enalapril and/or enalaprilat.
  [00112] In further embodiments, the enalapril oral liquid formulations are provided in a dosage that is
  similar, comparable or equivalent to a dosage of a known enalapril tablet formulation. In other
  embodiments, the enalapril oral liquid formulations are provided in a dosage that provides a similar,
  comparable or equivalent pharmacokinetic parameters (e.g., AUC, Cinax, Tinax, Cmin, T112) as a dosage of a
  known enalapril tablet formulation. Similar, comparable or equivalent pharmacokinetic parameters, in
  some instances, refer to within 80% to 125%, 80% to 120%, 85% to 125%, 90% to 110%, or increments
  therein, of the given values. It should be recognized that the ranges can, but need not be symmetrical, e.g.,
  85% to 105%.
  Administration
  [00113] Administration of an enalapril oral liquid formulation is at a dosage described herein or at other
  dose levels and formulations determined and contemplated by a medical practitioner. In certain
  embodiments, the enalapril oral liquid formulations described herein are administered for prophylactic
  and/or therapeutic treatments. In certain therapeutic applications, the enalapril oral liquid formulations are
  administered to a patient already suffering from a disease, e.g., hypertension, in an amount sufficient to
  cure the disease or at least partially arrest or ameliorate the symptoms, e.g., lower blood pressure.
  Amounts effective for this use depend on the severity of the disease, previous therapy, the patient's health
  status, weight, and response to the enalapril formulations, and the judgment of the treating physician.
  Therapeutically effective amounts are optionally determined by methods including, but not limited to, a
  dose escalation clinical trial.
  [00114] In prophylactic applications, the enalapril oral liquid formulations described herein are
  administered to a patient susceptible to or otherwise at risk of a particular disease, e.g., hypertension.
  Such an amount is defined to be a "prophylactically effective amount or dose." In this use, the precise
  amounts also depend on the patient's state of health, weight, and the like. When used in a patient,
  effective amounts for this use will depend on the risk or susceptibility of developing the particular




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  disease, previous therapy, the patient's health status and response to the enalapril formulations, and the
  judgment of the treating physician.
  [00115] In certain embodiments wherein the patient's condition does not improve, upon the doctor's
  discretion the administration of an enalapril oral liquid formulations described herein are administered
  chronically, that is, for an extended period of time, including throughout the duration of the patient's life
  in order to ameliorate or otherwise control or limit the symptoms of the patient's disease. In other
  embodiments, administration of an enalapril oral liquid formulation continues until complete or partial
  response of a disease.
  [00116] In certain embodiments wherein a patient's status does improve, the dose of an enalapril oral
  liquid formulation being administered may be temporarily reduced or temporarily suspended for a certain
  length of time (i.e., a "drug holiday"). In specific embodiments, the length of the drug holiday is between
  2 days and 1 year, including by way of example only, 2 days, 3 days, 4 days, 5 days, 6 days, 7 days, 10
  days, 12 days, 15 days, 20 days, 28 days, 35 days, 50 days, 70 days, 100 days, 120 days, 150 days, 180
  days, 200 days, 250 days, 280 days, 300 days, 320 days, 350 days, and 365 days. The dose reduction
  during a drug holiday is, by way of example only, by 10%400%, including by way of example only 10%,
  15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 95%, and
  100%.
  [00117] In some embodiments, enalapril oral liquid formulations described herein are administered
  chronically. For example, in some embodiments, an enalapril oral liquid formulation is administered as a
  continuous dose, i.e., administered daily to a subject. In some other embodiments, enalapril oral liquid
  formulations described herein are administered intermittently (e.g. drug holiday that includes a period of
  time in which the formulation is not administered or is administered in a reduced amount).
  [00118] In some embodiments an enalapril oral liquid formulation is administered to a subject who is in a
  fasted state. A fasted state refers to a subject who has gone without food or fasted for a certain period of
  time. General fasting periods include at least 4 hours, at least 6 hours, at least 8 hours, at least 10 hours, at
  least 12 hours, at least 14 hours and at least 16 hours without food. In some embodiments, an enalapril
  oral liquid formulation is administered orally to a subject who is in a fasted state for at least 8 hours. In
  other embodiments, an enalapril oral liquid formulation is administered to a subject who is in a fasted
  state for at least 10 hours. In yet other embodiments, an enalapril oral liquid formulation is administered
  to a subject who is in a fasted state for at least 12 hours. In other embodiments, an enalapril oral liquid
  formulation is administered to a subject who has fasted overnight.
  [00119] In other embodiments an enalapril oral liquid formulation is administered to a subject who is in a
  fed state. A fed state refers to a subject who has taken food or has had a meal. In certain embodiments, an
  enalapril oral liquid formulation is administered to a subject in a fed state 5 minutes post-meal, 10


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  minutes post-meal, 15 minutes post-meal, 20 minutes post-meal, 30 minutes post-meal, 40 minutes post-
  meal, 50 minutes post-meal, 1 hour post-meal, or 2 hours post-meal. In certain instances, an enalapril oral
  liquid formulation is administered to a subject in a fed state 30 minutes post-meal. In other instances, an
  enalapril oral liquid formulation is administered to a subject in a fed state 1 hour post-meal. In yet further
  embodiments, an enalapril oral liquid formulation is administered to a subject with food.
  [00120] In further embodiments described herein, an enalapril oral liquid formulation is administered at a
  certain time of day for the entire administration period. For example, an enalapril oral liquid formulation
  can be administered at a certain time in the morning, in the evening, or prior to bed. In certain instances,
  an enalapril oral liquid formulation is administered in the morning. In other embodiments, an enalapril
  oral liquid formulation can be administered at different times of the day for the entire administration
  period. For example, an enalapril oral liquid formulation can be administered on 8:00 am in the morning
  for the first day, 12 pm noon for the next day or administration, 4 pm in the afternoon for the third day or
  administration, and so on.
  Further Combinations
  [00121] The treatment of certain diseases or conditions (e.g., hypertension, heart failure, myocardial
  infarction and the like) in a subject with an enalapril oral liquid formulation described herein encompass
  additional therapies and treatment regimens with other agents in some embodiments. Such additional
  therapies and treatment regimens can include another therapy, e.g., additional anti-hypertensives, for
  treatment of the particular disease or condition in some embodiments. Alternatively, in other
  embodiments, additional therapies and treatment regimens include other agents used to treat adjunct
  conditions associated with the disease or condition or a side effect from the enalapril oral liquid
  formulation in the therapy.
  [00122] Additional agents for use in combination with an enalapril oral liquid formulation described
  herein include, but are not limited to, diuretics (loop, thiazide, potassium-sparing, and the like), beta
  blockers (metoprolol, propanolol, pronethalol, and the like), alpha blockers (phentolamine,
  phenoxybenzamine, tamsulosin, prazosin, and the like), mixed alpha and beta blockers (bucindolol,
  carvedilol, labetalol), calcium channel blockers (dihydropyridines such as nifedipine, amlodipine, etc.,
  dilitazem, verapamil and the like), angiotensin II receptor antagonists (saralasin, lsartan, eprosartin,
  irbesartan, valsartan, and the like), other ACE inhibitors (captopril, quinapril, ramipril, lisinopril,
  zofenopril, and the like), aldosterone antagonists (eplerenone, spironolactone and the like), vasodilators
  (hydralazine and the like) and alpha-2 agonists (clonidine, moxonidine, guanabenz and the like).


  Certain Definitions




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  [00123] Unless defined otherwise, all technical and scientific terms used herein have the same meanings
  as commonly understood by one of ordinary skill in the art. Although any methods and materials similar
  or equivalent to those described herein can be used in the practice or testing of embodiments described
  herein, certain preferred methods, devices, and materials are now described.
  [00124] As used herein and in the appended claims, the singular forms "a", "an", and "the" include plural
  reference unless the context clearly dictates otherwise. Thus, for example, reference to "an excipient" is a
  reference to one or more excipients and equivalents thereof known to those skilled in the art, and so forth.
  [00125] The term "about" is used to indicate that a value includes the standard level of error for the device
  or method being employed to determine the value. The use of the term "or" in the claims is used to mean
  "and/or" unless explicitly indicated to refer to alternatives only or the alternatives are mutually exclusive,
  although the disclosure supports a definition that refers to only alternatives and to "and/or." The terms
  "comprise," "have" and "include" are open-ended linking verbs. Any forms or tenses of one or more of
  these verbs, such as "comprises," "comprising," "has," "having," "includes" and "including," are also
  open-ended. For example, any method that "comprises," "has" or "includes" one or more steps is not
  limited to possessing only those one or more steps and also covers other unlisted steps.
  [00126] "Optional" or "optionally" may be taken to mean that the subsequently described structure, event
  or circumstance may or may not occur, and that the description includes instances where the events
  occurs and instances where it does not.
  [00127] As used herein, the term "therapeutic" means an agent utilized to treat, combat, ameliorate,
  prevent or improve an unwanted condition or disease of a patient. In some embodiments, a therapeutic
  agent such as enalapril is directed to the treatment and/or the amelioration of, reversal of, or stabilization
  of the symptoms of hypertension described herein.
  [00128] "Administering" when used in conjunction with a therapeutic means to administer a therapeutic
  systemically or locally, as directly into or onto a target tissue, or to administer a therapeutic to a patient
  whereby the therapeutic positively impacts the tissue to which it is targeted. Thus, as used herein, the term
  "administering", when used in conjunction with an enalapril formulation, can include, but is not limited
  to, providing an enalapril formulation into or onto the target tissue; providing an enalapril formulation
  systemically to a patient by, e.g., oral administration whereby the therapeutic reaches the target tissue or
  cells. "Administering" a formulation may be accomplished by injection, topical administration, and oral
  administration or by other methods alone or in combination with other known techniques.
  [00129] The term "animal" as used herein includes, but is not limited to, humans and non-human
  vertebrates such as wild, domestic and farm animals. As used herein, the terms "patient," "subject" and
  "individual" are intended to include living organisms in which certain conditions as described herein can
  occur. Examples include humans, monkeys, cows, sheep, goats, dogs, cats, mice, rats, and transgenic


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  species thereof. In a preferred embodiment, the patient is a primate. In certain embodiments, the primate
  or subject is a human. In certain instances, the human is an adult. In certain instances, the human is child.
  In further instances, the human is 12 years of age or younger. In certain instances, the human is elderly. In
  other instances, the human is 60 years of age or older. Other examples of subjects include experimental
  animals such as mice, rats, dogs, cats, goats, sheep, pigs, and cows. The experimental animal can be an
  animal model for a disorder, e.g., a transgenic mouse with hypertensive pathology. A patient can be a
  human suffering from hypertension, or its variants or etiological forms.
  [00130] By "pharmaceutically acceptable", it is meant the carrier, diluent or excipient must be compatible
  with the other ingredients of the formulation and not deleterious to the recipient thereof
  [00131] The term "pharmaceutical composition" shall mean a composition comprising at least one active
  ingredient, whereby the composition is amenable to investigation for a specified, efficacious outcome in a
  mammal (for example, without limitation, a human). Those of ordinary skill in the art will understand and
  appreciate the techniques appropriate for determining whether an active ingredient has a desired
  efficacious outcome based upon the needs of the artisan.
  [00132] A "therapeutically effective amount" or "effective amount" as used herein refers to the amount of
  active compound or pharmaceutical agent that elicits a biological or medicinal response in a tissue,
  system, animal, individual or human that is being sought by a researcher, veterinarian, medical doctor or
  other clinician, which includes one or more of the following: (1) preventing the disease; for example,
  preventing a disease, condition or disorder in an individual that may be predisposed to the disease,
  condition or disorder but does not yet experience or display the pathology or symptomatology of the
  disease, (2) inhibiting the disease; for example, inhibiting a disease, condition or disorder in an individual
  that is experiencing or displaying the pathology or symptomatology of the disease, condition or disorder
  (i.e., arresting further development of the pathology and/or symptomatology), and (3) ameliorating the
  disease; for example, ameliorating a disease, condition or disorder in an individual that is experiencing or
  displaying the pathology or symptomatology of the disease, condition or disorder (i.e., reversing the
  pathology and/or symptomatology). As such, a non-limiting example of a "therapeutically effective
  amount" or "effective amount" of a formulation of the present disclosure may be used to inhibit, block, or
  reverse the activation, migration, or proliferation of cells or to effectively treat hypertension or ameliorate
  the symptoms of hypertension.
  [00133] The terms "treat," "treated," "treatment," or "treating" as used herein refers to both therapeutic
  treatment in some embodiments and prophylactic or preventative measures in other embodiments,
  wherein the object is to prevent or slow (lessen) an undesired physiological condition, disorder or disease,
  or to obtain beneficial or desired clinical results. For the purposes described herein, beneficial or desired
  clinical results include, but are not limited to, alleviation of symptoms; diminishment of the extent of the


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  condition, disorder or disease; stabilization (i.e., not worsening) of the state of the condition, disorder or
  disease; delay in onset or slowing of the progression of the condition, disorder or disease; amelioration of
  the condition, disorder or disease state; and remission (whether partial or total), whether detectable or
  undetectable, or enhancement or improvement of the condition, disorder or disease. Treatment includes
  eliciting a clinically significant response without excessive levels of side effects. Treatment also includes
  prolonging survival as compared to expected survival if not receiving treatment. A prophylactic benefit of
  treatment includes prevention of a condition, retarding the progress of a condition, stabilization of a
  condition, or decreasing the likelihood of occurrence of a condition. As used herein, "treat," "treated,"
  "treatment," or "treating" includes prophylaxis in some embodiments.


                                                  EXAMPLES
  Example A: Effect of pH on the Formation of Degradants in Enalapril Formulations at 60 °C.
  [00134] Formulations were prepared containing enalapril maleate according to Table A-1. The pH of each
  solution was recorded. Five milliliters of each formulation were transferred to each of four 3-dram glass
  screw-capped vials with Teflon inserts in the caps. The vials were placed into a 60 °C heating chamber
  then one vial removed and analyzed by HPLC at times of zero, -97 and -180 hours.
                                                  TABLE A-1
    Formulation (in mg/mL) of Enalapril Formulations at Varying pH and Citrate Buffer Concentration
                                                               Formulation (mM citrate)
  Component                           Al (50)      A2 (50)         A3 (50)   A4 (50)      A5 (50)      A6 (25)
  Enalapril maleate                      1.0          1.0            1.0        1.0          1.0          1.0
  Mannitol                               50           50             50                      50           6.0
  Xylitol                                                                       50
  Citric acid, anhydrous                7.35         5.05           2.55       5.05         5.05         2.76
  Sodium citrate, dihydrate             3.45          7.0           10.8        7.0          7.0         3.15
  Sodium benzoate                         1            1              1          1            1
  Methylparaben sodium                                                                      1.75         0.335
  Propylparaben sodium                                                                                   0.095
  Potassium sorbate                                                                                        1
  Sucralose                             0.75         0.75           0.75       0.75         0.75         0.75
  Silicon dioxide                                                                                        0.075
  Mixed berry flavor (powdered)          0.5          0.5            0.5        0.5          0.5          0.5
  Water                                  qs           qs             qs         qs           qs            qs
                                pH       3.4          4.4            5.2        4.4          4.5          4.4


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  qs = sufficient quantity


  [00135] The results of the HPLC analysis for the two main degradants in the samples, enalapril
  diketopiperazine and enalaprilat, are provided in Table A-2.
                                          TABLE A-2
         Primary Degradants Present in the Formulations (% w/w of enalapril maleate)
                                                     Formulation
   Hours at 60 °C          Al      A2         A3           A4           A5           A6
                                  Enalapril Diketopiperazine
          0             0.04       0.03       0.03        0.03         0.03         0.03
         97             3.10       0.88       0.33        0.86         0.70         0.53
        180             6.21       1.77       0.75        1.73         1.43         1.07
                                          Enalaprilat
          0             0.09       0.15       0.29        0.14         0.16         0.12
         97             5.20       16.9       47.4        16.1         20.3         15.6
        180             9.94       34.8       113         33.5         42.2         31.7


  Example B: Effect of Buffer Concentration on the Formation of Degradants in Enalapril
  Formulations at 60 °C.
  [00136] Formulations were prepared containing enalapril maleate according to Table B-1. The pH of each
  solution was measured and adjusted as needed to pH 3.3 with -1N HC1 or -0.5N NaOH. Five milliliters
  of each formulation were transferred to each of six 3-dram glass screw-capped vials with Teflon inserts in
  the caps. The vials were placed into a 60 °C heating chamber then two vials were removed and analyzed
  by HPLC at times of zero, -66 and -139 hours.
                                                TABLE B-1
    Formulation (in mg/mL) of Enalapril Maleate Formulations at Varying Citrate Buffer Concentrations
                                                                   Formulation
  Component                           B1 (5mM citrate)          B2 (10mM citrate)     B3 (20mM citrate)
  Enalapril maleate                          1.0                       1.0                     1.0
  Citric acid, anhydrous                    0.82                      1.65                    3.29
  Sodium citrate, anhydrous                 0.19                      0.38                    0.75
  Sodium benzoate                            1.0                       1.0                     1.0
  Sucralose                                  0.7                       0.7                     0.7




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  Mixed berry flavor (powdered)               0.5                     0.5                       0.5
  Water                                       qs                      qs                         qs
                                pH            3.3                     3.3                       3.3
  qs = sufficient quantity


  [00137] The results of the HPLC analysis for the two main degradants in the samples, enalapril
  diketopiperazine and enalaprilat, are provided in Table B-2.
                                      TABLE B-2
     Primary Degradants Present in the Formulations (% w/w of enalapril maleate)
                                                   Formulation
   Hours at 60°C        B1 (5mM citrate)      B2 (10mM citrate)      B3 (20mM citrate)
                                Enalapril Diketopiperazine
           0                  0.01                     0.01                 0.01
          66                  1.57                     1.63                 1.79
          139                 3.70                     3.94                 4.24
                                       Enalaprilat
           0                  0.00                     0.00                 0.00
          66                  2.98                     2.88                 3.19
          139                 5.28                     5.23                 5.69


  Example C: Stability of Enalapril Maleate Formulations Containing Paraben Preservatives.
  [00138] Powder formulations were prepared according to Table C-1. All components in each formulation
  except mannitol or xylitol were added to a 2.5 liter polypropylene screw capped bottle. The bottle was
  mixed by inversion in a Turbula° mixer for 5 minutes. The mannitol or xylitol was then added and the
  components mixed for 5 minutes, then the other half of the mannitol or xylitol was added and a final mix
  of 5 minutes was completed.
  One liter of solution formulation was prepared for each formulation by adding an appropriate amount of
  each powdered formulation to a 1 liter volumetric flask and adding about 500mL water. The powder was
  dissolved with mixing then the contents of the flask were brought to 1 liter with additional water. The
  amount of powder to add was determined such that the final concentration of enalapril maleate was 1.0
  mg/mL. Fifty milliliter aliquots of each formulation were placed into HDPE bottles. The bottles were
  screw-capped and placed into storage at 5 °C ± 3°C, at room temperature (19-23 °C) and at 40°C ± 2 °C.
  At various times, bottles were removed from the storage condition and analyzed.




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                                      TABLE C-1
                  Composition of Enalapril Maleate Formulations
                               Powder Formulation (grams)
  Component                            Cl       C2          C3    C4      C5
  Enalapril maleate                   12.3     12.3      8.86    2.16    2.16
  Mannitol                            74.4     74.4     394.0
  Xylitol                                                        96.6    93.7
  Citric acid, anhydrous              28.6     35.6      28.4    5.40    5.40
  Sodium citrate, anhydrous           24.5     14.7      7.73    4.10    4.10
  Sodium methylparaben                4.17     4.17      8.86    2.16    2.16
  Sodium propylparaben                1.10     1.10
  Potassium sorbate                   12.3     12.3
  Sodium benzoate                                        8.86    2.16    2.16
  Xanthan Gum                                                            1.62
  Colloidal silicon dioxide           0.859   0.859      4.43            1.08
  Sucralose                           9.20     9.20      6.64    1.62    1.62
  Mixed berry flavor                  6.13     6.13      4.43    1.08    1.08
  Total solids                        173.5    170.7    472.3    115.2   115.2
                              Liquid Formulations (mg/mL)
  Enalapril maleate                   1.00     1.00      1.00    1.00    1.00
  Mannitol                            6.07     6.07      44.5
  Xylitol                                                        44.7    43.4
  Citric acid, anhydrous              2.33     2.90      3.21    2.50    2.50
  Sodium citrate, anhydrous           2.00     1.20      0.87    1.90    1.90
  Sodium methylparaben                0.34     0.34      1.00    1.00    1.00
  Sodium propylparaben                0.09     0.09      1.00
  Potassium sorbate                   1.00     1.00
  Sodium benzoate                                        1.00    1.00    1.00
  Xanthan Gum                                                            0.75
  Colloidal silicon dioxide           0.07     0.07      0.50            0.50
  Sucralose                           0.75     0.75      0.75    0.75    0.75
  Mixed berry flavor                  0.50     0.50      0.50    0.50    0.50
                 pH (measured)         4.4      3.8      3.7      4.4    4.6




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                                                     Appx429
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  [00139] The results of the HPLC analysis for the diketopiperazine and enalaprilat degradants in the
  samples are provided in Table C-2.
                                            TABLE C-2
            Degradant Content After Storage (% w/w of enalapril maleate)
                              Storage                           Formulation
                         °C       Weeks         Cl       C2        C3         C4      C5
                                    Liquid Formulations
  Diketopiperazine       5              0       0.03    0.04       0.04       0.02   0.02
                                        4       0.02    0.03       0.03       0.03   0.02
                                        8       0.03    0.04       0.04
                       19-23            0       0.03    0.04       0.04       0.02   0.02
                                        4       0.05    0.09       0.11       0.05   0.04
                                        8       0.08    0.17       0.19
                         40             0       0.03    0.04       0.04       0.02   0.02
                                        4       0.35    0.91       1.10       0.31   0.21
                                        8       0.65    1.80       2.05
  Enalaprilat            5              0       0.18    0.14       0.12       0.13   0.19
                                        4       0.18    0.15       0.12       0.43   0.53
                                        8       0.55    0.38       0.34
                       19-23            0       0.18    0.14       0.12       0.13   0.19
                                        4       1.35    0.83       0.80       1.75   2.29
                                        8       3.34    2.06       1.98
                         40             0       0.18    0.14       0.12       0.13   0.19
                                        4      10.49    6.08       6.11   12.30      16.14
                                        8      24.37    14.12     14.22


  Example D: Stability of Enalapril Maleate Formulations Containing Benzoate Preservative.
  [00140] Powder formulations were prepared according to Table D-1. All components in each formulation
  except enalapril maleate and mannitol or xylitol were blended with a mortar and pestle. The enalapril
  maleate was then triturated with the blend. The xylitol or mannitol was then triturated into the blend using
  a geometric dilution technique.
  One liter of solution formulation was prepared for each formulation by adding an appropriate amount of
  each powdered formulation to a 1 liter volumetric flask and adding about 500mL water. The powder was
  dissolved with mixing then the contents of the flask were brought to 1 liter with additional water. The


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  amount of powder to add was determined such that the final concentration of enalapril maleate was 1.0
  mg/mL. Fifty milliliter aliquots of each formulation were placed into HDPE bottles. The bottles were
  screw-capped and placed into storage at 5°C ± 3°C, at room temperature (19-23°C) and at 40°C ± 2°C. At
  various times, bottles were removed from the storage condition and analyzed.
                                                TABLE D-1
                              Composition of Enalapril Maleate Formulations
                                       Powder Formulation (grams)
  Component                                         D1        D2       D3         D4           D5         D6
  Enalapril maleate                                3.63      3.63     3.63       3.63          8.86       2.16
  Xylitol                                         537.2      176.1               537.2
  Mannitol                                                           319.4                    401.2       98.9
  Citric acid, anhydrous                           11.9      11.9     11.9       10.4          26.6       6.48
  Sodium citrate, anhydrous                        2.72      2.72     2.72       4.86          11.3       2.76
  Sodium benzoate                                  3.63      3.63     3.63       3.63          8.86       2.16
  Rebalance X60 (sucralose and maltodextrin)                 10.9
  Sucralose                                                                                    6.64       1.62
  Saccharin sodium                                                    7.26
  Colloidal silicon dioxide                                                                    4.43
  Mixed berry flavor                               1.82      1.82     1.82       1.82          4.43       1.08
  Total solids                                     561       211      350.       561          472.3      115.2
                                       Liquid Formulations (mg/mL)
  Enalapril maleate                                1.00      1.00     1.00       1.00          1.00       1.00
  Xylitol                                         148.0      48.5                148.0
  Mannitol                                                            88.0                     45.3       45.8
  Citric acid, anhydrous                           3.29      3.29     3.29       2.85          3.00       3.00
  Sodium citrate, anhydrous                        0.75      0.75     0.75       1.34          1.28       1.28
  Sodium benzoate                                  1.00      1.00     1.00       1.00          1.00       1.00
  Rebalance X60 (sucralose and maltodextrin)                 3.00
  Sucralose                                                                                    0.75       0.75
  Saccharin sodium                                                    2.00
  Colloidal silicon dioxide                                                                    0.50
  Mixed berry flavor                               0.50      0.50     0.50       0.50          0.50       0.50
                                pH (measured)       3.2       3.2      3.4        3.7          3.6        3.6




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  [00141] The results of the HPLC analysis for the diketopiperazine and enalaprilat degradants in the
  samples are provided in Table D-2.
                                              TABLE D-2
                 Degradant Content After Storage (% w/w of enalapril maleate)
                             Storage                               Formulation
                        °C       Weeks         D1       D2        D3      D4     D5         D6
                                           Liquid Formulations
  Diketopiperazine       5             0       0.04    0.02      0.03    0.03    0.04      0.04
                                       4       0.07    0.03      0.05    0.05    0.03
                                       8       0.11    0.06      0.08    0.08    0.05
                                   12          0.08    0.04      0.06    0.06
                                   26          0.11    0.07      0.09    0.07
                       19-23           0       0.04    0.02      0.03    0.03    0.04      0.04
                                       4       0.27    0.21      0.24    0.16    0.12      0.12
                                       8       0.50    0.41      0.47    0.30    0.21      0.22
                                   12          0.62    0.52      0.58    0.35
                                   26          1.39    1.20      1.33    0.76
                        40             0       0.04    0.02      0.03    0.03    0.04      0.04
                                       4       2.87    2.32      2.73    1.57    1.21      1.13
                                       8       5.13    4.42      5.44    2.97    2.23      2.16
                                   12          6.86    5.90      6.90    3.91
                                   26         13.63    12.18     13.56   7.74
  Enalaprilat            5             0       0.03    0.02      0.03    0.03    0.13      0.14
                                       4       0.15    0.12      0.06    0.17    0.13
                                       8       0.22    0.19      0.22    0.27    0.34
                                   12          0.20    0.17      0.19    0.22
                                       8       0.32    0.30      0.30    0.39
                       19-23           0       0.03    0.02      0.03    0.03    0.13      0.14
                                       4       0.69    0.66      0.69    0.86    0.74      0.76
                                       8       1.38    1.33      1.41    1.68    1.83      1.82
                                   12          1.71    1.68      1.73    2.15
                                   26          3.63    3.61      3.59    4.55
                        40             0       0.03    0.02      0.03    0.03    0.13      0.14




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                                        4            4.76      4.42         4.76          6.45           5.55          5.24
                                        8            8.95      8.64         9.61          12.94         12.73         12.18
                                        12           11.01     10.64        11.41         16.16
                                        26           17.18     17.11        18.30         27.36


  Example E: Stability of Solution Formulations of Enalapril Maleate.
  [00142] Solution formulations were prepared according to Table E-1. Thirty milliliter aliquots of each
  formulation were placed into HDPE bottles. The bottles were screw-capped and placed into storage at 5
  °C ± 3 °C, at room temperature (19-23 °C) and at 40 °C ± 2 °C. At various times, bottles were removed
  from the storage condition and analyzed.
                  Composition of Enalapril Maleate Formulations (mg/mL)
  Component                                  El          E2           E3            E4            E5            E6
  Enalapril maleate                         1.00        1.00       1.00            1.00           1.00          1.00
  Xylitol                                    150        200                         150
  Citric acid anhydrous                     3.29        3.29      3.29             3.29           1.65          0.82
  Sodium citrate anhydrous                  0.75        0.75       0.75            0.75           0.38          0.19
  Sodium benzoate                           1.00        1.00       1.00            1.00           1.00          1.00
  Sucralose                                                        0.70                           0.70          0.70
  Mixed berry flavor                        0.50                   0.50            0.50           0.50          0.50
  Water                                         qs       qs           qs            qs            qs            qs
                  pH (measured)              3.3        3.3           3.3           3.4           3.3           3.3
  qs = sufficient quantity


  [00143] The results of the HPLC analysis for the diketopiperazine and enalaprilat degradants in the
  samples are provided in Table E-2.
                                                     TABLE E-2
                 Degradant Content After Storage (% w/w of enalapril maleate)
                                  Storage                                    Formulation
                             °C       Weeks            El        E2           E3           E4            E5            E6
  Diketopiperazine           5              0         0.01      0.01         0.01          0.01          0.01        0.01
                                            4         0.04      0.04         0.05          0.04          0.03        0.03
                                            8         0.04      0.04         0.04          0.04          0.03        0.03
                                            12        0.05      0.05         0.04          0.05          0.04        0.04




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                          26     0.07     0.06    0.05    0.06    0.05     0.05
                          52                                      0.15     0.14
                          62     0.18     0.18    0.16    0.14
                  19-23    0     0.01     0.01    0.01    0.01    0.01     0.01
                           4     0.22     0.23    0.21    0.20    0.16     0.15
                           8     0.35     0.35    0.32    0.31    0.29     0.28
                          12     0.58     0.59    0.53    0.51    0.48     0.45
                          26     1.10     1.10    1.00    0.95    0.97     0.92
                          52                                      2.30     2.15
                          62     3.02     3.04    2.75    2.64
                   40      0     0.01     0.01    0.01    0.01    0.01     0.01
                           4     2.65     2.71    2.60    2.42    1.76     1.68
                           8     4.02     3.99    3.99    3.62    3.37     3.13
                          12     6.72     6.42    6.47    6.00    5.53     5.29
  Enalaprilat      5       0     0.00     0.00    0.01    0.02    0.00     0.00
                           4     0.07     0.09    0.10    0.11    0.07     0.08
                           8     0.12     0.14    0.10    0.13    0.09     0.08
                          12     0.16     0.15    0.15    0.17    0.14     0.11
                          26     0.31     0.30    0.29    0.31    0.27     0.24
                          52                                      0.54     0.46
                          62     0.75     0.75    0.74    0.71
                  19-23    0     0.00     0.00    0.01    0.02    0.00     0.00
                           4     0.65     0.65    0.68    0.70    0.50     0.46
                           8     1.17     1.19    1.20    1.23    1.03     0.95
                          12     1.67     1.69    1.72    1.80    1.30     1.21
                          26     3.36     3.38    3.42    3.57    3.07     2.90
                          52                                      6.32     5.88
                          62     7.99     8.02    8.04    8.57
                   40      0     0.00     0.00    0.01    0.02    0.00     0.00
                           4     4.85     4.93    5.19    5.42    3.33     3.25
                           8     8.08     8.06    8.56    9.01    6.65     6.35
                          12    10.70    10.48    11.01   11.97   8.14     7.96




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  Example F: Effect of pH on the Formation of Degradants in Enalapril Formulations at 5 °C and 19-
  23 °C.
  [00144] The content of enalapril diketopiperazine and enalaprilat that were formed after 8 weeks of
  storage for formulations C1-C3 and D1-D5 are plotted in Figure 1 (5°C ± 3 °C) and Figure 2 (19-23 °C
  storage). These formulations all contained 20mM total citrate buffer content, but with varying pH. The
  general effects of formulation pH on the formation of the two main enalapril degradants are shown.


  Example G: Antimicrobial Effectiveness Testing of Enalapril Maleate Formulations at pH 3.3
  [00145] Enalapril formulations were prepared containing differing amounts of the antimicrobial
  preservative, sodium benzoate. The formulations were then tested for antimicrobial effectiveness (AET)
  according to the procedures in the 2014 United States Pharmacopeia 37, Chapter <51> for category 3
  products. The formulation of the formulations and the AET results are included in Table G-1.
                                         TABLE G-1
                              Formulation and AET Testing Results
                                                         Formulation
                                        G1         G2           G3      G4        G5
                                     Formulation (mg/mL)
   Enalapril maleate                   1.00       1.00          1.00   1.00      1.00
   Xylitol                             150        150           150    150
   Sucralose                                                                     0.70
   Citric acid, anhydrous              1.64       1.64          1.64   1.64      1.80
   Sodium citrate, anhydrous          0.322      0.322      0.322      0.322
   Sodium citrate, dihydrate                                                     0.165
   Sodium benzoate                     1.00       0.80          0.60   0.40       1.0
   Mixed berry flavor                  0.50       0.50          0.50   0.50      0.50
   Water                               q.s.       q.s.          q.s.   q.s.       q.s.
   HC1/NaOH                                        as need to achieve pH
                  Measured pH           3.3        3.3          3.3     3.3       3.3
                                         AET Results
   USP <51>                            Pass       Pass          Pass   Pass      Pass
   qs = sufficient quantity




                                                         -45-                            WSGR Docket No. 43060-707.304

                                                                                            SLVGT-EPA_0105760
                                                   Appx435
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  Example H: Clinical Trial: Bioavailability Study of 10mg Enalapril Maleate Oral Solution vs. 10mg
  Epaned® Powder for Oral Solution (Reconstituted) Under Fasted Conditions
  [00146] The objective of this open-label, randomized, two-period, two-treatment, two-way crossover
  study was to compare the oral bioavailability of a test formulation of 10mL of enalapril maleate oral
  solution, 1 mg/mL (formulation E-5), to an equivalent oral dose of the commercially available comparator
  product, Epaned® (enalapril maleate) Powder for Oral Solution, 1 mg/mL, when administered under
  fasted conditions in healthy adults.
  [00147] Study design: Thirty-two healthy adult subjects received a single 10mL dose of enalapril maleate
  oral solution, 1 mg/mL, formulation E-5 (Treatment A), in one period and a separate single dose of
  Epaned Powder for Oral Solution (reconstituted with the supplied Ora-Sweet SF), 1 mg/mL (Treatment
  B) in another period. Each treatment was administered after an overnight fast of at least 10 hours,
  followed by a 4-hour fast postdose. Each treatment was administered via a 10 mL oral dosing syringe and
  followed with 240 mL of room temperature tap water. Each drug administration was separated by a
  washout period of at least 7 days.
  [00148] During each study period, meals were the same and scheduled at approximately the same times
  relative to dose. In addition, during each period, blood samples were obtained prior to and following each
  dose at selected times through 72 hours postdose. Pharmacokinetic samples were analyzed for enalapril
  and its metabolite enalaprilat using a validated analytical method; appropriate pharmacokinetic
  parameters were calculated for each formulation using non-compartmental methods. Blood was also
  drawn and urine collected for clinical laboratory testing at screening and at the end of the study.
  [00149] Statistical Methods: The concentration-time data were analyzed using noncompartmental
  methods in PhoenixTM WinNonlin® (Version 6.3, Pharsight Corporation). Concentration-time data that
  were below the limit of quantitation (BLQ) were treated as zero in the data summarization and descriptive
  statistics. In the pharmacokinetic analysis, BLQ concentrations were treated as zero from time-zero up to
  the time at which the first quantifiable concentration was observed; embedded and/or terminal BLQ
  concentrations were treated as "missing". Actual sample times were used for all pharmacokinetic and
  statistical analyses. Analysis of variance (ANOVA) and the Schuirmann's two one-sided t-test procedures
  at the 5% significance level were applied to the log-transformed pharmacokinetic exposure parameters,
  Cmax, AUCiast, and AUCia. The 90% confidence interval for the ratio of the geometric means
  (Test/Reference) was calculated. Bioequivalence was declared if the lower and upper confidence intervals
  (CIs) of the log-transformed parameters were within 80% to 125% for enalapril and enalaprilat.
  [00150] Results: A total of 32 subjects participated in the study and 29 of these subjects completed both
  study periods. Based on the geometric mean ratios of enalapril and enalaprilat AUCs (AUCiast and
  AUCia), the bioavailability of the enalapril maleate oral solution (formulation E-5) relative to the Epaned


                                                        -46-                             WSGR Docket No. 43060-707.304

                                                                                             SLVGT-EPA_0105761
                                                   Appx436
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  Powder for Oral Solution (reconstituted) was approximately 105% to 110%. The geometric mean ratios of
  enalapril and enalaprilat Cmax were approximately 115% and 109%, respectively. The 90% CI for
  comparing the maximum exposure to enalapril and enalaprilat, based on ln (Cmax), was within the
  accepted 80% to 125% limits. The 90% CIs for comparing total systemic exposure to enalapril and
  enalaprilat, based on ln (AUCiast) and ln (AUCim), was within the accepted 80% to 125% limits.
  Therefore, the test formulation of enalapril maleate oral solution, 1 mg/mL, is bioequivalent to the
  reference product, Epaned Powder for Oral Solution (reconstituted), 1 mg/mL, under fasted conditions.


  [00151] While preferred embodiments of the present invention have been shown and described herein, it
  will be obvious to those skilled in the art that such embodiments are provided by way of example only.
  Numerous variations, changes, and substitutions will now occur to those skilled in the art without
  departing from the invention. It should be understood that various alternatives to the embodiments of the
  invention described herein may be employed in practicing the invention. It is intended that the following
  claims define the scope of the invention and that methods and structures within the scope of these claims
  and their equivalents be covered thereby.




                                                        -47-                            WSGR Docket No. 43060-707.304

                                                                                           SLVGT-EPA_0105762
                                                  Appx437
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 463 of 748 PageID #: 2654
        .,047'"ant.,,,            UNITED STATES PATENT AND TRADEMARK OFFICE
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    i'4,      -''' '.1'                                                                           Alexandria, Virginia 22313-1450
       lki34/ ,,,,,,,co,                                                                          www.uspto.gov




         APPLICATION NO.                     FILING DATE           FIRST NAMED INVENTOR       ATTORNEY DOCKET NO.           CONFIRMATION NO.

                   16/177,159                10/31/2018               Gerold L. Mosher             43060-707.304                    3572

                   21971              7590            12/14/2018
                                                                                                                   EXAMINER
                   WILSON, SONSINI, GOODRICH & ROSATI
                   650 PAGE MILL ROAD                                                                      SPRINGER, STEPHANIE K

                   PALO ALTO, CA 94304-1050
                                                                                                     ART UNIT                 PAPER NUMBER

                                                                                                        1629


                                                                                               NOTIFICATION DATE             DELIVERY MODE

                                                                                                     12/14/2018                ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address(es):
patentdocket@wsgr.com




PTOL-90A (Rev. 04/07)
                                                                                                                SLVGT-EPA_0105769
                                                                      Appx438
 Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 464 of 748 PageID #: 2655


                                                        Application No.            Applicant(s)
                                                        16/177,159                 Mosher et al.
     Decision Granting Request for
     PrioritizedExamination (TrackI)                    Examiner                   Art Unit           AIA (First Inventor
                                                        BRIAN W BROWN              OPET               to File) Status
                                                                                                      Yes


 1. THE REQUEST FILED 31 October 2018 IS GRANTED .

      The above-identified application has met the requirements for prioritized examination
          A.     ID for an original nonprovisional application (Track I).
          B.     ❑ for an application undergoing continued examination (RCE).


 2. The above-identified application will undergo prioritized examination. The application will be
    accorded special status throughout its entire course of prosecution until one of the following occurs:
           A.      filing a petition for extension of time to extend the time period for filing a reply;
           B.      filing an amendment to amend the application to contain more than four independent
                   claims, more than thirty total claims , or a multiple dependent claim;
           C.      filing a request for continued examination ;
           D.      filing a notice of appeal;
           E.      filing a request for suspension of action;
           F.      mailing of a notice of allowance;
           G.       mailing of a final Office action;
           H.       completion of examination as defined in 37 CFR 41.102; or
           I.      abandonment of the application.




      Telephone inquiries with regard to this decision should be directed to BRIAN BROWN at (571)272-5338.
      In his/her absence, calls may be directed to Petition Help Desk at (571) 272-3282.




      /BRIAN W BROWN/
      Petitions Examiner, OPET



U.S. Patent and Trademark Office
PTO-2298 (Rev. 02-2012)

                                                                                                   SLVGT-EPA_0105770
                                                        Appx439
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 465 of 748 PageID #: 2656
        .,047'"ant.,,,            UNITED STATES PATENT AND TRADEMARK OFFICE
    4          :                                                                          UNITED STATES DEPARTMENT OF COMMERCE
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         APPLICATION NO.                     FILING DATE           FIRST NAMED INVENTOR       ATTORNEY DOCKET NO.           CONFIRMATION NO.

                   16/177,159                10/31/2018               Gerold L. Mosher             43060-707.304                    3572

                   21971              7590            01/25/2019
                                                                                                                   EXAMINER
                   WILSON, SONSINI, GOODRICH & ROSATI
                   650 PAGE MILL ROAD                                                                      SPRINGER, STEPHANIE K

                   PALO ALTO, CA 94304-1050
                                                                                                     ART UNIT                 PAPER NUMBER

                                                                                                        1629


                                                                                               NOTIFICATION DATE             DELIVERY MODE

                                                                                                     01/25/2019                ELECTRONIC


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PTOL-90A (Rev. 04/07)
                                                                                                                SLVGT-EPA_0105771
                                                                      Appx440
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 466 of 748 PageID #: 2657
                                                                                   Application No.                               Applicant(s)
                                                                                   16/177,159                                    Mosher et al.
                     Office Action Summary                                         Examiner                                      Art Unit           AIA Status
                                                                                   STEPHANIE K SPRINGER                          1629               Yes
          — The MAILING DATEof this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE 3 MONTHS FROM THE MAILING
 DATE OF THIS COMMUNICATION.
           Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed after SIX (6) MONTHS from the mailing
           date of this communication.
           If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
           Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
           Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any earned patent term
           adjustment. See 37 CFR 1.704(b).

 Status
        1)® Responsive to communication(s) filed on 31 October 2018.
           0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on
      2a)0 This action is FINAL.                       2b) 111 This action is non-final.
       3)El An election was made by the applicant in response to a restriction requirement set forth during the interview on
                  ; the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
            closed in accordance with the practice under Expaite Quay/e, 1935 C.D. 11, 453 O.G. 213.

 Disposition of Claims*
     5) J Claim(s) 1-30 is/are pending in the application.
          5a) Of the above claim(s)  is/are withdrawn from consideration.
          6) 0       Claim(s)             is/are allowed.
          7) 0       Claim(s) 1-30 is/are rejected.
          8) 0       Claim(s)             is/are objected to.
        9) 0 Claim(s)           are subject to restriction and/or election requirement
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http://www.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PPHfeedback@uspto.gov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
      1   )0 The drawing(s) filed on                      is/are: a)0 accepted or b)E) objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
           a)D All     b)D Some**     c)D None of the:
                     1.0       Certified copies of the priority documents have been received.
                     2.0       Certified copies of the priority documents have been received in Application No.                                       .
                     3.0       Copies of the certified copies of the priority documents have been received in this National Stage
                               application from the International Bureau (PCT Rule 17.2(a)).
  ** See the attached detailed Office action for a list of the certified copies not received.



 Attachment(s)
 1)       Notice of References Cited (PTO-892)                                                    3) 11 Interview Summary (PTO-413)
                                                                                                        Paper No(s)/Mail Date      .
 2) El Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)
                                                                                                  4) 11 Other:       .
       Paper No(s)/Mail Date        .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                                    Office Action Summary                               Part of Paper No./Mail Date 20181218
                                                                                                                                         SLVGT-EPA_0105772
                                                                                 Appx441
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 467 of 748 PageID #: 2658

  Application/Control Number: 16/177,159                                                                     Page 2
  Art Unit: 1629

                                             DETAILED ACTION

                                     Notice of Pre-AIA or AIA Status

         The present application, filed on or after March 16, 2013, is being examined under the first

  inventor to file provisions of the AIA.



                                                     Status

         This application is a continuation of application 16/003,994, now US Patent 10,154,987,

  filed on June 8, 2018, which is a continuation of application 15/802,341, now US Patent

  10,039,745, filed on November 2, 2017, which is a continuation of application 15/613,622, now

  US Patent 9,808,442, filed on June 5, 2017, which is a continuation of application 15/081,603,

  now US Patent 9,669,008, filed on March 25, 2016 and claims priority to US provisional

  application 62/310,198, filed on March 18, 2016.

         This application was granted Track One status on December 14, 2018.

         Claims 1-30 are pending and are the subject of the Office Action below.



                        Claim Rejections - 35 USC § 112, Second Paragraph

         The following is a quotation of 35 U.S.C. 112(b):

         (B) CONCLUSION.—The specification shall conclude with one or more claims particularly
         pointing out and distinctly claiming the subject matter which the inventor or a joint inventor
         regards as the invention.

         The following is a quotation of 35 U.S.C. 112 (pre-AIA), second paragraph:

         The specification shall conclude with one or more claims particularly pointing out and distinctly
         claiming the subject matter which the applicant regards as his invention.

         Claims 1-12, 14-27, and 29-30 are rejected under 35 U.S.C. 112(b) or 35 U.S.C. 112 (pre-

  AIA), second paragraph, as being indefinite for failing to particularly point out and distinctly claim

  the subject matter which the inventor or a joint inventor, or for pre-AIA the applicant regards as

  the invention.




                                                                                               SLVGT-EPA_0105773
                                                   Appx442
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 468 of 748 PageID #: 2659

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  Art Unit: 1629

          Claims 1, 17, 18, and all claims dependent therefrom, are indefinite for failing to clearly

  and precisely set forth the nature of the preservative meeting the claimed requirements, and

  distinguishing the components of the buffer from the preservative. Claims 1, 17, and 18 are

  generally drawn to a stable oral liquid formulation, comprising or consisting essentially of:

          (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or solvate

  thereof;

          (ii) a buffer comprising citric acid and sodium citrate;

          (iii) a preservative; and

          (iv) water.

          The Examiner notes that the claimed compositions are required to comprise citric acid and

  sodium citrate as a buffer. Regarding the preservative, dependent claims 12 and 27 recite

  particular preservatives meeting the limitations, including citric acid. It is unclear if a single amount

  of citric acid in the composition would meet the requirements of both the preservative and the

  buffer, as the buffer itself comprises citric acid. Absent this information, the claim clearly fails to

  set forth the metes and bounds of the subject matter for which Applicant is presently seeking

  protection.

          The Examiner notes that claim 14 further limits claim 12, reciting "The stable oral liquid

  formulation of claim 12, wherein the sodium benzoate is about 0.2 to about 1.2 mg/mI"; however,

  there is no express requirement that the preservative is specifically sodium benzoate in a

  concentration of about 0.2 to about 1.2 mg/ml. The Examiner suggests amending claim 14 so as

  to clearly convey that the preservative is sodium benzoate in the recited amount, i.e., "The stable

  oral liquid formulation of claim 12, wherein the preservative is sodium benzoate, wherein the

  sodium benzoate is about 0.2 to about 1.2 mg/ml".

          For these reasons, the metes and bounds of the present claims cannot be determined and

  one having ordinary skill in the art would not necessarily be reasonably apprised of the scope of




                                                                                        SLVGT-EPA_0105774
                                                 Appx443
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  Art Unit: 1629

  the claims. In light of such, claims 1-12, 14-27, and 29-30 fail to meet the tenor and express

  requirements of 35 U.S.C. 112, second paragraph, and are thus properly rejected.



                                    Claim Rejections - 35 USC § 102/103

          The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that form the

  basis for the rejections under this section made in this Office action:

          A person shall be entitled to a patent unless —

          (a)(1) the claimed invention was patented, described in a printed publication, or in public use,
          on sale or otherwise available to the public before the effective filing date of the claimed
          invention.

          The following is a quotation of 35 U.S.C. 103 which forms the basis for all obviousness

  rejections set forth in this Office action:

          A patent for a claimed invention may not be obtained, notwithstanding that the claimed invention
          is not identically disclosed as set forth in section 102, if the differences between the claimed
          invention and the prior art are such that the claimed invention as a whole would have been
          obvious before the effective filing date of the claimed invention to a person having ordinary skill
          in the art to which the claimed invention pertains. Patentability shall not be negated by the
          manner in which the invention was made.

          Claims 1, 2, 4-13, 14-19, 21-27, 29, and 30 are rejected under 35 U.S.C. 102(a)(1) as

  anticipated by or, in the alternative, under 35 U.S.C. 103 as obvious over Nahata et al., "Stability

  of elanapril maleate in three extemporaneously prepared oral liquids", Am. J. Health-Syst. Pharm.,

  1998, vol. 55, pages 1155-1157 (cited in PTO-892).

          Claims 1, 2, 4-13, 14-19, 21-27, 29, and 30 are generally drawn to compositions

  comprising:

          (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or solvate

  thereof;

          (ii) a buffer comprising citric acid and sodium citrate;

          (iii) a preservative; and

          (iv) water.




                                                                                                 SLVGT-EPA_0105775
                                                     Appx444
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  Art Unit: 1629

         Nahata teaches formulations comprising

         (i) 1 mg/ml enalapril;

         (ii) a buffer comprising citric acid and sodium citrate; and

         (iv) water.

         In particular, Nahata teaches preparation of an aqueous solution comprising 1 mg/ml

  enalapril in a citrate buffer solution (page 1156, column 1, paragraph 2). The citrate buffer solution

  is prepared accordingly: "Prepare the isotonic citrate buffer solution (pH 5.0) by dissolving 0.353

  g of Citric Acid Monohydrate Granular, USP, 1.01 g of Sodium Citrate Dihydrate Granular, USP,

  and 0.54 g of sodium chloride in 100 mL of distilled water" (page 1157, Appendix and footnote a).

         As noted in the rejection supra, claim 12 recites the use of citric acid as a preservative.

  The ordinarily skilled artisan would thus recognize the buffer solution taught by Nahata to fulfill

  the requirements of both the buffer and the preservative. In other words, citric acid serves as both

  a component of the buffer system, as well as a preservative.

         Regardless, Nahata also teaches the use of another component meeting the requirements

  of a preservative. The ordinarily skilled artisan would recognize the sodium chloride in the citrate

  buffer solution taught by Nahata to meet the instant requirements of a preservative; see Parish,

  "How do salt and sugar prevent microbial spoilage?", Scientific American, 2006 (cited in PTO-

  892; cited to show a fact). Although the instant claims and specification do not explicitly recite

  sodium chloride as a preservative, regarding the preservative, the specification recites,

  "Preservatives include anti-microbials, anti-oxidants, and agents that enhance sterility"

  (paragraph 44). The specification further recites examples of preservatives; however, the

  Examiner notes that these are merely exemplary, and non-limiting. Accordingly, the formulation

  taught by Nahata anticipates the formulation of claims 1, 5, 12, 15, and 17.

         Additionally, the claimed composition would have been prima facie obvious to one having

  ordinary skill in the art in view of the teachings of Nahata. In addition to the formulation comprising

         (i) 1 mg/ml enalapril;



                                                                                       SLVGT-EPA_0105776
                                                Appx445
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  Art Unit: 1629

         (ii) a buffer comprising citric acid and sodium citrate;

         (iii) a preservative, such as sodium chloride or citric acid; and

         (iv) water,

         Nahata also teaches an aqueous solution comprising 1 mg/ml enalapril in a mixture of

  Ora-Sweet and Ora-Plus (page 1156, column 1, paragraph 2). Ora-Sweet and Ora-Plus are

  commercially available from Paddock Laboratories (page 1157, footnotes d and e). Ora-Sweet is

  an aqueous solution comprising sucrose, glycerin, sorbitol, flavoring, citric acid, sodium

  phosphate, methylparaben, and potassium sorbate; Ora-Plus is an aqueous solution comprising

  microcrystalline cellulose, carboxymethylcellulose sodium, xanthan gum, flavoring, citric acid,

  sodium phosphate, simethicone, methylparaben, and potassium sorbate; both Ora-Sweet and

  Ora-Plus have a pH of 4.2. Thus, the formulation taught by Nahata comprising 1 mg/ml enalapril

  in a mixture of Ora-Sweet and Ora-Plus comprises

         (i) 1 mg/ml enalapril;

         (ii) citric acid;

         (iii) a preservative, such as citric acid,methylparaben, potassium sorbate; and

         (iv) water.

         The formulations comprising Ora-Sweet and Ora-Plus also comprise sweeteners and

  flavoring agents, while not containing mannitol or silicon dioxide, thereby meeting the

  requirements of claims 2, 4-6, 19, and 21-23.

         Accordingly, one having ordinary skill in the art at the time of the invention would have had

  a reasonable expectation of success in arriving at the instantly claimed composition in view of the

  teachings of Nahata. Nahata teaches aqueous compositions comprising

         (i) 1 mg/ml enalapril;

         (ii) citric acid and sodium citrate;

         (iii) a preservative, such as citric acid, methylparaben, potassium sorbate; and

         (iv) water.



                                                                                    SLVGT-EPA_0105777
                                                Appx446
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 472 of 748 PageID #: 2663

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  Art Unit: 1629

  It would be within the purview of the ordinarily skilled artisan to arrive at a formulation having the

  desired properties in view of the teachings of Nahata. For example, Nahata teaches the

  superiority of the citrate buffer formulation and the Ora-Sweet/Ora-Plus formulations; the

  ordinarily skilled artisan would optimize the combination of the diluents in order to achieve a

  formulation having improved properties. In other words, one would recognize the flavorings,

  sweeteners, and preservatives of the Ora-Sweet/Ora-Plus formulation to be beneficial in

  combination with the buffer comprising both citric acid and sodium citrate. Absent evidence of

  criticality in the selection of a particular preservative or particular amounts of each of the

  components, optimizing the formulations taught by Nahata would fall within routine optimization

  for the ordinarily skilled artisan. The Examiner notes that instant claims 1, 17, and 18 broadly

  encompass compositions comprising a wide range of amounts of components, leaving ample

  room for optimization of the formulation taught by Nahata.

         Regarding the limitations directed towards the pH of the formulation, as recited in claims

  9-11 and 24-26, Nahata teaches a citrate buffer having a pH of 5, and an Ora-Sweet/Ora-Plus

  mixture having a pH of 4.2. The composition of Nahata fulfills the instant requirement of a pH of

  "about 3.5" as a composition having a pH of 4.2 would reasonably be considered to be "about

  3.5" absent an explicit definition provided by Applicant as to the amount of variation tolerated by

  the term "about" as used in the instant claims. The use of the word "about" in a claim is appropriate

  where the claim contains a range of components with no absolute boundaries, and is only limited

  to eh extend that prior art exists which would limit broad interpretation of the claim. See Amgen,

  Inc. v. Chugai Pharmaceutical Co., 927 F.2d 1200, 1217-1218, 18 USPQ2d 1016 (Fed. Cir. 1991).

         Although Nahata does not explicitly teach that the formulation is stable at about 5 ± 3 2C

  for at least 12 months, or that the formulation has about 95% w/w or greater of the initial enalapril

  amount and about 5% w/w or less total impurity or related substances at the end of the given

  storage period, the composition taught by Nahata is identical to that instantly claimed. Any

  properties exhibited by or benefits provided the composition are inherent and are not given



                                                                                      SLVGT-EPA_0105778
                                               Appx447
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  Art Unit: 1629

  patentable weight over the prior art. A chemical composition and its properties are inseparable.

  Therefore, if the prior art teaches the identical chemical structure, the properties Applicant

  discloses and/or claims are necessarily present. In re Spada, 911 F.2d 705, 709, 15 USPQ 1655,

  1658 (Fed. Cir. 1990). See MPEP 2112.01.

         In re Best (195 USPQ 430) and In re Fitzgerald (205 USPQ 594) discuss the support of

  rejections wherein the prior art discloses subject matter, which there is reason to believe

  necessarily includes functions that are newly cited, or is identical to a product instantly claimed.

  In such a situation, the burden is shifted to the Applicants to "prove that the subject matter to be

  shown in the prior art does not possess the characteristic relied on" (205 USPQ 592, second

  column, first full paragraph). There is no requirement that a person having ordinary skill in the art

  would have recognized this necessarily present disclosure at the time of the invention, but only

  that the subject matter is, in fact, necessarily present in the prior art reference. Schering Corp. v.

  Geneva Pharm. Inc., 339 F.3d 1373, 1377, 67 USPQ2d 1664, 1668 (Fed. Cir. 2003); see also

  Toro Co. v. Deere & Co., 355 F.3d 1313, 1320, 69 USPQ2d 1584, 1590 (Fed. Cir. 2004) ("[T]he

  fact that a characteristic is a necessary feature or result of a prior-art embodiment (that is itself

  sufficiently described and enabled) is enough for inherent anticipation, even if that fact was

  unknown at the time of the prior invention"). In the instant case, the prior art formulation contains

  the same active ingredient and excipients as that presently claimed in the same physical

  formulation and in the same amounts, and, therefore, the resultant property of stability at about 5

  ± 3 2C for at least 12 months, or that the formulation has about 95% w/w or greater of the initial

  enalapril amount and about 5% w/w or less total impurity or related substances at the end of the

  given storage period, must necessarily be present in the prior art composition, absent factual

  evidence to the contrary. The burden is now shifted to Applicant to prove that, in fact, the prior art

  formulation does not possess these same claimed characteristics.




                                                                                      SLVGT-EPA_0105779
                                               Appx448
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                                           Double Patenting

          The nonstatutory double patenting rejection is based on a judicially created doctrine

  grounded in public policy (a policy reflected in the statute) so as to prevent the unjustified or

  improper timewise extension of the "right to exclude" granted by a patent and to prevent possible

  harassment by multiple assignees. A nonstatutory double patenting rejection is appropriate where

  the conflicting claims are not identical, but at least one examined application claim is not

  patentably distinct from the reference claim(s) because the examined application claim is either

  anticipated by, or would have been obvious over, the reference claim(s). See, e.g., In re Berg,

  140 F.3d 1428, 46 USPQ2d 1226 (Fed. Cir. 1998); In re Goodman, 11 F.3d 1046, 29 USPQ2d

  2010 (Fed. Cir. 1993); In re Longi, 759 F.2d 887, 225 USPQ 645 (Fed. Cir. 1985); In re Van

  Ornum, 686 F.2d 937, 214 USPQ 761 (CCPA 1982); In re Vogel, 422 F.2d 438, 164 USPQ 619

  (CCPA 1970); In re Thorington, 418 F.2d 528, 163 USPQ 644 (CCPA 1969).

          A timely filed terminal disclaimer in compliance with 37 CFR 1.321(c) or 1.321(d) may be

  used to overcome an actual or provisional rejection based on nonstatutory double patenting

  provided the reference application or patent either is shown to be commonly owned with the

  examined application, or claims an invention made as a result of activities undertaken within the

  scope of a joint research agreement. See MPEP § 717.02 for applications subject to examination

  under the first inventor to file provisions of the AIA as explained in MPEP § 2159. See MPEP §§

  706.02(1)(1) - 706.02(1)(3) for applications not subject to examination under the first inventor to file

  provisions of the AIA. A terminal disclaimer must be signed in compliance with 37 CFR 1.321(b).

          The USPTO Internet website contains terminal disclaimer forms which may be used.

  Please visit www.uspto.gov/patent/patents-forms. The filing date of the application in which the

  form is filed determines what form (e.g., PTO/SB/25, PTO/SB/26, PTO/AIA/25, or PTO/AIA/26)

  should be used. A web-based eTerminal Disclaimer may be filled out completely online using

  web-screens. An eTerminal Disclaimer that meets all requirements is auto-processed and




                                                                                        SLVGT-EPA_0105780
                                                Appx449
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  approved immediately upon submission. For more information about eTerminal Disclaimers, refer

  to www.uspto.gov/patents/process/file/efs/guidance/eTD-info-I.jsp.



             Claims 1-30 are rejected on the ground of nonstatutory double patenting as being

  unpatentable over claims 1-20 of U.S. Patent No. 9,669,008, herein referred to as `008. Although

  the claims at issue are not identical, they are not patentably distinct from each other.

             Claims 1-20 are of `008 are generally drawn towards stable oral liquid formulations

  comprising enalapril, a buffer comprising citric acid and sodium citrate dehydrate; a preservative

  that is sodium benzoate; and water; wherein the pH of the formulation is less than about 3.5;

  wherein the formulation is stable at about 5±3 °C for at least 12 months. Claim 18 is drawn to a

  particular species of composition, namely, a stable oral liquid formulation, consisting essentially

  of: (i) about 1 mg/ml enalapril maleate; (ii) about 0.70 mg/ml sucralose; (iii) a buffer comprising

  about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium citrate dihydrate; (iv) about 1 mg/ml

  sodium benzoate; (v) a flavoring agent; (vi) water; wherein the pH of the formulation is less than

  about 3.5; wherein the formulation is stable at about 5±3 °C for at least 12 months. Thus, claims

  1-20 of `008 are drawn to a species of the instantly claimed formulation. The ordinarily skilled

  artisan would find it prima facie obvious to arrive at the instantly claimed invention in view of the

  methods of use described in claims 1-20 of `008.

             Accordingly, the instantly claimed invention is an obvious variant of the invention claimed

  in `008.




             Claims 1-30 are rejected on the ground of nonstatutory double patenting as being

  unpatentable over claims 1-30 of U.S. Patent No. 9,808,442, herein referred to as `442. Although

  the claims at issue are not identical, they are not patentably distinct from each other.




                                                                                       SLVGT-EPA_0105781
                                                 Appx450
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             Claims 1-30 are of `442 are generally drawn towards methods of treating hypertension,

  heart failure, and left ventricular dysfunction in a subject, comprising administering a stable oral

  liquid formulation comprising enalapril; a buffer comprising citric acid and sodium citrate

  dehydrate; a preservative that is sodium benzoate; and water; wherein the pH of the formulation

  is less than about 3.5; wherein the formulation is stable at about 5±3 °C for at least 12 months.

  Thus, claims 1-30 of `442 are drawn to methods of use of a species of the instantly claimed

  formulation. The ordinarily skilled artisan would find it prima facie obvious to arrive at the instantly

  claimed invention in view of the methods of use described in claims 1-30 of `442.

             Accordingly, the instantly claimed invention is an obvious variant of the invention claimed

  in `442.




             Claims 1-30 are rejected on the ground of nonstatutory double patenting as being

  unpatentable over claims 1-20 of U.S. Patent No. 10,039,745, herein referred to as `745. Although

  the claims at issue are not identical, they are not patentably distinct from each other.

             Claims 1-20 are of `745 are generally drawn towards stable oral liquid formulations

  comprising enalapril, a buffer comprising citric acid and sodium citrate dehydrate; a preservative

  that is sodium benzoate; and water; wherein the formulation is stable at about 5±3 °C for at least

  12 months. Thus, claims 1-20 of `745 are generally drawn towards a species of the instantly

  claimed formulation. The ordinarily skilled artisan would find it prima facie obvious to arrive at the

  instantly claimed invention in view of the methods of use described in claims 1-20 of `745.

             Accordingly, the instantly claimed invention is an obvious variant of the invention claimed

  in `745.




                                                                                        SLVGT-EPA_0105782
                                                 Appx451
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             Claims 1-30 are rejected on the ground of nonstatutory double patenting as being

  unpatentable over claims 1-30 of U.S. Patent No. 10,154,987, herein referred to as `987. Although

  the claims at issue are not identical, they are not patentably distinct from each other.

             Claims 1-30 are of `987 are generally drawn towards methods of treating hypertension,

  heart failure, and left ventricular dysfunction in a subject, comprising administering a stable oral

  liquid formulation comprising enalapril; a buffer comprising citric acid and sodium citrate

  dehydrate; a preservative that is sodium benzoate; and water; wherein the pH of the formulation

  is less than about 3.5; wherein the formulation is stable at about 5±3 °C for at least 12 months.

  Thus, claims 1-30 of `987 are drawn to a method of using a species of the instantly claimed

  formulation. The ordinarily skilled artisan would find it prima facie obvious to arrive at the instantly

  claimed invention in view of the methods of use described in claims 1-30 of `987.

             Accordingly, the instantly claimed invention is an obvious variant of the invention claimed

  in `987.



                                                Conclusion

             No claims are allowed in this application.

             If applicants should amend the claims, a complete and responsive reply will clearly identify

  where support can be found in the disclosure for each amendment. Applicants should point to the

  page and line numbers of the application corresponding to each amendment, and provide any

  statements that might help to identify support for the claimed invention (e.g., if the amendment is

  not supported in ipsis verbis, clarification on the record may be helpful). Should applicants present

  new claims, applicants should clearly identify where support can be found in the disclosure.

             Any inquiry concerning this communication or earlier communications from the examiner

  should be directed to JEFFREY S LUNDGREN whose telephone number is (571)272-5541. The

  examiner can normally be reached on Monday through Thursday from 8 am to 5 pm.




                                                                                        SLVGT-EPA_0105783
                                                  Appx452
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         If attempts to reach the examiner by telephone are unsuccessful, the examiner's

  supervisor, Jeffrey Lundgren, can be reached on 571-272-5541. The fax phone number for the

  organization where this application or proceeding is assigned is 571-270-8380.

         Information regarding the status of an application may be obtained from the Patent

  Application Information Retrieval (PAIR) system. Status information for published applications

  may be obtained from either Private PAIR or Public PAIR. Status information for unpublished

  applications is available through Private PAIR only. For more information about the PAIR system,

  see http://portal.uspto.gov/external/portal. Should you have questions on access to the Private

  PAIR system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free).



                                                     /Stephanie Springer/
                                                     Examiner, Art Unit 1629

  /JEFFREY S LUNDGREN/
  Supervisory Patent Examiner, Art Unit 1629




                                                                                   SLVGT-EPA_0105784
                                             Appx453
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  Electronically Filed: March 1, 2019                        Attorney Docket No.: 43060-707.304



              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

  In re Application:
  First Named Inventor      Gerold L. MOSHER      Confirmation No.: 3572
  U.S. Application No.      16/177,159
  Filed                     October 31, 2018      Customer No.: 021971
  TC/A.U.                   1629
  Examiner                  SPRINGER, STEPHANIE K
  Title                     ENALAPRIL FORMULATIONS



     RESPONSE TO THE NON-FINAL OFFICE ACTION DATED JANUARY 25, 2019


  Mail Stop Amendment
  Commissioner for Patents
  P.O. Box 1450
  Alexandria, VA 22313-1450


  Commissioner:
         Applicant hereby submits a response to the Office Action dated January 25, 2019 (the
  "Office Action"), in the above-identified application. Applicant respectfully requests
  amendment of the patent application, and reconsideration and allowance of the pending claims.
  The Commissioner is hereby authorized to charge any fees associated with the filing of this
  response to Deposit Account No. 23-2415, referencing Docket No. 43060-707.304.
         Amendments to the Claims, reflecting the status of the claims, begin on page 2.
         Remarks begin on page 6.
         The Conclusion is on page 14.




                                                                                   SLVGT-EPA_0105790
                                              Appx454
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  U.S. Patent Application No. 16/177,159                   Attorney Docket No.: 43060-707.304
  Response to the Non-Final Office Action dated January 25, 2019


                                     Amendments to the Claims
         This listing of claims will replace all prior versions, amendments and listings of claims in
  this application. The following amendments do not constitute an admission regarding the
  patentability of the amended subject matter and should not be so construed. Applicant reserves
  the right to pursue the subject matter of the withdrawn claims in this or any other appropriate
  patent application.


  Listing of the Claims:
  1. (Currently Amended) A stable oral liquid formulation, comprising:
             (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or
     solvate thereof;
             (ii) a buffer comprising citric acid and sodium citrate;
             (iii) a preservative, wherein the preservative is selected from ascorbic acid, ascorbyl
     palmitate, BHA, BHT, EDTA and its salts, erythorbic acid, fumaric acid, malic acid, propyl
     gallate, sodium ascorbate, sodium bisulfate, sodium metabisulfite, sodium sulfite,
     methylparaben, ethylparaben, propylparaben, butylparaben, benzoic acid, sodium benzoate,
     potassium sorbate, and vanillin; and
             (iv) water;
                  wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
                  wherein the stable oral liquid formulation has about 95% w/w or greater of the
         initial enalapril amount and about 5% w/w or less total impurity or related substances at
         the end of the given storage period.

  2. (Previously Presented) The stable oral liquid formulation of claim 1 further comprising a
     sweetener.

  3. (Previously Presented) The stable oral liquid formulation of claim 2, wherein the sweetener
     is sucralose.

  4. (Previously Presented) The stable oral liquid formulation of claim 1 further comprising a
     flavoring agent.




                                                   2
                                                                                     SLVGT-EPA_0105791
                                                Appx455
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  5. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation does not contain mannitol.

  6. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation does not contain silicon dioxide.

  7. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the buffer
     comprises about 0.8 to about 3.5 mg/ml citric acid.

  8. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the buffer
     comprises about 0.1 to about 0.8 mg/ml sodium citrate.

  9. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the pH of the
     stable oral liquid formulation is less than about 3.5.

  10. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the pH of the
     stable oral liquid formulation is between about 3 and about 3.5.

  11. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the pH of the
     stable oral liquid formulation is about 3.3.

  12. (Canceled)

  13. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     preservative is sodium benzoate.

  14. (Currently Amended) The stable oral liquid formulation of claim [[12]]1, wherein the
     preservative is sodium benzoate, and wherein the sodium benzoate is about 0.2 to about 1.2
     mg/ml.

  15. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation is stable at about 5 ± 3° C for at least 18 months.

  16. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation is stable at about 5 ± 3° C for at least 24 months.

  17. (Currently Amended) A stable oral liquid formulation, consisting essentially of:
              (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or
     solvate thereof;


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                                                                                    SLVGT-EPA_0105792
                                               Appx456
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             (ii) a buffer comprising citric acid and sodium citrate;
             (iii) a preservative, wherein the preservative is selected from ascorbic acid, ascorbyl
     palmitate, BHA, BHT, EDTA and its salts, erythorbic acid, fumaric acid, malic acid, propyl
     gallate, sodium ascorbate, sodium bisulfate, sodium metabisulfite, sodium sulfite,
     methylparaben, ethylparaben, propylparaben, butylparaben, benzoic acid, sodium benzoate,
     potassium sorbate, and vanillin; and
             (iv) water;
             wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
             wherein the stable oral liquid formulation has about 95% w/w or greater of the initial
     enalapril amount and about 5% w/w or less total impurity or related substances at the end of
     the given storage period.

  18. (Currently Amended) A stable oral liquid formulation, comprising:
             (i) about 10% to about 25% (w/w of solids) enalapril or a pharmaceutically
     acceptable salt or solvate thereof;
             (ii) a buffer comprising about 17% to about 47% (w/w of solids) citric acid and about
     1% to about 11% (w/w of solids) sodium citrate;
             (iii) about 1% to about 30% (w/w of solids) of a preservative, wherein the
     preservative is selected from ascorbic acid, ascorbyl palmitate, BHA, BHT, EDTA and its
     salts, erythorbic acid, fumaric acid, malic acid, propyl gallate, sodium ascorbate, sodium
     bisulfate, sodium metabisulfite, sodium sulfite, methylparaben, ethylparaben, propylparaben,
     butylparaben, benzoic acid, sodium benzoate, potassium sorbate, and vanillin; and
             (iv) water;
             wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
             wherein the stable oral liquid formulation has about 95% w/w or greater of the initial
     enalapril amount and about 5% w/w or less total impurity or related substances at the end of
     the given storage period.

  19. (Previously Presented) The stable oral liquid formulation of claim 18 further comprising a
     sweetener.




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                                                                                     SLVGT-EPA_0105793
                                               Appx457
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  20. (Previously Presented) The stable oral liquid formulation of claim 19, wherein the sweetener
     is sucralose.

  21. (Previously Presented) The stable oral liquid formulation of claim 18 further comprising a
     flavoring agent.

  22. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the
     formulation does not contain mannitol.

  23. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the
     formulation does not contain silicon dioxide.

  24. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the pH of the
     stable oral liquid formulation is less than about 3.5.

  25. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the pH of the
     stable oral liquid formulation is between about 3 and about 3.5.

  26. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the pH of the
     stable oral liquid formulation is about 3.3.

  27. (Canceled)

  28. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the
     preservative is sodium benzoate.

  29. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the
     formulation is stable at about 5 ± 3° C for at least 18 months.

  30. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the
     formulation is stable at about 5 ± 3° C for at least 24 months.




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                                                                                  SLVGT-EPA_0105794
                                               Appx458
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  Electronically Filed: March 1, 2019                           Attorney Docket No.: 43060-707.304


                                              REMARKS
         Claims 1-11, 13-26, and 28-30 are pending in this application. By way of this response,
  claims 1, 14, 17, and 18 have been amended, and claims 12 and 27 have been canceled. No new
  matter is presented by way of the amendments.
         Withdrawal of any subject matter herein does not constitute an admission that the subject
  matter is unpatentable for any reason and Applicant reserves the right to file claims directed to
  withdrawn subject matter in this or a related application.


  Rejection Under 35 U.S.C. 112(b)
         Claims 1-12, 14-27, and 29-30 are rejected under 35 U.S.C. § 112(b) as being indefinite
  for failing to particularly point out and distinctly claim the subject matter regarded as the
  invention.
         Without acquiescing to the Office's rejection but solely in an effort to expedite
  prosecution, claims 1, 17, and 18 have been amended to recite "wherein the preservative is
  selected from ascorbic acid, ascorbyl palmitate, BHA, BHT, EDTA and its salts, erythorbic acid,
  fumaric acid, malic acid, propyl gallate, sodium ascorbate, sodium bisulfate, sodium
  metabisulfite, sodium sulfite, methylparaben, ethylparaben, propylparaben, butylparaben,
  benzoic acid, sodium benzoate, potassium sorbate, and vanillin." Claims 12 and 27 are canceled.
         As such, the § 112(b) rejections are now moot. Accordingly, Applicant respectfully
  requests the rejections be withdrawn.


  Rejection Under 35 U.S.C. 102/103
         Claims 1, 2, 4-13, 14-19, 21-27, 29, and 30 are rejected under 35 U.S.C. 102(a)(1) as
  anticipated by or, in the alternative, under 35 U.S.C. 103 as obvious over Nahata et al., "Stability
  of elanapril maleate in three extemporaneously prepared oral liquids", Am. J. Health-Syst.
  Pharm., 1998, vol. 55, pages 1155-1157 ("Nahata").

         The Office alleges that "the formulation taught by Nahata anticipates the formulation of
  claims 1, 5, 12, 15, and 17." Specifically, the Office states that "Nahata teaches preparation of an
  aqueous solution comprising 1 mg/ml enalapril in a citrate buffer solution" and an "ordinary
  skilled artisan would recognize the sodium chloride in the citrate buffer solution taught by
  Nahata to meet the instant requirements of a preservative."

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                                                                                      SLVGT-EPA_0105795
                                                Appx459
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         Further, the Office alleges that "the formulations [taught in Nahata] comprising Ora-
  Sweet and Ora-Plus also comprise sweeteners and flavoring agents . . . thereby meeting the
  requirements of claims 2, 4-6, 19, and 21-23."

         In making the rejections, the Office does not dispute that "Nahata does not explicitly
  teach that the formulation is stable at about 5 ± 3 °C for at least 12 months, or that the
  formulation has about 95% w/w or greater of the initial enalapril amount and about 5% w/w or
  less total impurity or related substances at the end of the given storage period." Nevertheless, the
  Office takes the position that "[a]ny properties exhibited by or benefits provided the composition
  are inherent and are not given patentable weight over the prior art."

         With respect to the obviousness rejections, the Office states that "Nahata teaches aqueous
  compositions comprising (i) 1 mg/ml enalapril; (ii) citric acid and sodium citrate; (iii) a
  preservative, such as citric acid, methylparaben, potassium sorbate; and (iv) water," and the
  Office alleges that "[i]t would be within the purview of the ordinarily skilled artisan to arrive at a
  formulation having the desired properties in view of the teachings of Nahata."

         Applicant respectfully disagrees.

         Applicant respectfully submits that Nahata does not teach or suggest all the elements of
  the claimed formulations, e.g., the stability element—"the formulation is stable at 5 ± 3 °C for at
  least 12 months"—is not disclosed either expressly or inherently. And such a superior stability is
  an unexpected result. Applicant further submits an Inventor Declaration by Dr. Gerold Mosher
  dated February 2, 2017 ("the Mosher Declaration"), with evidence to overcome the §102/103
  rejections asserted by the Office, as discussed in greater detail below.

         A. The §102 Rejection

                 a. The Cited Reference Does Not Teach Enalapril Oral Liquid Formulations
          That Are Stable at 5 ± 3 °C For At Least 12 Months




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                                                                                      SLVGT-EPA_0105796
                                                Appx460
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         "A claim is anticipated only if each and every element as set forth in the claim is found,
  either expressly or inherently described, in a single prior art reference." Verdegaal Bros. v.
  Union Oil Co. of California, 814 F.2d 628, 631, 2 USPQ2d 1051, 1053 (Fed. Cir. 1987).

         Nahata does not disclose enalapril oral liquid formulations that are stable at 5 ± 3 °C for
  at least 12 Months, which is one of the elements in the present claims.

          Specifically, claim 1 is directed to a stable oral liquid formulation comprising (i) about
  0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or solvate thereof; (ii) a
  buffer comprising citric acid and sodium citrate; (iii) a preservative, wherein the preservative is
  selected from ascorbic acid, ascorbyl palmitate, BHA, BHT, EDTA and its salts, erythorbic acid,
  fumaric acid, malic acid, propyl gallate, sodium ascorbate, sodium bisulfate, sodium
  metabisulfite, sodium sulfite, methylparaben, ethylparaben, propylparaben, butylparaben,
  benzoic acid, sodium benzoate, potassium sorbate, and vanillin; and (iv) water; wherein the
  formulation is stable at about 5 ± 3° C for at least 12 months; and wherein the stable oral
  liquid formulation has about 95% w/w or greater of the initial enalapril amount and about
  5% w/w or less total impurity or related substances at the end of the given storage period."
  Claim 17 and claim 18 similarly recite a formulation in a "consisting essentially of format and
  in a "% w/w" format, respectively.

         The Specification and Drawings of the instant application provide support and evidence
  of this stability; for example, Table E-2 depicts very little amounts of diketopiperazine or
  enalaprilat degradants formed in formulations El to E6 when stored at 5 °C. Table E-1 shows
  that formulations El to E6 contain enalapril, citric acid, sodium citrate, a preservative, and water,
  which Applicant notes are the claimed components of the instant applications.

         Moreover, the Mosher Declaration provides additional data supporting the claimed
  stability by comparing the dramatic differences in stability between the enalapril oral liquid
  formulations of the present application with the stability of the enalapril liquid preparation in
  Nahata. In the Mosher Declaration, Dr. Mosher plotted graphically with linear regression of the
  data for extrapolation of the available refrigerated (5 °C) and room temperature (25 °C) stability
  data published by Nahata as well as E7 and E8 enalapril formulations, which are exemplary


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                                                                                      SLVGT-EPA_0105797
                                               Appx461
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  formulations of the present application. The stability comparisons at 5 °C are presented in Fig 1.
  as below:


                          Fig 1. Enalapril Maleate content after Storage at 5°C
                110
                                                                                      r+T Nahata water


                                                                                      5'C Nahata atrate Buffer
                106                                                                   pH 5.0

          .44              •                                                          5°C Nahata      Mixlure.
           0I                                                                           ra-Plus and 0(a-Sweet
          .73
           e-102.              ,,,                                               •    Forrnu[aE
                                        4,41.0.0043x +101.91
          ak 100
          .1113                                                                  X Formu[aES
          44,                                              •

          ak
          t.J
                98
          ".6                         -0,0424x 99696                                 —linear (.5'C Nahata
                96                                                                    water)
                                 -0”0462x: + 99.666.
                               y -0,0524x +99,254                                      nea r.{5°C, iNahatia
                                                                                      Citrate Buffri. .- pH :5...0)

                                                                                      linear (5'C Nahata
                                                                                         xture t ra-Plus and
                                                                                        rA-Sweilyt)
                90
                      0              200.       400            600         BOO
                                               Days



         As Dr. Mosher explains, "Table A and Fig. 1 show that E7 exhibits excellent stability for
  at least 18 months (581 days) at 5 °C with essentially no loss of enalapril content in contrast to
  the extemporaneous preparations of Nahata (stability is defined as no more than 5% formation of
  degradants and 5% loss of enalapril). While Nahata does not disclose stability at 5 °C for more
  than 90 days, the extrapolated lines show that at about 100 days, the extemporaneous
  preparations are unstable with respect to the enalapril content in the preparation." Mosher
  Declaration, ¶21. Evidently, a stability of at least 12 months at 5 ± 3 °C is not an inherent
  property of the Nahata formulations.




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            Further, Applicant respectfully points out that the instant application is directed to novel
  stable enalapril oral liquid formulations with superior stability and uniformity properties. As Dr.
  Mosher explains, the "currently approved methods of delivering enalapril to pediatric patients
  requires (1) administering a solid enalapril tablet or portion thereof to the patient, (2)
  extemporaneously preparing an oral liquid suspension from enalapril tablets and a diluent, such
  as the method described in "Nahata" and subsequently administering the suspension to the
  patient, or (3) reconstituting a powder in a liquid carrier" and "[for the second method,
  extemporaneously prepared oral liquids present additional challenges and issues with respect to
  dosing accuracy and stability, as well as can introduce compounding errors and cross-
  contamination." Mosher Declaration, ¶10-11. The stable enalapril oral liquid formulations in the
  present application represent an elegant solution over the previous methods of obtaining liquid
  enalapril formulation.

            Thus, the data presented in the Mosher Declaration clearly demonstrates that the
  extemporaneous preparations of Nahata do not meet the stability requirement of the present
  claims.

            As such, Nahata does not disclose any liquid formulations of enalapril having a stability
  at about 5 ± 3 °C for at least 12 months, either explicitly or by inherency. Accordingly,
  Applicant respectfully requests the §102 rejections be withdrawn.

            B. The §103 Rejection

                   a. The Cited Reference Provides No Reasonable Expectation of Success of the
                   Claimed Subject Matter

            Obviousness does not require absolute predictability, however, at least some degree of
  predictability is required. MPEP § 2143.02. To have a reasonable expectation of success, one
  must be motivated to do more than merely "vary all parameters or try each of numerous possible
  choices until one possibly arrived at a successful result, where the prior art gave no indication of
  which parameters were critical or no direction as to which of many possible choices is likely to
  be successful." Medichem, S.A. v. Robaldo, 327 F.3d 1157, 1165 (Fed. Cir. 2006).



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                                                                                        SLVGT-EPA_0105799
                                                  Appx463
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          There is no expectation from Nahata that the extemporaneously prepared oral liquid
  formulation can be modified to have a stability at about 5 ± 3 °C for at least 12 months (365
  days). In fact, as Dr. Mosher explains, "the extrapolated lines [in Nahata] show that at about 100
  days, the extemporaneous preparations are unstable with respect to the enalapril content in the
  preparation." Mosher Declaration, ¶12. Thus, one of ordinary skill in the art would not
  reasonably expect, based on the teachings in Nahata, to make a formulation having a stability at
  about 5 ± 3 °C for a period of time that is more than three times longer than the Nahata
  formulation.

         Thus, the Office has not established how one of skill in the art would expect to modify
  the extemporaneously prepared formulation in Nahata and to arrive at a stable oral liquid
  formation meeting all the elements of the present claims.

         Further, the enalapril tablets used in the extemporaneous preparations of Nahata contain,
  in addition to enalapril, lactose, magnesium stearate, sodium bicarbonate, starch, and iron oxide.
  Ora-Plus is an oral suspending vehicle that has a pH of approximately 4.2 and that contains
  purified water, microcrystalline cellulose, sodium carboxymethylcellulose, xanthan gum,
  carrageenan, buffering agents (trisodium phosphate and citric acid), an antifoaming agent
  (simethicone), and preservatives (potassium sorbate and methylparaben). Ora-Sweet syrup
  vehicle is a flavoring vehicle that is buffered to a pH of approximately 4.2 and that contains
  purified water, sucrose, glycerin, sorbitol (5%), flavoring, buffering agents (sodium phosphate
  and citric acid), and preservatives (potassium sorbate and methylparaben). Nahata therefore
  teaches that these extemporaneously prepared suspensions from enalapril tablets contain a
  myriad of components, the majority of which are not present in the presently claimed
  formulations. The following table lists the components that are present in the Nahata
  formulation:

                              Enalapril Extemporaneous Formulation
                              (Ora-Sweet/Ora-Plus)
                              Enalapril
                              Lactose
                              magnesium stearate
                              sodium bicarbonate



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                                                                                    SLVGT-EPA_0105800
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                               Starch
                               iron oxide
                               microcrystalline cellulose
                               carboxymethylcellulose
                               xanthan gum
                               carrageenan
                               calcium sulphate
                               trisodium phosphate
                               citric acid
                               dimethicone
                               potassium sorbate
                               methylparaben
                               Flavoring
                               Sorbitol
                               Glycerin
                               sucrose
                               Water


         Apparently, the extemporaneously prepared formulation in Nahata contains 19
  components in addition to enalapril and water. As such, Nahata does not provide any
  expectation that any particular combination would be successful for stable enalapril oral liquid
  formulations, which can extend the stability from less than 100 days to at least 12 months at 5
  °C. One of skill in the art would need to consider all of these excipients and, through trial-and-
  error, determine whether each and every one of these components is necessary for stability or if
  they could be varied or eliminated.

          Thus, the Office has not demonstrated a reasonable expectation of success based on
  Nahata.

                  b. Unexpected Results

         Applicant submits that the subject matter in the claims has unexpected results with
  respect to stability of liquid enalapril formulations.

         As explained in the Mosher Declaration, the claimed stable enalapril liquid formulations
  are dramatically much more stable than the extemporaneous enalapril preparations of Nahata. In
  the Mosher Declaration, Dr. Mosher plotted graphically, with linear regression of the data for



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                                                                                     SLVGT-EPA_0105801
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  extrapolation of the stability data published in Nahata, as well as corresponding E7 and E8
  enalapril formulations, which are exemplary formulations of the present claims. See, Mosher
  Declaration, Fig 1 and Fig 2.

         As evidenced by the graphs, the E7 formulation demonstrates no loss of enalapril for at
  least 12 months at 5 °C and about 100 days at 25 °C. The E8 formulation, which has only one
  data point, is expected to trend similarly. These results drastically contrast with the stability or
  lack thereof in the extemporaneous and reconstituted enalapril preparations where in these cases,
  the enalapril degrades substantially after initial preparation. At about 90-100 days, the
  extemporaneous preparations are at about 95% of the starting enalapril concentration when
  stored at either 4 °C or 25 °C.

         The unexpected stability results of the E7 and E8 formulations are not taught by, and
  could not have been predicted or contemplated by Nahata.

         Accordingly, Applicant respectfully requests the §103 rejection be withdrawn.

  Double Patenting Objection
         Claims 1-30 are rejected on the ground of nonstatutory double patenting as being
  unpatentable over claims 1-20 of U.S. Patent No. 9,669,008, claims 1-30 of U.S. Patent No.
  9,808,442, claims 1-20 of U.S. Patent No. 10,039,745, and claims 1-30 of U.S. Patent No.
  10,154,987.
         Without acquiescing in this ground of rejection and solely in an effort to expedite
  prosecution, Applicant hereby submits Terminal Disclaimers with respect to U.S. Patent No.
  9,669,008, U.S. Patent No. 9,808,442, U.S. Patent No. 10,039,745, and U.S. Patent No.
  10,154,987.
         The Terminal Disclaimers obviate the present rejections. Accordingly, Applicant
  respectfully requests that the rejections be withdrawn.


         In view of the remarks and amendments submitted herein, Applicant believes that the
  Application is in condition for allowance and such action is earnestly solicited.




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                                                                                       SLVGT-EPA_0105802
                                                Appx466
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                                          CONCLUSION
         Applicant submits that this response fully addresses the Office Action mailed on
  January 25, 2019. Applicant believes that for the reasons set forth herein the pending claims are
  in condition for allowance and early and favorable consideration is respectfully requested.
         Should the Examiner have any questions or concerns, the Examiner is encouraged to
  contact the undersigned attorney at (617) 598-7823.
                                               Respectfully submitted,
                                               WILSON SONSINI GOODRICH & ROSATI
                                               Professional Corporation



  Date: March 1, 2019                          By: /Clark Lin/
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  Customer No. 021971




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                                                                                   SLVGT-EPA_0105803
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               IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re the Application of:                            Art Unit: 1629

Inventors:      Gerold L. Mosher, et al.             Examiner: Stephanie K. Springer

 Serial No.:    15/081,603                           Confirmation No.: 3892

Filed:          March 25, 2016                       Customer No.: 021971

Title:          ENALAPRIL FORMULATIONS




  Mail Stop Amendment
  Commissioner of Patents
  P.O. Box 1450
  Alexandria, VA 22313-1450


               DECLARATION OF GEROLD MOSHER UNDER 37 C.F.R. § 1.132


  I, Gerold Mosher, do hereby declare as follows:

          1.     I am currently employed at Silvergate Pharmaceuticals, Inc.

          2.     I received my Bachelor's degree in Pharmacy from the University of Kansas in
  1979. I also received a Master and a Doctor of Philosophy in Pharmaceutical Chemistry in 1984
  and 1986, respectively, from the University of Kansas.

          3.     I have been employed at Silvergate Pharmaceuticals since 2013, as Vice President
  of Drug Development. As part of my job duties, I develop oral solutions for pediatric use. I
  have a small laboratory where I develop, characterize and move formulations through the steps
  required for FDA approval and eventual sale.

          4.     Early in my career, I practiced pharmacy for two years from 1979 to 1981.
  Subsequently, I worked in large pharmaceutical companies (Eli Lilly and Merck) for about ten
  years where I focused primarily on pre-formulation and early phase formulations of new drug
  products. After leaving these companies and prior to Silvergate Pharmaceuticals, I have also

                                                 1

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  been employed by small startup companies to develop new solubilizing technology for oral,
  injectable and inhalation formulations.

            5.    In total, I have been in the field of pharmaceutical chemistry for almost 38 years,
  and have extensive experience in developing pharmaceutical formulations. My Curriculum Vitae
  is attached as Exhibit A.

            6.    I am familiar with the subject matter claimed in patent application 15/081,603,
  and am a named inventor on this application. Silvergate Pharmaceuticals is also the Assignee of
  the '603 application.

            7.    I am aware of the Non-Final Office Action mailed in this matter on January 17,
  2017. I am also aware that the oral enalapril liquid formulation claims stand rejected under 35
  U.S.C. § 103 as allegedly being unpatentable over US 8,568,747, Nahata et al. (Stability of
  Enalapril Maleate in three Extemporaneously Prepared Oral Liquids) ("Nahata"), Product
  Information of Bicitra (Sodium Citrate and Citric Acid Oral Solution) ("Bicitra"), Product
  Information of Ora-Sweet ("Ora-sweet"), and Rippley at al. (Pharmacokinetics Assessment of an
  Oral Enalapril Suspension for Use in Children) ("Rippley"). I have reviewed these cited
  references in the Non-Final Office Action.

            8.    I am submitting this declaration to address the comments made in the Office
  Action.

            9.    The '603 application relates to enalapril oral liquid formulations that are stable for
  least 12 months at 5±3 °C. The present oral liquid formulations contain enalapril, sucralose, a
  citric acid buffer, sodium benzoate and water at a pH of less than 3.5. Development of this
  described enalapril formulation was oriented on preparing a safe, stable, soluble oral liquid with
  minimal degradation and having acceptable taste for pediatric patients.

            10.   The currently approved methods of delivering enalapril to pediatric patients
  requires (1) administering a solid enalapril tablet or portion thereof to the patient, (2)
  extemporaneously preparing an oral liquid suspension from enalapril tablets and a diluent, such
  as the method described in "Nahata" and subsequently administering the suspension to the


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  patient, or (3) reconstituting a powder in a liquid carrier, such as the described enalapril powder
  in US 8,568,747.

         11.       All of these methods are undesirable and have limitations. For tablets, it is well
  known that children have difficulty in swallowing oral dosage forms. For the second method,
  extemporaneously prepared oral liquids present additional challenges and issues with respect to
  dosing accuracy and stability, as well as can introduce compounding errors and cross-
  contamination. Similarly, reconstituting powders into a liquid carrier also requires an extra step
  and could introduce variability, solubility and contamination issues during the reconstitution.

         12.       As compared to these currently available methods, the enalapril oral liquid
  formulations claimed in the '603 application provides several advantages:
               •   Improved ease of administration. It is easier for many patients to swallow a liquid
                   than to swallow a tablet,
               •   Patient Compliance. Patients are more likely to take a dose that is not difficult to
                   swallow, or difficult to prepare,
               •   Accuracy of dosing. The prescribing information for enalapril tablets provides
                   dosing guidelines based on the weight of the child. When one only has fixed 2.5,
                   5 or 10 mg tablets available, it is difficult if not impossible to break the tablets in
                   such a way to get an exact dose if the dose is something other than the tablet
                   strength. In addition, if tablets are compounded into a suspension, the tablets are
                   crushed in a mortar and then mixed with a liquid. There is no guarantee that the
                   drug dissolves in, or is dispersed evenly in the liquid (thus leading to potential
                   dosing errors. Moreover, there is always the chance of contamination of the
                   resulting liquid by residual drugs or substances in the mortar. Similarly, in
                   reconstitutable powders, there is also no guarantee that the powder dissolves or
                   disperses evenly in the diluent.

         13.       It should be appreciated that the oral enalapril liquid formulations of the present
  claims are stable at 5±3 °C for 12 months or longer with minimal degradation. The stability is an
  important aspect of the present formulations. It contributes to the consistency and uniformity of
  the formulations as well as allows for accuracy of dosing to patients.


                                                       3

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         14.     Evidence of this stability is found in exemplary formulations E7 and E8 which
  show minimal degradation as compared to current formulations. In this study, exemplary
  formulations E7 and E8 were stored at either refrigerated condition (5 °C) or at ambient
  condition (25 °C). Formulations details for E7 and E8 are as follows:
                                   Composition of Enalapril Maleate
                                              Formulations
                            Component                         E7     E8
                            Enalapril maleate                1.00   1.00
                            Citric acid anhydrous            1.80   1.82
                            Sodium citrate anhydrous         0.16   0.15
                            Sodium benzoate                  1.00   1.00
                            Sucralose                        0.70   0.70
                            Mixed berry flavor               0.50   0.50
                            Water                             qs     qs
                                          pH (measured)       3.3   3.3
                                         qs = sufficient quantity

         15.     In my review of the references cited in the Office Action, none of the references
  describe this stability of at least 12 months at 5±3 °C or any means of achieving this stability for
  enalapril formulations.

         16.     I have reviewed Nahata which describes the extemporaneous preparation of oral
  liquid enalapril formulations by crushing enalapril tablets with a mortar and pestle and
  suspending the resulting ground tablets in water, citrate buffer, or Ora-Plus/Ora-Sweet. On
  stability, Nahata states that the "compounded oral liquids [were] stable for 91 days at 4 and 25 °C"
  defining stable as "concentration after storage was >90% of the initial concentration. Table 1 of
  Nahata shows that the enalapril extemporaneous formulations exhibited about 5% loss of
  enalapril after about 56 days at 4 °C and about 5% loss of enalapril after about 91 days at 25 °C.

         17.     I have also reviewed US 8,568,747 which describes an oral liquid enalapril
  formulation obtained by reconstituting an enalapril powder in a liquid. The table in example 6 of
  US 8,568,747 shows that the resulting oral liquid formulation exhibited about 5% loss of
  enalapril after about 8 weeks at 25 °C.

         18.     I additionally reviewed Bicitra, Ora-sweet, and Rippley and they do not provide
  any stability of enalapril formulations whatsoever.



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          19.        To compare the stability of the enalapril extemporaneous preparations as
  described in Nahata and the reconstituted liquid formulation of US 8,568,747, I submit the
  following data which depicts the enalapril content of formulations E7 at 5°C and 25 °C and E8 at
  5 °C in Table A and Table B:
                     Table A: Enalapril content in formulations after storage at 5 °C1




                      Days      water        Citrate            1:1 Ora-           E7            E8
                                            Buffer pH           Plus/Ora-
                                               5.0                Sweet
                         0      100           100                  100            100           100
                         7      98.6          98.7                 99.4
                        14      98.1          99.1                 98.6
                        28      97.6          98.7                 98.4
                        40                                                       100.9
                        42      97.1            98.5               97.9                       100.3
                        56      96.5            97.3               96.9
                        70      95.2            96.3               96.1
                        91      94.8            95.9               95.8
                        99                                                       104.7
                       205                                                       101.1
                       290                                                       101.0
                       383                                                       99.7
                       581                                                       99.1

                     Table B: Enalapril content in formulations after storage at 25 °C

                                              1Kaliata
                                                                                      8,568,747
            Days             water         Citrate Buffer          1:1 Ora-           Example 6          E7
                                               pH 5.0           Plus/Ora-Sweet
                 0           100                100                   100                 100            100
                 7           98.3               98.2                 99.7
                14           96.4                97                  98.1                 99.4
                28           94.1               95.8                 96.2                 99.5
                30                                                                                      100.1
                42           92.4               95.3                   96.2
                56           90.1               94.9                   95.7               97.9
                61                                                                                      99.8


   I note that US 8,568,747 does not provide stability data of the reconstituted liquid formulation at 5 °C.

                                                            5

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                   70             87.6                 93.9             94.4
                   84                                                                 96.2
                   89                                                                             102.4
                   91             84.1                 92.7             93.8
                  183                                                                             95.8



              20.          To further describe the contrast in stability, the enalapril concentrations published
  by Nahata, the US 8,568,747 enalapril concentrations, and the concentrations from E7 and E8 are
  plotted graphically (Fig. 1: 5 °C and Fig. 2: 25 °C) with linear regression of the data for
  extrapolation.


                          Fig 1. Enalapril Maleate Content after Storage at 5°C
           110
                                                                                     5°C Nahata water

           108
                                                                                 0   5°C Nahata Citrate Buffer
   +.,106                                                                            pH 5.0
   a
   a)
   a                       •                                                         5°C Nahata 1:1 Mixture
   0 104                                                                             Ora-Plus and Ora-Sweet
   U

           102                                                                   •   Formula E7
                                                       + 101.91
                                                  __
           100 11(
    b.0                                       •                                  X   Formula E8
    CO                                                          •
    w       98
   as-.)                       y = -0.0424x + 99.696                           --Linear (5°C Nahata
   0_
            96                                                                      water)
                               y = -0.0462x + 99.666
                               v = -0.0524x + 99.254                           --Linear (5°C Nahata
            94                                                                      Citrate Buffer pH 5.0)

            92                                                                       Linear (5°C Nahata 1:1
                                                                                     Mixture Ora-Plus and
                                                                                     Ora-Sweet)
            90    -----
                 0               200           400                600      800
                                              Days



                                                                    6

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                 Fig 2. Enalapril Maleate Content after Storage at 25°C
    105

                                                                                25°C Nahata water
    103
                                   •

    101                                                                   ,`    25°C Nahata Citrate
                                                                                Buffer pH 5.0
                                   y = -0.0219x + 101.21
   4, 99
                                                                                25°C Nahata 1:1 Mixture
                                                                                Ora-Plus and Ora-Sweet


                                                                          •     Formula E7
                                        y    -0.0446x + 100.23 •
   .4795

                                    -b.068 2x + 99.388                    0     US 8,568,747 Example 6
   .293
                                 y\A3.0699x + 98.666

   a91                                                                         -Linear (25°C Nahata
                                                                                water)

     89
                                                                      ---- Linear (25°C Nahata
                                                                           Citrate Buffer pH 5.0)
     87
                                                                      -         Linear (25°C Nahata 1:1
                                 \\= -0.1684x + 99.36
     85                          ,                                              Mixture Ora-Plus and
                                                                                Ora-Sweet)
           0            50             100           150           200
                                       Days


           21.     Table A and Fig. 1 show that E7 exhibits excellent stability for at least 18 months
  (581 days) at 5 °C with essentially no loss of enalapril content in contrast to the extemporaneous
  preparations of Nahata (stability is defined as no more than 5% formation of degradants and 5%
  loss of enalapril). While Nahata does not disclose stability at 5 °C for more than 90 days, the
  extrapolated lines show that at about 100 days, the extemporaneous preparations are unstable
  with respect to the enalapril content in the preparation.



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                                                                Attorney Docket No.: 43060-707.201


         22.      Table B and Fig. 2 show that E7 also exhibits better stability for at least 6 months
  (183 days) at 25 °C in contrast to the Nahata preparations and the reconstituted formulation of
  US 8,568,747.

         23.      The additional enalapril content data submitted for E7 and E8 shows that the
  formulations of the present application are significantly more stable, which in my opinion
  reflects the superior results and advantages, obtained with the oral liquid enalapril formulation of
  the present claims.

         24. I hereby declare that all statements made herein of my own knowledge are true and
  that all statements made on information and belief are believed to be true; and further that these
  statements were made with the knowledge that willful false statements and the like so made are
  punishable by fine or imprisonment or both, under 18 U.S.C. 1001.




  Respectfully submitted on this       day of February, 2017




  Gerold L. Mosher, Ph.D.




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  Curriculum Vitae                                                  GEROLD L. MOSHER, Ph.D.


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  EDUCATION
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  PROFESSIONAL EXPERIENCE
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    Phi Lambda Upsilon Honorary Chemical Society
    Sigma XI
  PATENTS (US only)
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                                                                           Attorney Docket No. 43060-707.304
                                                                                                   PATENT

                    IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


   Inventor:                   MOSHER; Gerold L                Group Art Unit:                1629
                               [Us] et al.
   Serial Number:               16/177,159                     Examiner:                      SPRINGER;
                                                                                              Stephanie K.
   Filing or 371 (c) Date:     2018-10-31                      CONFIRMATION NO:               3572

   Title:                      ENALAPRIL
                               FORMULATIONS




                                 FILED ELECTRONICALLY ON: April 19, 2019

  Commissioner for Patents
  P.O. Box 1450
  Alexandria VA 22313-1450

                             INFORMATION DISCLOSURE STATEMENT
                                     UNDER 37 CFR & 1.97

  Commissioner for Patents:

            An Information Disclosure Statement along with attached PTO/SB/08 is hereby submitted. A
  copy of each listed publication is submitted, if required, pursuant to 37 CFR §§1.97-1.98, as indicated
  below.
            The Examiner is requested to review the information provided and to make the information of
  record in the above-identified application. The Examiner is further requested to initial and return the
  attached PTO/SB/08 in accordance with MPEP § 609.
            The right to establish the patentability of the claimed invention over any of the information
  provided herewith, and/or to prove that this information may not be prior art, and/or to prove that this
  information may not be enabling for the teachings purportedly offered, is hereby reserved.
            This statement is not intended to represent that a search has been made or that the information
  cited in the statement is, or is considered to be, prior art or material to patentability as defined in § 1.56.




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  Attorney Docket No. 43060-707.304
                                                                                                SLVGT-EPA_0106657
                                                     Appx482
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  A.   n   37 CFR § 1.97 (b). This Information Disclosure Statement should be considered by the Office
       because:
            ❑      (1)     It is being filed within 3 months of the filing date of a national application and is
                           other than a continued prosecution application under § 1.53 (d);
                                    -- OR --
            ❑      (2)      It is being filed within 3 months of entry of the national stage as set forth in §
                            1.491 in an international application;
                                    -- OR --
                   (3)      It is being filed before the mailing of a first Office action on the merits;
                                    -- OR --
            ❑      (4)      It is being filed before the mailing of a first Office action after the filing of a
                            request for continued examination under § 1.114.
  B. Z 37 CFR § 1.97(c). Although this Information Disclosure Statement is being filed after the period
     specified in 37 CFR § 1.97(b), above, it is filed before the mailing date of the earlier of (1) a final
     office action under § 1.113, (2) a notice of allowance under § 1.311, or (3) an action that otherwise
     closes prosecution in the application, this Information Disclosure Statement should be considered
     because it is accompanied by one of:
            ❑      a statement as specified in §1.97 (e) provided concurrently herewith;
                                    -- OR --
                   a fee of $240.00 as set forth in § 1.17 (p) authorized below, enclosed, or included with
                   the payment of other papers filed together with this statement.
  C.   ri  37 CFR § 1.97 (d). Although this Information Disclosure Statement is being filed after the
       mailing date of the earlier of (1) a final office action under § 1.113, (2) a notice of allowance under §
       1.311, or (3) an action that otherwise closes prosecution in the application, it is being filed before
       payment of the issue fee and should be considered because it is accompanied by:
                   i. a statement as specified in § 1.97 (e);
                            -- AND --
                   ii. a fee of $240.00 as set forth in §1.17(p) is authorized below, enclosed, or included
                       with the payment of other papers filed together with this Statement.
  D. ❑ 37 CFR §1.97 (e). Statement.

            ❑      A statement is provided herewith to satisfy the requirement under 37 CFR §§ 1.97 (c);
                                    -- AND/OR
            ❑      A statement is provided herewith to satisfy the requirement under 37 CFR §§ 1.97 (d);
                                    -- AND/OR --
                   A copy of a dated communication from a foreign patent office clearly showing that the
                   information disclosure statement is being submitted within 3 months of the filing date on
                   the communication is provided in lieu of a statement under 37 C.F.R. § 1.97(e) (1) as
                   provided for under MPEP 609.04(b) V.



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  Attorney Docket No. 43060-707.304
                                                                                               SLVGT-EPA_0106658
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  E.   n   Statement Under 37 C.F.R. §1.704(d). Each item of information contained in the information
       disclosure statement was first cited in any communication from a patent office in a counterpart
       foreign or international application or from the Office or is a communication that was issued by a
       patent office in a counterpart foreign or international application or by the Office that was received by
       an individual designated in § 1.56(c) not more than thirty (30) days prior to the filing of this
       information disclosure statement. This statement is made pursuant to the requirements of 37 C.F.R.
       §1.704(d) to avoid reduction of the period of adjustment of the patent term for Applicant(s) delay.
  F. Z     37 CFR §1.98 (a) (2). The content of the Information Disclosure Statement is as follows:
           ❑       Copies of each of the references listed on the attached Form PTO/SB/08 are enclosed
                   herewith.
                                    -- OR --
                   Copies of U.S. Patent Documents (issued patents and patent publications) listed on the
                   attached Form PTO/SB/08 are not enclosed.
                                    --AND/OR--
                   Copies of Foreign Patent Documents and/or Non Patent Literature Documents listed on
                   the attached Form PTO/SB/08 are enclosed in accordance with 37 CFR §1.98 (a)(2).
                                    -- AND/OR --
                   Copies of pending unpublished U.S. patent applications are enclosed in accordance with
                   37 CFR §1.98 (a) (2) (iii).
  G. ❑ 37 CFR §1.98(a)(3). The Information Disclosure Statement includes non-English patents and/or
     references.
           ❑       Pursuant to 37 CFR §1.98(a)(3)(i), a concise explanation of the relevance of each patent,
                   publication or other information provided that is not in English is provided herewith.
                   ❑       Pursuant to MPEP 609(B), an English language copy of a foreign search report is
                           submitted herewith to satisfy the requirement for a concise explanation where
                           non-English language information is cited in the search report.
                                    -- OR --
                           A concise explanation of the relevance of each patent, publication or other
                           information provided that is not in English is as follows:
           ❑       Pursuant to 37 CFR §1.98(a) (3) (ii), a copy of a translation, or a portion thereof, of the
                   non-English language reference(s) is provided herewith.
  H. ❑ 37 CFR §1.98(d). Copies of patents, publications and pending U.S. patent applications, or other
     information specified in 37 C.F.R. § 1.98(a) are not provided herewith because:
           ❑       Pursuant to 37 CFR §1.98(d)(1) the information was previously submitted in an
                   Information Disclosure Statement, or cited by examiner for another application under
                   which this application claims priority for an earlier effective filing date under 35 U.S.C.
                   120.
                   Application in which the information was submitted:
                   Information Disclosure Statement(s) filed on:
                                    AND
                   The information disclosure statement submitted in the earlier application complied with
                   paragraphs (a) through (c) of 37 CFR §1.98.
                                                        3
  Attorney Docket No. 43060-707.304
                                                                                             SLVGT-EPA_0106659
                                                    Appx484
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 510 of 748 PageID #: 2701



  I.   El Fee Authorization. The Commissioner is hereby authorized to charge the above-referenced fees
       of $240.00 and charge any additional fees or credit any overpayment associated with this
       communication to Deposit Account No. 23-2415 (Docket No.43060-707.304).

                                                        Respectfully submitted,

                                                        WILSON SONSINI GOODRICH & ROSATI



  Dated: April 19, 2019                                 By: /Clark Lin/
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  (650) 493-9300
  Customer No. 02-1971




                                                    4
  Attorney Docket No. 43060-707.304
                                                                                        SLVGT-EPA_0106660
                                               Appx485
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 511 of 748 PageID #: 2702




                                                                           Attorney Docket No. 43060-707.304
                                                                                                   PATENT

                    IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


   Inventor:                   MOSHER; Gerold L                Group Art Unit:                1629
                               [Us] et al.
   Serial Number:               16/177,159                     Examiner:                      SPRINGER;
                                                                                              Stephanie K.
   Filing or 371 (c) Date:     2018-10-31                      CONFIRMATION NO:               3572

   Title:                      ENALAPRIL
                               FORMULATIONS




                                 FILED ELECTRONICALLY ON: April 19, 2019

  Commissioner for Patents
  P.O. Box 1450
  Alexandria VA 22313-1450

                             INFORMATION DISCLOSURE STATEMENT
                                     UNDER 37 CFR & 1.97

  Commissioner for Patents:

            An Information Disclosure Statement along with attached PTO/SB/08 is hereby submitted. A
  copy of each listed publication is submitted, if required, pursuant to 37 CFR §§1.97-1.98, as indicated
  below.
            The Examiner is requested to review the information provided and to make the information of
  record in the above-identified application. The Examiner is further requested to initial and return the
  attached PTO/SB/08 in accordance with MPEP § 609.
            The right to establish the patentability of the claimed invention over any of the information
  provided herewith, and/or to prove that this information may not be prior art, and/or to prove that this
  information may not be enabling for the teachings purportedly offered, is hereby reserved.
            This statement is not intended to represent that a search has been made or that the information
  cited in the statement is, or is considered to be, prior art or material to patentability as defined in § 1.56.




                                                          1
  Attorney Docket No. 43060-707.304
                                                                                                SLVGT-EPA_0106669
                                                     Appx486
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 512 of 748 PageID #: 2703




  A.   n   37 CFR § 1.97 (b). This Information Disclosure Statement should be considered by the Office
       because:
            ❑      (1)     It is being filed within 3 months of the filing date of a national application and is
                           other than a continued prosecution application under § 1.53 (d);
                                    -- OR --
            ❑      (2)      It is being filed within 3 months of entry of the national stage as set forth in §
                            1.491 in an international application;
                                    -- OR --
                   (3)      It is being filed before the mailing of a first Office action on the merits;
                                    -- OR --
            ❑      (4)      It is being filed before the mailing of a first Office action after the filing of a
                            request for continued examination under § 1.114.
  B. Z 37 CFR § 1.97(c). Although this Information Disclosure Statement is being filed after the period
     specified in 37 CFR § 1.97(b), above, it is filed before the mailing date of the earlier of (1) a final
     office action under § 1.113, (2) a notice of allowance under § 1.311, or (3) an action that otherwise
     closes prosecution in the application, this Information Disclosure Statement should be considered
     because it is accompanied by one of:
            ❑      a statement as specified in §1.97 (e) provided concurrently herewith;
                                    -- OR --
                   a fee of $240.00 as set forth in § 1.17 (p) authorized below, enclosed, or included with
                   the payment of other papers filed together with this statement.
  C.   ri  37 CFR § 1.97 (d). Although this Information Disclosure Statement is being filed after the
       mailing date of the earlier of (1) a final office action under § 1.113, (2) a notice of allowance under §
       1.311, or (3) an action that otherwise closes prosecution in the application, it is being filed before
       payment of the issue fee and should be considered because it is accompanied by:
                   i. a statement as specified in § 1.97 (e);
                            -- AND --
                   ii. a fee of $240.00 as set forth in §1.17(p) is authorized below, enclosed, or included
                       with the payment of other papers filed together with this Statement.
  D. ❑ 37 CFR §1.97 (e). Statement.

            ❑      A statement is provided herewith to satisfy the requirement under 37 CFR §§ 1.97 (c);
                                    -- AND/OR
            ❑      A statement is provided herewith to satisfy the requirement under 37 CFR §§ 1.97 (d);
                                    -- AND/OR --
                   A copy of a dated communication from a foreign patent office clearly showing that the
                   information disclosure statement is being submitted within 3 months of the filing date on
                   the communication is provided in lieu of a statement under 37 C.F.R. § 1.97(e) (1) as
                   provided for under MPEP 609.04(b) V.



                                                         2
  Attorney Docket No. 43060-707.304
                                                                                               SLVGT-EPA_0106670
                                                    Appx487
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 513 of 748 PageID #: 2704



  E.   n   Statement Under 37 C.F.R. §1.704(d). Each item of information contained in the information
       disclosure statement was first cited in any communication from a patent office in a counterpart
       foreign or international application or from the Office or is a communication that was issued by a
       patent office in a counterpart foreign or international application or by the Office that was received by
       an individual designated in § 1.56(c) not more than thirty (30) days prior to the filing of this
       information disclosure statement. This statement is made pursuant to the requirements of 37 C.F.R.
       §1.704(d) to avoid reduction of the period of adjustment of the patent term for Applicant(s) delay.
  F. Z     37 CFR §1.98 (a) (2). The content of the Information Disclosure Statement is as follows:
           ❑       Copies of each of the references listed on the attached Form PTO/SB/08 are enclosed
                   herewith.
                                    -- OR --
                   Copies of U.S. Patent Documents (issued patents and patent publications) listed on the
                   attached Form PTO/SB/08 are not enclosed.
                                    --AND/OR--
                   Copies of Foreign Patent Documents and/or Non Patent Literature Documents listed on
                   the attached Form PTO/SB/08 are enclosed in accordance with 37 CFR §1.98 (a)(2).
                                    -- AND/OR --
                   Copies of pending unpublished U.S. patent applications are enclosed in accordance with
                   37 CFR §1.98 (a) (2) (iii).
  G. ❑ 37 CFR §1.98(a)(3). The Information Disclosure Statement includes non-English patents and/or
     references.
           ❑       Pursuant to 37 CFR §1.98(a)(3)(i), a concise explanation of the relevance of each patent,
                   publication or other information provided that is not in English is provided herewith.
                   ❑       Pursuant to MPEP 609(B), an English language copy of a foreign search report is
                           submitted herewith to satisfy the requirement for a concise explanation where
                           non-English language information is cited in the search report.
                                    -- OR --
                           A concise explanation of the relevance of each patent, publication or other
                           information provided that is not in English is as follows:
           ❑       Pursuant to 37 CFR §1.98(a) (3) (ii), a copy of a translation, or a portion thereof, of the
                   non-English language reference(s) is provided herewith.
  H. ❑ 37 CFR §1.98(d). Copies of patents, publications and pending U.S. patent applications, or other
     information specified in 37 C.F.R. § 1.98(a) are not provided herewith because:
           ❑       Pursuant to 37 CFR §1.98(d)(1) the information was previously submitted in an
                   Information Disclosure Statement, or cited by examiner for another application under
                   which this application claims priority for an earlier effective filing date under 35 U.S.C.
                   120.
                   Application in which the information was submitted:
                   Information Disclosure Statement(s) filed on:
                                    AND
                   The information disclosure statement submitted in the earlier application complied with
                   paragraphs (a) through (c) of 37 CFR §1.98.
                                                        3
  Attorney Docket No. 43060-707.304
                                                                                             SLVGT-EPA_0106671
                                                    Appx488
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 514 of 748 PageID #: 2705



  I.   El Fee Authorization. The Commissioner is hereby authorized to charge the above-referenced fees
       of $240.00 and charge any additional fees or credit any overpayment associated with this
       communication to Deposit Account No. 23-2415 (Docket No.43060-707.304).

                                                        Respectfully submitted,

                                                        WILSON SONSINI GOODRICH & ROSATI



  Dated: April 19, 2019                                 By: /Clark Lin/
                                                            Clark Y. Lin, Ph.D., Esq.
                                                            Registration No. 67,024
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  Customer No. 02-1971




                                                    4
  Attorney Docket No. 43060-707.304
                                                                                        SLVGT-EPA_0106672
                                               Appx489
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 515 of 748 PageID #: 2706
        .,047'"ant.,,,            UNITED STATES PATENT AND TRADEMARK OFFICE
    4          :                                                                          UNITED STATES DEPARTMENT OF COMMERCE
i                           1i,                                                           United States Patent and Trademark Office
        -.4t       4....-   !                                                             Address: COMMISSIONER FOR PATENTS
                                                                                                  P.O. Box 1450
    i'4,      -''' '.1'                                                                           Alexandria, Virginia 22313-1450
       lki34/ ,,,,,,,co,                                                                          www.uspto.gov




         APPLICATION NO.                     FILING DATE           FIRST NAMED INVENTOR       ATTORNEY DOCKET NO.           CONFIRMATION NO.

                   16/177,159                10/31/2018               Gerold L. Mosher             43060-707.304                    3572

                   21971              7590            06/24/2019
                                                                                                                   EXAMINER
                   WILSON, SONSINI, GOODRICH & ROSATI
                   650 PAGE MILL ROAD                                                                      SPRINGER, STEPHANIE K

                   PALO ALTO, CA 94304-1050
                                                                                                     ART UNIT                 PAPER NUMBER

                                                                                                        1629


                                                                                               NOTIFICATION DATE             DELIVERY MODE

                                                                                                     06/24/2019                ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address(es):
patentdocket@wsgr.com




PTOL-90A (Rev. 04/07)
                                                                                                                SLVGT-EPA_0106673
                                                                      Appx490
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 516 of 748 PageID #: 2707
                                                                                   Application No.                               Applicant(s)
                                                                                   16/177,159                                    Mosher et al.
                    Office Action Summary                                          Examiner                                      Art Unit           AIA (FITF) Status
                                                                                   STEPHANIE K SPRINGER                          1629               Yes
          — The MAILING DATEof this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE 3 MONTHS FROM THE MAILING
 DATE OF THIS COMMUNICATION.
           Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed after SIX (6) MONTHS from the mailing
           date of this communication.
           If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
           Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
           Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any earned patent term
           adjustment. See 37 CFR 1.704(b).

 Status
        1)® Responsive to communication(s) filed on 1 March 2019.
            0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on
      2a)III This action is FINAL.                      2b) 0 This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
                   ; the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
             closed in accordance with the practice under Expaite Quay/e, 1935 C.D. 11, 453 O.G. 213.

 Disposition of Claims*
     5) J Claim(s) 1-11,13-26 and 28-30 is/are pending in the application.
          5a) Of the above claim(s) is/are withdrawn from consideration.
          6) 0      Claim(s)              is/are allowed.
          7) 0      Claim(s) 1-11,13-26 and 28-30 is/are rejected.
          8) 0      Claim(s)              is/are objected to.
        9) 0 Claim(s)               are subject to restriction and/or election requirement
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http://www.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PPHfeedback@uspto.gov.
 Application Papers
   10)0 The specification is objected to by the Examiner.
      1   )0 The drawing(s) filed on             is/are: a)0 accepted or b)0 objected to by the Examiner.
                Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).
 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
           a)0 All     b)0 Some**     c)0 None of the:
                    1.0      Certified copies of the priority documents have been received.
                    2.0      Certified copies of the priority documents have been received in Application No.                                         .
                    3.0      Copies of the certified copies of the priority documents have been received in this National Stage
                             application from the International Bureau (PCT Rule 17.2(a)).
  ** See the attached detailed Office action for a list of the certified copies not received.


 Attachment(s)

 1) ❑     Notice of References Cited (PTO-892)                                                    3) 11 Interview Summary (PTO-413)
                                                                                                          Paper No(s)/Mail Date             .
 2)   Ei Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)                       4) 11 Other:            .
          Paper No(s)/Mail Date 14 pgs, 4/19/19.
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                                    Office Action Summary                                Part of Paper No./Mail Date 20190319
                                                                                                                                         SLVGT-EPA_0106674
                                                                                 Appx491
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 517 of 748 PageID #: 2708

  Application/Control Number: 16/177,159                                                     Page 2
  Art Unit: 1629

                                            DETAILED ACTION

                                                 Status

         The present application, filed on or after March 16, 2013, is being examined under the first

  inventor to file provisions of the AIA.

         This application is a continuation of application 16/003,994, now US Patent 10,154,987,

  filed on June 8, 2018, which is a continuation of application 15/802,341, now US Patent

  10,039,745, filed on November 2, 2017, which is a continuation of application 15/613,622, now

  US Patent 9,808,442, filed on June 5, 2017, which is a continuation of application 15/081,603,

  now US Patent 9,669,008, filed on March 25, 2016 and claims priority to US provisional

  application 62/310,198, filed on March 18, 2016.

         This application was granted Track One status on December 14, 2018.

         Applicant's amendments filed March 1, 2019 amending claims 1, 14, 17, and 18, and

  canceling claims 12 and 27 are acknowledged.

          Applicant's arguments, filed March 1, 2019, have been fully considered. Rejections and/or

  objections not reiterated from previous Office Actions are hereby withdrawn.

         Claims 1-11, 13-26, and 28-30 are pending and are the subject of the Office Action below.



                                  Information Disclosure Statement

         The information disclosure statement (IDS) submitted on April 19, 2019 has been

  considered by the examiner. The submission is in compliance with the provisions of 37 CFR §§

  1.97 and 1.98. Enclosed with this Office Action is a return-copy of the Forms PTO-1449 with the

  examiner's initials and signature indicating those references that have been considered.




                                                                                   SLVGT-EPA_0106675
                                                Appx492
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  Application/Control Number: 16/177,159                                                     Page 3
  Art Unit: 1629

                                      Response to Arguments

                                  Declaration under 37 CFR 1.132

          The Declaration under 35 CFR 1.132 submitted on March 1, 2019 has been considered

  by the Examiner. The declaration under 37 CFR 1.132 is insufficient to overcome the rejections

  of claims 1-11, 13-26, and 28-30, as it fails to provide data corroborating the Applicant's

  allegations that the claimed compositions provide unexpected results over the compositions

  disclosed in the prior art.

          The Declaration, dated February 2, 2017, is directed towards application 15/081,603, now

  US Patent 9,669,008. The Declaration alleges that the enalapril oral liquid formulations of '603

  "provides several advantages", particularly improved ease of administration; patient compliance;

  and accuracy of dosing. The Declaration contends that the enalapril oral liquid formulations "of

  the present claims", that is, the claims of '603, are stable at 5±3 °C for 12 months or longer with

  minimal degradation.

          The Declaration presents exemplary formulations E7 and E8:

                   Composition ofEralapril Ma.leate
                              Formulations
            Componem                        E7       E8
            Elia] apri .maleate            1,00     1,00
            Citric acid anhydrous          1,ao     1.82.
            Sodium citrate anhydrous       0.16     0.15
            Sodium benzoate                  .00    1.00
            Sueralo$e                      0.70     0.70
            Mixed berry favor              0.50     0,50
            Water                                    as
                          pH (measured)     3.3     3..3
                         qs sufficient quantity

          It appears that these refer to percentages of the total composition. Thus, formulations E7

  and E8 are directed to aqueous compositions comprising

          a) enalapril maleate in an amount of 1.00%;

          b) citric acid and sodium citrate in a total amount of 1.96% or 1.97%;




                                                                                    SLVGT-EPA_0106676
                                              Appx493
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  Art Unit: 1629

         c) sodium benzoate in an amount of 1.00%;

         d) sucralose in an amount of 0.70%;

         e) flavoring in an amount of 0.50%.



         The Applicant's attention is directed towards MPEP § 716.02, Allegations of Unexpected

  Results: "Any differences between the claimed invention and the prior art may be expected to

  result in some differences in properties. The issue is whether the properties differ to such an

  extent that the difference is really unexpected."

         In order to demonstrate unexpected results, a comparison between the claimed invention

  and the closest prior art must be evaluated. By way of comparative examples, the Applicant offers

  compositions representing Nahata, prepared using a) water, b), either citrate buffer at a pH of 5.0,

  or c) a 1:1 mixture of Ora-Plus and Ora-Sweet (Tables A and B, Figures 1 and 2).

         While Applicant has provided evidence demonstrating the unexpected stability of

  formulations E7 and E8 as compared to the compositions of Nahata, the formulations E7 and E8

  are essentially identical, and limited to a single embodiment of the claimed invention. The

  Examiner notes that the instantly claimed invention is drawn to aqueous compositions comprising

         (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or solvate

  thereof;

         (ii) a buffer comprising citric acid and sodium citrate, in any amount and in any ratio; and

         (iii) one of over twenty recited preservatives, in any amount.

  The inventive compositions of E7 and E8 are limited to compositions comprising a single, specific

  amount of enalapril; a single, specific amount and ratio of citric acid and sodium citrate; and a

  single, specific preservative (sodium benzoate) in a specific amount.

         Thus, Applicant has failed to provide data supporting the breadth of the claims. MPEP §

  716.02(d) addresses the subject of unexpected results commensurate in scope with the claimed

  invention: "Whether the unexpected results are the result of unexpectedly improved results or a



                                                                                    SLVGT-EPA_0106677
                                               Appx494
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 520 of 748 PageID #: 2711

  Application/Control Number: 16/177,159                                                                  Page 5
  Art Unit: 1629

  property not taught by the prior art, the "objective evidence of non-obviousness must be

  commensurate in scope with the claims which the evidence is offered to support." In other words,

  the showing of unexpected results must be reviewed to see if the results occur over the entire

  claimed range. See In re Peterson, 315 F.3d 1325, 1329-31, 65 USPQ2d 1379, 1382-85 (Fed.

  Cir. 2003) (data showing improved alloy strength with the addition of 2% rhenium did not evidence

  unexpected results for the entire claimed range of about 1-3% rhenium); In re Grasselli, 713 F.2d

  731, 741, 218 USPQ 769, 777 (Fed. Cir.1983) (Claims were directed to certain catalysts

  containing an alkali metal. Evidence presented to rebut an obviousness rejection compared

  catalysts containing sodium with the prior art. The court held this evidence insufficient to rebut the

  prima facie case because experiments limited to sodium were not commensurate in scope with

  the claims.). However, the subject matter circumscribed by the instant claims extends well beyond

  the metes and bounds of these discrete embodiments potentially demonstrated to exert

  unexpected results over the prior art compositions, as the Applicant has proffered a single

  aqueous composition comprising a) enalapril maleate in an amount of 1.00%; b) citric acid and

  sodium citrate in a total amount of 1.96% or 1.97%; and c) sodium benzoate in an amount of

  1.00%. As the instant claims are drawn to compositions comprising (i) about 0.6 to about 1.2

  mg/ml enalapril or a pharmaceutically acceptable salt or solvate thereof; (ii) a buffer comprising

  citric acid and sodium citrate, in any amount and in any ratio; and (iii) one of over twenty recited

  preservatives, in any amount, the claims are not commensurate in scope with the disclosed

  embodiments. Applicant has failed to address why the data from the exemplified combinations

  are indicative of unexpected results over the entire scope of subject matter instantly claimed.



                                       New Grounds of Rejection

                         Claim Rejections - 35 USC § 112, First Paragraph

         The following is a quotation of 35 U.S.C. 112(a):

         (a) IN GENERAL.—The specification shall contain a written description of the invention, and of




                                                                                            SLVGT-EPA_0106678
                                                  Appx495
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         the manner and process of making and using it, in such full, clear, concise, and exact terms as
         to enable any person skilled in the art to which it pertains, or with which it is most nearly
         connected, to make and use the same, and shall set forth the best mode contemplated by the
         inventor or joint inventor of carrying out the invention.

         The following is a quotation of 35 U.S.C. 112 (pre-AIA), first paragraph:

         The specification shall contain a written description of the invention, and of the manner and
         process of making and using it, in such full, clear, concise, and exact terms as to enable any
         person skilled in the art to which it pertains, or with which it is most nearly connected, to make
         and use the same and shall set forth the best mode contemplated by the inventor of carrying
         out his invention.

         Claims 1-11, 13-26, and 28-30 are rejected under 35 U.S.C. 112(a) or 35 U.S.C. 112 (pre-

  AIA), first paragraph, as failing to comply with the written description requirement. The claims

  contain subject matter which was not described in the specification in such a way as to reasonably

  convey to one skilled in the relevant art that the inventor or a joint inventor, or for pre-AIA the

  inventor(s), at the time the application was filed, had possession of the claimed invention.

         The written description requirement is distinct from the enablement requirement; this was

  first pointed out by the court in In re Ruschig, 379 F.2d 990, 154 USPQ 118 (CCPA 1967), and

  clarified in Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 19 USPQ2d 1111 (Fed. Cir. 1991). The

  issue of whether the claimed subject matter is adequately supported/described by the

  specification, is a question of fact. Id. at 1563, 19 USPQ2d at 1116.

         When considering whether the claimed subject matter complies with the written

  description requirement, Applicants' disclosure should be read in light of the knowledge

  possessed by those skilled in the art. See In re Lange, 644 F.2d 856, 863, 209 USPQ 288, 294.

  See also, In re Alton, 76 F.3d 1168, 37 USPQ2d 1578 (Fed. Cir. 1996).

         Applicants enjoy the presumption that their patent application is valid and all statements

  contained therein are accurate; it is the PTO's burden to demonstrate why any of Applicants

  claims should be rejected or why any of Applicant's statements should be doubted. In re

  Marzocchi, 439 F.2d 220, 224, 169 USPQ 367, 370. If successful in presenting such evidence




                                                                                                SLVGT-EPA_0106679
                                                    Appx496
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  and argument, the burden then shifts to the Applicant to provide evidence that would convince

  one to the contrary.



         The instantly claimed invention is generally drawn to compositions comprising:

         (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or solvate

  thereof;

         (ii) a buffer comprising citric acid and sodium citrate;

         (iii) a preservative selected from ascorbic acid, ascorbyl palmitate, BHA, BHT, EDTA and

  its salts, erythorbic acid, fumaric acid, malic acid, propyl gallate, sodium ascorbate, sodium

  bisulfate, sodium metabisulfite, sodium sulfite, methylparaben, ethylparaben, propylparaben,

  butylparaben, benzoic acid, sodium benzoate, potassium sorbate, and vanillin; and

         (iv) water.

         The Examiner notes that while the claims limit the amount of enalapril, the buffer and the

  preservative are present in the formulations in any amount.

         The claimed invention allegedly provides for formulations which are stable at about 5 ± 3

  2C for at least 12 months, having about 95% w/w or greater of the initial enalapril amount and

  about 5% w/w or less total impurity or related substances at the end of the given storage period,

  as recited in independent claims 1, 17, and 18. Allegedly, the recited properties of stability are the

  result of the instantly claimed combinations of active agent, buffer, preservative, and water.

         Turning to the specification, the specification discloses certain working embodiments

  representing the claimed formulations.

         Table A-1 (page 36) is directed towards liquid formulations comprising

         (i) 1.0 mg/ml enalapril maleate;

         (ii) a buffer comprising 5-12 mM of a mixture of citric acid and sodium citrate;




                                                                                      SLVGT-EPA_0106680
                                               Appx497
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         (iii) 1 mg/mL sodium benzoate; 1 mg/mL sodium benzoate and 1.75 mg/mL

  methylparaben sodium; or 0.335 mg/mL methylparaben sodium, 0.095 mg/mL propylparaben

  sodium, and 1 mg/mL potassium sorbate; and

         (iv) water.

         Table B-1 (pages 37-38) is directed towards liquid formulations comprising

         (i) 1.0 mg/ml enalapril maleate;

         (ii) a buffer comprising 1-4 mg/mL sodium citrate;

         (iii) 1 mg/mL sodium benzoate; and

         (iv) water.

         The formulations of Tables A-1 and B-1 are evaluated after heating at 60 °C. There is no

  disclosure directed towards the formulations of Table A-1 at the recited storage conditions of 5 ±

  3 °C for at least 12 months. Accordingly, the formulations of Tables A-1 and B-1 are not relevant

  to the instantly claimed invention.



         Table C-1 (page 39) is directed towards formulations formed by dissolving a powder

  formulation of enalapril in water; the resulting liquid formulations comprise

         (i) 1.0 mg/ml enalapril maleate;

         (ii) a buffer comprising 4 to 4.4 mg/mL sodium citrate;

         (iii) 0.34 mg/mL sodium methylparaben, 0.09 mg/mL sodium propylparaben, and 1.0

  mg/mL potassium sorbate; 1.0 mg/mL sodium methylparaben, 1.0 mg/mL sodium propylparaben,

  and 1.0 mg/mL sodium benzoate; or 1.0 mg/mL sodium methylparaben and 1.0 mg/mL sodium

  benzoate; and

         (iv) water.

         The formulations of Table C-1 are evaluated under storage conditions of 5 ± 3 °C for up

  to 8 weeks. However, the instantly claimed invention requires stability for up to 12 months, and

  thus, Table C-1 does not appear relevant to the claimed invention.



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                                               Appx498
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         Table D-1 (page 41) is also directed towards formulations formed by dissolving a powder

  formulation of enalapril in water; the resulting liquid formulations comprise

         (i) 1.0 mg/ml enalapril maleate;

         (ii) a buffer comprising 4 to 4.28 mg/mL sodium citrate;

         (iii) 1.0 mg/mL sodium benzoate; and

         (iv) water.

         The formulations of Table D-1 are evaluated under storage conditions of 5 ± 3 °C for up

  to 26 weeks. Again, the instantly claimed invention requires stability for up to 12 months, and

  thus, Table D-1 does not appear relevant to the claimed invention.



         Table E-1 (page 43) is directed towards liquid formulations comprising

         (i) 1.0 mg/ml enalapril maleate;

         (ii) a buffer comprising 1 to 4 mg/mL of a mixture of citric acid and sodium citrate;

         (iii) 1 mg/mL sodium benzoate; and

         (iv) water.

         The formulations of Table D-1 are evaluated under storage conditions of 5 ± 3 °C for up

  to 62 weeks.



         Table G-1 (page 45) is directed towards liquid formulations comprising

         (i) 1.0 mg/ml enalapril maleate;

         (ii) a buffer comprising 1.8 to 1.96 mg/mL of a mixture of citric acid and sodium citrate;

         (iii) 0.40 to 1 mg/mL sodium benzoate; and

         (iv) water.

         There is no disclosure regarding evaluation of storage conditions of the formulations of G-

  1, and thus, Table G-1 is not pertinent to the claimed invention.



                                                                                    SLVGT-EPA_0106682
                                               Appx499
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         Thus, the specification disclosed formulations of Table D-1 and evidence demonstrating

  that the formulations of Table D-1 provide the recited properties of at about 5 ± 3 °C for at least

  12 months, having about 95% w/w or greater of the initial enalapril amount and about 5% w/w or

  less total impurity or related substances at the end of the given storage period. The Declaration

  filed March 1, 2019 also provides working embodiments of the claimed invention. The Declaration

  dated February 2, 2017, is directed towards application 15/081,603, now US Patent 9,669,008.

  The Declaration provides embodiments of a single aqueous composition comprising a) enalapril

  maleate in an amount of 1.00%; b) citric acid and sodium citrate in a total amount of 1.96% or

  1.97%; and c) sodium benzoate in an amount of 1.00%. The comparative formulations of Nahata

  are evaluated under storage conditions of 5 ± 3 °C for up to 91 days. The inventive formulation of

  E8 is only evaluated up to 42 days; the inventive formulation of E7 is evaluated up to 581 days

  (Table A, page 5).

         Accordingly, the specification and declaration provide working embodiments of liquid

  aqueous compositions comprising

         (i) 1.0 mg/mL enalapril maleate; (ii) a buffer comprising 1 to 4 mg/mL of a mixture of citric

  acid and sodium citrate; and (iii) 1 mg/mL sodium benzoate;

         (i) 1.0 mg/mL enalapril maleate; b) a buffer comprising 1.96-1.97 mg/mL of a mixture of

  citric acid and sodium citrate; and (iii) 1 mg/mL sodium benzoate.



         The Examiner again notes that when considering whether the claimed subject matter

  complies with the written description requirement, Applicants' disclosure should be read in light

  of the knowledge possessed by those skilled in the art. See In re Lange, 644 F.2d 856, 863, 209

  USPQ 288, 294. See also, In re Alton, 76 F.3d 1168, 37 USPQ2d 1578 (Fed. Cir. 1996).

         The state of the art at the time of the invention suggests that while liquid formulations of

  enalapril were well known at the time of the invention, the long term storage stability of said



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                                              Appx500
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  formulations was not disclosed. Nahata et al., "Stability of elanapril maleate in three

  extemporaneously prepared oral liquids", Am. J. Health-Syst. Pharm., 1998, vol. 55, pages 1155-

  1157 (cited in PTO-892 dated January 25, 2019) is the closest prior art.

         Nahata teaches formulations comprising

         (i) 1 mg/ml enalapril;

         (ii) a buffer comprising citric acid and sodium citrate;

         (iii) a preservative, such as citric acid, sodium chloride, and

         (iv) water.

         Nahata also teaches an aqueous solution comprising 1 mg/ml enalapril in a mixture of

  Ora-Sweet and Ora-Plus (page 1156, column 1, paragraph 2). Ora-Sweet and Ora-Plus are

  commercially available from Paddock Laboratories (page 1157, footnotes d and e). Ora-Sweet is

  an aqueous solution comprising sucrose, glycerin, sorbitol, flavoring, citric acid, sodium

  phosphate, methylparaben, and potassium sorbate; Ora-Plus is an aqueous solution comprising

  microcrystalline cellulose, carboxymethylcellulose sodium, xanthan gum, flavoring, citric acid,

  sodium phosphate, simethicone, methylparaben, and potassium sorbate; both Ora-Sweet and

  Ora-Plus have a pH of 4.2. Thus, the formulation taught by Nahata comprising 1 mg/ml enalapril

  in a mixture of Ora-Sweet and Ora-Plus comprises

         (i) 1 mg/ml enalapril;

         (ii) citric acid;

         (iii) a preservative, such as citric acid, methylparaben, potassium sorbate; and

         (iv) water.

         The formulations comprising Ora-Sweet and Ora-Plus also comprise sweeteners and

  flavoring agents, while not containing mannitol or silicon dioxide.

         Although Nahata does not explicitly teach that the formulation is stable at about 5 ± 3 2C

  for at least 12 months, or that the formulation has about 95% w/w or greater of the initial enalapril

  amount and about 5% w/w or less total impurity or related substances at the end of the given



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                                               Appx501
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  storage period, the formulations taught by Nahata generally meet the requirements of the instantly

  claimed invention. However, the Declaration and remarks filed March 1, 2019, contend that the

  instantly claimed formulations provide unexpected stability over the prior art formulations.

         Regarding the requirement for adequate written description, Applicant's attention is

  directed to MPEP § 2163. In particular, Regents' of the University of California v. Eli Lilly & Co.,

  119 F.3d 1559, 1568 (Fed. Cir. 1997), cert. denied, 523 U.S. 1089, 118 S. Ct. 1548 (1998), holds

  that an adequate written description requires a precise definition, such as by structure, formula,

  chemical name, or physical properties, "not a mere wish or plan for obtaining the claimed chemical

  invention." Eli Lilly, 119 F.3d at 1566. The Federal Circuit has adopted the standard set forth in

  the Patent and Trademark Office ("PTO") Guidelines for Examination of Patent Applications under

  the 35 U.S.C. 112.1 "Written Description" Requirement ("Guidelines"), 66 Fed. Reg. 1099 (Jan.

  5, 2001), which state that the written description requirement can be met by "showing that an

  invention is complete by disclosure of sufficiently detailed, relevant identifying characteristics,"

  including "functional characteristics when coupled with a known or disclosed correlation between

  function and structure..." Enzo Biochem v. Gen-Probe Inc., 296 F.3d 316, 1324-25 (Fed. Cir.

  2002) (quoting Guidelines, 66 Fed. Reg. at 1106. Moreover, although Eli Lilly and Enzo were

  decided within the factual context of DNA sequences, this does not preclude extending the

  reasoning of those cases to chemical structures in general. Univ. of Rochester v. G.D. Searle &

  Co., 249 Supp. 2d 216, 225 (W.D.N.Y. 2003).

         The specification and declaration provide working embodiments representing the instantly

  claimed invention in the form of liquid aqueous compositions comprising

         (i) 1.0 mg/mL enalapril maleate; (ii) a buffer comprising 1 to 4 mg/mL of a mixture of citric

  acid and sodium citrate; and (iii) 1 mg/mL sodium benzoate;

         (i) 1.0 mg/mL enalapril maleate; b) a buffer comprising 1.96-1.97 mg/mL of a mixture of

  citric acid and sodium citrate; and (iii) 1 mg/mL sodium benzoate.




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                                               Appx502
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         While such disclosure has been acknowledged, it is noted that the claimed subject matter

  extends far beyond these select embodiments potentially demonstrated to have unexpected long-

  term stability as compared to the formulations of Nahata. The instant claims are drawn to

  compositions comprising (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically

  acceptable salt or solvate thereof; (ii) a buffer comprising citric acid and sodium citrate, in any

  amount and in any ratio; and (iii) one of over twenty recited preservatives, in any amount.

  However, Applicant has failed to provide a limiting definition via the disclosure of relevant

  structural characteristics or physical properties that would provide adequate written description of

  the genus of formulations capable of achieving the required long-term stability to demonstrate

  that Applicant was actually in possession of the breadth of the claimed invention at the time of the

  invention.

         MPEP § 2163 recites, "The written description requirement for a claimed genus may be

  satisfied through sufficient description of a representative number of species by actual reduction

  to practice, reduction to drawings, or by disclosure of relevant identifying characteristics, i.e.,

  structure or other physical and/or chemical properties, by functional characteristics coupled with

  a known of disclosed correlation between function and structure, or by a combination of such

  identifying characteristics, sufficient to show the Applicant was in possession of the claimed

  genus." The Applicant's attention is directed to Eli Lilly, 119 F.3d at 1568, 43 USPQ2d at 1406.

         Although the Applicants have disclosed a select number of embodiments of the claimed

  invention, there is no disclosure, either explicitly or with sound basis to support the breadth of the

  claimed invention, particularly the allegedly unexpected long-term stability that Applicant

  contends is the inventive concept of the claimed formulations. Although one would generally

  recognize that a preservative could be substituted for another preservative, Applicant has failed

  to provide a limiting definition via the disclosure of relevant physical properties as being

  responsible for the function of the formulation that would provide adequate written description of

  the genus of formulations which would be stable at about 5 ± 3 2C for at least 12 months, having



                                                                                      SLVGT-EPA_0106686
                                               Appx503
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  about 95% w/w or greater of the initial enalapril amount and about 5% w/w or less total impurity

  or related substances at the end of the given storage period. Thus, Applicants have not

  adequately described the invention for the breadth that is claimed. It thus appears that Applicants

  were not in possession of the claimed invention at the time the application was filed, the

  boundaries of the genus have not been adequately set forth, and the limited number of exemplified

  compositions would not support the breadth of the claimed genus.

         Accordingly, the claims are considered to lack sufficient written description and are

  properly rejected under 35 U.S.C. 112, first paragraph.



                                       Maintained Rejections

                                         Double Patenting

         The nonstatutory double patenting rejection is based on a judicially created doctrine

  grounded in public policy (a policy reflected in the statute) so as to prevent the unjustified or

  improper timewise extension of the "right to exclude" granted by a patent and to prevent possible

  harassment by multiple assignees. A nonstatutory double patenting rejection is appropriate where

  the conflicting claims are not identical, but at least one examined application claim is not

  patentably distinct from the reference claim(s) because the examined application claim is either

  anticipated by, or would have been obvious over, the reference claim(s). See, e.g., In re Berg,

  140 F.3d 1428, 46 USPQ2d 1226 (Fed. Cir. 1998); In re Goodman, 11 F.3d 1046, 29 USPQ2d

  2010 (Fed. Cir. 1993); In re Longi, 759 F.2d 887, 225 USPQ 645 (Fed. Cir. 1985); In re Van

  Ornum, 686 F.2d 937, 214 USPQ 761 (CCPA 1982); In re Vogel, 422 F.2d 438, 164 USPQ 619

  (CCPA 1970); In re Thorington, 418 F.2d 528, 163 USPQ 644 (CCPA 1969).

         A timely filed terminal disclaimer in compliance with 37 CFR 1.321(c) or 1.321(d) may be

  used to overcome an actual or provisional rejection based on nonstatutory double patenting

  provided the reference application or patent either is shown to be commonly owned with the

  examined application, or claims an invention made as a result of activities undertaken within the



                                                                                   SLVGT-EPA_0106687
                                              Appx504
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  scope of a joint research agreement. See MPEP § 717.02 for applications subject to examination

  under the first inventor to file provisions of the AIA as explained in MPEP § 2159. See MPEP §§

  706.02(1)(1) - 706.02(1)(3) for applications not subject to examination under the first inventor to file

  provisions of the AIA. A terminal disclaimer must be signed in compliance with 37 CFR 1.321(b).

          The USPTO Internet website contains terminal disclaimer forms which may be used.

  Please visit www.uspto.gov/patent/patents-forms. The filing date of the application in which the

  form is filed determines what form (e.g., PTO/SB/25, PTO/SB/26, PTO/AIA/25, or PTO/AIA/26)

  should be used. A web-based eTerminal Disclaimer may be filled out completely online using

  web-screens. An eTerminal Disclaimer that meets all requirements is auto-processed and

  approved immediately upon submission. For more information about eTerminal Disclaimers, refer

  to www.uspto.gov/patents/process/file/efs/guidance/eTD-info-I.jsp.



         Claims 1-30 are rejected on the ground of nonstatutory double patenting as being

  unpatentable over claims 1-20 of U.S. Patent No. 9,669,008, herein referred to as `008. Although

  the claims at issue are not identical, they are not patentably distinct from each other.

         Claims 1-20 are of `008 are generally drawn towards stable oral liquid formulations

  comprising enalapril, a buffer comprising citric acid and sodium citrate dehydrate; a preservative

  that is sodium benzoate; and water; wherein the pH of the formulation is less than about 3.5;

  wherein the formulation is stable at about 5±3 °C for at least 12 months. Claim 18 is drawn to a

  particular species of composition, namely, a stable oral liquid formulation, consisting essentially

  of: (i) about 1 mg/ml enalapril maleate; (ii) about 0.70 mg/ml sucralose; (iii) a buffer comprising

  about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium citrate dihydrate; (iv) about 1 mg/ml

  sodium benzoate; (v) a flavoring agent; (vi) water; wherein the pH of the formulation is less than

  about 3.5; wherein the formulation is stable at about 5±3 °C for at least 12 months. Thus, claims

  1-20 of `008 are drawn to a species of the instantly claimed formulation. The ordinarily skilled




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                                                Appx505
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  artisan would find it prima facie obvious to arrive at the instantly claimed invention in view of the

  methods of use described in claims 1-20 of `008.

             Accordingly, the instantly claimed invention is an obvious variant of the invention claimed

  in `008.




             Claims 1-30 are rejected on the ground of nonstatutory double patenting as being

  unpatentable over claims 1-30 of U.S. Patent No. 9,808,442, herein referred to as `442. Although

  the claims at issue are not identical, they are not patentably distinct from each other.

             Claims 1-30 are of `442 are generally drawn towards methods of treating hypertension,

  heart failure, and left ventricular dysfunction in a subject, comprising administering a stable oral

  liquid formulation comprising enalapril; a buffer comprising citric acid and sodium citrate

  dehydrate; a preservative that is sodium benzoate; and water; wherein the pH of the formulation

  is less than about 3.5; wherein the formulation is stable at about 5±3 °C for at least 12 months.

  Thus, claims 1-30 of `442 are drawn to methods of use of a species of the instantly claimed

  formulation. The ordinarily skilled artisan would find it prima facie obvious to arrive at the instantly

  claimed invention in view of the methods of use described in claims 1-30 of `442.

             Accordingly, the instantly claimed invention is an obvious variant of the invention claimed

  in `442.




             Claims 1-30 are rejected on the ground of nonstatutory double patenting as being

  unpatentable over claims 1-20 of U.S. Patent No. 10,039,745, herein referred to as `745. Although

  the claims at issue are not identical, they are not patentably distinct from each other.

             Claims 1-20 are of `745 are generally drawn towards stable oral liquid formulations

  comprising enalapril, a buffer comprising citric acid and sodium citrate dehydrate; a preservative



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                                                 Appx506
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  that is sodium benzoate; and water; wherein the formulation is stable at about 5±3 °C for at least

  12 months. Thus, claims 1-20 of `745 are generally drawn towards a species of the instantly

  claimed formulation. The ordinarily skilled artisan would find it prima facie obvious to arrive at the

  instantly claimed invention in view of the methods of use described in claims 1-20 of `745.

             Accordingly, the instantly claimed invention is an obvious variant of the invention claimed

  in `745.




             Claims 1-30 are rejected on the ground of nonstatutory double patenting as being

  unpatentable over claims 1-30 of U.S. Patent No. 10,154,987, herein referred to as `987. Although

  the claims at issue are not identical, they are not patentably distinct from each other.

             Claims 1-30 are of `987 are generally drawn towards methods of treating hypertension,

  heart failure, and left ventricular dysfunction in a subject, comprising administering a stable oral

  liquid formulation comprising enalapril; a buffer comprising citric acid and sodium citrate

  dehydrate; a preservative that is sodium benzoate; and water; wherein the pH of the formulation

  is less than about 3.5; wherein the formulation is stable at about 5±3 °C for at least 12 months.

  Thus, claims 1-30 of `987 are drawn to a method of using a species of the instantly claimed

  formulation. The ordinarily skilled artisan would find it prima facie obvious to arrive at the instantly

  claimed invention in view of the methods of use described in claims 1-30 of `987.

             Accordingly, the instantly claimed invention is an obvious variant of the invention claimed

  in `987.



                                         Response to Arguments

             Applicant has stated that Applicant has submitted terminal disclaimers with respect to US

  Patent Nos. 9,669,008; 9,808,442; 10,039,745; and 10,154,987. However, a terminal disclaimer

  has not been filed. Further, the Applicant failed to provide remarks directed at the propriety of the



                                                                                        SLVGT-EPA_0106690
                                                 Appx507
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  double patenting rejection itself. In view of this, and the fact that no patentable subject matter has

  yet been identified, the obviousness double patenting rejections are hereby maintained.



                                              Conclusion

         No claims are allowed in this application.

         THIS ACTION IS MADE FINAL. Applicant is reminded of the extension of time policy as

  set forth in 37 CFR 1.136(a).

         A shortened statutory period for reply to this final action is set to expire THREE MONTHS

  from the mailing date of this action. In the event a first reply is filed within TWO MONTHS of the

  mailing date of this final action and the advisory action is not mailed until after the end of the

  THREE-MONTH shortened statutory period, then the shortened statutory period will expire on the

  date the advisory action is mailed, and any extension fee pursuant to 37 CFR 1.136(a) will be

  calculated from the mailing date of the advisory action. In no event, however, will the statutory

  period for reply expire later than SIX MONTHS from the mailing date of this final action.

         Any inquiry concerning this communication or earlier communications from the examiner

  should be directed to Stephanie Springer whose telephone number is 571-270-7380. The

  examiner can normally be reached on Monday through Thursday from 8 am to 5 pm.

         If attempts to reach the examiner by telephone are unsuccessful, the examiner's

  supervisor, Jeffrey Lundgren, can be reached on 571-272-5541. The fax phone number for the

  organization where this application or proceeding is assigned is 571-270-8380.

         Information regarding the status of an application may be obtained from the Patent

  Application Information Retrieval (PAIR) system. Status information for published applications

  may be obtained from either Private PAIR or Public PAIR. Status information for unpublished

  applications is available through Private PAIR only. For more information about the PAIR system,

  see http://portal.uspto.gov/external/portal. Should you have questions on access to the Private

  PAIR system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free).



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                                               Appx508
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                                                 /Stephanie Springer/
                                                 Examiner, Art Unit 1629

  /JEFFREY S LUNDGREN/
  Supervisory Patent Examiner, Art Unit 1629




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                                           Appx509
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as the term of said prior patent is presently shortened by any terminal disclaimer. The owner hereby agrees that any patent so
granted on the instant application shall be enforceable only for and during such period that it and the prior patent are commonly
owned. This agreement runs with any patent granted on the instant application and is binding upon the grantee, its successors
or assigns.

In making the above disclaimer, the owner does not disclaim the terminal part of the term of any patent granted on the instant
application that would extend to the expiration date of the full statutory term of the prior patent, "as the term of said prior patent
is presently shortened by any terminal disclaimer," in the event that said prior patent later:
- expires for failure to pay a maintenance fee;
- is held unenforceable;
- is found invalid by a court of competent jurisdiction;
- is statutorily disclaimed in whole or terminally disclaimed under 37 CFR 1.321;
- has all claims canceled by a reexamination certificate;
- is reissued; or
- is in any manner terminated prior to the expiration of its full statutory term as presently shortened by any terminal disclaimer.


®     Terminal disclaimer fee under 37 CFR 1.20(d) is included with Electronic Terminal Disclaimer request.


      I certify, in accordance with 37 CFR 1.4(d)(4), that the terminal disclaimer fee under 37 CFR 1.20(d)
O     required for this terminal disclaimer has already been paid in the above-identified application.

Applicants claims the following fee status:


O Small Entity

O Micro Entity

0 Regular Undiscounted


I hereby declare that all statements made herein of my own knowledge are true and that all statements made on information and
belief are believed to be true; and further that these statements were made with the knowledge that willful false statements and
the like so made are punishable by fine or imprisonment, or both, under Section 1001 of Title 18 of the United States Code and
that such willful false statements may jeopardize the validity of the application or any patent issued thereon.


 THIS PORTION MUST BE COMPLETED BY THE SIGNATORY OR SIGNATORIES

 I certify, in accordance with 37 CFR 1.4(d)(4) that I am:


®    An attorney or agent registered to practice before the Patent and Trademark Office who is of record in
     this application

        Registration Number 67024


O    A sole inventor

     A joint inventor; I certify that I am authorized to sign this submission on behalf of all of the inventors as evidenced by the
O    power of attorney in the application

O    A joint inventor; all of whom are signing this request

                                                                                                         SLVGT-EPA_0106713
                                                              Appx510
    Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 536 of 748 PageID #: 2727
 Signature
                                     /Clark Lin/

 Name
                                     Clark Y. Lin


*Statement under 37 CFR 3.73(b) is required if terminal disclaimer is signed by the assignee (owner).
Form PTO/SB/96 may be used for making this certification. See MPEP § 324.




                                                                                                        SLVGT-EPA_0106714
                                                           Appx511
         Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 537 of 748 PageID #: 2728


Doc Code: DISQ.E.FILE
Document Description: Electronic Terminal Disclaimer - Approved




Application No.: 16177159

Filing Date:       31-Oct-2018

Applicant/Patent under Reexamination:       Mosher



Electronic Terminal Disclaimer filed on   August 1, 2019




  M      APPROVED


               This patent is subject to a terminal disclaimer



         DISAPPROVED




Approved/Disapproved by: Electronic Terminal Disclaimer automatically approved by EFS-Web




U.S. Patent and Trademark Office




                                                                                            SLVGT-EPA_0106717
                                                                 Appx512
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 538 of 748 PageID #: 2729

  Doc Code: A.NE.AFCP
  Document Description: After Final Consideration Pilot Program Request


                          CERTIFICATION AND REQUEST FOR CONSIDERATION UNDER THE
                                AFTER FINAL CONSIDERATION PILOT PROGRAM 2.0
  Practitioner Docket No.:                          Application No.:                                Filing Date:

  43060-707.304                                     16/177 159  7                                  October 31, 2018
  First Named Inventor:                             Title:

  Gerold L. MOSHER                                  ENALAPRIL FORMULATIONS
  APPLICANT HEREBY CERTIFIES THE FOLLOWING AND REQUESTS CONSIDERATION UNDER THE AFTER FINAL CONSIDERATION PILOT
  PROGRAM 2.0 (AFCP 2.0) OF THE ACCOMPANYING RESPONSE UNDER 37 CFR 1.116.
  1.          The above-identified application is (i) an original utility, plant, or design nonprovisional application filed under
              35 U.S.C. 111(a) [a continuing application (e.g., a continuation or divisional application) is filed under 35 U.S.C. 111(a) and is
              eligible under (i)j, or (ii) an international application that has entered the national stage in compliance with 35 U.S.C. 371(c).
  2.          The above-identified application contains an outstanding final rejection.
  3.          Submitted herewith is a response under 37 CFR 1.116 to the outstanding final rejection. The response includes an
              amendment to at least one independent claim, and the amendment does not broaden the scope of the independent claim in
              any aspect.
  4.          This certification and request for consideration under AFCP 2.0 is the only AFCP 2.0 certification and request filed in
              response to the outstanding final rejection.
  5.          Applicant is willing and available to participate in any interview requested by the examiner concerning the present response.
  6.          This certification and request is being filed electronically using the Office's electronic filing system (EFS-Web).
  7.          Any fees that would be necessary consistent with current practice concerning responses after final rejection under 37 CUR
              1.116, e.g., extension of time fees, are being concurrently filed herewith. [There is no additional fee required to request
              consideration under AFCP 2.0.j
  8.          By filing this certification and request, applicant acknowledges the following:
       •      Reissue applications and reexamination proceedings are not eligible to participate in AFCP 2.0.
       •      The examiner will verify that the AFCP 2.0 submission is compliant, i.e., that the requirements of the program have been meT.
              (see items 1 to 7 above). For compliant submissions:
                    o   The examiner will review the response under 37 CFR 1.116 to determine if additional search and/or consideration
                        (i) is necessitated by the amendment and (ii) could be completed within the time allotted under AFCP 2.0. If
                        additional search and/or consideration is required but cannot be completed within the allotted time, the examiner
                        will process the submission consistent with current practice concerning responses after final rejection under
                         37 CFR 1.116, e.g., by mailing an advisory action.
                    o   If the examiner determines that the amendment does not necessitate additional search and/or consideration, or if
                         the examiner determines that additional search and/or consideration is required and could be completed within
                        the allotted time, then the examiner will consider whether the amendment places the application in condition for
                        allowance (after completing the additional search and/or consideration, if required). If the examiner determines
                        that the amendment does not place the application in condition for allowance, then the examiner will contact the
                        applicant and request an interview.
                               n    The interview will be conducted by the examiner, and if the examiner does not have negotiation
                                    authority, a primary examiner and/or supervisory patent examiner will also participate.
                               •    If the applicant declines the interview, or if the interview cannot be scheduled within ten (10) calendar
                                    days from the date that the examiner first contacts the applicant, then the examiner will proceed
                                    consistent with current practice concerning responses after final rejection under 37 CFR 1.116.
  Signature                                                                 Date

  /Clark Lin/                                                               August 1, 2019
  Name                                                                      Practitioner
  (Print/Typed)                                                             Registration No.
                  Clark Y. Lin                                                                 67,024
  Note: This form must he signed in accordance with 37 CFR 1.33. See 37 CFR 1.4(d) for signature requirements and certifications. Submit multiple
  forms if more than one signature is required, see below'.

  FI * Total of 1            forms are submitted.




                                                                                                                         SLVGT-EPA_0106720
                                                                    Appx513
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   Electronically Filed: August 1, 2019                             Attorney Docket No.: 43060-707.304



                  IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re the Application of:                                 Group Art Unit:        1629

Inventors:        Gerold L. Mosher, et al.                Confirmation No.: 3572

Serial No.:       16/177,159
                                                          Examiner:              SPRINGER, Stephanie K.
Filed:            October 31, 2018
                                                          Customer No.:          21971
Title:            ENALAPRIL FORMULATIONS
                                                                         Certificate of Electronic Filing
                                                          I hereby certify that the attached Response and all accompanying
                                                          papers is being deposited by Electronic Filing on August 1,
                                                          2019, by using the EFS — Web patent filing system and
                                                          addressed to: Commissioner for Patents, P.O. Box 1450,
                                                          Alexandria, VA 22313-1450.

                                                          By:                /Rose Andico/
                                                                              Rose Andico

   Mail Stop AF
   Commissioner for Patents
   P.O. Box 1450
   Alexandria, VA 22313-1450

     RESPONSE TO FINAL OFFICE ACTION WITH REQUEST FOR CONSIDERATION
           UNDER THE AFTER FINAL CONSIDERATION PILOT PROGRAM

   Dear Commissioner:
              This paper is a response to the Final Office Action mailed on June 24, 2019. The
   Commissioner is hereby authorized to charge any fees associated with the filing of this response
   to Deposit Account No. 23-2415, referencing Docket No. 43060-707.304.
              Prior to reconsidering this application on the merits, please amend the application as
   follows:
              Amendments to the Claims begin on page 2.
              Remarks begin on page 6.
              The Conclusion is on page 8.




                                                                                                SLVGT-EPA_0106721
                                                   Appx514
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  U.S. Patent Application No. 16/177,159                        Attorney Docket No.: 43060-707.304
  Response to the Final Office Action dated June 24, 2019


                                       Amendments to the Claims
         This listing of claims will replace all prior versions, amendments and listings of claims in
  this application. The following amendments do not constitute an admission regarding the
  patentability of the amended subject matter and should not be so construed. Applicant reserves
  the right to pursue the subject matter of the withdrawn claims in this or any other appropriate
  patent application.


  Listing of the Claims:
  1. (Currently Amended) A stable oral liquid formulation, comprising:
                (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or
     solvate thereof;
                (ii) a buffer comprising about 1-4 mg/ml of a mixture of citric acid and sodium
     citrate;
                (iii) about 1 mg/ml[[a]] preservative, wherein the preservative is selected from
     ascorbic acid, ascorbyl palmitate, BHA, BHT, EDTA and its salts, erythorbic acid, fumaric
     acid, malic acid, propyl gallate, sodium ascorbate, sodium bisulfate, sodium metabisulfite,
     sodium sulfite, methylparaben, ethylparaben, propylparaben, butylparaben, benzoic acid,
     sodium benzoate, potassium sorbate, and vanillin; and
                (iv) water;
                   wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
                   wherein the stable oral liquid formulation has about 95% w/w or greater of the
         initial enalapril amount and about 5% w/w or less total impurity or related substances at
         the end of the given storage period.

  2. (Previously Presented) The stable oral liquid formulation of claim 1 further comprising a
     sweetener.

  3. (Previously Presented) The stable oral liquid formulation of claim 2, wherein the sweetener
     is sucralose.

  4. (Previously Presented) The stable oral liquid formulation of claim 1 further comprising a
     flavoring agent.


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                                                                                      SLVGT-EPA_0106722
                                                 Appx515
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  U.S. Patent Application No. 16/177,159                        Attorney Docket No.: 43060-707.304
  Response to the Final Office Action dated June 24, 2019


  5. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation does not contain mannitol.

  6. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation does not contain silicon dioxide.

  7. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the buffer
     comprises about 0.8 to about 3.5 mg/ml citric acid.

  8. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the buffer
     comprises about 0.1 to about 0.8 mg/ml sodium citrate.

  9. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the pH of the
     stable oral liquid formulation is less than about 3.5.

  10. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the pH of the
     stable oral liquid formulation is between about 3 and about 3.5.

  11. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the pH of the
     stable oral liquid formulation is about 3.3.

  12. (Canceled)

  13. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     preservative is sodium benzoate.

  14. (Canceled)

  15. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation is stable at about 5 ± 3° C for at least 18 months.

  16. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation is stable at about 5 ± 3° C for at least 24 months.

  17. (Currently Amended) A stable oral liquid formulation, consisting essentially of:
                (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or
     solvate thereof;
                (ii) a buffer comprising about 1-4 mg/ml of a mixture of citric acid and sodium
     citrate;


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                                                                                      SLVGT-EPA_0106723
                                                 Appx516
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  U.S. Patent Application No. 16/177,159                     Attorney Docket No.: 43060-707.304
  Response to the Final Office Action dated June 24, 2019


             (iii) about 1 mg/ml[[a]] preservative, wherein the preservative is selected from
     ascorbic acid, ascorbyl palmitate, BHA, BHT, EDTA and its salts, erythorbic acid, fumaric
     acid, malic acid, propyl gallate, sodium ascorbate, sodium bisulfate, sodium metabisulfite,
     sodium sulfite, methylparaben, ethylparaben, propylparaben, butylparaben, benzoic acid,
     sodium benzoate, potassium sorbate, and vanillin; and
             (iv) water;
             wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
             wherein the stable oral liquid formulation has about 95% w/w or greater of the initial
     enalapril amount and about 5% w/w or less total impurity or related substances at the end of
     the given storage period.

  18. (Currently Amended) A stable oral liquid formulation, comprising:
             (i) about 10% to about 25% (w/w of solids) enalapril or a pharmaceutically
     acceptable salt or solvate thereof;
             (ii) a buffer comprising about 17% to about 47% (w/w of solids) citric acid and about
     1% to about 11% (w/w of solids) sodium citrate;
             (iii) about 19.3%1% to about 30% (w/w of solids) of a preservative, wherein the
     preservative is selected from ascorbic acid, ascorbyl palmitate, BHA, BHT, EDTA and its
     salts, erythorbic acid, fumaric acid, malic acid, propyl gallate, sodium ascorbate, sodium
     bisulfate, sodium metabisulfite, sodium sulfite, methylparaben, ethylparaben, propylparaben,
     butylparaben, benzoic acid, sodium benzoate, potassium sorbate, and vanillin; and
             (iv) water;
             wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
             wherein the stable oral liquid formulation has about 95% w/w or greater of the initial
     enalapril amount and about 5% w/w or less total impurity or related substances at the end of
     the given storage period.

  19. (Previously Presented) The stable oral liquid formulation of claim 18 further comprising a
     sweetener.

  20. (Previously Presented) The stable oral liquid formulation of claim 19, wherein the sweetener
     is sucralo se.


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                                                                                   SLVGT-EPA_0106724
                                              Appx517
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  U.S. Patent Application No. 16/177,159                      Attorney Docket No.: 43060-707.304
  Response to the Final Office Action dated June 24, 2019


  21. (Previously Presented) The stable oral liquid formulation of claim 18 further comprising a
     flavoring agent.

  22. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the
     formulation does not contain mannitol.

  23. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the
     formulation does not contain silicon dioxide.

  24. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the pH of the
     stable oral liquid formulation is less than about 3.5.

  25. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the pH of the
     stable oral liquid formulation is between about 3 and about 3.5.

  26. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the pH of the
     stable oral liquid formulation is about 3.3.

  27. (Canceled)

  28. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the
     preservative is sodium benzoate.

  29. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the
     formulation is stable at about 5 ± 3° C for at least 18 months.

  30. (Previously Presented) The stable oral liquid formulation of claim 18, wherein the
     formulation is stable at about 5 ± 3° C for at least 24 months.




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                                                                                  SLVGT-EPA_0106725
                                               Appx518
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  Electronically Filed: August 1, 2019                         Attorney Docket No.: 43060-707.304


                                             REMARKS
         Claims 1-11, 13, 15-26, and 28-30 are pending in this application. By way of this
  response, claims 1, 17, and 18 have been amended, and claim 14 has been canceled. No new
  matter is presented by way of the amendments.
         Withdrawal of any subject matter herein does not constitute an admission that the subject
  matter is unpatentable for any reason and Applicant reserves the right to file claims directed to
  withdrawn subject matter in this or a related application.


  Rejection Under 35 U.S.C. 112(a)
         Claims 1-11, 13, 15-26, and 28-30 are rejected under 35 U.S.C. § 112(a) as failing to
  comply with the written description requirement. Specifically, the Office noted that "while the
  claims limit the amount of enalapril, the buffer and the preservative are present in the
  formulations in any amount."
         Without acquiescing to the Office's rejection but solely in an effort to expedite
  prosecution, claims 1 and 17 have been amended to recite "(ii) a buffer comprising about 1-4
  mg/ml of a mixture of citric acid and sodium citrate; (iii) about 1 mg/ml preservative, wherein
  the preservative is...." Claim 18 has been amended similarly in a % w/w format.
         Accordingly, Applicant respectfully requests the rejections be withdrawn.

  Double Patenting Objection
         Claims 1-11, 13, 15-26, and 28-30 are rejected on the ground of nonstatutory double
  patenting as being unpatentable over claims 1-20 of U.S. Patent No. 9,669,008, claims 1-30 of
  U.S. Patent No. 9,808,442, claims 1-20 of U.S. Patent No. 10,039,745, and claims 1-30 of U.S.
  Patent No. 10,154,987.
         Without acquiescing in this ground of rejection and solely in an effort to expedite
  prosecution, Applicant hereby submits Terminal Disclaimers with respect to U.S. Patent No.
  9,669,008, U.S. Patent No. 9,808,442, U.S. Patent No. 10,039,745, and U.S. Patent No.
  10,154,987, as well as U.S. Appl. Ser. No. 16/242,898.
         The Terminal Disclaimers obviate the present rejections. Accordingly, Applicant
  respectfully requests that the rejections be withdrawn.




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                                                                                     SLVGT-EPA_0106726
                                               Appx519
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  U.S. Patent Application No. 16/177,159                      Attorney Docket No.: 43060-707.304
  Response to the Final Office Action dated June 24, 2019


         In view of the remarks and amendments submitted herein, Applicant believes that the
  Application is in condition for allowance and such action is earnestly solicited.




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                                                                                      SLVGT-EPA_0106727
                                               Appx520
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  U.S. Patent Application No. 16/177,159                      Attorney Docket No.: 43060-707.304
  Response to the Final Office Action dated June 24, 2019


                                          CONCLUSION
         Applicant submits that this response fully addresses the Office Action mailed on
  June 24, 2019. Applicant believes that for the reasons set forth herein the pending claims are in
  condition for allowance and early and favorable consideration is respectfully requested.
         Should the Examiner have any questions or concerns, the Examiner is encouraged to
  contact the undersigned attorney at (617) 598-7823.
                                               Respectfully submitted,
                                               WILSON SONSINI GOODRICH & ROSATI
                                               Professional Corporation



  Date: August 1, 2019                         By: /Clark Lin/
                                                  Clark Y. Lin, Ph.D., Esq.
                                                  Reg. No. 67,024

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  Palo Alto, CA 94304
  Direct Dial: (858) 350-2306
  Customer No. 021971




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                                                                                   SLVGT-EPA_0106728
                                              Appx521
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                                                                           Attorney Docket No. 43060-707.304
                                                                                                   PATENT

                    IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


   Inventor:                   MOSHER; Gerold L. et            Group Art Unit:                1629
                               al.
   Serial Number:               16/177,159                     Examiner:                      SPRINGER,
                                                                                              Stephanie K.
   Filing or 371 (c) Date:     2018-10-31                      CONFIRMATION NO:               3572

   Title:                      ENALAPRIL
                               FORMULATIONS



                                FILED ELECTRONICALLY ON: August 23, 2019

  Commissioner for Patents
  P.O. Box 1450
  Alexandria VA 22313-1450

                             INFORMATION DISCLOSURE STATEMENT
                                     UNDER 37 CFR & 1.97

  Commissioner for Patents:

            An Information Disclosure Statement along with attached PTO/SB/08 is hereby submitted. A
  copy of each listed publication is submitted, if required, pursuant to 37 CFR §§1.97-1.98, as indicated
  below.
            The Examiner is requested to review the information provided and to make the information of
  record in the above-identified application. The Examiner is further requested to initial and return the
  attached PTO/SB/08 in accordance with MPEP § 609.
            The right to establish the patentability of the claimed invention over any of the information
  provided herewith, and/or to prove that this information may not be prior art, and/or to prove that this
  information may not be enabling for the teachings purportedly offered, is hereby reserved.
            This statement is not intended to represent that a search has been made or that the information
  cited in the statement is, or is considered to be, prior art or material to patentability as defined in § 1.56.




                                                          1
  Attorney Docket No. 43060-707.304
                                                                                                SLVGT-EPA_0106739
                                                     Appx522
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  A. ❑ 37 CFR § 1.97 (b). This Information Disclosure Statement should be considered by the Office
     because:
                   (1)     It is being filed within 3 months of the filing date of a national application and is
                           other than a continued prosecution application under § 1.53 (d);
                                    -- OR --
           ❑       (2)      It is being filed within 3 months of entry of the national stage as set forth in §
                            1.491 in an international application;
                                    -- OR --
           ❑       (3)      It is being filed before the mailing of a first Office action on the merits;
                                    -- OR --
           ❑       (4)      It is being filed before the mailing of a first Office action after the filing of a
                            request for continued examination under § 1.114.
  B. Z 37 CFR § 1.97(c). Although this Information Disclosure Statement is being filed after the period
     specified in 37 CFR § 1.97(b), above, it is filed before the mailing date of the earlier of (1) a final
     office action under § 1.113, (2) a notice of allowance under § 1.311, or (3) an action that otherwise
     closes prosecution in the application, this Information Disclosure Statement should be considered
     because it is accompanied by one of:
                   a statement as specified in §1.97 (e) provided concurrently herewith;
                                    -- OR --
           ❑       a fee of $240.00 as set forth in § 1.17 (p) authorized below, enclosed, or included with
                   the payment of other papers filed together with this statement.
  C.   n   37 CFR § 1.97 (d). Although this Information Disclosure Statement is being filed after the
       mailing date of the earlier of (1) a final office action under § 1.113, (2) a notice of allowance under §
       1.311, or (3) an action that otherwise closes prosecution in the application, it is being filed before
       payment of the issue fee and should be considered because it is accompanied by:
                   i. a statement as specified in § 1.97 (e);
                            -- AND --
                   ii. a fee of $240.00 as set forth in §1.17(p) is authorized below, enclosed, or included
                       with the payment of other papers filed together with this Statement.
  D. Z     37 CFR §1.97 (e). Statement.

           ❑       A statement is provided herewith to satisfy the requirement under 37 CFR §§ 1.97 (c);
                                    -- AND/OR --
           ❑       A statement is provided herewith to satisfy the requirement under 37 CFR §§ 1.97 (d);
                                    -- AND/OR --
                   A copy of a dated communication from a foreign patent office clearly showing that the
                   information disclosure statement is being submitted within 3 months of the filing date on
                   the communication is provided in lieu of a statement under 37 C.F.R. § 1.97(e) (1) as
                   provided for under MPEP 609.04(b) V.



                                                         2
  Attorney Docket No. 43060-707.304
                                                                                               SLVGT-EPA_0106740
                                                    Appx523
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  E. ❑ Statement Under 37 C.F.R. §1.704(d). Each item of information contained in the information
     disclosure statement was first cited in any communication from a patent office in a counterpart
     foreign or international application or from the Office or is a communication that was issued by a
     patent office in a counterpart foreign or international application or by the Office that was received by
     an individual designated in § 1.56(c) not more than thirty (30) days prior to the filing of this
     information disclosure statement. This statement is made pursuant to the requirements of 37 C.F.R.
     §1.704(d) to avoid reduction of the period of adjustment of the patent term for Applicant(s) delay.
  F. [Z] 37 CFR §1.98 (a) (2). The content of the Information Disclosure Statement is as follows:
          ❑       Copies of each of the references listed on the attached Form PTO/SB/08 are enclosed
                  herewith.
                                   -- OR --
          ❑       Copies of U.S. Patent Documents (issued patents and patent publications) listed on the
                  attached Form PTO/SB/08 are not enclosed.
                                   -- AND/OR --
                  Copies of Foreign Patent Documents and/or Non Patent Literature Documents listed on
                  the attached Form PTO/SB/08 are enclosed in accordance with 37 CFR §1.98 (a)(2).
                                   -- AND/OR --
                  Copies of pending unpublished U.S. patent applications are enclosed in accordance with
                  37 CFR §1.98 (a) (2) (iii).
  G. ❑ 37 CFR §1.98(a)(3). The Information Disclosure Statement includes non-English patents and/or
     references.
          ❑       Pursuant to 37 CFR §1.98(a)(3)(i), a concise explanation of the relevance of each patent,
                  publication or other information provided that is not in English is provided herewith.
                  ❑       Pursuant to MPEP 609(B), an English language copy of a foreign search report is
                          submitted herewith to satisfy the requirement for a concise explanation where
                          non-English language information is cited in the search report.
                                   -- OR --
                          A concise explanation of the relevance of each patent, publication or other
                          information provided that is not in English is as follows:
          ❑       Pursuant to 37 CFR §1.98(a) (3) (ii), a copy of a translation, or a portion thereof, of the
                  non-English language reference(s) is provided herewith.
  H. ❑ 37 CFR §1.98(d). Copies of patents, publications and pending U.S. patent applications, or other
     information specified in 37 C.F.R. § 1.98(a) are not provided herewith because:
          ❑       Pursuant to 37 CFR §1.98(d)(1) the information was previously submitted in an
                  Information Disclosure Statement, or cited by examiner for another application under
                  which this application claims priority for an earlier effective filing date under 35 U.S.C.
                  120.
                  Application in which the information was submitted:
                  Information Disclosure Statement(s) filed on:
                                   AND
                  The information disclosure statement submitted in the earlier application complied with
                  paragraphs (a) through (c) of 37 CFR §1.98.
                                                       3
  Attorney Docket No. 43060-707.304
                                                                                           SLVGT-EPA_0106741
                                                  Appx524
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 550 of 748 PageID #: 2741



  I.   Z Fee Authorization. The Commissioner is hereby authorized to charge the above-referenced fees
       of $0.00 and/or charge any additional fees or credit any overpayment associated with this
       communication to Deposit Account No. 23-2415 (Docket No.43060-707.304).

                                                       Respectfully submitted,

                                                       WILSON SONSINI GOODRICH & ROSATI



  Dated: September 3, 2019                             By: /Clark Lin/
                                                           Clark Y. Lin, Ph.D., Esq.
                                                           Registration No. 67,024
  650 Page Mill Road
  Palo Alto, CA 94304-1050
  (650) 493-9300
  Customer No. 021971




                                                   4
  Attorney Docket No. 43060-707.304
                                                                                       SLVGT-EPA_0106742
                                               Appx525
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 551 of 748 PageID #: 2742
        .,047'"ant.,,,            UNITED STATES PATENT AND TRADEMARK OFFICE
    4          :                                                                          UNITED STATES DEPARTMENT OF COMMERCE
i                           1i,                                                           United States Patent and Trademark Office
        -.4t       4....-   !                                                             Address: COMMISSIONER FOR PATENTS
                                                                                                  P.O. Box 1450
    i'4,      -''' '.1'                                                                           Alexandria, Virginia 22313-1450
       lki34/ ,,,,,,,co,                                                                          www.uspto.gov




         APPLICATION NO.                     FILING DATE           FIRST NAMED INVENTOR       ATTORNEY DOCKET NO.           CONFIRMATION NO.

                   16/177,159                10/31/2018               Gerold L. Mosher             43060-707.304                    3572

                   21971              7590            09/16/2019
                                                                                                                   EXAMINER
                   WILSON, SONSINI, GOODRICH & ROSATI
                   650 PAGE MILL ROAD                                                                      SPRINGER, STEPHANIE K

                   PALO ALTO, CA 94304-1050
                                                                                                     ART UNIT                 PAPER NUMBER

                                                                                                        1629


                                                                                               NOTIFICATION DATE             DELIVERY MODE

                                                                                                     09/16/2019                ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address(es):
patentdocket@wsgr.com




PTOL-90A (Rev. 04/07)
                                                                                                                SLVGT-EPA_0106743
                                                                      Appx526
          Case 1:20-cv-01256-LPS Document 74-1   Filed 04/05/21 PageApplicant(s)
                                          Application No.
                                                                     552 of 748 PageID #: 2743
               Advisory Action                                         16/177,159                                 Mosher et al.

      Before the Filing ofan AppealBrief                               Examiner                                  Art Unit           AIA (FITF) Status
                                                                        STEPHANIE K SPRINGER                     1629               Yes

                       --The MA/L/NG DATE of this communication appears on the cover sheet with the correspondence address --
   THE REPLY FILED 01 August 2019 FAILS TO PLACE THIS APPLICATION IN CONDITION FOR ALLOWANCE.
   NO NOTICE OF APPEAL FILED
   1. 111 The reply was filed after a final rejection. No Notice of Appeal has been filed. To avoid abandonment of this application, applicant must timely file
          one of the following replies: (1) an amendment, affidavit, or other evidence, which places the application in condition for allowance;
          (2) a Notice of Appeal (with appeal fee) in compliance with 37 CFR 41.31; or (3) a Request for Continued Examination (RCE) in compliance with
          37 CFR 1.114 if this is a utility or plant application. Note that RCEs are not permitted in design applications. The reply must be filed within one of
          the following time periods:
       a) ❑ The period for reply expires           months from the mailing date of the final rejection.
       b)     The period for reply expires on: (1) the mailing date of this Advisory Action; or (2) the date set forth in the final rejection, whichever is later.
              In no event, however, will the statutory period for reply expire later than SIX MONTHS from the mailing date of the final rejection.
       c) ❑ A prior Advisory Action was mailed more than 3 months after the mailing date of the final rejection in response to a first after-final reply filed
              within 2 months of the mailing date of the final rejection.The current period for reply expires        months from the mailing date of
               the,orior Acivisay Action or SIX MONTHS from the mailing date of the final rejection, whichever is earlier.
                      Examiner Note: If box 1 is checked, check either box (a), (b) or (c). ONLY CHECK BOX (b) WHEN THIS ADVISORY ACTION IS THE
                      FIRST RESPONSE TO APPLICANTS FIRST AFTER-FINAL REPLY WHICH WAS FILED WITHIN TWO MONTHS OF THE FINAL
                      REJECTION. ONLY CHECK BOX (c) IN THE LIMITED SITUATION SET FORTH UNDER BOX (c). See MPEP 706.07(f).
   Extensions of time may be obtained under 37 CFR 1.136(a). The date on which the petition under 37 CFR 1.136(a) and the appropriate
   extension fee have been filed is the date for purposes of determining the period of extension and the corresponding amount of the fee. The
   appropriate extension fee under 37 CFR 1.17(a) is calculated from: (1) the expiration date of the shortened statutory period for reply originally
   set in the final Office action; or (2) as set forth in (b) or (c) above, if checked. Any reply received by the Office later than three months after the
   mailing date of the final rejection, even if timely filed, may reduce any earned patent term adjustment. See 37 CFR 1.704(b).
   NOTICE OF APPEAL
    2. ❑ The Notice of Appeal was filed on                . A brief in compliance with 37 CFR 41.37 must be filed within two months of the date of filing the Notice
           of Appeal (37 CFR 41.37(a)), or any extension thereof (37 CFR 41.37(e)), to avoid dismissal of the appeal. Since a Notice of
           Appeal has been filed, any reply must be filed within the time period set forth in 37CFR 41.37(a).
   AMENDMENTS
    3. 0 The proposed amendments filed after a final rejection, but prior to the date of filing a brief, will not be entered because
           a) El They raise new issues that would require further consideration and/or search (see NOTE below);
           b) El They raise the issue of new matter (see NOTE below);
            c) 0 They are not deemed to place the application in better form for appeal by materially reducing or simplifying the issues for
                   appeal; and/or
           d) ❑ They present additional claims without canceling a corresponding number of finally rejected claims.
                   NOTE: See Continuation Sheet (See 37CFR 1.116 and 41.33(a)).
    4. ❑ The amendments are not in compliance with 37CFR 1.121. See attached Notice of Non-Compliant Amendment (PTOL-324).
    5. ❑ Applicants reply has overcome the following rejection(s):
    6. ❑ Newly proposed or amended claim(s)                    would be allowable if submitted in a separate, timely filed amendment canceling the non-allowable
           claim(s).
    7. El For purposes of appeal, the proposed amendment(s):(a)0will not be entered, or (b)0 will be entered, and an explanation of how the
           new or amended claims would be rejected is provided below or appended.
   AFFIDAVIT OR OTHER EVIDENCE
    8. ❑ A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on
    9. ❑ The affidavit or other evidence filed after final action, but before or on the date of filing a Notice of Appeal will not be entered because applicant
           failed to provide a showing of good and sufficient reasons why the affidavit or other evidence is necessary and was not earlier presented. See 37
           CFR 1.116(e).
    10. ❑ The affidavit or other evidence filed after the date of filing the Notice of Appeal, but prior to the date of filing a brief, will not be entered because
             the affidavit or other evidence failed to overcome all rejections under appeal and/or appellant fails to provide a showing of good and sufficient
             reasons why it is necessary and was not earlier presented. See 37 CFR 41.33(d)(1).
    11. ❑ The affidavit or other evidence is entered. An explanation of the status of the claims after entry is below or attached.
   REQUEST FOR RECONSIDERATION/OTHER
    12. E] The request for reconsideration has been considered but does NOT place the application in condition for allowance because:
             See Continuation Sheet.
    13. ❑ Note the attached Information Disclosure Statement(s). (PTO/SB/08) Paper No(s).
   14.0 Other: See attached PTO-2323.
   STATUS OF CLAIMS
    15. The status of the claim(s) is (or will be) as follows:
        Claim(s) allowed:
        Claim(s) objected to:
        Claim(s) rejected:1-11,13-26 and 28-30.
        Claim(s) withdrawn from consideration:
   /JEFFREY S LUNDGREN/
   Supervisory Patent Examiner, Art Unit 1629
U.S. Patent and Trademark Office
PTOL-303 (Rev. 08-2013)                                 Advisory Action Before the Filing of an Appeal Brief                               Paper No. 20190812


                                                                                                                                  SLVGT-EPA_0106744
                                                                             Appx527
        Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 553 of 748 PageID #: 2744
                                                                                      Application No. 16/177,159
Continuation Sheet (PTOL-303)

  Continuation of 3. NOTE: The proposed amendments filed 1 August 2019 under AFCP are not entered as
  they present new issues that require further consideration and/or search, as the amendment proposes
  introducing further limitations not previously presented for examination. If the proposed amendments were
  entered, the Examiner would be required to reevaluate the claims for patentability, including a new search
  to determine whether the newly added limitations are a novel, unobvious limitation. In particular, the
  recited range of a buffer comprising "about 1-4 mg/ml of a mixture" of citric acid and sodium citrate and "
  about 1 mg/ml preservative" introduces new limitations which were not recited in the previous claims.

  Further, the new limitations raise the issue of new matter, as the newly added limitations are not properly
  supported in the specification as filed. There is no disclosure of a range of about 1-4 mg/ml of a buffer, let
  alone the claimed 1-4 mg/ml mixture of citric acid and sodium citrate. Regarding the preservative, while
  there is support for about 1 mg/ml of a preservative that is either sodium benzoate or a paraben, there is
  insufficient support for the use of 1 mg/ml of all of the recited preservatives. Because the amendment
  raises new issues that require further consideration and/or search, they are not deemed to place the
  application in better form for appeal because they do not materially reduce or simplify the issues for
  appeal.

  Applicant is reminded that when an amendment is filed, a complete and responsive reply will clearly
  identify where support can be found in the disclosure for each amendment. Applicants should point to the
  page and line numbers of the application corresponding to each amendment. In the reply filed 1 August
  2019 under AFCP, Applicant merely asserts "no new matter is presented by way of the amendments".

  Pursuant with the guidelines of the AFCP 2.0 program, the Examiner has determined that further search
  and/or consideration would be required if the proposed amendments were entered and that such search
  and/or consideration cannot be completed by the Examiner in the time allotted under the AFCP 2.0
  program.

  Continuation of REQUEST FOR RECONSIDERATION/OTHER 12. The request for reconsideration has
  been considered but does NOT place the application in condition for allowance because: Applicant's
  request for reconsideration of the present application with regard to the rejections of record in light of the
  remarks presented in the after final remarks submitted on 1 August 2019 have been made. Applicant's
  remarks directed towards the obviation of the rejections of record are not found persuasive, because they
  are predicated, at least in part, on the entry of the proposed amendments. In particular, a new search and
  examination is required, as the limitations regarding the concentration range of the preservative and the
  buffer was not previously presented for examination.

  Additionally, as noted supra, the proposed amendments appear to introduce new matter, as there is no
  disclosure in the specification regarding the recited range of "about 1-4 mg/ml mixture of a mixture of citric
  acid and sodium citrate" or "about 1 mg/ml preservative", unless the preservative is limited to sodium
  benzoate or a paraben.

  As the amendments are not entered, the rejections are maintained for the reasons set forth at pages 3-14
  of the Office Action dated June 24, 2019. As noted therein, the disclosed embodiments do not provide
  adequate evidence of possession of the instantly claimed invention, as the disclosed embodiments are
  directed towards specific combinations of formulations comprising enalapril maleate, citric acid, sodium
  citrate, sodium benzoate, and water in specific amounts. The Examiner notes that the Declaration is
  directed towards application 15/081,603, now US Patent 9,669,008. The example disclosed therein is
  insufficient to address the breadth of the instant claims.

  Accordingly, the 112, 1st paragraph rejection due to a lack of adequate written description for the claimed
  product is maintained.

                                                                                      SLVGT-EPA_0106745
                                                    Appx528
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 554 of 748 PageID #: 2745
                                                                                                    Application No.                Applicant(s)

                                                                                                    16/177,159                     Mosher et al.
        Examiner-InitiatedInterview Summary
                                                                                                   Examiner                        Art Unit            AIA (FITF) Status

                                                                                                    STEPHANIE K SPRINGER           1629                Yes


  All participants (applicant, applicant's representative, PTO personnel):

 (1) STEPHANIE K. SPRINGER.                                                                        (3)            •


 (2) Clark Lin.                                                                                    (4)            .



      Date of Interview: 22 August 2019.

          Type:          E Telephonic ❑ Video Conference
                         ❑ Personal [copy given to: ❑ applicant ❑ applicant's representative]
  Exhibit shown or demonstration conducted:                              ❑ Yes             El No.
      If Yes, brief description:


 Issues Discussed                  ❑ 101         ❑ 112           ❑ 102           ❑ 103          ❑ Others
 (For each of the checked box(es) above, please describe below the issue and detailed description of the discussion)


  Claim(s) discussed:

 Identification of prior art discussed:

  Substance of Interview
  (For each issue discussed, provide a detailed description and indicate if agreement was reached. Some topics may include: identification or clarification of a reference
  or a portion thereof, claim interpretation, proposed amendments, arguments of any applied references etc...)

 Pursuant to the guidelines of AFCP, the Examiner informed Applicant's representative that the amendments would not
 be entered, and an Advisory Action would be issued..




 Applicant recordation instructions: It is not necessary for applicant to provide a separate record of the substance of interview.

 Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete and proper recordation of the
 substance of an interview should include the items listed in MPEP 713.04 for complete and proper recordation including the identification of the general
 thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the general results or
 outcome of the interview, to include an indication as to whether or not agreement was reached on the issues raised.

 ❑ Attachment

 /JEFFREY S LUNDGREN/
 Supervisory Patent Examiner, Art Unit 1629

U.S. Patent and Trademark Office
PTOL-413B (Rev. 8/11/2010)                                                       Interview Summary                                                Paper No. 20190812


                                                                                                                                        SLVGT-EPA_0106746
                                                                                         Appx529
         Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 555 of 748 PageID #: 2746

                                                                           Application No.                    Applicant(s)

                                                                           16/177,159                         Mosher et al.
                                  AFCP 2.0
                                                                           Examiner                           Art Unit       AIA (FITF) Status
                                  Decision
                                                                            STEPHANIE K SPRINGER              1629           Yes


 This is in response to the After Final Consideration Pilot request filed 01 August 2019.

   1. Improper Request — The AFCP 2.0 request is improper for the following reason(s) and the after final amendment submitted with
        the request will be treated under pre-pilot procedure.
                                  ❑ An AFCP 2.0 request form PTO/SB/434 (or equivalent document) was not submitted.
                                  ❑ A non-broadening amendment to at least one independent claim was not submitted.
                                  ❑ The request is not the first proper AFCP 2.0 request submitted in response to the most recent final
                                    rejection.
                                  ❑ Other:

   2. Proper Request

              A. After final amendment submitted with the request will not be treated under AFCP 2.0.
                     The after final amendment cannot be reviewed and a search conducted within the guidelines of the pilot program.

                                  ❑ The after final amendment will be treated under pre-pilot procedure.

              B. Updated search and/or completed additional consideration.
                    The examiner performed an updated search and/or completed additional consideration of the after final amendment
                    within the time authorized for the pilot program. The result(s) of the updated search and/or completed additional
                    consideration are:

                                  ❑ 1. All of the rejections in the most recent final Office action are overcome and a Notice of Allowance is
                                    issued herewith.
                                  0 2. The after final amendment would not overcome all of the rejections in the most recent final Office action
                                    . See attached interview summary for further details.
                                  0 3. The after final amendment was reviewed, and it raises a new issue(s). See attached interview summary
                                    for further details.
                                  ❑   4. The after final amendment raises new issues, but would overcome all of the rejections in the most recent
                                      final Office action. A decision on determining allowability could not be made within the guidelines of the
                                      pilot. See attached interview summary for further details, including any newly discovered prior art.
                                  05. Other:


                                  Examiner Note: Please attach an interview summary when necessary as described above.




U.S.Patent and Trademark Office
PTOL-2323 (Rev. 10-14)                                                 AFCP 2.0 Decision                                      Part of Paper No. 20190812
                                                                                                                         SLVGT-EPA_0106747
                                                                          Appx530
Doc code:Case
           RCEX1:20-cv-01256-LPS Document 74-1                                        Filed 04/05/21 Page 556 of 748 PageID #: 2747 (02-18)
                                                                                                                            PTO/SB/30EFS
Doc description: Request for Continued Examination (RCE)                                                                     Approved for use through 11/30/2020. OMB 0651-0031
                                                                                                        U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                        Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.



                                  REQUEST FOR CONTINUED EXAMINATION(RCE)TRANSMITTAL
                                               (Submitted Only via EFS-Web)
 Application           1                      Filing        [                         Docket Number                                                     Art
                           6/177,159                            018-10-31                                       43060-70T304                                        1629
 Number                                       Date                                    (if applicable)                                                   Unit
 First Named                                                                          Examiner
             Gerold L. Mosher, et. al.                                                                         Springer, Stephanie K.
 Inventor                                                                             Name
 This is a Request for Continued Examination (RCE) under 37 CFR 1.114 of the above-identified application.
 Request for Continued Examination (RCE) practice under 37 CFR 1.114 does not apply to any utility or plant application filed prior to June 8,
 1995, or to any design application. The Instruction Sheet for this form is located at WWW.USPTO.GOV

                                                        SUBMISSION REQUIRED UNDER 37 CFR 1.114

 Note: If the RCE is proper, any previously filed unentered amendments and amendments enclosed with the RCE will be entered in the order
 in which they were filed unless applicant instructs otherwise. If applicant does not wish to have any previously filed unentered amendment(s)
 entered, applicant must request non-entry of such amendment(s).
           Previously submitted. If a final Office action is outstanding, any amendments filed after the final Office action may be considered as a
 ❑         submission even if this box is not checked.

             ❑     Consider the arguments in the Appeal Brief or Reply Brief previously filed on


             ❑     Other

           Enclosed
 Fil
                   Amendment/Reply
             IMI
             ❑     Information Disclosure Statement (IDS)

             ❑     Aft davit(s)! Declaration(s)


             ❑     Other


                                                                              MISCELLANEOUS

           Suspension of action on the above-identified application is requested under 37 CFR 1.103(c) for a period of months
 ❑         (Period of suspension shall not exceed 3 months; Fee under 37 CFR 1.17(i) required)


 ❑         Other


                                                                                       FEES

            The RCE fee under 37 CFR 1.17(e) is required by 37 CFR 1.114 when the RCE is filed.
 0          The Director is hereby authorized to charge any underpayment of fees, or credit any overpayments, to
            Deposit Account No      232415

                                          SIGNATURE OF APPLICANT, ATTORNEY, OR AGENT REQUIRED

       X     Patent Practitioner Signature
             Applicant Signature




                                                                                                                                          SLVGT-EPA_0106750
EFS - Web 2.1.16                                                                   Appx531
Doc code:Case
           RCEX1:20-cv-01256-LPS Document 74-1                                 Filed 04/05/21 Page 557 of 748 PageID #: 2748 (02-18)
                                                                                                                     PTO/SB/30EFS
Doc description: Request for Continued Examination (RCE)                                                              Approved for use through 11/30/2020. OMB 0651-0031
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                 Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.



                                                  Signature of Registered U.S. Patent Practitioner

 Signature     'Clark Lin/                                                                                        Date (YYYY-MM-DD) [019-10-24

 Name          Clark Y_ Lin                                                                                       Registration Number                 7024

 This collection of information is required by 37 CFR 1.114. The information is required to obtain or retain a benefit by the public which is to
 file (and by he USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1A4. This collection is
 estimated to take 12 minutes to complete, including gathering, preparing, and submitting the completed application form to the USPTO. Time
 will vary depending upon the individual case. Any comments on the amount of time you require to complete this form and/or suggestions for
 reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S. Department of Commerce,
 P.O. Box 1450, Alexandria, VA 22313-1450.
                            If you need assistance in completing the form, call 1-800-PTO-9199 and select option 2.




                                                                                                                                   SLVGT-EPA_0106751
EFS - Web 2.1.16                                                            Appx532
         Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 558 of 748 PageID #: 2749



                                              Privacy Act Statement




The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your submission of the
attached form related to a patent application or patent. Accordingly, pursuant to the requirements of the Act, please be
advised that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information
solicited is voluntary; and (3) the principal purpose for which the information is used by the U.S. Patent and Trademark Office
is to process and/or examine your submission related to a patent application or patent. If you do not furnish the requested
information, the U.S. Patent and Trademark Office may not be able to process and/or examine your submission, which may
result in termination of proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.       The information on this form will be treated confidentially to the extent allowed under the Freedom of Information
         Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the
         Department of Justice to determine whether the Freedom of Information Act requires disclosure of these records.

    2.       A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a
         court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of settlement
         negotiations.

    3.       A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
         request involving an individual, to whom the record pertains, when the individual has requested assistance from the
         Member with respect to the subject matter of the record.

    4.        A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need
         for the information in order to perform a contract. Recipients of information shall be required to comply with the
         requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).

    5.       A record related to an International Application filed under the Patent Cooperation Treaty in this system of records
         may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property Organization,
         pursuant to the Patent Cooperation Treaty.

    6.       A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of
         National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

    7.       A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services,
         or his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility to
         recommend improvements in records management practices and programs, under authority of 44 U.S.C. 2904 and
         2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of records for this
         purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make
         determinations about individuals.

    8.       A record from this system of records may be disclosed, as a routine use, to the public after either publication of
         the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record may
         be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record was filed in an
         application which became abandoned or in which the proceedings were terminated and which application is
         referenced by either a published application, an application open to public inspections or an issued patent.

    9.       A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
         enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




                                                                                                     SLVGT-EPA_0106752
EFS - Web 2.1.16
                                                           Appx533
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 559 of 748 PageID #: 2750

   Electronically Filed: October 24, 2019                           Attorney Docket No.: 43060-707.304



                  IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re the Application of:                                 Group Art Unit:        1629

Inventors:        Gerold L. Mosher, et al.                Confirmation No.: 3572
Serial No.:       16/177,159
                                                          Examiner:              SPRINGER, Stephanie K.
Filed:            October 31, 2018
                                                          Customer No.:          21971
Title:            ENALAPRIL FORMULATIONS
                                                                         Certificate of Electronic Filing
                                                          I hereby certify that the attached Response and all accompanying
                                                          papers is being deposited by Electronic Filing on October 24,
                                                          2019, by using the EFS — Web patent filing system and
                                                          addressed to: Commissioner for Patents, P.O. Box 1450,
                                                          Alexandria, VA 22313-1450.

                                                          By:      /Paula Derby/
                                                                            Paula Derby

   Mail Stop AF
   Commissioner for Patents
   P.O. Box 1450
   Alexandria, VA 22313-1450

                   RESPONSE TO FINAL OFFICE ACTION DATED JUNE 24, 2019

   Dear Commissioner:
              Applicant hereby submits a response to the Final Office Action dated June 24, 2019.
   Applicant respectfully requests reconsideration and allowance of the pending claims.
              The response is submitted with a petition to obtain a one-month extension of time,
   extending the deadline for responding to Oct 24, 2019. The Commissioner is hereby authorized
   to charge any fees associated with the filing of this response to Deposit Account No. 23-2415,
   referencing Docket No. 43060-707.304.
              Prior to reconsidering this application on the merits, please amend the application as
   follows:
              Amendments to the Claims begin on page 2.
              Remarks begin on page 6.
              The Conclusion is on page 8.



                                                                                                SLVGT-EPA_0106753
                                                   Appx534
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  U.S. Patent Application No. 16/177,159                        Attorney Docket No.: 43060-707.304
  Response to the Final Office Action dated June 24, 2019


                                       Amendments to the Claims
         This listing of claims will replace all prior versions, amendments and listings of claims in
  this application. The following amendments do not constitute an admission regarding the
  patentability of the amended subject matter and should not be so construed. Applicant reserves
  the right to pursue the subject matter of the withdrawn claims in this or any other appropriate
  patent application.


  Listing of the Claims:
  1. (Currently Amended) A stable oral liquid formulation, comprising:
                (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or
     solvate thereof;
                (ii) a buffer comprising about 1-4 mg/ml of a mixture of citric acid and sodium
     citrate;
                (iii) about 1 mg/mla preservative, wherein the preservative is selected from ascorbic
     acid, ascorbyl palmitate, BHA, BHT, EDTA and its salts, erythorbic acid, fumaric acid, malic
     acid, propyl gallate, sodium ascorbate, sodium bisulfate, sodium metabisulfite, sodium
     Gulfite, methylparaben, ethylparaben, propylparaben, butylparaben, benzoic acid, sodium
     benzoate, potassium sorbatc, and vanillin; and
                (iv) water;
                   wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
                   wherein the stable oral liquid formulation has about 95% w/w or greater of the
         initial enalapril amount and about 5% w/w or less total impurity or related substances at
         the end of the given storage period.

  2. (Previously Presented) The stable oral liquid formulation of claim 1 further comprising a
     sweetener.

  3. (Previously Presented) The stable oral liquid formulation of claim 2, wherein the sweetener
     is sucralose.

  4. (Previously Presented) The stable oral liquid formulation of claim 1 further comprising a
     flavoring agent.


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  5. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation does not contain mannitol.

  6. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation does not contain silicon dioxide.

  7. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the buffer
     comprises about 0.8 to about 3.5 mg/ml citric acid.

  8. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the buffer
     comprises about 0.1 to about 0.8 mg/ml sodium citrate.

  9. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the pH of the
     stable oral liquid formulation is less than about 3.5.

  10. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the pH of the
     stable oral liquid formulation is between about 3 and about 3.5.

  11. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the pH of the
     stable oral liquid formulation is about 3.3.

  12. (Canceled)

  13. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     preservative is sodium benzoate.

  14. (Canceled)

  15. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation is stable at about 5 ± 3° C for at least 18 months.

  16. (Previously Presented) The stable oral liquid formulation of claim 1, wherein the
     formulation is stable at about 5 ± 3° C for at least 24 months.

  17. (Currently Amended) A stable oral liquid formulation, consisting essentially of:
                (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or
     solvate thereof;
                (ii) a buffer comprising about 1-4 mg/ml of a mixture of citric acid and sodium
     citrate;


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             (iii) about 1 mg/mla preservative, wherein the preservative is selected from ascorbic
     acid, ascorbyl palmitatc, BHA, BHT, EDTA and its salts, crythorbic acid, fumaric acid, malic
     acid, propyl gallate, sodium ascorbate, sodium bisulfate, sodium metabisulfite, sodium
     sulfite, methylparaben, ethylparaben, propylparaben, butylparaben, benzoic acid, sodium
     benzoate, potassium sorbatc, and vanillin; and
             (iv) water;
             wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
             wherein the stable oral liquid formulation has about 95% w/w or greater of the initial
     enalapril amount and about 5% w/w or less total impurity or related substances at the end of
     the given storage period.

  18. (Canceled)


  19. (Currently Amended) The stable oral liquid formulation of claim [[18]]31 further comprising
     a sweetener.

  20. (Previously Presented) The stable oral liquid formulation of claim 19, wherein the sweetener
     is sucralose.

  21. (Currently Amended) The stable oral liquid formulation of claim [[18]]31 further comprising
     a flavoring agent.

  22. (Currently Amended) The stable oral liquid formulation of claim [[18]]31, wherein the
     formulation does not contain mannitol.

  23. (Currently Amended) The stable oral liquid formulation of claim [[18]]31, wherein the
     formulation does not contain silicon dioxide.

  24. (Currently Amended) The stable oral liquid formulation of claim [[18]]31, wherein the pH
     of the stable oral liquid formulation is less than about 3.5.

  25. (Currently Amended) The stable oral liquid formulation of claim [[18]]31, wherein the pH
     of the stable oral liquid formulation is between about 3 and about 3.5.

  26. (Currently Amended) The stable oral liquid formulation of claim [[18]]31, wherein the pH
     of the stable oral liquid formulation is about 3.3.


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  27. (Canceled)

  28. (Currently Amended) The stable oral liquid formulation of claim [[18]]31, wherein the
     preservative is sodium benzoate.

  29. (Currently Amended) The stable oral liquid formulation of claim [[18]]31, wherein the
     formulation is stable at about 5 ± 3° C for at least 18 months.

  30. (Currently Amended) The stable oral liquid formulation of claim [[18]]31, wherein the
     formulation is stable at about 5 ± 3° C for at least 24 months.

  31. (New) A stable oral liquid formulation, comprising:
                (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or
     solvate thereof;
                (ii) a buffer comprising about 1-4 mg/ml of a mixture of citric acid and sodium
     citrate;
                (iii) about 1 mg/ml of a preservative, wherein the preservative is a paraben or a
     mixture of parabens; and
                (iv) water;
                wherein the formulation is stable at about 5 ± 3° C for at least 12 months; and
                wherein the stable oral liquid formulation has about 95% w/w or greater of the initial
     enalapril amount and about 5% w/w or less total impurity or related substances at the end of
     the given storage period.




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                                                 Appx538
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  Electronically Filed: October 24, 2019                       Attorney Docket No.: 43060-707.304


                                             REMARKS
          Applicant would like to thank the Office for the Advisory Action dated September 16,
  2019.

          Claims 1-11, 13, 15-26, and 28-30 are pending in this application. By way of this
  response, claims 1, 17, 19, 21-26, and 28-30 have been amended, and claims 14 and 18 have
  been canceled. Claim 31 is newly added. Thus, claims 1-11, 13, 15-17, 19-26, and 28-31 under
  examination.

          Support for the amendments can be found throughout the specifications and the originally
  filed claims, for example, paragraphs [0033], [0050], and [0054], Example E, and Table E-1. No
  new matter is presented by way of the amendments.

          Withdrawal of any subject matter herein does not constitute an admission that the subject
  matter is unpatentable for any reason and Applicant reserves the right to file claims directed to
  withdrawn subject matter in this or a related application.



  Rejection Under 35 U.S.C. 112(a)
          Claims 1-11, 13, 15-26, and 28-30 are rejected under 35 U.S.C. § 112(a) as failing to
  comply with the written description requirement. Specifically, the Office noted that "while the
  claims limit the amount of enalapril, the buffer and the preservative are present in the
  formulations in any amount."

          Without acquiescing to the Office's rejection but solely in an effort to expedite
  prosecution, claims 1 and 17 have been amended to recite "(ii) a buffer comprising about 1-4
  mg/ml of a mixture of citric acid and sodium citrate; (iii) about 1 mg/ml sodium benzoate."

          The support for "about 1-4 mg/ml of a mixture of citric acid and sodium citrate" can be
  found, e.g., in Example E and Table E-1 of the specification. Indeed, the Office has
  acknowledged, in the Final Office Action dated June 24, 2019, that "Table E-1 (page 43) is
  directed toward liquid formulations comprising . . . a buffer comprising 1 to 4 mg/mL of a
  mixture of citric acid and sodium citrate." The support for "about 1 mg/ml sodium benzoate" can
  be found, e.g., paragraph [0050] of the specification.

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         Newly added claim 31 recites "(ii) a buffer comprising about 1-4 mg/ml of a mixture of
  citric acid and sodium citrate; (iii) about 1 mg/ml of a preservative, wherein the preservative is a
  paraben or a mixture of parabens." The support for "about 1 mg/ml of a preservative, wherein the
  preservative is a paraben or a mixture of parabens" can be found, e.g., paragraph [0054] of the
  specification. The support for "about 1-4 mg/ml of a mixture of citric acid and sodium citrate"
  can be found, e.g., in Example E and Table E-1 of the specification as mentioned above.

         Accordingly, Applicant respectfully requests the rejections be withdrawn.

  Double Patenting Objection
         Claims 1-11, 13, 15-26, and 28-30 are rejected on the ground of nonstatutory double
  patenting as being unpatentable over claims 1-20 of U.S. Patent No. 9,669,008, claims 1-30 of
  U.S. Patent No. 9,808,442, claims 1-20 of U.S. Patent No. 10,039,745, and claims 1-30 of U.S.
  Patent No. 10,154,987.

         Without acquiescing in this ground of rejection and solely in an effort to expedite
  prosecution, Applicant has submitted Terminal Disclaimers on August 1, 2019, with respect to
  U.S. Patent No. 9,669,008, U.S. Patent No. 9,808,442, U.S. PatentNo. 10,039,745, and U.S.
  PatentNo. 10,154,987, as well as U.S. Appl. Ser. No. 16/242,898.

         The above submitted Terminal Disclaimers were approved on August 1, 2019.

         The Terminal Disclaimers obviate the present rejections. Accordingly, Applicant
  respectfully requests that the rejections be withdrawn.



         In view of the remarks and amendments submitted herein, Applicant believes that the
  Application is in condition for allowance and such action is earnestly solicited.




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                                          CONCLUSION
         Applicant submits that this response fully addresses the Office Action mailed on
  June 24, 2019. Applicant believes that for the reasons set forth herein the pending claims are in
  condition for allowance and early and favorable consideration is respectfully requested.
         Should the Examiner have any questions or concerns, the Examiner is encouraged to
  contact the undersigned attorney at (617) 598-7823.
                                               Respectfully submitted,
                                               WILSON SONSINI GOODRICH & ROSATI
                                               Professional Corporation



  Date: October 24, 2019                       By: /Clark Lin/
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          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 567 of 748 PageID #: 2758
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         APPLICATION NO.                     FILING DATE           FIRST NAMED INVENTOR       ATTORNEY DOCKET NO.           CONFIRMATION NO.

                   16/177,159                10/31/2018               Gerold L. Mosher             43060-707.304                    3572

                   21971              7590            01/07/2020
                                                                                                                   EXAMINER
                   WILSON, SONSINI, GOODRICH & ROSATI
                   650 PAGE MILL ROAD                                                                      SPRINGER, STEPHANIE K

                   PALO ALTO, CA 94304-1050
                                                                                                     ART UNIT                 PAPER NUMBER

                                                                                                        1629


                                                                                               NOTIFICATION DATE             DELIVERY MODE

                                                                                                     01/07/2020                ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address(es):
patentdocket@wsgr.com




PTOL-90A (Rev. 04/07)
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                                                                                  Application No.                               Applicant(s)
                                                                                  16/177,159                                    Mosher et al.
                     Office Action Summary                                        Examiner                                      Art Unit           AIA (FITF) Status
                                                                                  STEPHANIE K SPRINGER                          1629               Yes
                -- The MAILING DATEof this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE 3 MONTHS FROM THE MAILING
 DATE OF THIS COMMUNICATION.
        - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed after SIX (6) MONTHS from the mailing
          date of this communication.
        - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
        - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any earned patent term
          adjustment. See 37 CFR 1.704(b).

 Status
     1)0 Responsive to communication(s) filed on 24 October 2019.
        0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on
   2a)0 This action is FINAL.                        2b) Ei This action is non-final.
     3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview
         on       ; the restriction requirement and election have been incorporated into this action.
     4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
         closed in accordance with the practice under Exparte Quayle, 1935 C.D. 11, 453 O.G. 213.

 Disposition of Claims*
     5)      Claim(s) 1-11,13,15-17,19-26 and 28-31 is/are pending in the application.
          5a) Of the above claim(s)    is/are withdrawn from consideration.
         6) 0 Claim(s)        is/are allowed.
         7) ED Claim(s) 1-11,13,15-17,19-26 and 28-31 is/are rejected.
         8) 0 Claim(s)        is/are objected to.
         9) 0 Claim(s)        are subject to restriction and/or election requirement
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http://www.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PPHfeedback@uspto.gov.

 Application Papers
   100 The specification is objected to by the Examiner.
   11)0 The drawing(s) filed on       is/are: a)0 accepted or b)0 objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
           a)0 All     b)0 Some**    c)0 None of the:
                     1.0 Certified copies of the priority documents have been received.
                     2.0 Certified copies of the priority documents have been received in Application No.
                     3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                         application from the International Bureau (PCT Rule 17.2(a)).
  — See the attached detailed Office action for a list of the certified copies not received.

 Attachment(s)
 1) [1] Notice of References Cited (PTO-892)                                                     3) EI Interview Summary (PTO-413)
                                                                                                       Paper No(s)/Mail Date
 2) 0 Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)
                                                                                                 4) El Other:
      Paper No(s)/Mail Date 4 pgs, 9/3/19.
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                                   Office Action Summary                                Part of Paper No./Mail Date 20191218
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                                            DETAILED ACTION

                           Continued Examination Under § 37 CFR 1.114

          A request for continued examination under 37 CFR 1.114, including the fee set forth in 37

  CFR 1.17(e), was filed in this application after final rejection. Since this application is eligible for

  continued examination under 37 CFR 1.114, and the fee set forth in 37 CFR 1.17(e) has been

  timely paid, the finality of the previous Office action has been withdrawn pursuant to 37 CFR

  1.114. Applicant's submission filed on October 24, 2019 has been entered.



                                                  Status

          The present application, filed on or after March 16, 2013, is being examined under the first

  inventor to file provisions of the AIA.

          This application is a continuation of application 16/003,994, now US Patent 10,154,987,

  filed on June 8, 2018, which is a continuation of application 15/802,341, now US Patent

  10,039,745, filed on November 2, 2017, which is a continuation of application 15/613,622, now

  US Patent 9,808,442, filed on June 5, 2017, which is a continuation of application 15/081,603,

  now US Patent 9,669,008, filed on March 25, 2016 and claims priority to US provisional

  application 62/310,198, filed on March 18, 2016.

          This application was granted Track One status on December 14, 2018.

         Applicant's amendments filed October 24, 2019 amending claims 1, 17, 19, 21-26, and

  28-30, canceling claims 12, 14, 18, and 27, and adding new claim 31 are acknowledged.

          Applicant's arguments, filed October 24, 2019, have been fully considered. Rejections

  and/or objections not reiterated from previous Office Actions are hereby withdrawn.

         Claims 1-11, 13, 15-17, 19-26, and 28-31 are pending and are the subject of the Office

  Action below.




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                                                Appx544
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  Art Unit: 1629

                                     Previous Rejections Withdrawn

         Any rejection not reiterated in the instant Office action is considered withdrawn. Certain

  new rejections are provided in the Office action below. Where Applicants arguments addressing

  the previous grounds of rejection relate to the present grounds of rejection, the Examiner

  addresses the Applicants comments.



                                             Terminal Disclaimer

         The terminal disclaimer filed on August 1, 2019 disclaiming the terminal portion of any

  patent granted on this application which would extend beyond the expiration date of US Patents

  9,669,008; 9,808,442; 10,039,745; and 10,154,987 has been reviewed and is accepted. The

  terminal disclaimer has been recorded.



                                   Information Disclosure Statement

         The information disclosure statement (IDS) submitted on September 3, 2019 has been

  considered by the examiner. The submission is in compliance with the provisions of 37 CFR §§

  1.97 and 1.98. Enclosed with this Office Action is a return-copy of the Forms PTO-1449 with the

  examiner's initials and signature indicating those references that have been considered.



                                        New Grounds of Rejection

                        Claim Rejections - 35 USC § 112, Second Paragraph

         The following is a quotation of 35 U.S.C. 112(b):

         (B) CONCLUSION.—The specification shall conclude with one or more claims particularly
         pointing out and distinctly claiming the subject matter which the inventor or a joint inventor
         regards as the invention.

         The following is a quotation of 35 U.S.C. 112 (pre-AIA), second paragraph:

         The specification shall conclude with one or more claims particularly pointing out and distinctly
         claiming the subject matter which the applicant regards as his invention.




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          Claims 1-11, 13, 15-17, 19-26, and 28-31 are rejected under 35 U.S.C. 112(b) or

  35 U.S.C. 112 (pre-AIA), second paragraph, as being indefinite for failing to particularly point out

  and distinctly claim the subject matter which the inventor or a joint inventor, or for pre-AIA the

  applicant regards as the invention.

          Claims 1-11, 15-17, 13, 15-17, 19-26, and 28-31 are indefinite for reciting the term "stable"

  because one of ordinary skill in the art could not reasonably determine the metes and bounds of

  this limitation. The term "stable" is not a term of the art such that the ordinarily skilled artisan would

  recognize what qualities or properties are encompassed therein. The term "stable" is a relative

  term which is not defined by the claims or the specification in a manner such that one of ordinary

  skill in the art would not be reasonably apprised of the scope of the invention. One would

  reasonably recognize that a "stable" composition and stability refer to a degree of change or

  variability over a period of time; however, there is no clear disclosure such that one would

  recognize what types of changes are required to be "stable" such that one would recognize the

  metes and bounds of the instantly claimed invention. While the claims recite "the stable oral liquid

  formulation has about 95% w/w or greater of the initial enalapril amount and about 5% w/w or less

  total impurity or related substances at the end of the given storage period", it is unclear if this is

  the only requirement of a "stable" composition or if other changes or variance would be tolerated

  while still meeting the instant requirements of stability. For example, while the formulation may

  still comprise "about 95% w/w or greater of the initial enalapril amount" it is unclear if this would

  also require the maintenance of a constant pH, i.e., a stable pH, throughout this timeframe.

  Similarly, the formulation could comprise the requisite amount of enalapril, but it is unclear if

  enalapril which is not in solution would also meet the requirements. Note that the "related

  substances" falling within the scope of the "about 5% w/w or less total impurity or related

  substances" is not clearly defined such that one would recognize what "related substances" would

  render a composition unstable. The claims fail to clearly, precisely, or deliberately set forth how

  stability is measured and what standard or threshold value would be used to make such a



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                                                 Appx546
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  comparison to determine whether the stability meets Applicant's claimed limitation. Absent this

  information, the claim clearly fails to set forth the metes and bounds of the subject matter for which

  Applicant is presently seeking protection.

          Claims 1, 17, and 31, and all claims dependent therefrom, are indefinite because it is

  unclear if the recitations "wherein the formulation is stable at about 5 ± 3 °C for at least 12 months"

  and "wherein the stable oral liquid formulation has about 95% w/w or greater of the initial enalapril

  amount and about 5% w/w or less total impurity or related substances at the end of the given

  storage period" are claim limitations. The ordinarily skilled artisan would not be able to reasonably

  determine how this limitation affects the scope of the claimed composition. It is unclear if additional

  components or elements are required in order to achieve the recited properties, or if the recitations

  merely describe a property that would necessarily result from the composition as claimed. In

  particular, it is unclear if the recited formulations would necessarily possess the properties

  "wherein the formulation is stable at about 5 ± 3 °C for at least 12 months" and "wherein the stable

  oral liquid formulation has about 95% w/w or greater of the initial enalapril amount and about 5%

  w/w or less total impurity or related substances at the end of the given storage period". In other

  words, it is unclear if the recitations are claim limitations, or if the recitations regarding stability

  merely describe the composition of instant claims 1, 17, and 31. For example, it is unclear if the

  composition of instant claim 1 is capable of achieving stability at about 5 ± 3 °C for at least 12

  months as recited, i.e., would any composition comprising about 0.6 to about 1.2 mg/mL enalapril,

  about 1-4 mg/mL of a mixture of citric acid and sodium citrate, and about 1 mg/mL sodium

  benzoate in water necessarily achieve the recited stability, or if further components required in

  order to meet the recited limitations regarding stability. While the Examiner acknowledges that

  the term "comprising" in instant claims 1 and 31 is open ended, and allows for additional

  excipients, it is unclear if additional excipients are required in order to achieve the recited stability.

  Thus, it is unclear if the recitations are merely descriptive language to describe a property which

  is inherent to the formulations as claimed.



                                                                                         SLVGT-EPA_0106772
                                                 Appx547
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  Art Unit: 1629

         Regarding the use of functional descriptive language, the Applicant's attention is directed

  towards MPEP § 2173.05(g): "the use of functional language in a claim may fail `to provide a

  clear-cut indication of the scope of the subject matter embraced by the claim' and thus be

  indefinite. In re Swinehart, 439 F.2d 210, 213 (CCPA 1971). For example, when claims merely

  recite a description of a problem to be solved or a function or result achieved by the invention, the

  boundaries of the claim scope may be unclear. Halliburton Energy Servs., Inc. v. M-I LLC, 514

  F.3d1244, 1255 (Fed. Cir. 2008) (noting that the Supreme Court explained that a vice of functional

  claiming occurs `when the inventor is painstaking when he recites what has already been seen,

  and then uses conveniently functional language at the exact point of novelty')". Examiners should

  consider the following factors when examining claims that contain functional language to

  determine whether the language is ambiguous: (1) whether there is a clear cut indication of the

  scope of the subject matter covered by the claim; (2) whether the language sets forth well-defined

  boundaries of the invention or only states a problem solved or a result obtained; and (3) whether

  one of ordinary skill in the art would know from the claim terms what structure or steps are

  encompassed by the claim. In the instant case, it is unclear whether the language sets forth well-

  defined boundaries of the invention or only states a result obtained.

         For these reasons, the claims fail to meet the tenor and express requirements of 35 U.S.C.

  112, second paragraph, and are thus rejected.



                                       New Grounds of Rejections

                          Claim Rejections - 35 USC § 112, First Paragraph

         The following is a quotation of 35 U.S.C. 112(a):

         (a) IN GENERAL.—The specification shall contain a written description of the invention, and of
         the manner and process of making and using it, in such full, clear, concise, and exact terms as
         to enable any person skilled in the art to which it pertains, or with which it is most nearly
         connected, to make and use the same, and shall set forth the best mode contemplated by the
         inventor or joint inventor of carrying out the invention.

         The following is a quotation of 35 U.S.C. 112 (pre-AIA), first paragraph:



                                                                                             SLVGT-EPA_0106773
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         The specification shall contain a written description of the invention, and of the manner and
         process of making and using it, in such full, clear, concise, and exact terms as to enable any
         person skilled in the art to which it pertains, or with which it is most nearly connected, to make
         and use the same and shall set forth the best mode contemplated by the inventor of carrying
         out his invention.

         Claims 1-11, 13, 15-17, 19-26, and 28-31 are rejected under 35 U.S.C. 112(a) or

  35 U.S.C. 112 (pre-AIA), first paragraph, as failing to comply with the written description

  requirement. The claims contain subject matter which was not described in the specification in

  such a way as to reasonably convey to one skilled in the relevant art that the inventor or a joint

  inventor, or for pre-AIA the inventor(s), at the time the application was filed, had possession of

  the claimed invention. This is a new matter rejection. See MPEP § 706.03(o).

         In particular, the specification fails to provide adequate support for the limitations wherein

  the composition "a buffer comprising about 1-4 mg/ml of a mixture of citric acid and sodium citrate"

  as recited in instant claims 1, 17, and 31. See MPEP § 2163.06 (I) and In re Rasmussen, 650

  F.2d 1212, 211 USPQ 323 (CCPA 1981).

         In the amendment filed October 24, 2019, Applicant amended independent claims 1 and

  17 and added new claim 31 to recite the limitation, "a buffer comprising about 1-4 mg/ml of a

  mixture of citric acid and sodium citrate".

         Applicants allege that support for the limitations wherein the amount is "about 1-4 mg/ml

  of a mixture of citric acid and sodium citrate— may be found in throughout the specifications and

  the originally filed claims; Applicant particularly cites to paragraphs 33, 50, and 54, and Example

  E and Table E-1 at page 43 of the original specification as filed. Applicant asserts, "No new matter

  is presented by way of the amendments."

         Upon analysis of the originally filed disclosure, the Examiner is unable to find support for

  the limitation "a buffer comprising about 1-4 mg/ml of a mixture of citric acid and sodium citrate".

  Turning to paragraph 67, the specification recites, "In some embodiments, citric acid is present in

  about 0.7 to about 2 mg/ml in the oral liquid formulation". At paragraph 71, the specification states,




                                                                                                SLVGT-EPA_0106774
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  Art Unit: 1629

  "In some embodiments, sodium citrate dehydrate is present in about 0.1 to about 0.8 mg/ml in the

  oral liquid formulation". While Applicants have specific working examples, such working examples

  are limited to specific formulations comprising specific amounts of citric acid and sodium citrate,

  in a specific ratio.

          As Applicant notes at page 6 of the remarks filed October 24, 2019, the Examiner

  summarized Example E thusly:

          Table E-1 (page 43) is directed towards liquid formulations comprising

          (i) 1.0 mg/ml enalapril maleate;

          (ii) a buffer comprising 1 to 4 mg/mL of a mixture of citric acid and sodium citrate;

          (iii) 1 mg/mL sodium benzoate; and

          (iv) water.

          The Examiner notes that the Examiner's summarization of the compositions of Example

  E does not provide support for the amendments. More specifically, turning towards Example E,

  one sees that the amounts of citric acid and sodium citrate are recited in particular amounts, not

  in a range. Examples El -E4 each comprise 3.29 mg/mL citric acid and 0.75 mg/mL sodium citrate;

  Example E5 comprises 1.65 mg/mL citric acid and 0.38 mg/mL sodium citrate; and Example E6

  comprises 0.82 mg/mL citric acid and 0.19 mg/mL sodium citrate. These six examples support a

  specific buffer comprising a specific ratio of citric acid to sodium citrate, in specific amounts, and

  do not provide support for the recited range of "about 1-4 mg/ml of a mixture of citric acid and

  sodium citrate".

          Thus, the limitation "a buffer comprising about 1-4 mg/ml of a mixture of citric acid and

  sodium citrate" is considered new matter because nowhere in the originally filed disclosure do

  Applicants disclose the use of the combination of citric acid and sodium citrate in this range, nor

  does Applicant disclose the use of said combination in any and all ratios falling within the scope

  of the recited range.




                                                                                      SLVGT-EPA_0106775
                                               Appx550
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         For these reasons, it appears that the requirement that the composition comprises "about

  1-4 mg/ml of a mixture of citric acid and sodium citrate" wherein the citric acid and sodium citrate

  are in any combination was not particularly contemplated at the time of the invention. Accordingly,

  the amendments are considered new matter and are properly rejected under 35 U.S.C. 112, first

  paragraph.



                                              Conclusion

         No claims are allowed in this application.

         If applicants should amend the claims, a complete and responsive reply will clearly identify

  where support can be found in the disclosure for each amendment. Applicants should point to the

  page and line numbers of the application corresponding to each amendment, and provide any

  statements that might help to identify support for the claimed invention (e.g., if the amendment is

  not supported in ipsis verbis, clarification on the record may be helpful). Should applicants present

  new claims, applicants should clearly identify where support can be found in the disclosure.

         Information regarding the status of an application may be obtained from the Patent

  Application Information Retrieval (PAIR) system. Status information for published applications

  may be obtained from either Private PAIR or Public PAIR. Status information for unpublished

  applications is available through Private PAIR only. For more information about the PAIR system,

  see http://portal.uspto.gov/external/portal. Should you have questions on access to the Private

  PAIR system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free).

         Any inquiry concerning this communication or earlier communications from the examiner

  should be directed to Stephanie Springer whose telephone number is 571-270-7380. The

  examiner can normally be reached on Monday through Thursday from 8 am to 5 pm.

         If attempts to reach the examiner by telephone are unsuccessful, the examiner's

  supervisor, Jeffrey Lundgren, can be reached on 571-272-5541. The fax phone number for the

  organization where this application or proceeding is assigned is 571-270-8380.



                                                                                     SLVGT-EPA_0106776
                                               Appx551
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  Art Unit: 1629

         Information regarding the status of an application may be obtained from the Patent

  Application Information Retrieval (PAIR) system. Status information for published applications

  may be obtained from either Private PAIR or Public PAIR. Status information for unpublished

  applications is available through Private PAIR only. For more information about the PAIR system,

  see http://portal.uspto.gov/external/portal. Should you have questions on access to the Private

  PAIR system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free).



                                                     /Stephanie Springer/
                                                     Examiner, Art Unit 1629


  /JEFFREY S LUNDGREN/
  Supervisory Patent Examiner, Art Unit 1629




                                                                                 SLVGT-EPA_0106777
                                             Appx552
           Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 578 of 748 PageID #: 2769
        .,047'"ant.,,,              UNITED STATES PATENT AND TRADEMARK OFFICE
    4            :                                                                          UNITED STATES DEPARTMENT OF COMMERCE
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         APPLICATION NO.                       FILING DATE           FIRST NAMED INVENTOR      ATTORNEY DOCKET NO.       CONFIRMATION NO.

                     16/177,159                10/31/2018               Gerold L. Mosher           43060-707.304                  3572


                     21971              7590            03/06/2020
                                                                                                                   EXAMINER
                     WILSON, SONSINI, GOODRICH & ROSATI
                     650 PAGE MILL ROAD                                                                    SPRINGER, STEPHANIE K

                     PALO ALTO, CA 94304-1050
                                                                                                      ART UNIT                PAPER NUMBER

                                                                                                        1629


                                                                                                 NOTIFICATION DATE         DELIVERY MODE

                                                                                                     03/06/2020               ELECTRONIC



Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address(es):
patentdocket@wsgr.com




PTOL-90A (Rev. 04/07)

                                                                                                                 SLVGT-EPA_0106788
                                                                        Appx553
    Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 579 of 748 PageID #: 2770
                                                                                      Application No.                     Applicant(s)
                                                                                      16/177,159                          Mosher et al.
       Applicant-InitiatedInterview Summary                                           Examiner                            Art Unit           AIA (FITF) Status
                                                                                      STEPHANIE K                         1629               Yes
                                                                                      SPRINGER

  All participants (applicant, applicants representative, PTO personnel):

 (1) STEPHANIE K. SPRINGER.                                                          (3)

 (2) Clark Lin.                                                                      (4)

     Date of Interview: 28 February 2020.

       Type:         El Telephonic   0 Video Conference
                     0 Personal [copy given to: 0 applicant                         0 applicant's representative]

  Exhibit shown or demonstration conducted:                         0 Yes           0 No.
       If Yes, brief description:


 Issues Discussed            0101         0112         0102         0103         00thers
 (For each of the checked box(es) above, please describe below the issue and detailed description of the discussion)

 Claim(s) discussed: 1.

  Identification of prior art discussed:

 Substance of Interview
 (For each issue discussed, provide a detailed description and indicate if agreement was reached. Some topics may include: identification or clarification of a
 reference or a portion thereof, claim interpretation, proposed amendments, arguments of any applied references etc...)

  Discussed rejections of record. Examiner suggested presenting additional evidence supporting the breadth of the
  instantly claimed invention.

  No agreement was reached..




 Applicant recordation instructions: The formal written reply to the last Office action must include the substance of the interview. (See MPEP
 section 713.04). If a reply to the last Office action has already been filed, applicant is given a non-extendable period of the longer of one month or
 thirty days from this interview date, or the mailing date of this interview summary form, whichever is later, to file a statement of the substance of the
 interview.

 Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete and proper recordation of
 the substance of an interview should include the items listed in MPEP 713.04 for complete and proper recordation including the identification of the
 general thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the
 general results or outcome of the interview, to include an indication as to whether or not agreement was reached on the issues raised.

 0 Attachment

/Stephanie K Springer/                                                                /JEFFREY S LUNDGREN/
Examiner, Art Unit 1629                                                               Supervisory Patent Examiner, Art Unit 1629

U.S. Patent and Trademark Office
PTOL-413 (Rev. 8/11/2010)                                                Interview Summary                                             Paper No. 20200228
                                                                                                                                   SLVGT-EPA_0106789
                                                                           Appx554
     Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 580 of 748 PageID #: 2771
                                                      Summary of Record of Interview Requirements
Manual of Patent Examining Procedure (MPEP), Section 713.04, Substance of Interview Must be Made of Record
A complete written statement as to the substance of any face-to-face, video conference, or telephone interview with regard to an application must be made of record in the
application whether or not an agreement with the examiner was reached at the interview.

                                                       Title 37 Code of Federal Regulations (CFR) 1.133 Interviews
                                                                              Paragraph (b)

In every instance where reconsideration is requested in view of an interview with an examiner, a complete written statement of the reasons presented at the interview as
warranting favorable action must be filed by the applicant. An interview does not remove the necessity for reply to Office action as specified in §§ 1.111, 1.135. (35 U.S.C.
132)

                                                                 37 CFR §1.2 Business to be transacted in writing.
All business with the Patent or Trademark Office should be transacted in writing. The personal attendance of applicants or their attorneys or agents at the Patent and
Trademark Office is unnecessary. The action of the Patent and Trademark Office will be based exclusively on the written record in the Office. No attention will be paid to any
alleged oral promise, stipulation, or understanding in relation to which there is disagreement or doubt.


          The action of the Patent and Trademark Office cannot be based exclusively on the written record in the Office if that record is itself
incomplete through the failure to record the substance of interviews.
          It is the responsibility of the applicant or the attorney or agent to make the substance of an interview of record in the application file, unless
the examiner indicates he or she will do so. It is the examiners responsibility to see that such a record is made and to correct material inaccuracies
which bear directly on the question of patentability.

           Examiners must complete an Interview Summary Form for each interview held where a matter of substance has been discussed during the
interview by checking the appropriate boxes and filling in the blanks. Discussions regarding only procedural matters, directed solely to restriction
requirements for which interview recordation is otherwise provided for in Section 812.01 of the Manual of Patent Examining Procedure, or pointing out
typographical errors or unreadable script in Office actions or the like, are excluded from the interview recordation procedures below. Where the
substance of an interview is completely recorded in an Examiners Amendment, no separate Interview Summary Record is required.

            The Interview Summary Form shall be given an appropriate Paper No., placed in the right hand portion of the file, and listed on the
"Contents" section of the file wrapper. In a personal interview, a duplicate of the Form is given to the applicant (or attorney or agent) at the conclusion of
the interview. In the case of a telephone or video-conference interview, the copy is mailed to the applicants correspondence address either with or prior
to the next official communication. If additional correspondence from the examiner is not likely before an allowance or if other circumstances dictate, the
Form should be mailed promptly after the interview rather than with the next official communication.

           The Form provides for recordation of the following information:
           - Application Number (Series Code and Serial Number)
           - Name of applicant
           - Name of examiner
           - Date of interview
           - Type of interview (telephonic, video-conference, or personal)
           - Name of participant(s) (applicant, attorney or agent, examiner, other PTO personnel, etc.)
           - An indication whether or not an exhibit was shown or a demonstration conducted
           - An identification of the specific prior art discussed
               An indication whether an agreement was reached and if so, a description of the general nature of the agreement (may be by
               attachment of a copy of amendments or claims agreed as being allowable). Note: Agreement as to allowability is tentative and does
               not restrict further action by the examiner to the contrary.
           - The signature of the examiner who conducted the interview (if Form is not an attachment to a signed Office action)

            It is desirable that the examiner orally remind the applicant of his or her obligation to record the substance of the interview of each case. It
should be noted, however, that the Interview Summary Form will not normally be considered a complete and proper recordation of the interview unless
it includes, or is supplemented by the applicant or the examiner to include, all of the applicable items required below concerning the substance of the
interview.
           A complete and proper recordation of the substance of any interview should include at least the following applicable items:
           1) A brief description of the nature of any exhibit shown or any demonstration conducted,-
           2) an identification of the claims discussed,
           3) an identification of the specific prior art discussed,
           4) an identification of the principal proposed amendments of a substantive nature discussed, unless these are already described on
                 the Interview Summary Form completed by the Examiner,
           5) a brief identification of the general thrust of the principal arguments presented to the examiner,
                     (The identification of arguments need not be lengthy or elaborate. A verbatim or highly detailed description of the arguments is not
                     required. The identification of the arguments is sufficient if the general nature or thrust of the principal arguments made to the
                     examiner can be understood in the context of the application file. Of course, the applicant may desire to emphasize and fully
                     describe those arguments which he or she feels were or might be persuasive to the examiner.)
           6) a general indication of any other pertinent matters discussed, and
           7) if appropriate, the general results or outcome of the interview unless already described in the Interview Summary Form completed
                 by the examiner.
            Examiners are expected to carefully review the applicants record of the substance of an interview. If the record is not complete and accurate,
the examiner will give the applicant an extendable one month time period to correct the record.

                                                                    Examiner to Check for Accuracy

            If the claims are allowable for other reasons of record, the examiner should send a letter setting forth the examiners version of the statement
attributed to him or her. If the record is complete and accurate, the examiner should place the indication, Interview Record OK on the paper recording
the substance of the interview along with the date and the examiners initials.



                                                                                                                                         SLVGT-EPA_0106790
                                                                               Appx555
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 581 of 748 PageID #: 2772

                                                                    Attorney Docket No.: 43060-707.304



                  IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


In re the Application of:                                 Group Art Unit:        1629

Inventors:        Gerold L. Mosher, et al.                Confirmation No.: 3572
Serial No.:       16/177,159
                                                          Examiner:              SPRINGER, Stephanie K.
Filed:            October 31, 2018
                                                          Customer No.:          21971
Title:            ENALAPRIL FORMULATIONS
                                                                          Certificate of Electronic Filing
                                                          I hereby certify that the attached Response and all accompanying
                                                          papers is being deposited by Electronic Filing on May 15, 2020,
                                                          by using the EFS — Web patent filing system and
                                                          addressed to: Commissioner for Patents, P.O. Box 1450,
                                                          Alexandria, VA 22313-1450.
                                                          By:      /Paula Derby/
                                                                            Paula Derby



   Commissioner for Patents
   P.O. Box 1450
   Alexandria, VA 22313-1450

              RESPONSE TO NON-FINAL OFFICE ACTION DATED JANUARY 7, 2020

   Dear Commissioner:
              Applicant hereby submits a response to the Non-Final Office Action dated January 7,
   2020 (the "Office Action"). Applicant respectfully requests reconsideration and allowance of the
   pending claims.
              The response is submitted with a petition to obtain a two-month extension of time,
   extending the deadline for responding to June 7, 2020. The Commissioner is hereby authorized
   to charge any fees associated with the filing of this response to Deposit Account No. 23-2415,
   referencing Docket No. 43060-707.304.
              Prior to reconsidering this application on the merits, please amend the application as
   follows:
              Amendments to the Claims begin on page 2.
              Remarks begin on page 7.
              The Conclusion is on page 11.




                                                                                                SLVGT-EPA_0106791
                                                   Appx556
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  U.S. Patent Application No. 16/177,159                    Attorney Docket No.: 43060-707.304
  Response to the Non-Final Office Action dated January 7, 2020


                                     Amendments to the Claims
         This listing of claims will replace all prior versions, amendments and listings of claims in
  this application. The following amendments do not constitute an admission regarding the
  patentability of the amended subject matter and should not be so construed. Applicant reserves
  the right to pursue the subject matter of the withdrawn claims in this or any other appropriate
  patent application.


  Listing of the Claims:
  1. (Currently amended) An gable oral liquid formulation, comprising:
             (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or
     solvate thereof;
             (ii) a buffer comprising about 1 '1 mg/ml of a mixture of citric acid and sodium
     citrate, wherein the buffer is present at a concentration between about 5 mM and about 20
     mM in the oral liquid formulation;
             (iii) about 1 mg/ml sodium benzoate; and
             (iv) water;
                  wherein the formulation maintains is stable at about 5 ± 3° C for at least 12
         months; and
                  wherein the stable oral liquid formulation has about 95% w/w or greater of the
         initial enalapril amount and about 5% w/w or less total impurity or related substances at
         the end of a the given storage period of at least 12 months at about 5 ± 3° C.

  2. (Currently amended) The stable oral liquid formulation of claim 1 further comprising a
     sweetener.

  3. (Currently amended) The gable oral liquid formulation of claim 2, wherein the sweetener is
     sucralose.

  4. (Currently amended) The stable oral liquid formulation of claim 1 further comprising a
     flavoring agent.

  5. (Currently amended) The gable oral liquid formulation of claim 1, wherein the formulation
     does not contain mannitol.


                                                   2
                                                                                     SLVGT-EPA_0106792
                                               Appx557
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  U.S. Patent Application No. 16/177,159                    Attorney Docket No.: 43060-707.304
  Response to the Non-Final Office Action dated January 7, 2020


  6. (Currently amended) The gable oral liquid formulation of claim 1, wherein the formulation
     does not contain silicon dioxide.

  7. (Currently amended) The stable oral liquid formulation of claim 1, wherein the buffer
     comprises about 0.8 to about 3.5 mg/ml citric acid.

  8. (Currently amended) The gable oral liquid formulation of claim 1, wherein the buffer
     comprises about 0.1 to about 0.8 mg/ml sodium citrate.

  9. (Currently amended) The stable oral liquid formulation of claim 1, wherein the pH of the
     stable oral liquid formulation is less than about 3.5.

  10. (Currently amended) The gable oral liquid formulation of claim 1, wherein the pH of the
     gable oral liquid formulation is between about 3 and about 3.5.

  11. (Currently amended) The stable oral liquid formulation of claim 1, wherein the pH of the
     stable oral liquid formulation is about 3.3.

  12. (Canceled)

  13. (Currently amended) The gable oral liquid formulation of claim 1, wherein the preservative
     is sodium benzoate.

  14. (Canceled)

  15. (Currently amended) The gable oral liquid formulation of claim 1, wherein the formulation
     maintains about 95% w/w or greater of the initial enalapril amount at the end of a storage
     period of at least 18 months is stable at about 5 ± 3° C for at least 18 months.

  16. (Canceled)

  17. (Currently amended) An stable oral liquid formulation, consisting essentially of:
             (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or
     solvate thereof;
             (ii) a buffer comprising about 1       mg/ml of a mixture of citric acid and sodium
     citrate, wherein the buffer is present at a concentration between about 5 mM and about 20
     mM in the oral liquid formulation;
             (iii) about 1 mg/ml sodium benzoate; and


                                                      3
                                                                                      SLVGT-EPA_0106793
                                                Appx558
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  U.S. Patent Application No. 16/177,159                    Attorney Docket No.: 43060-707.304
  Response to the Non-Final Office Action dated January 7, 2020


             (iv) water; and
            (v) optionally a sweetener, a flavoring agent, or both;
             wherein the formulation maintains is stable at about 5 ± 3° C for at least 12 months;
     and
             wherein the stable oral liquid formulation has about 95% w/w or greater of the initial
     enalapril amount and about 5% w/w or less total impurity or related substances at the end of
     a the given storage period of at least 12 months at about 5 ± 3° C.

  18. (Canceled)


  19. (Currently amended) The stable oral liquid formulation of claim 31 further comprising a
     sweetener.

  20. (Currently amended) The stable oral liquid formulation of claim 19, wherein the sweetener
     is sucralose.

  21. (Currently amended) The stable oral liquid formulation of claim 31 further comprising a
     flavoring agent.

  22. (Currently amended) The stable oral liquid formulation of claim 31, wherein the formulation
     does not contain mannitol.

  23. (Currently amended) The stable oral liquid formulation of claim 31, wherein the formulation
     does not contain silicon dioxide.

  24. (Currently amended) The stable oral liquid formulation of claim 31, wherein the pH of the
     stable oral liquid formulation is less than about 3.5.

  25. (Currently amended) The stable oral liquid formulation of claim 31, wherein the pH of the
     stable oral liquid formulation is between about 3 and about 3.5.

  26. (Currently amended) The stable oral liquid formulation of claim 31, wherein the pH of the
     stable oral liquid formulation is about 3.3.

  27. (Canceled)




                                                    4
                                                                                   SLVGT-EPA_0106794
                                               Appx559
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 585 of 748 PageID #: 2776

  U.S. Patent Application No. 16/177,159                    Attorney Docket No.: 43060-707.304
  Response to the Non-Final Office Action dated January 7, 2020


  28. (Currently amended) The gable oral liquid formulation of claim 31, wherein the preservative
     is sodium benzoate.

  29. (Currently amended) The stable oral liquid formulation of claim 31, wherein the formulation
     maintains about 95% w/w or greater of the initial enalapril amount at the end of a storage
     period of at least 18 months is stable at about 5 ± 3° C for at least 18 months.

  30. (Canceled)

  31. (Currently amended) An gable oral liquid formulation, comprising:
             (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or
     solvate thereof;
             (ii) a buffer comprising ftlFreet--1-4-ffigiffri-ea mixture of citric acid and sodium
     citrate, wherein the buffer is present at a concentration between about 5 mM and about 20
     mM in the oral liquid formulation;
             (iii) about 1 mg/ml of a preservative, wherein the preservative is a paraben or a
     mixture of parabens; and
             (iv) water;
             wherein the formulation maintains is stable at about 5 ± 3° C for at least 12 months;
     and
             wherein the stable oral liquid formulation has about 95% w/w or greater of the initial
     enalapril amount and about 5% w/w or less total impurity or related substances at the end of
     a the given storage period of at least 12 months at about 5 ± 3° C.


  32. (New) The oral liquid formulation of claim 1, wherein the enalapril or a pharmaceutically
     acceptable salt or solvate thereof is enalapril maleate, and wherein the enalapril maleate is
     present in the oral liquid formulation at about 1.0 mg/ml.

  33. (New) The oral liquid formulation of claim 1, wherein the buffer is present at a concentration
     between about 10 mM and about 20 mM in the oral liquid formulation.

  34. (New) The oral liquid formulation of claim 1, wherein the buffer is present at a concentration
     of about 10 mM in the oral liquid formulation.




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                                                                                       SLVGT-EPA_0106795
                                                Appx560
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  35. (New) The oral liquid formulation of claim 31, wherein the enalapril or a pharmaceutically
     acceptable salt or solvate thereof is enalapril maleate, and wherein the enalapril maleate is
     present in the oral liquid formulation at about 1.0 mg/ml.

  36. (New) The oral liquid formulation of claim 31, wherein the buffer is present at a
     concentration between about 10 mM and about 20 mM in the oral liquid formulation.




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                                                                                    SLVGT-EPA_0106796
                                              Appx561
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                                                               Attorney Docket No.: 43060-707.304


                                              REMARKS
         Claims 1-11, 13, 15-17, 19-26, and 28-31 were pending in this application.

         By way of this response, claims 1-11, 13, 15, 17, 19-26, 28, 29, and 31 have been
  amended, and claims 16 and 30 are canceled. New claims 32-36 are added. Support for the
  amendments can be found throughout the specifications and the originally filed claims, for
  example, paragraphs [0038], [0039], [0066], and [0076], Example B, Example E, Table B-1,
  Table B-2, Table E-1, and Table E-2 of the instant application published as US 2019/0070147
  Al. No new matter is presented by way of the amendments.

         Upon entry of the amendments, claims 1-11, 13, 15, 17, 19-26, 28, 29, and 31-36 are
  pending and under examination.

         Withdrawal of any subject matter herein does not constitute an admission that the subject
  matter is unpatentable for any reason and Applicant reserves the right to file claims directed to
  withdrawn subject matter in this or a related application.



  Interview Summary (Interview of February 28, 2020)

         Applicant expresses its appreciation to Examiner Springer for conducting a telephone
  interview with Applicant's representative, Clark Lin, and for offering suggestions of overcoming
  the outstanding rejections. During the interview, the rejections of record were discussed, and it
  was suggested to the Applicant to present additional evidence supporting the pending claims.



  Rejection Under 35 U.S.C. 112(b)
         Claims 1-11, 13, 15-17, 19-26, and 28-31 were rejected under 35 U.S.C. § 112(b) as
  allegedly indefinite for reciting the term "stable."

         Without acquiescing to the Office's rejection, Applicant submits that the amended claims
  1-11, 13, 15-17, 19-26, and 28-31 do not recite the term "stable," rendering the rejection moot.
  Therefore, Applicant respectfully requests the rejection be withdrawn.



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  Rejection Under 35 U.S.C. §112(a)
         Claims 1-11, 13, 15-17, 19-26, and 28-31 were rejected under 35 U.S.C. § 112(a) as
  allegedly failing to comply with the written description requirement. Specifically, the Office
  remarks that the specification fails to provide adequate support for claim limitations reciting "a
  buffer comprising about 1-4 mg/ml of a mixture of citric acid and sodium citrate" in the
  independent claims.

         Without acquiescing to the Office's rejection, Applicant submits that the amended
  independent claims 1, 17 and 31 recite, in part, "wherein the buffer is present at a concentration
  between about 5 mM and about 20 mM in the oral liquid formulation." A buffer concentration
  "between about 5 mM and about 20 mM" was described in the instant application, published as
  US 2019/0070147 Al, e.g., in paragraph [0066], Example B, Example E, Table B-1, Table B-2,
  Table E-1.

         Applicant further submits an Inventor Declaration by Dr. Gerold Mosher dated May, 14,
  2020 (the "Mosher Declaration"), with evidence to overcome the §112(a) rejection asserted by
  the Office. In the Mosher Declaration, Dr. Mosher explains that:

                 The '159 application describes that stable oral enalapril liquid
         formulations can be prepared with suitable buffers including citrate buffers at
          varying concentrations. Formulations containing a mixture of citric acid and
         sodium citrate at various amounts as buffers are exemplified in the '159
         application, for example, formulations BI-B3 in Example B andformulations E1-
         E6 in Example E. The buffer concentrations of formulations El to E6 are the
         following:
                 Buffer Concentration       E1     E2    E3    E4    E5     E6
                 Citric acid (mg/mL)        3.29 3.29 3.29 3.29 1.65 0.82
                 Sodium citrate (mg/mL)      0.75 0.75 0.75 0.75 0.38 0.19
                 Citrate concentration (mM) 20     20    20    20    10     5

         Mosher Declaration, ¶13.

         In addition, Dr. Mosher provided additional embodiments of the citrate buffer-based
  formulations in the Mosher Declaration as "exemplary formulations H1 and H7-H13 presented
  below in Table 1, which all contain a mixture of citric acid and sodium citrate". See, Mosher



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                                                                                     SLVGT-EPA_0106798
                                               Appx563
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  Declaration, ¶15. According to the storage stability results illustrated in Table 2 and Table 3 (not
  reproduced here), formulations of Table 1 demonstrated excellent stability. See, Mosher
  Declaration, ¶17-18, Table 2, and Table 3.

                                                   Table 1
                                 Compositions (mg/mL) for Stability Testing
                                H1        H7        H8        H9        H10       H11       H12       H13
         Ingredients           Citrate   Citrate   Citrate   Citrate   Citrate   Citrate   Citrate   Citrate
  Citric acid, anhydrous        1.82      1.92      1.92      1.92      1.92      1.92      3.84      3.84
  Sodium citrate, dihydrate     0.15
  Citrate concentration (mM)     10        10        10        10        10        10        20        20
  Sodium benzoate               1.00      1.00      1.00      1.00      1.00      1.00      1.00      1.00
  Sucralose NF                  0.70      0.70      0.70      0.70
  Enalapril Maleate             1.00      1.00      1.00      1.00      1.00      1.00      1.00      1.00
  Purified water                 qs        qs        qs        qs        qs        qs        qs        qs
  pH                            3.3       3.3       4.0       4.5        3         4         3          4



          Dr. Mosher explains: "Table E-2 and Tables 1-3 show that formulations of the '159
  application can be prepared using a mixture of citric acid and sodium citrate, and the amount of
  the total citrate can vary, at least between about 5 mM and about 20 mM. All the formulations in
  Table E-2 and Tables 1-3 demonstrated superior stability, e.g., retaining greater than about 98%
  of the initial enalapril maleate content and having less than about 2% w/w total impurity after 52
  weeks at 5 °C." Mosher Declaration, ¶19.

          Dr. Mosher further remarks that "although formulations exemplified in the '159
  application and in Tables 1-3 have a total citrate amount of about 5 mM, 10 mM or 20 mM, I
  would expect that similar formulations having a total citrate amount between about 5 mM and
  about 20 mM to have similar, superior stability as the exemplified formulations." Mosher
  Declaration, ¶20.

          Thus, Applicant submits a person of ordinary skill in the art reading the present
  disclosure, for example, paragraph [0066] and Examples B and E, would appreciate that the
  disclosed formulations can be prepared with a mixture of citric acid and sodium citrate as a




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                                                     Appx564
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  buffer at a concentration of at least between about 5 mM and about 20 mM. Therefore, the
  amended claims are supported for written description purposes in the instant application.

         Accordingly, Applicant respectfully requests reconsideration and allowance of the
  pending claims.




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                                                                                   SLVGT-EPA_0106800
                                              Appx565
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                                          CONCLUSION
         Applicant submits that this response fully addresses the Non-Final Office Action mailed
  on January 7, 2020. Applicant believes that for the reasons set forth herein the pending claims
  are in condition for allowance and early and favorable consideration is respectfully requested.
         Should the Examiner have any questions or concerns, the Examiner is encouraged to
  contact the undersigned attorney at (617) 598-7823.
                                               Respectfully submitted,
                                               WILSON SONSINI GOODRICH & ROSATI
                                               Professional Corporation



  Date: May 15, 2020                           By: /Clark Lin/
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                                                                                   SLVGT-EPA_0106801
                                              Appx566
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                                                                      Attorney Docket No. 43060-707.304

                     IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



 In re the Application of:                              Group Art Unit:        1629

 Inventors:      Gerold L. Mosher, et al.               Confirmation No.: 3572

 Serial No.:     16/177,159                             Examiner:              SPRINGER, Stephanie K

 Filed:          October 31, 2018                       Customer No.:          21971
 Title:          ENALAPRIL FORMULATIONS
                                                                        Certificate of Electronic Filing
                                                        I hereby certify that the attached Response and all accompanying
                                                        papers is being deposited by Electronic Filing on May 15, 2020,
                                                        by using the EFS — Web patent filing system and
                                                        addressed to: Commissioner for Patents, P.O. Box 1450,
                                                        Alexandria, VA 22313-1450.

                                                        By:      /Paula Derby/



  Mail Stop Amendment
  Commissioner for Patents
  P.O. Box 1450
  Alexandria, VA 22313-1450


                DECLARATION OF GEROLD MOSHER UNDER 37 C.F.R. & 1.132

          I, Gerold Mosher, state and declare as follows:

          1.       I am currently employed at Azurity Pharmaceuticals, Inc., a company formed in May
  2019 by the acquisition of Silvergate Pharmaceuticals, Inc. by CutisPharma, Inc.

          2.       I received my Bachelor's degree in Pharmacy from the University of Kansas in 1979.
  I also received a Master and a Doctor of Philosophy in Pharmaceutical Chemistry in 1984 and 1986,
  respectively, from the University of Kansas.

          3.       I have been employed at Silvergate Pharmaceuticals and now Azurity
  Pharmaceuticals since 2013, and my current position is Vice President of Product Development. As
  part of my job duties, I develop oral formulations for pediatric use. I have a small laboratory where I



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  develop, characterize and move formulations through the steps required for FDA approval and
  eventual sale.

         4.        Early in my career, I practiced pharmacy for two years from 1979 to 1981.
  Subsequently, I worked in large pharmaceutical companies (Eli Lilly and Merck) for about ten years
  where I focused primarily on pre-formulation and early phase formulations of new drug products.
  After leaving these companies and prior to Silvergate Pharmaceuticals, I have also been employed
  by small startup companies to develop new solubilizing technology for oral, injectable, and
  inhalation formulations.

          5.       In total, I have been in the field of pharmaceutical chemistry for about 40 years, and
  have extensive experience in developing pharmaceutical formulations. My Curriculum Vitae is
  attached as Exhibit A.

         6.        I am familiar with the subject matter claimed in U.S. Pat. App. Ser. No.
  16/177,159 ("the '159 application"), and I am a named inventor on this application. Silvergate
  Pharmaceuticals, Inc. is the assignee of all rights in the invention of the pending '159 application.

          7.       I am aware of the Non-Final Office Action mailed in this matter on January 7, 2020. I
  am also aware that the pending claims were rejected under 35 U.S.C. 112(b) and 35 U.S.C. 112(a).

         8.        I am submitting this declaration to address some of the comments made in the Office
  Action,.

         9.        The '159 application relates to enalapril oral liquid formulations that are stable at
  about 5±3 °C for at least 12 months. The development of this described enalapril formulation was
  oriented on preparing a safe, stable, uniform oral liquid with minimal degradation and having an
  acceptable taste for pediatric patients.

          10.      Traditionally, approved methods of delivering enalapril to pediatric patients requires
  (1) administering a solid enalapril tablet or portion thereof to the patient, (2) extemporaneously
  preparing an oral liquid suspension from enalapril tablets and a diluent, such as the method described
  in "Nahata" and subsequently administering the suspension to the patient, or (3) reconstituting a
  powder in a liquid carrier. All of these methods are undesirable and have limitations. For tablets, it is
  well known that children have difficulty swallowing solid oral dosage forms. For the second method,


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                                                 Appx568
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  extemporaneously prepared oral liquids present additional challenges and issues with respect to
  dosing accuracy and stability, as well as can introduce compounding errors and cross-contamination.

         11.       Compared to these currently available methods, the enalapril oral liquid formulation
  claimed in the '159 application provides several advantages:

               •   Improved ease of administration. It is easier for many patients to swallow a liquid
                   than to swallow a tablet,
               •   Patient Compliance. Patients are more likely to take a dose that is not difficult to
                   swallow, or difficult to prepare,
               •   Accuracy of dosing. The prescribing information for enalapril tablets provides dosing
                   guidelines based on the weight of the child. When one only has fixed 2.5, 5 or 10 mg
                   tablets available, it is difficult if not impossible to break the tablets in such a way to
                   get an exact dose if the dose is something other than the tablet strength. In addition, if
                   tablets are compounded into a suspension, the tablets are crushed in a mortar and then
                   mixed with a liquid. There is no guarantee that the drug dissolves in, or is dispersed
                   evenly in the liquid (thus leading to potential dosing errors. Moreover, there is always
                   the chance of contamination of the resulting liquid by residual drugs or substances in
                   the mortar. Similarly, in reconstitutable powders, there is also no guarantee that the
                   powder dissolves or disperses evenly in the diluent.

         12.       The oral enalapril liquid formulations of the '159 application have superior
  stability—they are stable at 5±3 °C for 12 months or longer with minimal degradation. The stability
  is an important aspect of the present formulations. It contributes to the consistency and uniformity
  of the formulations as well as allows for accuracy of dosing to patients.

         13.       The '159 application describes that stable oral enalapril liquid formulations can be
  prepared with suitable buffers including citrate buffers at varying concentrations. Formulations
  containing a mixture of citric acid and sodium citrate at various amounts as buffers are exemplified
  in the '159 application, for example, formulations Bl-B3 in Example B and formulations E1-E6 in
  Example E. The buffer concentrations of formulations El to E6 are the following:

                    Buffer Concentration           E1      E2     E3     E4      E5     E6



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                   Citric acid (mg/mL)              3.29    3.29    3.29    3.29    1.65      0.82
                   Sodium citrate (mg/mL)           0.75    0.75    0.75    0.75    0.38      0.19
                   Citrate concentration (mM)       20      20      20      20      10        5


         14.     The storage stability of formulations E1-E6 is summarized in Table E-2, partially
  copied below for the stability results at 5 °C. After storing at about 5 °C for a period of 52 or 62
  weeks, the combined amount of two primary degradants, Enalaprilat and diketopiperazine, remained
  less than 1   w/w, demonstrating excellent formulation stability. As shown in Table E-2, the
  formulations prepared with 5 mM, 10 mM or 20 mM of a mixture of citric acid and sodium citrate as
  a buffer have comparable stability over 52 weeks at about 5 °C.

                                                   TABLE E-2
                             Degradant Content After Storage (% w/w of enalapril maleate)
                                     Storage                            Formulation
                                  °C     Weeks       El        E2      E3         E4         E5       E6
            Diketopiperazine       5       0        0.01      0.01    0.01       0.01       0.01     0.01
                                            4       0.04      0.04    0.05       0.04       0.03     0.03
                                           8        0.04      0.04    0.04       0.04       0.03     0.03
                                           12       0.05      0.05    0.04       0.05       0.04     0.04
                                           26       0.07      0.06    0.05       0.06       0.05     0.05
                                           52                                               0.15     0.14
                                          62        0.18      0.18    0.16       0.14
            Enalaprilat            5       0        0.00      0.00    0.01       0.02       0.00     0.00
                                            4       0.07      0.09    0.10       0.11       0.07     0.08
                                           8        0.12      0.14    0.10       0.13       0.09     0.08
                                           12       0.16      0.15    0.15       0.17       0.14     0.11
                                           26       0.31      0.30    0.29       0.31       0.27     0.24
                                           52                                               0.54     0.46
                                          62        0.75      0.75    0.74       0.71



         15.     Further evidence of the superior stability of the citrate buffer-based formulations
  disclosed in the '159 application can be found in exemplary formulations H1 and H7-H13 presented
  below in Table 1, which all contain a mixture of citric acid and sodium citrate.

         16.     Formulations H1 and H7-H13 were prepared according to the compositions in Table
  1 and titrated if needed to the target pH with 5N hydrochloric acid or 5N sodium hydroxide.
  Formulations H1 and H7-H9 were placed into HDPE containers and sealed with screw caps and
  induction sealing and stored at 5 °C. Formulations H10-H13 were placed into glass containers,
  sealed with Teflon lined screw caps and stored at 60 °C. The formulations were sampled at various



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  times during storage. Samples were analyzed by HPLC for enalapril maleate and enalapril related
  substances. The results of the analyses are presented in Table 2 and Table 3.

          17.         The enalapril maleate assay results in Table 2 show that formulations H1 and H7-H9
  retain greater than 98% of the initial enalapril maleate content and have less than 2% of total
  impurity after 52 weeks at 5 °C. Formulations H1 and H7-H9 demonstrated excellent stability.
  Further, by comparing the amounts of the two primary degradants (i.e., Diketopiperazine and
  Enalaprilat) in Table 2 and Table E-2, it can be expected that formulations El-E6 have comparable
  stability to formulations H1 and H7-H9.

          18.         In Table 3, the stability of formulations prepared with a mixture of citric acid and
  sodium citrate as a buffer at two different concentrations and pH values were compared under an
  accelerated condition at 60 °C. The results in Table 3 show that a citrate buffer concentration of
  about 10 mM or 20 mM, at least when adjusted to a pH value of about 3-4, are suitable to be used in
  formulations of the '159 application and yield similar stability.

                                                               Table 1
                                           Compositions (mg/mL) for Stability Testing
                                   H1           H7             H8             H9            H10        H11        H12       H13
          Ingredients            Citrate       Citrate     Citrate         Citrate        Citrate     Citrate    Citrate   Citrate
  Citric acid, anhydrous          1.82          1.92           1.92         1.92            1.92       1.92       3.84      3.84
  Sodium citrate, dihydrate       0.15
  Citrate concentration (mM)       10            10            10             10            10          10         20        20
  Sodium benzoate                 1.00          1.00           1.00         1.00            1.00       1.00       1.00      1.00
  Sucralose NF                    0.70          0.70           0.70         0.70
  Enalapril Maleate               1.00          1.00           1.00         1.00            1.00       1.00       1.00      1.00
  Purified water                   qs            qs             qs            qs            qs          qs         qs        qs
  pH                               3.3          3.3            4.0            4.5            3           4         3         4



                                                            Table 2
                                                Assay and Total Degradant Content After Storage
                                                     Storage                                     Formulation
                                                   °C Weeks            H1            H7           H8      H9
                           Enalapril Maleate          5    0          100.0         100.0     100.0     100.0
                           (% initial)                     2          100.1         100.7     100.4     100.3
                                                           4          100.2          99.8     100.0     99.6
                                                           8          100.0          99.6     100.9     100.7


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                                                      24          99.8       100.4   100.1     99.8
                                                      28          99.8        99.7
                                                      36                             99.9      99.4
                                                      52          99.9       99.8    99.5      99.2
                        Diketopiperazine     5        0           <0.05      <0.05   <0.05     <0.05
                        (% w/w of                     2           <0.05      <0.05   <0.05     <0.05
                        enalapril maleate)             4          <0.05      <0.05   <0.05     <0.05
                                                      8           <0.05      <0.05   <0.05     <0.05
                                                      24          0.06        0.07   <0.05     <0.05
                                                      28          0.09        0.10
                                                      36                             0.06      <0.05
                                                      52          0.14       0.12    0.07      <0.05
                        Enalaprilat          5        0           <0.05      <0.05   0.09      0.10
                        (% w/w of                     2           0.06        0.07   0.13      0.16
                        enalapril maleate)             4          0.08        0.08   0.17      0.24
                                                      8           0.15        0.14   0.27      0.37
                                                      24          0.19        0.20   0.41      0.58
                                                      28          0.35        0.36
                                                      36                             0.85      1.17
                                                      52          0.53       0.52    1.10      1.49
                        Total Impurities     5        0           <0.05      <0.05   0.09      0.10
                        (% w/w of                     2           0.07        0.07   0.14      0.16
                        enalapril maleate)             4          0.09        0.10   0.20      0.26
                                                      8           0.18        0.18   0.31      0.41
                                                      24          0.25        0.27   0.43      0.60
                                                      28          0.44        0.46
                                                      36                             0.91      1.20
                                                      52          0.68       0.65    1.18      1.53



                                               Table 3
                         Assay Results After Storage of Formulations at 60 °C
                                    Enalapril Maleate, pH 3 (% initial)          Enalapril Maleate, pH 4 (% initial)
               Buffer       mM     0 Days 2 Days 4 Days 7 Days                  0 Days 2 Days 4 Days 7 Days
       Citrate              10      100.0     97.1         97.2       95.5       100.0       97.2       96.6    94.6
                            20      100.0     97.1         96.8       95.2       100.0       96.8       96.4    94.4




         19.       As presented above, Table E-2 and Tables 1-3 show that formulations of the '159
  application can be prepared using a mixture of citric acid and sodium citrate, and the amount of the
  total citrate can vary, at least between about 5 mM and about 20 mM. All the formulations in Table
  E-2 and Tables 1-3 demonstrated superior stability, e.g., retaining greater than about 98% of the



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  in itial enalapril maleate content. and having less than about 2% wiw total   purity after s2 weeks at
  5 'C.

          20,    Further, although formulations exemplified in the '159 application and in Tables 1-3
  have a total citrate amount of about 5 mM, 10 inNI or 20 .€nM, I would expect that
  formulations having a total citrate amount between about 5 mM and about 20 itiM to have similar;
  superior stability as the exemplif€ed formulations,

          .21.   I declare that .all statements made herein are true to the best of my l€nowledge, or if
  made upon information and belief, are believed to be true; and further that these statements were
  made with the knowledge that willful false statements and the like so made are punishable by fine or
  imprisonment, or both, under Section 1001 of Title 18 of the United States Code and that such
  willful f se statements may jeopardize the validity of the application or any patent issued thereon.



     Respectfully submitted on this 15-12.f.iay of      2020




     Gerold L. Mosher, PhD.




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                                                                           Attorney Docket No. 43060-707.304
                                                                                                   PATENT

                   IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


    Inventor:                    MOSHER; Gerold L.               Group Art Unit:               1629
                                 et al.
    Serial Number:               16/177,159                      Examiner:                     SPRINGER,
                                                                                               Stephanie K.
    Filing or 371 (c)            2018-10-31                      CONFIRMATION
    Date:                                                        NO:                           3572
    Title:                       ENALAPRIL
                                 FORMULATIONS



                     FILED ELECTRONICALLY ON: June 5. 2020

  Commissioner for Patents
  P.O. Box 1450
  Alexandria VA 22313-1450

                SUPPLEMENTAL INFORMATION DISCLOSURE STATEMENT
                               UNDER 37 CFR & 1.97

  Commissioner for Patents:

          An Information Disclosure Statement along with attached PTO/SB/08 is hereby submitted. A copy
  of each listed publication is submitted, if required, pursuant to 37 CFR §§1.97-1.98, as indicated below.
          The Examiner is requested to review the information provided and to make the information of
  record in the above-identified application. The Examiner is further requested to initial and return the
  attached PTO/SB/08 in accordance with MPEP § 609.
          The right to establish the patentability of the claimed invention over any of the information
  provided herewith, and/or to prove that this information may not be prior art, and/or to prove that this
  information may not be enabling for the teachings purportedly offered, is hereby reserved.
          This statement is not intended to represent that a search has been made or that the information cited
  in the statement is, or is considered to be, prior art or material to patentability as defined in § 1.56.




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                                                     Appx574
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 600 of 748 PageID #: 2791




  A. ❑ 37 CFR § 1.97 (b). This Information Disclosure Statement should be considered by the Office
     because:
           ❑       (1)      It is being filed within 3 months of the filing date of a national application and is
                            other than a continued prosecution application under § 1.53 (d);
                                     -- OR --
           ❑       (2)      It is being filed within 3 months of entry of the national stage as set forth in § 1.491
                            in an international application;
                                     -- OR --
                   (3)      It is being filed before the mailing of a first Office action on the merits;
                                     -- OR --
           ❑       (4)      It is being filed before the mailing of a first Office action after the filing of a request
                            for continued examination under § 1.114.
  B. Z 37 CFR § 1.97(c). Although this Information Disclosure Statement is being filed after the period
     specified in 37 CFR § 1.97(b), above, it is filed before the mailing date of the earlier of (1) a final office
     action under § 1.113, (2) a notice of allowance under § 1.311, or (3) an action that otherwise closes
     prosecution in the application, this Information Disclosure Statement should be considered because it
     is accompanied by one of:
                   a statement as specified in §1.97 (e) provided concurrently herewith;
                                     -- OR --
           •       a fee of $240.00 as set forth in § 1.17 (p) authorized below, enclosed, or included with the
                   payment of other papers filed together with this statement.
  C.   n    37 CFR § 1.97 (d). Although this Information Disclosure Statement is being filed after the mailing
       date of the earlier of (1) a final office action under § 1.113, (2) a notice of allowance under § 1.311, or
       (3) an action that otherwise closes prosecution in the application, it is being filed before payment of the
       issue fee and should be considered because it is accompanied by:
                    i. a statement as specified in § 1.97 (e);
                            -- AND --
                   ii. a fee of $240.00 as set forth in §1.17(p) is authorized below, enclosed, or included with
                       the payment of other papers filed together with this Statement.
  D. ❑ 37 CFR §1.97 (e). Statement.

           ❑       A statement is provided herewith to satisfy the requirement under 37 CFR §§ 1.97 (c);
                                     -- AND/OR
           ❑       A statement is provided herewith to satisfy the requirement under 37 CFR §§ 1.97 (d);
                                     -- AND/OR --
                   A copy of a dated communication from a foreign patent office clearly showing that the
                   information disclosure statement is being submitted within 3 months of the filing date on
                   the communication is provided in lieu of a statement under 37 C.F.R. § 1.97(e) (1) as
                   provided for under MPEP 609.04(b) V.



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Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 601 of 748 PageID #: 2792



  E. ❑ Statement Under 37 C.F.R. §1.704(d). Each item of information contained in the information
     disclosure statement was first cited in any communication from a patent office in a counterpart foreign
     or international application or from the Office or is a communication that was issued by a patent office
     in a counterpart foreign or international application or by the Office that was received by an individual
     designated in § 1.56(c) not more than thirty (30) days prior to the filing of this information disclosure
     statement. This statement is made pursuant to the requirements of 37 C.F.R. §1.704(d) to avoid
     reduction of the period of adjustment of the patent term for Applicant(s) delay.
  F. [Z] 37 CFR §1.98 (a) (2). The content of the Information Disclosure Statement is as follows:
          ❑       Copies of each of the references listed on the attached Form PTO/SB/08 are enclosed
                  herewith.
                                   -- OR --
          ❑       Copies of U.S. Patent Documents (issued patents and patent publications) listed on the
                  attached Form PTO/SB/08 are not enclosed.
                                   --AND/OR--
                  Copies of Foreign Patent Documents and/or Non Patent Literature Documents listed on the
                  attached Form PTO/SB/08 are enclosed in accordance with 37 CFR §1.98 (a)(2).
                                   -- AND/OR --
                  Copies of pending unpublished U.S. patent applications are enclosed in accordance with
                  37 CFR §1.98 (a) (2) (iii).
  G. ❑ 37 CFR §1.98(a)(3). The Information Disclosure Statement includes non-English patents and/or
     references.
          ❑       Pursuant to 37 CFR §1.98(a)(3)(i), a concise explanation of the relevance of each patent,
                  publication or other information provided that is not in English is provided herewith.
                  ❑       Pursuant to MPEP 609(B), an English language copy of a foreign search report is
                          submitted herewith to satisfy the requirement for a concise explanation where non-
                          English language information is cited in the search report.
                                   -- OR --
                          A concise explanation of the relevance of each patent, publication or other
                          information provided that is not in English is as follows:
          ❑       Pursuant to 37 CFR §1.98(a) (3) (ii), a copy of a translation, or a portion thereof, of the
                  non-English language reference(s) is provided herewith.
  H. ❑ 37 CFR §1.98(d). Copies of patents, publications and pending U.S. patent applications, or other
     information specified in 37 C.F.R. § 1.98(a) are not provided herewith because:
          ❑       Pursuant to 37 CFR §1.98(d)(1) the information was previously submitted in an
                  Information Disclosure Statement, or cited by examiner for another application under
                  which this application claims priority for an earlier effective filing date under 35 U.S.C.
                  120.
                  Application in which the information was submitted:
                  Information Disclosure Statement(s) filed on:
                                   AND
                  The information disclosure statement submitted in the earlier application complied with
                  paragraphs (a) through (c) of 37 CFR §1.98.
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                                                  Appx576
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 602 of 748 PageID #: 2793



  I.   [El Fee Authorization. The Commissioner is hereby authorized to charge the above-referenced fees of
       $240.00 and charge any additional fees or credit any overpayment associated with this communication
       to Deposit Account No. 23-2415 (Docket No.43060-707.304).

                                                          Respectfully submitted,

                                                          WILSON SONSINI GOODRICH & ROSATI



  Dated:     June 5, 2020                                 By:        /Clark Lin/
                                                                Clark Y. Lin, Reg. No. 67,024
  650 Page Mill Road
  Palo Alto, CA 94304-1050
  (650) 493-9300
  Customer No. 21971




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               Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 603 of 748 PageID #: 2794
  / er"        b3At,,,\   UNITED STATES PATENT AND TRADEMARK OFFICE
(4,       A\                                                                                      UNITED STATES DEPARTMENT OF COMMERCE
                                                                                                   United States Patent and Trademark Office
                                                                                                  Address: COMMISSIONER FOR PATENTS
      .-.4-'1. ''‘‘                                                                                       P.O. Box 1450
 I% .... -?_._ ev                                                                                         Alexandria, Virginia 22313-1450
                                                                                                          www.uspto.gov
  INtNT„,co,


                                         NOTICE OF ALLOWANCE AND FEE(S) DUE
                                                                                                                                     EXAMINER
          21971             7590          07/16/2020
      WILSON, SONSINI, GOODRICH & ROSATI                                                                                          RAO, SAVITHA M

      650 PAGE MILL ROAD
                                                                                                                       ART UNIT                 PAPER NUMBER
      PALO ALTO, CA 94304-1050
                                                                                                                         1629

                                                                                                             DATE MAILED: 07/16/2020



      APPLICATION NO.              FILING DATE                         FIRST NAMED INVENTOR                    ATTORNEY DOCKET NO.          CONFIRMATION NO.

          16/177,159                10/31/2018                            Gerold L. Mosher                           43060-707.304                  3572

TITLE OF INVENTION: ENALAPRIL FORMULATIONS



      APPLN. TYPE             ENTITY STATUS            ISSUE FEE DUE   PUBLICATION FEE DUE    PREY. PAID ISSUE FEE     TOTAL FEE(S) DUE            DATE DUE

      nonprovisional         UNDISCOUNTED                 $1000                $0.00                 $0.00                   $1000                 10/16/2020


THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PATENT.
PROSECUTION ON THE MERITS IS CLOSED. THIS NOTICE OF ALLOWANCE IS NOT A GRANT OF PATENT RIGHTS.
THIS APPLICATION IS SUBJECT TO WITHDRAWAL FROM ISSUE AT THE INITIATIVE OF THE OFFICE OR UPON
PETITION BY THE APPLICANT. SEE 37 CFR 1.313 AND MPEP 1308.

THE ISSUE FEE AND PUBLICATION FEE (IF REQUIRED) MUST BE PAID WITHIN THREE MONTHS FROM THE MAILING
DATE OF THIS NOTICE OR THIS APPLICATION SHALL BE REGARDED AS ABANDONED. THIS STATUTORY PERIOD
CANNOT BE EXTENDED. SEE 35 U.S.C. 151. THE ISSUE FEE DUE INDICATED ABOVE DOES NOT REFLECT A CREDIT
FOR ANY PREVIOUSLY PAID ISSUE FEE IN THIS APPLICATION. IF AN ISSUE FEE HAS PREVIOUSLY BEEN PAID IN
THIS APPLICATION (AS SHOWN ABOVE), THE RETURN OF PART B OF THIS FORM WILL BE CONSIDERED A REQUEST
TO REAPPLY THE PREVIOUSLY PAID ISSUE FEE TOWARD THE ISSUE FEE NOW DUE.

HOW TO REPLY TO THIS NOTICE:

I. Review the ENTITY STATUS shown above. If the ENTITY STATUS is shown as SMALL or MICRO, verify whether entitlement to that
entity status still applies.
If the ENTITY STATUS is the same as shown above, pay the TOTAL FEE(S) DUE shown above.
If the ENTITY STATUS is changed from that shown above, on PART B - FEE(S) TRANSMITTAL, complete section number 5 titled
"Change in Entity Status (from status indicated above)".
For purposes of this notice, small entity fees are 1/2 the amount of undiscounted fees, and micro entity fees are 1/2 the amount of small entity
fees.



II. PART B - FEE(S) TRANSMITTAL, or its equivalent, must be completed and returned to the United States Patent and Trademark Office
(USPTO) with your ISSUE FEE and PUBLICATION FEE (if required). If you are charging the fee(s) to your deposit account, section "4b"
of Part B - Fee(s) Transmittal should be completed and an extra copy of the form should be submitted. If an equivalent of Part B is filed, a
request to reapply a previously paid issue fee must be clearly made, and delays in processing may occur due to the difficulty in recognizing
the paper as an equivalent of Part B.

III. All communications regarding this application must give the application number. Please direct all communications prior to issuance to Mail
Stop ISSUE FEE unless advised to the contrary.

IMPORTANT REMINDER: Maintenance fees are due in utility patents issuing on applications filed on or after Dec. 12, 1980.
It is patentee's responsibility to ensure timely payment of maintenance fees when due. More information is available at
www.uspto.gov/PatentMaintenanceFees.
                                                               Page 1 of 3                            SLVGT-EPA_0106991
PTOL-85 (Rev. 02/11)                                                       Appx578
           Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 604 of 748 PageID #: 2795
                                      PART B - FEE(S) TRANSMITTAL
Complete and send this form, together with applicable fee(s), by mail or fax, or via EFS-Web.
By mail, send to:          Mail Stop ISSUE FEE                                                                                           By fax, send to:      (571)-273-2885
                           Commissioner for Patents
                           P.O. Box 1450
                           Alexandria, Virginia 22313-1450
INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should be completed where appropriate. All
further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as indicated unless corrected
below or directed otherwise in Block 1, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for maintenance fee notifications.
                                                                                                 Note: A certificate of mailing can only be used for domestic mailings of the
                                                                                                 Fee(s) Transmittal. This certificate cannot be used for any other accompanying
   CURRENT CORRESPONDENCE ADDRESS (Note: Use Block 1 for any change of address)
                                                                                                 papers. Each additional paper, such as an assignment or formal drawing, must
                                                                                                 have its own certificate of mailing or transmission.
        21971              7590             07/16/2020                                                                 Certificate of Mailing or Transmission
    WILSON, SONSINI, GOODRICH & ROSATI                                                             I hereby certify that this Fee(s) Transmittal is being deposited with the United
                                                                                                   States Postal Service with sufficient postage for first class mail in an envelope
    650 PAGE MILL ROAD                                                                             addressed to the Mail Stop ISSUE FEE address above, or being transmitted to
    PALO ALTO, CA 94304-1050                                                                       the USPTO via EFS-Web or by facsimile to (571) 273-2885, on the date below.
                                                                                                                                                                 (Typed or printed name)
                                                                                                                                                                             (Signature)
                                                                                                                                                                                 (Date)



    APPLICATION NO.                FILING DATE                               FIRST NAMED INVENTOR                           ATTORNEY DOCKET NO.           CONFIRMATION NO.

        16/177,159                  10/31/2018                                   Gerold L. Mosher                                43060-707.304                     3572

TITLE OF INVENTION: ENALAPRIL FORMULATIONS

     APPLN. TYPE             ENTITY STATUS               ISSUE FEE DUE        PUBLICATION FEE DUE        PREY. PAID ISSUE FEE       TOTAL FEE(S) DUE             DATE DUE

    nonprovisional          UNDISCOUNTED                    $1000                      $0.00                       $0.00                       $1000             10/16/2020



                  EXAMINER                                 ART UNIT             CLASS-SUBCLASS

                RAO, SAVITHA M                               1629                   514-183000

1. Change of correspondence address or indication of "Fee Address" (37          2. For printing on the patent front page, list
CFR 1.363).                                                                     (1) The names of up to 3 registered patent attorneys
                                                                                or agents OR, alternatively,                               1
   ❑ Change of correspondence address (or Change of Correspondence              (2) The name of a single firm (having as a member a
   Address form PTO/SB/122) attached.
                                                                                registered attorney or agent) and the names of up to      2
                                                                                2 registered patent attorneys or agents. If no name is
   ❑ "Fee Address" indication (or "Fee Address" Indication form PTO/            listed, no name will be printed.
   SB/47; Rev 03-09 or more recent) attached. Use of a Customer                                                                           3
   Number is required.
3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document must have been previously
   recorded, or filed for recordation, as set forth in 37 CFR 3.11 and 37 CFR 3.81(a). Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                      (B) RESIDENCE: (CITY and STATE OR COUNTRY)



Please check the appropriate assignee category or categories (will not be printed on the patent) : ❑ Individual ❑ Corporation or other private group entity ❑ Government
4a. Fees submitted:       ❑Issue Fee      ❑Publication Fee (if required)         ❑Advance Order - # of Copies
4b. Method of Payment: (Please first reapply any previously paid fee shown above)
   ❑ Electronic Payment via EFS-Web           ❑ Enclosed check           ❑ Non-electronic payment by credit card (Attach form PTO-2038)
   ❑ The Director is hereby authorized to charge the required fee(s), any deficiency, or credit any overpayment to Deposit Account No.



5. Change in Entity Status (from status indicated above)
                                                                             NOTE: Absent a valid certification of Micro Entity Status (see forms PTO/SB/15A and 15B), issue
   ❑ Applicant certifying micro entity status. See 37 CFR 1.29               fee payment in the micro entity amount will not be accepted at the risk of application abandonment.
                                                                             NOTE: If the application was previously under micro entity status, checking this box will be taken
   ❑ Applicant asserting small entity status. See 37 CFR 1.27                to be a notification of loss of entitlement to micro entity status.
                                                                             NOTE: Checking this box will be taken to be a notification of loss of entitlement to small or micro
   ❑ Applicant changing to regular undiscounted fee status.                  entity status, as applicable.
NOTE: This form must be signed in accordance with 37 CFR 1.31 and 1.33. See 37 CFR 1.4 for signature requirements and certifications.

   Authorized Signature                                                                                     Date

   Typed or printed name                                                                                    Registration No.


                                                                                  Page 2 of 3                                                  SLVGT-EPA_0106992
PTOL-85 Part B (08-18) Approved for use through 01/31/2020
                                                                                   Appx579
                                                                                OMB 0651-0033         U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 605 of 748 PageID #: 2796
 / er"         b3At,,,\   UNITED STATES PATENT AND TRADEMARK OFFICE
(4,       A\                                                                     UNITED STATES DEPARTMENT OF COMMERCE
                                                                                 United States Patent and Trademark Office
                                                                                 Address: COMMISSIONER FOR PATENTS
          -.4-'1.                                                                        P.O. Box 1450
                                                                                         Alexandria, Virginia 22313-1450
                                                                                         www.uspto.gov
      INRNT„,co,

       APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR              ATTORNEY DOCKET NO.        CONFIRMATION NO.

           16/177,159               10/31/2018               Gerold L. Mosher                   43060-707.304                  3572

                                                                                                                EXAMINER
           21971            7590          07/16/2020
       WILSON, SONSINI, GOODRICH & ROSATI                                                                     RAO, SAVITHA M

       650 PAGE MILL ROAD
                                                                                                  ART UNIT                 PAPER NUMBER
       PALO ALTO, CA 94304-1050
                                                                                                     1629

                                                                                          DATE MAILED: 07/16/2020




                                   Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                              (Applications filed on or after May 29, 2000)


The Office has discontinued providing a Patent Term Adjustment (PTA) calculation with the Notice of Allowance.

Section 1(h)(2) of the AIA Technical Corrections Act amended 35 U.S.C. 154(b)(3)(B)(i) to eliminate the requirement
that the Office provide a patent term adjustment determination with the notice of allowance. See Revisions to Patent
Term Adjustment, 78 Fed. Reg. 19416, 19417 (Apr. 1, 2013). Therefore, the Office is no longer providing an initial
patent term adjustment determination with the notice of allowance. The Office will continue to provide a patent term
adjustment determination with the Issue Notification Letter that is mailed to applicant approximately three weeks prior
to the issue date of the patent, and will include the patent term adjustment on the patent. Any request for reconsideration
of the patent term adjustment determination (or reinstatement of patent term adjustment) should follow the process
outlined in 37 CFR 1.705.

Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the Office of
Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee payments should be
directed to the Customer Service Center of the Office of Patent Publication at 1-(888)-786-0101 or (571)-272-4200.




                                                              Page 3 of   3                                 SLVGT-EPA_0106993
PTOL-85 (Rev. 02/11)                                          Appx580
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 606 of 748 PageID #: 2797

                     OMB Clearance and PRA Burden Statement for PTOL-85 Part B
  The Paperwork Reduction Act (PRA) of 1995 requires Federal agencies to obtain Office of Management and Budget
  approval before requesting most types of information from the public. When OMB approves an agency request to
  collect information from the public, OMB (i) provides a valid OMB Control Number and expiration date for the
  agency to display on the instrument that will be used to collect the information and (ii) requires the agency to inform
  the public about the OMB Control Number's legal significance in accordance with 5 CFR 1320.5(b).

  The information collected by PTOL-85 Part B is required by 37 CFR 1.311. The information is required to obtain
  or retain a benefit by the public which is to file (and by the USPTO to process) an application. Confidentiality is
  governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 30 minutes to complete, including
  gathering, preparing, and submitting the completed application form to the USPTO. Time will vary depending upon
  the individual case. Any comments on the amount of time you require to complete this form and/or suggestions
  for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office,
  U.S. Department of Commerce, P.O. Box 1450, Alexandria, Virginia 22313-1450. DO NOT SEND FEES OR
  COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria,
  Virginia 22313-1450. Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection
  of information unless it displays a valid OMB control number.
                                               Privacy Act Statement

  The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
  submission of the attached form related to a patent application or patent. Accordingly, pursuant to the requirements
  of the Act, please be advised that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b)
  (2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which the information
  is used by the U.S. Patent and Trademark Office is to process and/or examine your submission related to a patent
  application or patent. If you do not furnish the requested information, the U.S. Patent and Trademark Office may not
  be able to process and/or examine your submission, which may result in termination of proceedings or abandonment
  of the application or expiration of the patent.

  The information provided by you in this form will be subject to the following routine uses:
   1. The information on this form will be treated confidentially to the extent allowed under the Freedom of
       Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.0 552a). Records from this system of records may
       be disclosed to the Department of Justice to determine whether disclosure of these records is required by the
       Freedom of Information Act.
   2. A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence
       to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of
       settlement negotiations.
   3. A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting
       a request involving an individual, to whom the record pertains, when the individual has requested assistance
       from the Member with respect to the subject matter of the record.
   4. A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having
       need for the information in order to perform a contract. Recipients of information shall be required to comply
       with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
   5. A record related to an International Application filed under the Patent Cooperation Treaty in this system of
       records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
       Organization, pursuant to the Patent Cooperation Treaty.
   6. A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of
       National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).
    7. A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services,
       or his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility
       to recommend improvements in records management practices and programs, under authority of 44 U.S.C.
       2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection
       of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall
       not be used to make determinations about individuals.
    8. A record from this system of records may be disclosed, as a routine use, to the public after either publication of
       the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record
       may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record was filed
       in an application which became abandoned or in which the proceedings were terminated and which application
       is referenced by either a published application, an application open to public inspection or an issued patent.
                                                                                                      SLVGT-EPA_0106994
    9. A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
                                                        Appx581
       enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.
            Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 607 of 748 PageID #: 2798

                                                                              Application No.                    Applicant(s)
                                                                              16/177,159                         Mosher et al.
                   Notice ofAllowability                                      Examiner                           Art Unit      AIA (FITF) Status
                                                                              SAVITHA M RAO                      1629          Yes

              -- The MAILING DATE of this communication appears on the cover sheet with the correspondence address—
 All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
 herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
 NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
 of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.
   1E1 This communication is responsive to 05/15/2020.
           ❑ A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on
   2.0 An election was made by the applicant in response to a restriction requirement set forth during the interview on               ; the
       restriction requirement and election have been incorporated into this action.
   3.0 The allowed claim(s) is/are See Continuation Sheet . As a result of the allowed claim(s), you may be eligible to benefit from the
       Patent Prosecution Highway program at a participating intellectual property office for the corresponding application. For more
       information, please see http://www.uspto.gov/patents/init_events/pph/index.jsp or send an inquiry to
       PPHfeedback@uspto.gov.

   4.0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
           Certified copies:
             a) ❑AII               b) ❑ Some     *c) ❑ None of the:
                     1. ❑ Certified copies of the priority documents have been received.
                     2. ❑ Certified copies of the priority documents have been received in Application No.           .
                     3.   ❑ Copies of the certified copies of the priority documents have been received in this national stage application from the
                             International Bureau (PCT Rule 17.2(a)).
             * Certified copies not received:           .

     Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
     noted below. Failure to timely comply will result in ABANDONMENT of this application.
     THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.
   5.0 CORRECTED DRAWINGS (as "replacement sheets") must be submitted.
        ❑ including changes required by the attached Examiner's Amendment / Comment or in the Office action of
             Paper No./Mail Date           .
     Identifying indicia such as the application number (see 37 CFR 1.84(c)) should be written on the drawings in the front (not the back) of each
     sheet. Replacement sheet(s) should be labeled as such in the header according to 37 CFR 1.121(d).
   6.0 DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
       attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.


 Attachment(s)
 1.0 Notice of References Cited (PTO-892)                                                5. ❑ Examiner's Amendment/Comment
    ,/ Information Disclosure Statements (PTO/SB/08),
  2.❑                                                                                    6. E Examiner's Statement of Reasons for Allowance
         Paper No./Mail Date 06/05/2020.
  3.C) Examiner's Comment Regarding Requirement for Deposit                              7. ❑ Other
         of Biological Material
  4.0 Interview Summary (PTO-413),
         Paper No./Mail Date. 07/01/2020.
  /SAVITHA M RAO/
  Primary Examiner, Art Unit 1629




U.S. Patent and Trademark Office
PTOL-37 (Rev. 08-13)                                                  Notice of Allowability                 Part of Paper No./Mail Date 20200709



                                                                                                                         SLVGT-EPA_0106995
                                                                           Appx582
        Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 608 of 748 PageID #: 2799
Continuation Sheet (PTOL-37)                                                    Application No. 16/177,159



Continuation of 3. The allowed claim(s) is/are: 1-11,13,15,17,19-29 and 31-36




                                                                                SLVGT-EPA_0106996
                                                 Appx583
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 609 of 748 PageID #: 2800

  Application/Control Number: 16/177,159                                             Page 2
  Art Unit: 1629
                               Notice of Pre-AIA or AIA Status

         The present application, filed on or after March 16, 2013, is being examined

  under the first inventor to file provisions of the AIA.

                                      DETAILED ACTION

  Claims 1-11, 13, 15, 17, 19-29 and 31-36 are pending in the instant application.

  Applicants representative Mr. Clark Lin interviewed with the examiner to discuss the

  claim amendments and the submitted affidavit on 7/1/2020. Please see the attached

  interview summary for details.



                               Information Disclosure Statement

         The information disclosure statement (IDS) dated 06/05/2020 complies with the

  provisions of 37 CFR 1.97, 1.98 and MPEP § 609. Accordingly, it has been placed in

  the application file and the information therein has been considered as to the merits.



                                      Terminal disclaimer

         The terminal disclaimer filed on 08/01/2019 disclaiming the terminal portion of

  any patent granted on this application which would extend beyond the expiration date of

  US patents 9669008. 9808442, 10039745 and 10154987 and US application

  16/242898 have been reviewed and is accepted. The terminal disclaimer has been

  recorded.


                                   Rule 37 CFR 1.132 Declaration

         Applicant's submission of the declarations of Gerold Mosher under 37 CFR 1.132

  filed 05/15/2020 is acknowledged. The declarations is found to be persuasive in



                                                                            SLVGT-EPA_0106997
                                             Appx584
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 610 of 748 PageID #: 2801

  Application/Control Number: 16/177,159                                                Page 3
  Art Unit: 1629
  overcoming the outstanding rejections set forth in the non-final rejection dated

  01/07/2020.



                                REASONS FOR ALLOWANCE

         In view of the applicants claim amendments, arguments and the declaration filed

  on 05/15/2020 and the following examiners statement of reasons for allowance, claims

  1-11, 13, 15, 17, 19-29 and 31-36 are found to be allowable.

         Following a diligent search it was determined that the prior art neither teaches

  nor provides adequate motivation to arrive at the instantly claimed oral liquid

  formulation, comprising: (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically

  acceptable salt or solvate thereof; (ii) a buffer comprising a mixture of citric acid and

  sodium citrate, wherein the buffer is present at a concentration between about 5 mM

  and about 20 mM in the oral liquid formulation; (iii) about 1 mg/ml of a preservative,

  wherein the preservative is a paraben or a mixture of parabens; and (iv) water; wherein

  the formulation maintains about 95% w/w or greater of the initial enalapril amount at the

  end of a the given storage period of at least 12 months at about 5 ± 30 C.




                                          Conclusion
  Claims 1-11, 13, 15, 17, 19-29 and 31-36 (renumbered 1-29) are allowed.

         Any comments considered necessary by applicant must be submitted no later

  than the payment of the issue fee and, to avoid processing delays, should preferably

  accompany the issue fee. Such submissions should be clearly labeled "Comments on

  Statement of Reasons for Allowance."



                                                                               SLVGT-EPA_0106998
                                            Appx585
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 611 of 748 PageID #: 2802

  Application/Control Number: 16/177,159                                            Page 4
  Art Unit: 1629
        Any inquiry concerning this communication or earlier communications from the

  examiner should be directed to SAVITHA RAO whose telephone number is (571)270-

  5315. The examiner can normally be reached on Mon-Fri 7.00 am to 4.00 pm.

        If attempts to reach the examiner by telephone are unsuccessful, the examiner's

  supervisor, Jeffrey Lundgren can be reached on (571) 272-5541. The fax phone

  number for the organization where this application or proceeding is assigned is 571-

  273-8300.

        Information regarding the status of an application may be obtained from the

  Patent Application Information Retrieval (PAIR) system. Status information for

  published applications may be obtained from either Private PAIR or Public PAIR.

  Status information for unpublished applications is available through Private PAIR only.

  For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

  you have questions on access to the Private PAIR system, contact the Electronic

  Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

  USPTO Customer Service Representative or access to the automated information

  system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.

  /SAVITHA M RAO/
  Primary Examiner, Art Unit 1629




                                                                           SLVGT-EPA_0106999
                                          Appx586
    Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 612 of 748 PageID #: 2803
                                                                                      Application No.                     Applicant(s)
                                                                                      16/177,159                          Mosher et al.
       Applicant-InitiatedInterview Summary                                           Examiner                            Art Unit           AIA (FITF) Status
                                                                                      SAVITHA M RAO                       1629               Yes


  All participants (applicant, applicants representative, PTO personnel):

 (1) SAVITHA M. RAO.                                                                 (3)

 (2) Clark Lin.                                                                      (4)

     Date of Interview: 01 July 2020.

       Type:         El Telephonic   0 Video Conference
                     0 Personal [copy given to: 0 applicant                         0 applicant's representative]

  Exhibit shown or demonstration conducted:                         El Yes              No.
       If Yes, brief description:


 Issues Discussed            0101         0112         0102         0103         JOthers
 (For each of the checked box(es) above, please describe below the issue and detailed description of the discussion)

 Claim(s) discussed: 1.

  Identification of prior art discussed: none.

 Substance of Interview
 (For each issue discussed, provide a detailed description and indicate if agreement was reached. Some topics may include: identification or clarification of a
 reference or a portion thereof, claim interpretation, proposed amendments, arguments of any applied references etc...)

  Applicants discussed the claim amendments and how that overcomes the 112 rejection on file.




 Applicant recordation instructions: The formal written reply to the last Office action must include the substance of the interview. (See MPEP
 section 713.04). If a reply to the last Office action has already been filed, applicant is given a non-extendable period of the longer of one month or
 thirty days from this interview date, or the mailing date of this interview summary form, whichever is later, to file a statement of the substance of the
 interview.

 Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete and proper recordation of
 the substance of an interview should include the items listed in MPEP 713.04 for complete and proper recordation including the identification of the
 general thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the
 general results or outcome of the interview, to include an indication as to whether or not agreement was reached on the issues raised.

 0 Attachment

/SAVITHA M RAO/
Primary Examiner, Art Unit 1629

U.S. Patent and Trademark Office
PTOL-413 (Rev. 8/11/2010)                                                Interview Summary                                             Paper No. 20200709
                                                                                                                                   SLVGT-EPA_0107000
                                                                           Appx587
     Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 613 of 748 PageID #: 2804
                                                      Summary of Record of Interview Requirements
Manual of Patent Examining Procedure (MPEP), Section 713.04, Substance of Interview Must be Made of Record
A complete written statement as to the substance of any face-to-face, video conference, or telephone interview with regard to an application must be made of record in the
application whether or not an agreement with the examiner was reached at the interview.

                                                       Title 37 Code of Federal Regulations (CFR) 1.133 Interviews
                                                                              Paragraph (b)

In every instance where reconsideration is requested in view of an interview with an examiner, a complete written statement of the reasons presented at the interview as
warranting favorable action must be filed by the applicant. An interview does not remove the necessity for reply to Office action as specified in §§ 1.111, 1.135. (35 U.S.C.
132)

                                                                 37 CFR §1.2 Business to be transacted in writing.
All business with the Patent or Trademark Office should be transacted in writing. The personal attendance of applicants or their attorneys or agents at the Patent and
Trademark Office is unnecessary. The action of the Patent and Trademark Office will be based exclusively on the written record in the Office. No attention will be paid to any
alleged oral promise, stipulation, or understanding in relation to which there is disagreement or doubt.


          The action of the Patent and Trademark Office cannot be based exclusively on the written record in the Office if that record is itself
incomplete through the failure to record the substance of interviews.
          It is the responsibility of the applicant or the attorney or agent to make the substance of an interview of record in the application file, unless
the examiner indicates he or she will do so. It is the examiners responsibility to see that such a record is made and to correct material inaccuracies
which bear directly on the question of patentability.

           Examiners must complete an Interview Summary Form for each interview held where a matter of substance has been discussed during the
interview by checking the appropriate boxes and filling in the blanks. Discussions regarding only procedural matters, directed solely to restriction
requirements for which interview recordation is otherwise provided for in Section 812.01 of the Manual of Patent Examining Procedure, or pointing out
typographical errors or unreadable script in Office actions or the like, are excluded from the interview recordation procedures below. Where the
substance of an interview is completely recorded in an Examiners Amendment, no separate Interview Summary Record is required.

            The Interview Summary Form shall be given an appropriate Paper No., placed in the right hand portion of the file, and listed on the
"Contents" section of the file wrapper. In a personal interview, a duplicate of the Form is given to the applicant (or attorney or agent) at the conclusion of
the interview. In the case of a telephone or video-conference interview, the copy is mailed to the applicants correspondence address either with or prior
to the next official communication. If additional correspondence from the examiner is not likely before an allowance or if other circumstances dictate, the
Form should be mailed promptly after the interview rather than with the next official communication.

           The Form provides for recordation of the following information:
           - Application Number (Series Code and Serial Number)
           - Name of applicant
           - Name of examiner
           - Date of interview
           - Type of interview (telephonic, video-conference, or personal)
           - Name of participant(s) (applicant, attorney or agent, examiner, other PTO personnel, etc.)
           - An indication whether or not an exhibit was shown or a demonstration conducted
           - An identification of the specific prior art discussed
               An indication whether an agreement was reached and if so, a description of the general nature of the agreement (may be by
               attachment of a copy of amendments or claims agreed as being allowable). Note: Agreement as to allowability is tentative and does
               not restrict further action by the examiner to the contrary.
           - The signature of the examiner who conducted the interview (if Form is not an attachment to a signed Office action)

            It is desirable that the examiner orally remind the applicant of his or her obligation to record the substance of the interview of each case. It
should be noted, however, that the Interview Summary Form will not normally be considered a complete and proper recordation of the interview unless
it includes, or is supplemented by the applicant or the examiner to include, all of the applicable items required below concerning the substance of the
interview.
           A complete and proper recordation of the substance of any interview should include at least the following applicable items:
           1) A brief description of the nature of any exhibit shown or any demonstration conducted,-
           2) an identification of the claims discussed,
           3) an identification of the specific prior art discussed,
           4) an identification of the principal proposed amendments of a substantive nature discussed, unless these are already described on
                 the Interview Summary Form completed by the Examiner,
           5) a brief identification of the general thrust of the principal arguments presented to the examiner,
                     (The identification of arguments need not be lengthy or elaborate. A verbatim or highly detailed description of the arguments is not
                     required. The identification of the arguments is sufficient if the general nature or thrust of the principal arguments made to the
                     examiner can be understood in the context of the application file. Of course, the applicant may desire to emphasize and fully
                     describe those arguments which he or she feels were or might be persuasive to the examiner.)
           6) a general indication of any other pertinent matters discussed, and
           7) if appropriate, the general results or outcome of the interview unless already described in the Interview Summary Form completed
                 by the examiner.
            Examiners are expected to carefully review the applicants record of the substance of an interview. If the record is not complete and accurate,
the examiner will give the applicant an extendable one month time period to correct the record.

                                                                    Examiner to Check for Accuracy

            If the claims are allowable for other reasons of record, the examiner should send a letter setting forth the examiners version of the statement
attributed to him or her. If the record is complete and accurate, the examiner should place the indication, Interview Record OK on the paper recording
the substance of the interview along with the date and the examiners initials.



                                                                                                                                         SLVGT-EPA_0107001
                                                                               Appx588
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 614 of 748 PageID #: 2805




  Electronically Filed On: July 22, 2020

  PATENT
                                                           Attorney Docket No. 43060-707.304

                IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


  In re Application                                 )    Confirmation No.: 3572
                                                    )
  Inventors: Gerold L. Mosher, et al.               )    Art Unit: 1629

  Application No.: 16/177,159                       )    Examiner: Rao, Savitha M.
                                                    )
  Filed: October 31, 2018                           )\   Customer No. 021971

  Title: ENALAPRIL FORMULATIONS                     )
                                                    )
                                                    )
                                                    )

  Mail Stop Amendment
  Commissioner for Patents
  P.O. Box 1450
  Alexandria, VA 22313-1450

                    AMENDMENT AFTER ALLOWANCE UNDER 37 C.F.R. § 1.312

  Dear Commissioner:

           This Amendment under 37 C.F.R. § 1.312 is submitted after the Notice of Allowance
  mailed July 16, 2020. Entry of the following amendment under 37 C.F.R. § 1.312 is respectfully
  requested.

  Amendments to the Claims begin on page 2 of this paper.
  Remarks begin on page 6 of this paper.
  Conclusion begins on page 7 of this paper.




  11743574 1.docx                                                         Atty. Docket No.: 43060-707.304
                                                                                  SLVGT-EPA_0107030
                                               Appx589
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 615 of 748 PageID #: 2806




                                  AMENDMENTS TO THE CLAIMS

           This listing of claims will replace all prior versions, and listings of claims in this
  application. Applicant reserves the right to pursue any subject matter of any canceled claims in
  this or any other appropriate patent application. Support for these claims is provided in the
  remarks following the listing of claims.

  Listing of the Claims

  1. (Previously presented) An oral liquid formulation, comprising:
      (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or solvate
      thereof;
      (ii) a buffer comprising a mixture of citric acid and sodium citrate, wherein the buffer is
      present at a concentration between about 5 mM and about 20 mM in the oral liquid
      formulation;
      (iii) about 1 mg/ml sodium benzoate; and
      (iv) water;
           wherein the formulation maintains about 95% w/w or greater of the initial enalapril
           amount at the end of a storage period of at least 12 months at about 5 ± 3° C.
  2. (Previously presented) The oral liquid formulation of claim 1 further comprising a
      sweetener.

  3. (Previously presented) The oral liquid formulation of claim 2, wherein the sweetener is
      sucralose.

  4. (Previously presented) The oral liquid formulation of claim 1 further comprising a flavoring
      agent.

  5. (Previously presented) The oral liquid formulation of claim 1, wherein the formulation does
      not contain mannitol.

  6. (Previously presented) The oral liquid formulation of claim 1, wherein the formulation does
      not contain silicon dioxide.

  7. (Previously presented) The oral liquid formulation of claim 1, wherein the buffer comprises
      about 0.8 to about 3.5 mg/ml citric acid.

                                                     -2-
  11743574 1.docx                                                                  Atty. Docket No.: 43060-707.304
                                                                                          SLVGT-EPA_0107031
                                                  Appx590
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 616 of 748 PageID #: 2807


  Application No. 16/177,159
  Amendment under § 1.312(a) filed on July 22, 2020


  8. (Previously presented) The oral liquid formulation of claim 1, wherein the buffer comprises
      about 0.1 to about 0.8 mg/ml sodium citrate.

  9. (Previously presented) The oral liquid formulation of claim 1, wherein the pH of the oral
      liquid formulation is less than about 3.5.

  10. (Previously presented) The oral liquid formulation of claim 1, wherein the pH of the oral
      liquid formulation is between about 3 and about 3.5.

  11. (Previously presented) The oral liquid formulation of claim 1, wherein the pH of the oral
      liquid formulation is about 3.3.

  12. (Canceled)

  13. (Canceled)

  14. (Canceled)

  15. (Previously presented) The oral liquid formulation of claim 1, wherein the formulation
      maintains about 95% w/w or greater of the initial enalapril amount at the end of a storage
      period of at least 18 months at about 5 ± 3° C.

  16. (Canceled)

  17. (Previously presented) An oral liquid formulation, consisting essentially of:
      (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or solvate
      thereof;
      (ii) a buffer comprising a mixture of citric acid and sodium citrate, wherein the buffer is
      present at a concentration between about 5 mM and about 20 mM in the oral liquid
      formulation;
      (iii) about 1 mg/ml sodium benzoate;
      (iv) water; and
      (v) optionally a sweetener, a flavoring agent, or both;
      wherein the formulation maintains about 95% w/w or greater of the initial enalapril amount
      at the end of a storage period of at least 12 months at about 5 ± 3° C.
  18. (Canceled)


                                                        -3 -
  11743574 1.docx                                                               Atty. Docket No.: 43060-707.304
                                                                                        SLVGT-EPA_0107032
                                                      Appx591
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 617 of 748 PageID #: 2808


  Application No. 16/177,159
  Amendment under § 1.312(a) filed on July 22, 2020




  19. (Previously presented) The oral liquid formulation of claim 31 further comprising a
      sweetener.

  20. (Previously presented) The oral liquid formulation of claim 19, wherein the sweetener is
      sucralose.

  21. (Previously presented) The oral liquid formulation of claim 31 further comprising a
      flavoring agent.

  22. (Previously presented) The oral liquid formulation of claim 31, wherein the formulation does
      not contain mannitol.

  23. (Previously presented) The oral liquid formulation of claim 31, wherein the formulation does
      not contain silicon dioxide.

  24. (Previously presented) The oral liquid formulation of claim 31, wherein the pH of the oral
      liquid formulation is less than about 3.5.

  25. (Previously presented) The oral liquid formulation of claim 31, wherein the pH of the oral
      liquid formulation is between about 3 and about 3.5.

  26. (Previously presented) The oral liquid formulation of claim 31, wherein the pH of the oral
      liquid formulation is about 3.3.

  27. (Canceled)

  28. (Canceled)

  29. (Previously presented) The oral liquid formulation of claim 31, wherein the formulation
      maintains about 95% w/w or greater of the initial enalapril amount at the end of a storage
      period of at least 18 months at about 5 ± 3° C.

  30. (Canceled)

  31. (Previously presented) An oral liquid formulation, comprising:
      (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically acceptable salt or solvate
      thereof;


                                                        -4-
  11743574 1.docx                                                             Atty. Docket No.: 43060-707.304
                                                                                      SLVGT-EPA_0107033
                                                      Appx592
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 618 of 748 PageID #: 2809


  Application No. 16/177,159
  Amendment under § 1.312(a) filed on July 22, 2020


      (ii) a buffer comprising a mixture of citric acid and sodium citrate, wherein the buffer is
      present at a concentration between about 5 mM and about 20 mM in the oral liquid
      formulation;
      (iii) about 1 mg/ml of a preservative, wherein the preservative is a paraben or a mixture of
      parabens; and
      (iv) water;
      wherein the formulation maintains about 95% w/w or greater of the initial enalapril amount
      at the end of a storage period of at least 12 months at about 5 ± 3° C.
  32. (Previously presented) The oral liquid formulation of claim 1, wherein the enalapril or a
      pharmaceutically acceptable salt or solvate thereof is enalapril maleate, and wherein the
      enalapril maleate is present in the oral liquid formulation at about 1.0 mg/ml.

  33. (Previously presented) The oral liquid formulation of claim 1, wherein the buffer is present at
      a concentration between about 10 mM and about 20 mM in the oral liquid formulation.

  34. (Previously presented) The oral liquid formulation of claim 1, wherein the buffer is present at
      a concentration of about 10 mM in the oral liquid formulation.

  35. (Previously presented) The oral liquid formulation of claim 31, wherein the enalapril or a
      pharmaceutically acceptable salt or solvate thereof is enalapril maleate, and wherein the
      enalapril maleate is present in the oral liquid formulation at about 1.0 mg/ml.

  36. (Previously presented) The oral liquid formulation of claim 31, wherein the buffer is present
      at a concentration between about 10 mM and about 20 mM in the oral liquid formulation.




                                                        -5 -
  11743574 1.docx                                                               Atty. Docket No.: 43060-707.304
                                                                                        SLVGT-EPA_0107034
                                                      Appx593
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 619 of 748 PageID #: 2810


  Application No. 16/177,159
  Amendment under § 1.312(a) filed on July 22, 2020



                                                 REMARKS

  Amendment to the Claims
           Applicant respectfully requests entrance of this Amendment to amend the claims of the
  instant application. After entry of this amendment, claims 1-11, 15, 17, 19-26, 29, and 31-36 are
  pending in this case. Claims 13 and 28, both of which recited "wherein the preservative is
  sodium benzoate", have been canceled to eliminate redundancy. No other claims have been
  amended or added. Accordingly, Applicant respectfully submits that the amendment does not
  add any new matter or raise any new issues.


  Summary of Applicant-Initiated Examiner Interview
           Applicant also thanks Examiner Rao for the courtesy of a telephonic interview with
  Applicant's representative Clark Y. Lin on July 1, 2020. During the interview rejections under
  35 U.S.C. § 112 were discussed.




                                                        -6-
  11743574 1.docx                                                           Atty. Docket No.: 43060-707.304
                                                                                    SLVGT-EPA_0107035
                                                      Appx594
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 620 of 748 PageID #: 2811


  Application No. 16/177,159
  Amendment under § 1.312(a) filed on July 22, 2020




                                               CONCLUSION
           Applicant believes that this application is in condition of allowance and requests
  expeditious issuance of the claims. Should the Examiner have any questions, the Examiner is
  encouraged to contact the undersigned at (617) 598-7823. The Commissioner is authorized to
  charge any additional fees that may be required, including petition fees and extension of time
  fees, or credit any overpayment to Deposit Account No. 23-2415 (Attorney Docket No.: 43060-
  707.304).


                                                              Respectfully submitted,



  Date: July 22, 2020                                 By:         /Clark Lin/
                                                              Clark Lin, Esq., Reg. No. 67,024



  WILSON SONSINI GOODRICH & ROSATI
  650 Page Mill Road
  Palo Alto, CA 94304-1050
  Phone: (650) 493-9300
  Client No. 021971




                                                        -7-
  11743574 1.docx                                                                  Atty. Docket No.: 43060-707.304
                                                                                           SLVGT-EPA_0107036
                                                      Appx595
              Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 621 of 748 PageID #: 2812
                                         PART B FEE(S) TRANSMITTAL
Complete and send this form, together wit€1 applicable lee( s), by mail or Fax, or Via EFS-Web.

By mail, send to:            Mail Stop ISSUE FEE                                                                                                   By fax, send to:         (571)-273-2885
                             Commissioner for Patents
                             P.O. Box 1450
                             Alexandria, Virginia 22313-1450

INSTRUMONS: This form should he used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks I through 5 should be completeti. where appropriate. All
further corcesporidence imitating the Patent, advance orders and notification of maintenance foes will be mailed to the current correspondence address as indicated 1,M14:`,'iS corrected
below or directed otherwise in Block I, by ta) specifyinE, a new correspondence address; and/or (h) indicating a separate 'FEE ADDRESS" for maii31,C13.311Ce fee notifications.
                                                                                                  Note: A certificate t:if mailing can only be used for domestic mailings of the
                                                                                                  Feets) Traninrittal. This certificate cannot he used for any other accompanying
   CialtENT CORRESPONDENCE ADDRESS (Note:IL:se knock l far any change of add2zst-i;.
                                                                                                  papers. Each additional. paper, such as an assignment or formal drawing, must
                                                                                                  have its own certificate of 3rlaiting or transmission.
           2197i                                07/16/20:ai                                                                        Certificate of .Mailing or Transmission
    WILSON, SONSINI, GOODRICH & ROSATI                                                                      I hereby .a.:.rtify that this Feel's) Transmittal is being deposited with the T.niteil
                                                                                                            States Postal Service with sufficient postage for first class mail in an envelope
    65() PAGE MILL ROAD                                                                                     addressed to die Mail Stop ISSUE FEE address above, or being transmitted to
    PALO ALTO, CA 94304-1050                                                                                the USPTO viii EES-Web lx by facsimile to (571)'273-2885, on the date below.
                                                                                                                       Erin Dugan
                                                                                                                       ierin duganl
                                                                                                                      July 23, 2020                                                         ;,Pate:;



       APPLICATION NO.                  FLUNG DATE                                FIRST N,WED INVENTOR                                ATTORNEY DOCKET NO.              CONFIRMATION NO.

           16/177.1.59                  10/31/2018                                     Gerold 1„ Moshe.f-                                  43060-707.304                        3572

TITLE OF INVENTION: ENALAPRIL FORMULATIONS

       APPLN. 'TYPE            ENTITY STATUS                  ISSUE H,..E DUE     PUBLICATION FEE DUE             PREY. PAID ISSUE FEE         TOTAI. 'TEN DUE                DATE DUE

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                       EXAMINER                                 ART uNrc              CE.ASS-SUBCLASS

                   R.AO: SAVITFIA tiF                              1629                   514-18300(1

   Change of c .t'respondence address o, indication of "Fee Address.' (3!             1. I•or printing on the patent front page, list                Wilson. Sonsin€, Goodrich & Rosati,
("FR 1.36.3).                                                                         (I) The names of up to .3 registered patent attorneys          RC
   ,-1                                                                                or agents OR. alternatively.                                  1    '
       Change of correspondence address for Change of Correspondence                  (2) The name of a single firm (having as £! member' a
   Address form PTO/SH/122) attached.
                                                                                      registers attorney or agent) and the names Of Up it)          2
                                                                                      2 registered patent attorneys or atrc,,ats. if no manic is
      'Fee Addmss' indication (or 'Fee Address" indication form PTO/                  listed, no name will be printed.
   SB/47; Rev 03-09 or more recent) attached. Use of a Customer
   Number is required.
3. ASSIGNEE. NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print of type
   PLEASE NOTE: Unless an mssignee is identified below, no assignee data will appear on the patent_ If an assignee is identified below, the document must have been previously
   rccorded, or tiled for recordation., as set forth in 37 CFR 3.11 and 37 CFR 3.81(a). Completion of this form is NOT a substitute for filing an assignment,
   (Al NAME OF ASSIGNEE                                                           (B) RESIDENCE: (CITY and STATE. OR. COUNTRY)
    SILVERGATE PHARMACEUT€CALS, INC.                                                       GREENWOOD VILLAGE, CO

Please check the appropriate assignee category or categories t'w'ill Bor. be Ilti33    .1. on the patent)     Inch vidualli Corporation or other private group entity         Government.
4a Fees submitted:          UIssue Fee        —11-kiblication Fee of requirtal)         —1Advance Order -        of Copies
4h. Method of Payment: Please first reapply ai:y prelim* paidfee .town above)
        Electronic Payment via EFS-Web           JEnclosed check             Non-electronic payment by credit card ,,Attach 'or PTO-2038)
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        The Director is hereby authorised to charge the required feet s), any deficiency, or credit any overpayment to Deposit Account No, 23-4 15



5. Change in Entity Status (from status indicated above)
                                                                                  ktIalL. Absent a valid certification of .Micro Entity Status (see forms PTO/SBII5A and 15B): issue
        Applicant certifying micro entity status. See 37 CFR 1 .29                fee payment in the micro entity amount will riot be accepted at the risk of application abandonmem
                                                                                  isoli If the application was previously under alit ii entity status, checking this box will he taken
   J    Applicant asserting small entity status. See 37 CFR 1.27
                                                                                  to he a notification of loss of entitlement to micro entity status,
        Applicant changing to regular undiscounted fee status.                    NUL Check-ing this box will be taken to be a notification of loss of entitlement to small or mica-)
                                                                                  entity status, as applicable.
NOTE: This form must be signed in accordance with 37 CFR 1.31 and 1.33. See 37 CFR 1.4 for signature requirements and certifications.

                               /Clark L€n/                                                                           fate. July 23, 2020
   Typed or printed name       auk y                                                                                 Registration No.          67,024

                                                                                       Page 2 of 3                                                      SLVGT-EPA_0107039
MIAS Pars B (08-.1.S) Approved for use through 01/31/2020
                                                                                         Appx596
                                                                                      OMB 0651-0033             U.S. Patent and Trademark Office; U.S. PEPARTMENT OF COMMERCE
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 622 of 748 PageID #: 2813
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         APPLICATION NO.                     FILING DATE           FIRST NAMED INVENTOR       ATTORNEY DOCKET NO.           CONFIRMATION NO.

                   16/177,159                10/31/2018               Gerold L. Mosher             43060-707.304                    3572

                   21971              7590            07/31/2020
                                                                                                                   EXAMINER
                   WILSON, SONSINI, GOODRICH & ROSATI
                   650 PAGE MILL ROAD                                                                           RAO, SAVITHA M

                   PALO ALTO, CA 94304-1050
                                                                                                     ART UNIT                 PAPER NUMBER

                                                                                                        1629


                                                                                               NOTIFICATION DATE             DELIVERY MODE

                                                                                                     07/31/2020                ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address(es):
patentdocket@wsgr.com




PTOL-90A (Rev. 04/07)
                                                                                                                SLVGT-EPA_0107044
                                                                      Appx597
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 623 of 748 PageID #: 2814

                                                                         Application No.                Applicant(s)

                                                                         16/177,159                     Mosher et al.
       Response to Rule 312 Communication                                Examiner                       Art Unit    AIA (FITF) Status

                                                                         SAVITHA M RAO                  1629        Yes


              -- The MAILING DATE of this communication appears on the cover sheet with the correspondence address --




1. ®The amendment filed on 22 July 2020 under 37 CFR 1.312 has been considered, and has been:
       a) 0        entered.

       b) CI       entered as directed to matters of form not affecting the scope of the invention.

       c) 0       disapproved because the amendment was filed after the payment of the issue fee.
                       Any amendment filed after the date the issue fee is paid must be accompanied by a petition under 37 CFR 1.313(c)(1)
                       and the required fee to withdraw the application from issue.

       d) O        disapproved. See explanation below.

       e) 0        entered in part. See explanation below.




/SAVITHA M RAO/
Primary Examiner, Art Unit 1629

U.S. Patent and Trademark Office
PTOL-271 (Rev. 04-01)                                   Reponse to Rule 312 Communication                  Part of Paper No. 20200728

                                                                                                                   SLVGT-EPA_0107045
                                                                       Appx598
            Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 624 of 748 PageID #: 2815

                                                                              Application No.                    Applicant(s)
                                                                              16/177,159                         Mosher et al.
                   Notice ofAllowability                                      Examiner                           Art Unit      AIA (FITF) Status
                                                                              SAVITHA M RAO                      1629          Yes

              -- The MAILING DATE of this communication appears on the cover sheet with the correspondence address—
 All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
 herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
 NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
 of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.
   1E1 This communication is responsive to 05/15/2020.
           ❑ A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on
   2.0 An election was made by the applicant in response to a restriction requirement set forth during the interview on               ; the
       restriction requirement and election have been incorporated into this action.
   3.0 The allowed claim(s) is/are 1-11,15,17,19-26,29 and 31-36 . As a result of the allowed claim(s), you may be eligible to benefit from
       the Patent Prosecution Highway program at a participating intellectual property office for the corresponding application. For more
       information, please see http://www.uspto.gov/patents/init_events/pph/index.jsp or send an inquiry to
       PPHfeedback@uspto.gov.

   4.0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
           Certified copies:
             a) ❑AII               b) ❑ Some     *c) ❑ None of the:
                     1. ❑ Certified copies of the priority documents have been received.
                     2. ❑ Certified copies of the priority documents have been received in Application No.           .
                     3.   ❑ Copies of the certified copies of the priority documents have been received in this national stage application from the
                             International Bureau (PCT Rule 17.2(a)).
             * Certified copies not received:           .

     Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
     noted below. Failure to timely comply will result in ABANDONMENT of this application.
     THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.
   5.0 CORRECTED DRAWINGS (as "replacement sheets") must be submitted.
        ❑ including changes required by the attached Examiner's Amendment / Comment or in the Office action of
             Paper No./Mail Date           .
     Identifying indicia such as the application number (see 37 CFR 1.84(c)) should be written on the drawings in the front (not the back) of each
     sheet. Replacement sheet(s) should be labeled as such in the header according to 37 CFR 1.121(d).
   6.0 DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
       attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.


 Attachment(s)
 1.0 Notice of References Cited (PTO-892)                                                5. ❑ Examiner's Amendment/Comment
    ,/ Information Disclosure Statements (PTO/SB/08),
  2.❑                                                                                    6. E Examiner's Statement of Reasons for Allowance
         Paper No./Mail Date 06/05/2020.
  3.0 Examiner's Comment Regarding Requirement for Deposit                               7. ❑ Other
         of Biological Material
  4.0 Interview Summary (PTO-413),
         Paper No./Mail Date. 07/01/2020.
  /SAVITHA M RAO/
  Primary Examiner, Art Unit 1629




U.S. Patent and Trademark Office
PTOL-37 (Rev. 08-13)                                                  Notice of Allowability                 Part of Paper No./Mail Date 20200811



                                                                                                                         SLVGT-EPA_0107047
                                                                           Appx599
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  Application/Control Number: 16/177,159                                              Page 2
  Art Unit: 1629
                               Notice of Pre-AIA or AIA Status

         The present application, filed on or after March 16, 2013, is being examined

  under the first inventor to file provisions of the AIA.

                                      DETAILED ACTION

  Claims 1-11, 15, 17, 19-26, 29 and 31-36 are pending in the instant application.

  Applicants representative Mr. Clark Lin interviewed with the examiner to discuss the

  claim amendments and the submitted affidavit on 7/1/2020. Please see the attached

  interview summary for details.



                               Information Disclosure Statement

         The information disclosure statement (IDS) dated 06/05/2020 complies with the

  provisions of 37 CFR 1.97, 1.98 and MPEP § 609. Accordingly, it has been placed in

  the application file and the information therein has been considered as to the merits.



                                      Terminal disclaimer

         The terminal disclaimer filed on 08/01/2019 disclaiming the terminal portion of

  any patent granted on this application which would extend beyond the expiration date of

  US patents 9669008. 9808442, 10039745 and 10154987 and US application

  16/242898 have been reviewed and is accepted. The terminal disclaimer has been

  recorded.


                                   Rule 37 CFR 1.132 Declaration

         Applicant's submission of the declarations of Gerold Mosher under 37 CFR 1.132

  filed 05/15/2020 is acknowledged. The declarations is found to be persuasive in



                                                                            SLVGT-EPA_0107048
                                             Appx600
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  Art Unit: 1629

  overcoming the outstanding rejections set forth in the non-final rejection dated

  01/07/2020.



                                REASONS FOR ALLOWANCE

         In view of the applicants claim amendments, arguments and the declaration filed

  on 05/15/2020 and the following examiners statement of reasons for allowance, claims

  1-11, 15, 17, 19-26, 29 and 31-36 are found to be allowable.

         Following a diligent search it was determined that the prior art neither teaches

  nor provides adequate motivation to arrive at the instantly claimed oral liquid

  formulation, comprising: (i) about 0.6 to about 1.2 mg/ml enalapril or a pharmaceutically

  acceptable salt or solvate thereof; (ii) a buffer comprising a mixture of citric acid and

  sodium citrate, wherein the buffer is present at a concentration between about 5 mM

  and about 20 mM in the oral liquid formulation; (iii) about 1 mg/ml of a preservative,

  wherein the preservative is a paraben or a mixture of parabens; and (iv) water; wherein

  the formulation maintains about 95% w/w or greater of the initial enalapril amount at the

  end of a the given storage period of at least 12 months at about 5 ± 30 C.




                                          Conclusion
  Claims 1-11, 15, 17, 19-26, 29 and 31-36 (renumbered 1-28) are allowed.

         Any comments considered necessary by applicant must be submitted no later

  than the payment of the issue fee and, to avoid processing delays, should preferably

  accompany the issue fee. Such submissions should be clearly labeled "Comments on

  Statement of Reasons for Allowance."



                                                                               SLVGT-EPA_0107049
                                            Appx601
Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 627 of 748 PageID #: 2818

  Application/Control Number: 16/177,159                                              Page 4
  Art Unit: 1629
        Any inquiry concerning this communication or earlier communications from the

  examiner should be directed to SAVITHA RAO whose telephone number is (571)270-

  5315. The examiner can normally be reached on Mon-Fri 7.00 am to 4.00 pm.

        If attempts to reach the examiner by telephone are unsuccessful, the examiner's

  supervisor, Jeffrey Lundgren can be reached on (571) 272-5541. The fax phone

  number for the organization where this application or proceeding is assigned is 571-

  273-8300.

        Information regarding the status of an application may be obtained from the

  Patent Application Information Retrieval (PAIR) system. Status information for

  published applications may be obtained from either Private PAIR or Public PAIR.

  Status information for unpublished applications is available through Private PAIR only.

  For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

  you have questions on access to the Private PAIR system, contact the Electronic

  Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

  USPTO Customer Service Representative or access to the automated information

  system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.

  /SAVITHA M RAO/
  Primary Examiner, Art Unit 1629




                                                                           SLVGT-EPA_0107050
                                           Appx602
          Case 1:20-cv-01256-LPS Document 74-1 Filed 04/05/21 Page 628 of 748 PageID #: 2819
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               APPLICATION NO.               ISSUE DATE            PATENT NO.    ATTORNEY DOCKET NO.               CONFIRMATION NO.

                     16/177,159              09/29/2020             10786482         43060-707.304                           3572


                      21971          7590       09/09/2020

                WILSON, SONSINI, GOODRICH & ROSATI
                650 PAGE MILL ROAD
                PALO ALTO, CA 94304-1050




                                                             ISSUE NOTIFICATION

The projected patent number and issue date are specified above.

                                     Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                                 (application filed on or after May 29, 2000)

The Patent Term Adjustment is 0 day(s). Any patent to issue from the above-identified application will include
an indication of the adjustment on the front page.

If a Continued Prosecution Application (CPA) was filed in the above-identified application, the filing date that
determines Patent Term Adjustment is the filing date of the most recent CPA.

Applicant will be able to obtain more detailed information by accessing the Patent Application Information
Retrieval (PAIR) WEB site (http://pair.uspto.gov).

Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the Office
of Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee payments
should be directed to the Application Assistance Unit (AAU) of the Office of Data Management (ODM) at
(571)-272-4200.

APPLICANT(s) (Please see PAIR WEB site http://pair.uspto.gov for additional applicants):
Gerold L. Mosher, Kansas City, MO;
Silvergate Pharmaceuticals, Inc., Greenwood Village, CO;
David W. Miles, Kansas City, MO;




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IR103 (Rev. 10/09)
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                                                                  Appx603
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                                     Appx619
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                                     Appx650
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                                     Appx651
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